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                                                                        APPEAL,PROSE,TERMED
                                  U.S. District Court
                           District of Wyoming (Cheyenne)
                   CIVIL DOCKET FOR CASE #: 2:19−cv−00021−SWS
                                   Internal Use Only

   Bronnenberg v. Egger et al                             Date Filed: 01/30/2019
   Assigned to: Honorable Scott W Skavdahl                Date Terminated: 08/05/2019
   Referred to: Honorable Kelly H Rankin                  Jury Demand: Plaintiff
   Case in other court: USCA, 19−08026                    Nature of Suit: 440 Civil Rights: Other
                        USCA, 19−08055                    Jurisdiction: Federal Question
   Cause: 42:1983 Civil Rights Act
   Plaintiff
   Tami Mae Bronnenberg                      represented by Tami Mae Bronnenberg
                                                            P O Box 802
                                                            Cody, WY 82414
                                                            307/899−2150
                                                            PRO SE


   V.
   Defendant
   Beau J Egger                              represented by Adrian K Kowalski
   also known as                                            WYOMING ATTORNEY GENERAL
   Beau J Eggar                                             2320 Capital Avenue
                                                            Cheyenne, WY 82002
                                                            307/777−7580
                                                            Fax: 307/777/8920
                                                            Email: adrian.kowalski@wyo.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                          Daniel E White
                                                          WYOMING ATTORNEY GENERAL
                                                          2424 Pioneer Avenue
                                                          Cheyenne, WY 82002
                                                          307/777−7495
                                                          Fax: 307/777−8920
                                                          Email: heather.hunter@wyo.gov
                                                          TERMINATED: 06/25/2019

   Defendant
   William K Struemke
   attorney
   TERMINATED: 02/25/2019

   Defendant

                                                                                                    1
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   Sara L Struemke
   secretary
   TERMINATED: 02/25/2019

   Defendant
   Servicm Legal Services LLC
   TERMINATED: 02/25/2019

   Defendant
   DC Marlin D Richardson
   TERMINATED: 02/25/2019

   Defendant
   Big Horn Basin Chiropractic
   TERMINATED: 02/25/2019

   Defendant
   Cody WY
   TERMINATED: 02/25/2019

   Defendant
   Park County Detention Center
   TERMINATED: 02/25/2019

   Defendant
   Park County Board of County
   Commissioners
   TERMINATED: 02/25/2019


    Date Filed    #   Page Docket Text
    01/30/2019    1      7 COMPLAINT with Jury Demand filed by Tami Mae Bronnenberg
                           (Attachments: # 1 Requests for Consent to Sue, # 2 Mailing Label) (Court Staff,
                           sbh) (Entered: 01/30/2019)
    01/30/2019    2         MOTION to Proceed In Forma Pauperis filed by Plaintiff Tami Mae
                            Bronnenberg (Court Staff, sbh) Modified to remove termination on 2/25/2019
                            (Court Staff, scat). (Entered: 01/30/2019)
    01/30/2019    3    23 MOTION to Appoint Counsel filed by Plaintiff Tami Mae Bronnenberg
                          (Attachments: # 1 Proposed Order) (Court Staff, sbh) Modified on 2/28/2019
                          (Court Staff, scat). (Entered: 01/30/2019)
    01/30/2019    4    25 MOTION for Service of Process at Government Expense filed by Plaintiff Tami
                          Mae Bronnenberg (Attachments: # 1 Proposed Order) (Court Staff, sbh)
                          (Entered: 01/30/2019)
    02/01/2019    5    27 ORDER Dismissing Complaint on 28 U.S.C. §1915 Screening by the
                          Honorable Scott W Skavdahl. All pending Motions in this case are denied as
                          moot. Copy of Order provided to Plaintiff by U.S. Mail.(Court Staff, scat)

                                                                                                             2
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                          (Entered: 02/01/2019)
    02/04/2019   6        MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Amend/Correct
                          1 Complaint filed by Plaintiff Tami Mae Bronnenberg. (Court Staff, sal)
                          (Entered: 02/04/2019)
    02/05/2019   7    31 ORDER by the Honorable Kelly H Rankin granting 6 MOTION to
                         Amend/Correct 1 Complaint filed by Plaintiff Tami Mae Bronnenberg. IT IS
                         ORDERED Plaintiff's Motion to Amend 1983 Civil Rights Complaint [Doc. 6]
                         is GRANTED. IT IS FURTHER ORDERED Plaintiff may file an Amended
                         Complaint on or before February 22, 2019. IT IS FURTHER ORDERED
                         Plaintiff provide the Court with a complete Amended Complaint.Plaintiff sent a
                         copy of this Order via U.S. Postal Service sent on 2/5/2019. (Court Staff, sjgc)
                         (Entered: 02/05/2019)
    02/14/2019   8    34 MOTION for Reconsideration re 5 Order dismissing case, filed by Plaintiff
                         Tami Mae Bronnenberg. (Attachments: # 1 Envelope)(Court Staff, scat)
                         (Entered: 02/14/2019)
    02/14/2019   9    39 AMENDED COMPLAINT against Defendant Big Horn Basin Chiropractic,
                         Cody WY, Beau J Eggar, Park County Board of County Commissioners, Park
                         County Detention Center, Marlin D Richardson, Servicm Legal Services LLC,
                         Sara L Struemke, William K Struemke, filed by Tami Mae Bronnenberg. (Court
                         Staff, scat) (Additional attachment(s) added on 2/14/2019: # 1 Supplement:
                         Certified copy of Exhibit D (page 14)) (Court Staff, sbh). (Entered: 02/14/2019)
    02/25/2019   10   57 ORDER On 28 U.S.C. § 1915 Screening of Amended Complaint 9 by the
                         Honorable Scott W Skavdahl. The amended complaint states a claim upon
                         which relief can be granted against Defendant Beau J. Eggar. It is Further
                         ORDERED that the Clerk of Court shall serve Defendant Beau J. Eggar in his
                         individual/personal capacity. It is Further ORDERED that Defendant Eggar
                         shall serve an answer within twenty−one(21) days of being served the summons
                         and complaint. It is Further ORDERED that all other claims alleged in the
                         amended complaint are dismissed with prejudice. It is Further ORDERED that
                         2 Motion for Leave to Proceed in forma pauperis is granted; It is Finally
                         ORDERED that 8 Motion for Reconsideration re 9 Amended Complaint is
                         denied as moot because the Court has herein screened anew her amended
                         complaint. Copy of Order mailed to Plaintiff on this date. (Court Staff, scat)
                         Modified text on 2/25/2019 (Court Staff, scat). (Entered: 02/25/2019)
    02/25/2019   11       WAIVER of Service Issued for Beau J. Eggar on 2/25/2019. Waiver of Service
                          due by 3/27/2019. (Court Staff, scat) (Entered: 02/25/2019)
    02/28/2019   12   69 ORDER by the Honorable Scott W Skavdahl denying 3 Motion to Appoint
                         Counsel. Copy of Order mailed to Plaintiff of this date. (Court Staff, scat)
                         (Entered: 02/28/2019)
    03/11/2019   13   71 WAIVER OF SERVICE Returned Executed by Beau J Eggar. Beau J Eggar
                         2/25/2019, answer due 4/26/2019 (Court Staff, sal) (Entered: 03/11/2019)
    03/12/2019   14   74 OBJECTION to 10 Order on 28 U.S.C. § 1915 Screening of Amended
                         Complaint filed by Plaintiff Tami Mae Bronnenberg. (Court Staff, scat) (Main
                         Document 14 replaced on 3/12/2019 to remove duplicate page) (Court Staff,
                         scat). (Entered: 03/12/2019)


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    03/15/2019   15    84 OBJECTION to 12 Order on Motion to Appoint Counsel filed by Plaintiff Tami
                          Mae Bronnenberg. (Attachments: # 1 envelope) (Court Staff, skb) (Main
                          Document 15 replaced on 3/20/2019 to correct pagination) (Court Staff, skb).
                          Modified on 3/20/2019 (Court Staff, skb). (Entered: 03/15/2019)
    03/26/2019   16    91 NOTICE of Attorney Appearance by Daniel E White on behalf of Beau J Eggar
                          (White, Daniel) (Entered: 03/26/2019)
    03/26/2019   17    93 NOTICE of Attorney Appearance by Adrian K Kowalski on behalf of Beau J
                          Eggar (Kowalski, Adrian) (Entered: 03/26/2019)
    03/26/2019   18    95 NOTICE of Unconstitutional Federal Statute, 28 U.S.C. §1915 by Plaintiff
                          Tami Mae Bronnenberg (Court Staff, scat) (Entered: 03/26/2019)
    03/26/2019   19   105 NOTICE OF INTERLOCUTORY APPEAL as to 10 Order On 28 U.S.C. §
                          1915 Screening of Amended Complaint by Plaintiff Tami Mae Bronnenberg.
                          (Filing fee not paid− IFP pending) (Court Staff, stbd) (Entered: 03/26/2019)
    03/26/2019   20         NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on
                            Privacy and Public Access MOTION to Appeal in forma pauperis filed by
                            Plaintiff Tami Mae Bronnenberg. (Court Staff, stbd) Modified on 4/2/2019
                            (Court Staff, stbd). (Entered: 03/26/2019)
    03/26/2019   21         NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on
                            Privacy and Public Access − AFFIDAVIT of Tami Mae Bronnenberg re 20
                            MOTION to Appeal in forma pauperis filed by Plaintiff Tami Mae
                            Bronnenberg. (Court Staff, stbd) (Entered: 03/26/2019)
    03/26/2019   22         Preliminary Record of appeal sent to USCA and counsel re 19 Notice of Appeal
                            The procedures and appeals packet may be obtained from our website at
                            www.wyd.uscourts.gov (Attachments: # 1 Preliminary Record on Appeal
                            Including Notice of Appeal) (Court Staff, stbd) (Entered: 03/26/2019)
    03/27/2019   23         Appeal Number 19−8026 received from USCA for 19 Notice of Appeal filed by
                            Tami Mae Bronnenberg. (Court Staff, stbd) (Entered: 03/28/2019)
    04/01/2019   24   106 ORDER by the Honorable Scott W Skavdahl granting 20 Motion for Leave to
                          Appeal in forma pauperis (cc: defendant via US Mail)(Court Staff,
                          stbd)Modified on 4/8/2019 (Court Staff, stbd). (Entered: 04/01/2019)
    04/03/2019   25         JUDICIAL NOTICE by Plaintiff Tami Mae Bronnenberg in Support of 18
                            Notice of Unconstitutional Federal Statute, 28 U.S.C. 1915. (Court Staff, scat)
                            (Entered: 04/03/2019)
    04/04/2019   26         Misdirected Appeal Document− Plaintiff's Motion for Voluntary Dismissal of
                            Notice of Appeal received and forwarded to USCA. (Court Staff, stbd)
                            (Entered: 04/04/2019)
    04/05/2019   27   107 MANDATE of USCA DISMISSING 19 Notice of Appeal filed by Tami Mae
                          Bronnenberg. (Attachments: # 1 Order) (Court Staff, stbd) (Entered:
                          04/05/2019)
    04/26/2019   28   110 Converted to MOTION for Summary Judgment per 30 MOTION to Dismiss
                          filed by Defendant Beau J Eggar. (Kowalski, Adrian) Modified text and event
                          on 4/30/2019 (Court Staff, scat). (Entered: 04/26/2019)
    04/26/2019   29   112
                                                                                                              4
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                           MEMORANDUM in Support of 28 Motion for Summary Judgment Motion to
                           Dismiss filed by Defendant Beau J Eggar. (Attachments: # 1 Exhibit 1, # 2
                           Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit Unpublished Case Hammett,
                           # 6 Exhibit Unpublished Case Calbart) (Kowalski, Adrian) Modified to remove
                           duplicate text on 4/29/2019 (Court Staff, scat). Modified text on 4/30/2019
                           (Court Staff, scat). (Entered: 04/26/2019)
    04/30/2019   30   148 ORDER Converting Defendants 28 MOTION to Dismiss to Motion for
                          Summary Judgment by the Honorable Scott W Skavdahl. Defendant's Motion to
                          Dismiss Plaintiff's Complaint 28 and accompanying memorandum 29 will be
                          treated and considered as a motion for summary judgment under Rule 56
                          Plaintiff is provided the opportunity to include all materials pertinent to the
                          motion with her response to the motion which she must file no later than
                          5/17/2019. Copy of Order provided to Plaintiff via US Mail(Court Staff, scat)
                          Modified text on 4/30/2019 (Court Staff, scat). Modified text on 5/2/2019
                          (Court Staff, scat). (Entered: 04/30/2019)
    05/17/2019   31        MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Order Correct
                           Spelling in Caption filed by Plaintiff Tami Mae Bronnenberg. (Attachments: #
                           1 Proposed Order)(Court Staff, scat) (Additional attachment(s) added on
                           5/17/2019: # 2 Envelope) (Court Staff, scat). (Entered: 05/17/2019)
    05/17/2019   32        MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Permission to
                           File 17 Page Response filed by Plaintiff Tami Mae Bronnenberg. (Attachments:
                           # 1 Proposed Order)(Court Staff, scat) (Entered: 05/17/2019)
    05/17/2019   33   150 RESPONSE to 28 MOTION for Summary Judgment, filed by Plaintiff Tami
                          Mae Bronnenberg. (Attachments: # 1 Affidavit of Tami Bronnenberg, # 2
                          Exhibit 1, # 3 Exhibit 2) (Court Staff, scat) (Entered: 05/17/2019)
    05/17/2019   34        ORDER by the Honorable Kelly H Rankin granting 32 Motion to File Excess
                           Pages. Plaintiff may file a response up to seventeen pages in length in
                           opposition to Defendant's Motion for Summary Judgment 28 . Copy of Order
                           mailed to Plaintiff on this date. (Court Staff, sjh) (Entered: 05/17/2019)
    05/24/2019   35   192 REPLY to 33 Response to Motion for Summary Judgment filed by Defendant
                          Beau J Eggar. (Attachments: # 1 Exhibit Unpublished Case Taylor v Burd)
                          (Kowalski, Adrian) (Entered: 05/24/2019)
    05/28/2019   36   203 MOTION for Declaratory Judgment filed by Plaintiff Tami Mae Bronnenberg.
                          (Attachments: # 1 Proposed Order, # 2 Envelope)(Court Staff, scat) (Entered:
                          05/28/2019)
    06/04/2019   37        (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin granting 31 Motion
                           for Order. Caption is amended as requested. Plaintiff sent a copy of the docket
                           sheet via U.S. Postal Service sent on 6/4/2019. (Court Staff, sjgc) (Entered:
                           06/04/2019)
    06/04/2019   38   207 MOTION for Summary Judgment, filed by Plaintiff Tami Mae Bronnenberg.
                          (Attachments: # 1 Proposed Order, # 2 Exhibit, # 3 Exhibit, # 4
                          Envelope)(Court Staff, scat) (Entered: 06/04/2019)
    06/11/2019   39   243 RESPONSE to 36 Motion for Judgment filed by Defendant Beau J Egger.
                          (Attachments: # 1 Exhibit Unpublished Case Lawrence v. Kuenhold, # 2
                          Exhibit Unpublished Case Potomac v. Pella, # 3 Exhibit Unpublished Case

                                                                                                             5
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                           Robinson v. Blank) (Kowalski, Adrian) (Entered: 06/11/2019)
    06/18/2019   40   266 RESPONSE to 38 Motion for Summary Judgment filed by Defendant Beau J
                          Egger. (Attachments: # 1 Exhibit Unpublished Case Bencomo v. Bd Cty
                          Commrs, # 2 Exhibit Unpublished Case Scott v. City of Albuquerque)
                          (Kowalski, Adrian) (Entered: 06/18/2019)
    06/24/2019   41   291 BRIEF in support of 36 Motion for Judgment filed by Plaintiff Tami Mae
                          Bronnenberg. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Envelope) (Court
                          Staff, scat) (Entered: 06/24/2019)
    06/25/2019   42        MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Withdraw as
                           Attorney filed by Defendant Beau J Egger. (Attachments: # 1 Proposed
                           Order)(White, Daniel) (Entered: 06/25/2019)
    06/25/2019   43        ORDER by the Honorable Kelly H Rankin granting 42 Motion to Withdraw as
                           Attorney. Attorney Daniel E White terminated. (Court Staff, sjh) (Entered:
                           06/25/2019)
    07/01/2019   44   319 REPLY to 40 Response filed by Plaintiff Tami Mae Bronnenberg.
                          (Attachments: # 1 Appendix, # 2 Envelope) (Court Staff, stbd) (Entered:
                          07/01/2019)
    08/05/2019   45   334 ORDER GRANTING 28 Defendant's Motion for Summary Judgment by the
                          Honorable Scott W Skavdahl. Officer Egger is entitled to qualified immunity. It
                          is Further ORDERED that Plaintiff's 36 Motion for Declaratory Judgment and
                          38 Motion for Summary Judgment are DENIED. Final judgment in Defendants'
                          favor and against Plaintiff shall be entered in this matter and the case will be
                          closed. Copy of Order provided to Plaintiff via US Mail. (Court Staff, scat)
                          Modified text on 8/8/2019 (Court Staff, sjlg). (Entered: 08/05/2019)
    08/05/2019   46   343 JUDGMENT in favor of Defendant by the Honorable Scott W Skavdahl. Copy
                          of Judgment provided to Plaintiff via US Mail.(Court Staff, scat) (Additional
                          attachment(s) added on 8/5/2019: # 1 Bill of Costs) (Court Staff, scat).
                          (Entered: 08/05/2019)
    09/03/2019   47   346 NOTICE OF APPEAL (Misdirected Appeal Document) as to 10 ORDER On
                          28 U.S.C. § 1915 Screening of Amended Complaint 45 Order on Motion for
                          Judgment, Order on Motion for Summary Judgment & 46 Judgment, by
                          Plaintiff Tami Mae Bronnenberg. Filing fee not paid. (Attachments: # 1
                          Envelope) (Court Staff, stbd) (Entered: 09/03/2019)
    09/03/2019   48        Preliminary Record of appeal sent to USCA and counsel re 47 Notice of
                           Appeal, The procedures and appeals packet may be obtained from our
                           website at www.wyd.uscourts.gov (Attachments: # 1 Preliminary Record on
                           Appeal Including Notice of Appeal) (Court Staff, stbd) (Entered: 09/03/2019)
    09/03/2019   49        Appeal Number 19−8055 received from USCA for 47 Notice of Appeal, filed
                           by Tami Mae Bronnenberg. Notice of appearance due on 10/03/2019 for Tami
                           Mae Bronnenberg. Notice of appearance due on 09/17/2019 for Beau J. Eggar.
                           (Court Staff, stbd) (Entered: 09/03/2019)




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                                                                                      FILED
                                                                               U.S.OISIRICT COURT
    Tami Mae Bronnejib^g, Pro-se                                              OiSiRiCr OP VVYOM.'N'G
    P.O. Box 802
    Cody, Wyoming 82414
                                          iii?                               r:r^m?o ahi^gs
    (307)899-2150                                                           SlxPHAK HARRIS, CLERK
                                                                                    CHEYENNE
                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING



    TAMI MAE BRONNENBERG

                                          Plaintiff,                 CASE NO.


                         V.



    Beau J. Eggar, Arresting Officer; William
    K. Struemke, Attorney; Sara L. Struemke,
    Secretary; Servicm Legal Services, LLC;
    Marlin D. Richardson, DC;Big Horn
    Basin Chiropractic; City of Cody; Park County
    Detention Center; Board of County
    Commissioners of the County ofPark.                            1983 CIVIL RIGHT
                                                                 COMPLAINT PURSUANT
                                        Defendants.                TO 42 uses §1983




                                          A. JURISDICTION.

           1)   Plaintiff, Tami M.Bronnenberg, is a citizen of Wyoming and the United

    States of America who presently resides at 938 19*'^ Street, Lower Ave., Space 23, Cody,
    Wyoming 82414.

           2) Defendant, Beau J. Eggar, the arresting Officer is a citizen of United States

    of America who presently resides 4225 Road 2da, Cody, Wyoming 82414-9209, At the

    time the claim alleged in this complaint arose this defendant was acting willful and

    wanton misconduct under color of state law. Sued Individually, Personally, City and

    Coimty Officially.




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           3) Defendant, William K. Struemke, Attorney, is a citizen ofUnited States of

    America who presently resides at 2906 Marlisa Ln., Cody, Wyoming 82414-6708. At the

    time the claim alleged in this complaint arose this defendant was acting willful and

    wanton misconduct under color ofstate law. Sued Individually, Personally, City and

    County Officially.

           4) Defendant, Sara L. Struemke,Secretary,is a citizen of United States of

    America who presently resides at 2906 Marlisa Ln., Cody, Wyoming 82414-6708. At the

    time the claim alleged in this complaint arose this defendant was acting willful and

    wanton misconduct under color ofstate law. Sued Individually, Personally, City and

    County Officially.

           5) Defendant, Servicm Legal Services,LLC,is a Wyoming Law Corporation at

     1302 Beck Ave.,Cody, Wyoming 82414. At the time the claim alleged in this complaint

    arose this defendant was acting willful and wanton misconduct imder color ofstate law.

    Sued Individually, Personally, City and County Officially.

           6)     Defendant, Marlin D. Richardson,DC,is a citizen of United States of

    America who presently resides 11 Beacon Dr., Cody, Wyoming 82414. At the time the

    claim alleged in this complaint arose this defendant was acting willful and wanton

    misconduct under color ofstate law. Sued Individually,Personally, City and County

    Officially.

           7) Defendant, Big Horn Basin Chiropractic is a Wyoming Medical Corporation

    at 1620 Beck Ave., Cody, Wyoming 82414. At the time the claim alleged in this

    complaint arose this defendant was acting willful and wanton misconduct under color of

    state law. Sued Individually, Personally, City and County Officially.




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           8) Defendant, City ofCody,P.O. Box 2200,Cody, Wyoming 82414 is a

    municipality in Park County. At the time the claim alleged in this complaint arose this

    defendant was acting willful and wanton misconduct under color ofstate law. Sued

    Individually,Personally, City and County Officially.

           9) Defendant,Park County Detention Center, is a law enforcement center, 1402

    River View Drive, Cody, Wyoming 82414. At the time the claim alleged in this

    complaint arose this defendant was acting willful and wanton misconduct imder color of

    state law. Sued Individually,Personally, City and County Officially.

           10) Defendant, Board ofCounty Commissioners ofthe County ofPark, 1002

    Sheridan Ave., Cody, Wyoming 82414. At the time the claim alleged in this complaint

    arose this defendant was acting willful and wanton misconduct under color ofstate law.

    Sued Individually, Personally and County Officially.

           11) Jurisdiction is invoked pursuant to 28 USCS §1343(3); 42 USCS §1983;

    42 USCS §1985(2,3); Civil Rights Act 1871;28 USCS §2201; 28 USCS 2202; Federal

    Rules of Civil Procedure, Rules 38,65;28 USCS §1651;42 USCS §1988; 18 U.S.C.S.

    §1201 (a).


                                   B.NATURE OF THE CASE


           On January 31,2017,at approximately 1699-1627,16^ & Bleistein Ave.,Street,
    Cody, Wyoming,Tami M.Bronnenberg kept telling the defendant, arresting officer Beau

    J. Edger that the warrant he was relying on, issued January 9,2017 in this matter, was

    vacated. Tami M.Bronnenberg tried to show him the court order vacating the warrant.

    Officer Beau J. Edger would not listen to the plaintiff or(look at the Order) Officer Beau

    J. Edger then arrested plaintiff, placed plaintiffin his patrol car, drove plaintiffto the




                                                                                                           9
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     Park County Detention Center, 1402 River View Drive, booked plaintiffin at 10:19:40.

     Then released plaintiff after they were informed that the next stop with the court order

     would be the Park County Prosecuting Attorney's Office at 11:10:58.1, Tami M.

     Bronnenberg believe William K. Struemke, Attorney; Sara L. Struemke, Secretary;

     Servicm Legal Services, LLC representing Marlin D. Richardson,DC;Big Horn Basin

     Chiropractic; City of Cody;Park County Detention Center; Park Coimty Commissioners

     are equally responsible for Kidnapping, False Arrest and False Imprisonment, Conspiracy

     ofKidnapping and Conspiracy of Civil Rights.


                                     C.   CAUSE OF ACTION

            1) Plaintiff, Tami M.Bronnenberg, alleges that the following of her

     constitutional rights, privileges or immunities have been violated and that the following

     facts form the basis for her allegations:

            a) Count I:      Defendants denied plaintiff, Tami M.Bronnenberg, the United

     States Constitution, Amendment 4; Wyoming Constitution, Art., 1 Section 4; Federal

     Rules of Criminal Procedure, Rules 4.(a); Wyoming Rules of Criminal Procedure, Rule

     4; Equal Protection Clause and the Due Process Clause secured by the United States

     Constitution. Amendment 14 and the Wvoming Constitution. Article 1. $S2.3.6: Article

     6^.

            i)   Supporting facts:

            Defendants are guilty ofkidnapping if he unlawfiilly removes another fi*om his

     place of residence or business or from the vicinity where he was at the time ofthe

     removal,or if he unlawfully confines another person, with the intent to: Hold for ransom

     ***. W.S.§ 6-2-201 (a),(i); *** or to terrorize the victim ***. W.S.§ 6-2-201 (a),(iii)




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     There is no durational requirement for the period ofconfinement for the purpose ofthis

     section,    . Doud v. State, 845 P.2d 402(Wyo. 1993); 18 U.S.C.S. $1201 (al. A person

     is guilty offalse imprisonment if he knowingly and unlawfully restrains another so as to

     interfere substantially with his liberty. W.S.§6-2-203(a).

            Defendants denied plaintiff's right to the United States Constitution, Amendment

     4,Security From Unwarrantable Search And Seizure."The right ofthe people to be

     secure in their persons, houses, papers, and effects, against unreasonable searches and

     seizures, shall not be violated, and no Warrants shall issue, but upon probable cause,

     supported by Oath or affirmation, and particularly describing the place to be searched,

     and the persons or things to be seized."; This provision binds the state and its officers,

     including local police. See, Wolf v. Colorado,338 U.S. 25,69 S. Ct. 1359,93 L. Ed.

     1782(1949).

             Wyoming Constitution, Art., 1 Section 4. Security against searches and seizure.

    "The right ofthe people to be secure in their persons, houses, papers and effects against

     unreasonable searches and seizures shall not be violated, and no warrant shall issue but

     upon probable cause,supported by affidavit, particularly describing the place to be

     searched or the person or thing to be seized."; Federal Rules of Criminal Procedure,

     Rules 4.(a)Issuance. Arrest Warrant or Summons upon Complaint."If it appears from

     the complaint, or from an affidavit or affidavits filed with the complaint, that there is

     probable cause to believe that an offense has been committed and that the defendant had

     committed it, a warrant for the arrest ofthe defendant shall issue to any officer authorized

     by law to execute it. *** .";




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            Wyoming Rules of Criminal Procedure, Rule 4. Warrant or Summons upon

     information,(a)Issuance."If it appears from a verified information, or from an affidavit

     or affidavits filed wifii the information,that there is probable cause to believe that an

     offense has been committed and that the defendant had committed it, a summons shall

     issue requiring the defendant to appear and answer to the information. ***       To effect

     an arrest there must be actual or constructive seizure or detention ofthe person arrested,

     or his voluntary submission to custody,and the restraint must be imder real or pretended

     legal authority. Neilson v. State,599 P.2d 1326,1979 Wyo. LEXIS 447(Wyo. 1979),

     cert, denied,444 U.S. 1079,100 S. Ct. 1031,62 L. Ed. 2d 763, 1980 U.S. LEXIS 755

    (U.S. 1980).and Fed. R. Grim. Proc. Rule 41.(Searches and Seizures)The Fourth

     Amendment requires that warrants issue "upon probable cause,supported by Oath or

     affirmation." The significance ofthe oath requirement is "that someone must take the

     responsibility for the facts alleged, giving rise to the probable cause for the issuance ofa

     warrant." United States ex rel. Pugh v. Pate,401 F.2d 6(7**^ Cir. 1968); See also Frazier
     V. Roberts,441 F.2d 1224(8^ Cir. 1971); Wyo.Crim.Proc., Rule 41. Where the claim is
     that the police have improperly searched or seized something,the claimant must have had

     a legitimate expectation of privacy as to that thing. Factors to be considered in making

     this determination include:(1)the precautions taken in order to maintain one's privacy;

    (2)the likely intent ofthe drafters ofthe United States and Wyoming constitutions;(3)

     the property rights the claimant possessed in the invaded area; and(4)the legitimacy of

     the individual's possession ofor presence in the property which was searched or seized.

     Parkhurst v. State,628 P.2d 1369, 1981 Wyo.LEXIS 347(Wyo.),cert, denied,454 U.S.

     899,102 S. Ct. 402,70 L. Ed. 2d 216,1981 U.S. LEXIS 3986(U.S. 1981).




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             U.S. Const. Amendment 5,Rights of Accused in Criminal Proceedings."No

     person shall be *** compelled in any criminal case to be a witness against himself, nor

     deprived oflife, liberty, or property, without due process oflaw; ***          Wyo. Const. Art.

     1, Section 11. The state constitutional language itself protects an accused's right to silence

     and the existence ofthat right does not depend upon Miranda advice. The constitutional

     right to silence exists at all times: before arrest, at arrest, and after arrest; before a

     Miranda warning and after it. The right is self-executing. Tortolito v. State,901 P.2d 387,

     1995 Wyo. LEXIS 148(Wyo. 1995).

             U.S. Const. Amendment 9. Reservation of Rights ofthe People."The

     enumeration in the Constitution, ofcertain rights, shall not be construed to deny,impair,

     or disparage others retained by the people"; Wyo. Const. Art. 1., Section 36."The

     enumeration in this constitution, of certain rights shall not be construed to deny,impair,

     or disparage others retained by the people."

             U.S. Const. Amendment 14. Citizenship Rights Not to Be Abridged by States.

     "All persons bom or naturalized in the United States and subject to the jurisdiction

     thereof, are citizens ofthe United States and ofthe State wherein they reside. No State

     shall make or enforce any law which shall abridge the privileges or immunities ofcitizens

     ofthe United States; nor shall any State deprive any person oflife, liberty, or property,

     without due process oflaw; nor deny to any person within its jurisdiction the equal

     protection ofthe law."

             Wyo. Const. Art.l, Section 6. Due process oflaw. No Person shall be deprived of

     life, liberty or property without due process oflaw. Ifa person cannot be deprived oflife,

     liberty or property without due process oflaw, he necessarily must have the right to




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     protect it. Cross v. State, 370 P.2d 371(Wyo. 1962). And a person is not to be deprived

     of his liberty without due process oflaw. Holm v. State,404 P.2d 740(Wyo. 1965).

                    D.PREVIOUS LAWSUITS AND ADMINISTRATIYE RELIEF.

            1) Plaintiff has In the United States Bankruptcy Court for the District of

     Wyoming.,In re: Tami Mae Bronnenberg,Debtor, Randy L. Royal, Trustee ofthe

     Bankruptcy Estate ofTami Mae Bronnenberg, Plaintiff, v. Tami Mae Bronnenberg,

     Defendant., Case No: 17-20201 Chapter 7, Adv. 17-02031., other administrative

     regarding the acts complained ofin Part C.

                                        E. REQUEST FOR RELIEF.

            I believe I am entitled to the following relief::

            (A) A declaratory judgment pursuant to 28 USCS §§2201 and 2202,(Wyoming

     Statutes 1977, §§1-37-101 to 1-37-115), declaring that defendant's acts, polices and

     practices herein described and complained ofviolated plaintiff's rights under the United

     states Constitution and the Wyoming Constitution.

            (B) A preliminary and permanent injunction pursuant to the Federal Rules of

     Civil Procedure, Rule 65,(W.R.C.P.,Rule 65; Wyoming Statutes 1977, §§1-28-101 to

     111), which:

            (i)   Prohibits the Defendants,their successors in office, agents, and employees

     and all other persons in action concert and participation with them from denying plaintiff

     the United States Constitution, Amendment 4; Wyoming Constitution, Art., 1 Section 4;

     Federal Rules of Criminal Procedure,Rules 4.(a); Wyoming Rules of Criminal

     Procedure,Rule 4;Equal Protection Clause and the Due Process Clause secured by the




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     United States Constitution. AmenHment 14 and the Wyoming Constitution. Article K

           6: Article 6,§1.

            (ii) Prohibit defendants,their successors in office, agents and employees and

     all other persons in active concert and participation with them firom retaliating against

     plaintiffin any way.

           (C) Demand forjury trial pursuant to Federal Rules of Civil Procedure, Rule 38

    (a),(b).

           (D) Compensatory damages for loss pain, suffering, humiliation irreparable

     injury and the consequences ofdeprivation or loss ofrights in personal, individual,

     official capacity ofthe defendantsjointly and severally in the amount as the proof may

     show plus taxation cost,(28 USCS §1915 (e).

           (E) Punitive damages for bad faith and willful actions ofthe defendants in their

     personal, individual, official capacity in the amount the court may determine, plus

     taxation cost,(28 USCS §1915 (e).

            (F) Award plaintiff his cost(28 USCS §1915(e)and attorney fees,42 USCS

     §1988),that attorney be appointed(28 USCS §1915(d)and such other and further relief

     that the court deems to be appropriate and just(28 USCS §1615).

                            DECLARATION UNDER PENALTY OF PERJURY.

              The undersigned declares under penalty ofpeijury that he is the plaintiffin the
     above action,that he read the above complaint and that the information contained therein
     is true and correct. 28 USCS §1746, 18 USCS §1621.

            Executed at




                                                                    ae Bronnenbefg,P




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          Case 2:19-cv-00021-SWS Document 1 Filed 01/30/19 Page 10 of 10
Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 16



                             CERTIFICATE OF SERVICE


           I hereby certify a copy ofthe forgoing 1983 Civil Right Complaint pursuant

    to 42 uses §1983 was mailed or delivered to Beau J. Eggar, Arresting Officer,4225

    Road 2da, Cody, Wyoming 82414-9209; William K.Stmemke,Attomey,2906 Marlisa

    Ln., Cody, Wyoming 82414-6708; Sara L. Stmemke,Secretary,2906 Marlisa Ln., Cody,

     Wyoming 82414-6708; Servicm Legal Services, LLC; 1302 Beck Ave., Cody, Wyoming

    82414; Marlin D. Richardson,DC; 11 Beacon Dr., Cody, Wyoming 82414; Big Horn

    Basin Chiropractic; 1620 Beck Ave., Cody, Wyoming 82414; City ofCody; P.O. Box

    2200, Cody, Wyoming 82414;Park County Detention Center; 1402 River View Drive,

    Cody, Wyoming 82414; Board ofCounty Commissioners ofthe County ofPark, 1002

    Sheridan Ave.,Cody,Wyoming 82414 on^^^A^o^r^ 2.^ 2019.

                                               TaffiTKlae Bronnenberg,Pro^




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     Tami Mae Bronnenberg,Pro-se
     P.O. Box 802
    Cody, Wyoming 82414
    (307)899-2150

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG

                                         Plainti£^^              CASE NO.




     Beau J. Eggar, Arresting Officer; William
     K.Struemke, Attorney; Sara L. Struemke,
     Secretary; Servicm Legal Services, LLC;
     Marlin D.Richardson, DC;Big Horn
     Basin Chiropractic; City ofCody;Park County
     Detention Center; Board of County
     Commissioners ofthe County ofPark.                         1983 CIVIL RIGHT
                                                               COMPLAINT PURSUANT
                                      Defendants.               TO 42 uses §1983




     To: Secretary ofCity ofCody
         P.O. Box 2200
        Cody, Wyoming 82414
        Ph.(307)527-7511

          Comes now,Tami Mae Bronnenberg,Pro-se and respectfully request for consent to

     sue the City of Cody, Wyoming 82414. Pursuant to Wyo. Sts. §1-35-101, Atchison v.

    Nelson,406 F. Supp. 1102.




                                                 Tami Mae
                                                P.O. Box 802
                                                 Cody, Wyoming 82414




                                                                                          17
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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 18




     STATE OF WYOMING )
                      ) ss:
     COUNTY OF PARK   )

            Subscribed and sworn to before me^s          d^ off January    ,2019.
     Witness my hand and official seal:       O-T



     My commission expires:               V             lO


                                 CERTIFICATE OF SERVICE

            I, Tami Mae Bronnenberg,Pro-se,swear and certify that I mailed this true and

     correct copy ofthe above request for consent to sue to the Secretary ofthe City ofCody,

     P.O.Box 2200, Wyoming 82414 on this day ofJanuary         ,2019,




                                                    Tami Mae Brormenberg,Pro-se
                                                    P.O. Box 802
                                                    Cody, Wyoming 82414




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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 19



     Tami Mae Bronnenberg,Pro-se
     P.O. Box 802
     Cody, Wyoming 82414
     (307)899-2150

                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG

                                         Plaintiff,               CASE NO.


                       V.



     Beau J. Eggar, Arresting Officer; William
     K.Struemke, Attorney; Sara L. Struemke,
     Secretary; Servicm Legal Services, LLC;
     Marlin D.Richardson,DC;Big Horn
     Basin Chiropractic; City ofCody;Park County
     Detention Center; Board ofCounty
     Commissioners ofthe County ofPark.                          1983 CIVIL RIGHT
                                                                COMPLAINT PUkSUANT
                                       Defendants.                TO 42 uses §1983




     To: Secretary ofPark County
         1002 Sheridan Ave.
         Cody, Wyoming 82414

          Comes now,Tami Mae Bronnenberg,Pro-se and respectfiilly request for consent to

     sue: Park County Detention Center and the Board ofCounty Commissioners ofthe

     County ofPark,Cody, Wyo.Pursuant to Wyo.Sts. §1-35-101,Atchison v. Nelson,406

     F. Supp. 1102.




                                                 Tami Mae Broi      rg,Pro^se
                                                 P.O. Box 802
                                                 Cody, Wyoming 82414




                                                                                           19
          Case 2:19-cv-00021-SWS Document 1-1 Filed 01/30/19 Page 4 of 5
Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 20



    STATE OF WYOMING )
                     ) ss:
    COUNTY OF PARK   )

           Subscribed and sworn to before me this             January     ,2019.

     Witness my hand and official seal: _ Lc
                                                No®y Pubhc
                                                     Public /           (jT




     My commission expires:                uAl, )o,

                                    CERTIFICATE OF SERVICE

           I, Tami Mae Brormenberg,Pro-se,swear and certify that I mailed this true and

    correct copy ofthe above request for consent to sue Park County Detention Center and
     the Board ofCounty Commissioners ofthe County ofPark, Cody,Wyo.,to the Secretary

     ofthe County ofPark, 1002 Sheridan Ave., Cody, Wyoming 82414 on this day of
     January   ,2019.




                                                 'Tami Mae Brormenberg,P
                                                    P.O. Box 802
                                                    Cody, Wyoming 82414




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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 21




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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 22




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                                                                 U.S. OlSTP^C .CO^l^Ri
     Tami Mae Bronnenberg, Pro-se
                                                                DISTRICT of     rOi
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     Cody, Wyoming 82414
     (307)899-2150                                              ^TEPKAH liAHRIS.CLERK
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG

                                         Plaintiff,                CASE NO.


                       V.



     Beau J. Eggar, Arresting Officer; William
     K. Struemke, Attorney; Sara L. Struemke,
     Secretary; Servicm Legal Services, LLC;
     Marlin D. Richardson, DC;Big Horn
     Basin Chiropractic; City ofCody;Park County
     Detention Center; Board of County
     Commissioners ofthe County ofPark.                          1983 CIVIL RIGHT
                                                                COMPLAINT PURSUANT
                                       Defendants.                TO 42 uses §1983




                      MOTION FOR APPOINTMENT OF COUNSEL.

            The plaintiff in the above-entitled matter hereby moves the Court for an

     order appointing legal counsel to act on her behalf. I sought assistance from some

     civil rights attorneys but I cannot remember who. See also in consideration. My

     Motion for Forma Pauperis.


            Dated this Z" o day o                           ,20 n ■


                                                                 re</

                                                      Mae Bronnenberg,
                                                 P.O. Box 802
                                                 Cody, Wyoming 82414



                                                                                                    23
          Case 2:19-cv-00021-SWS Document 3-1 Filed 01/30/19 Page 1 of 1
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG

                                        Plaintiff,             CASE NO.


                        V.



     Beau J. Eggar, Arresting Officer; William
     K. Struemke, Attorney; Sara L. Struemke,
     Secretary; Servicm Legal Services, LLC;
     Marlin D.Richardson, DC;Big Horn
     Basin Chiropractic; City ofCody;Park County
     Detention Center; Board ofCounty
     Commissioners ofthe County ofPark.                       1983 CIVIL RIGHT
                                                          COMPLAINT PURSUANT
                                      Defendants.             TO 42 uses §1983




                        ORDER FOR APPOINTMENT OF COUNSEL.

           The Court having considered and granted plaintiffs motion for

     appointment ofcounsel, it is

           ORDERED that counsel shall be appointed-



           Dated this        day of                  ,2019.




                                             UNITED STATES DISTRICT JUDGE




                                                                                 24
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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019                 Page: 25


                                                               u     niSTRICT COURT
     Tami Mae Bronnenberg,Pro-se                                         Or wYOhwo
     P.O. Box 802
     Cody, Wyoming 82414                                      2Q19J&H30
     (307)899-2150                                            ST^P^-.H HAPPiS'CLEP^
                                                                      CHEYEKNE
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG                              )

                                       Plaintiff,      )            CASE NO.


                        V.                             )                       v-S'


     Beau J. Eggar, Arresting Officer; William         )
     K.Struemke, Attomey; Sara L. Struemke,            )
     Secretary; Servicm Legal Services, LLC;           )
     Marlin D. Richardson,DC;Big Hom                   )
     Basin Chiropractic; City ofCody;Park County       )
     Detention Center; Board of Coimty                 )
     Commissioners ofthe County ofPark.                )           1983 CIVIL RIGHT
                                                               COMPLAINT PURSUANT
                                     Defendants.       )           TO 42 uses §1983


        MOTION FOR SERVICE OF PROCESS AT GOVERNMENT EXPENSE.

           The plaintiff moves the Court for an order directing the United States

     Marshal to serve the summons and complaint pursuant to 28 U.S.C. §1915(d). The

     full names and address ofthe defendants are contained in the complaint.

           Dated this         day                     —       .20 l^-

                                                    ami Mae Bronnenberg,Rre^^se
                                               P.O. Box 802
                                               Cody, Wyoming 82414




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          Case 2:19-cv-00021-SWS Document 4-1 Filed 01/30/19 Page 1 of 1
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING



     TAMI MAE BRONNENBERG

                                           Plaintiff,         CASE NO.


                          V.



     Beau J. Eggar, Arresting Officer; William
     K. Struemke, Attorney; Sara L. Struemke,
     Secretary; Servicm Legal Services, LLC;
     Marlin D.Richardson, DC;Big Horn
     Basin Chiropractic; City of Cody; Park County
     Detention Center; Board ofCoimty
     Commissioners ofthe County ofPark.                     1983 CIVIL RIGHT
                                                           COMPLAINT PURSUANT
                                         Defendants.          TO 42 uses §1983




             ORDER DIRECTING SERVICE OF SUMMONS AND COMPLAINT AT
                                  GOVERNMENT EXPENSE..


             The Court having granted plaintiffs motion to proceed informa patperis,

     it is

             ORDERED the United States Marshal shall serve the summons,together

     with a copy ofthe complaint upon the defendants.

             Dated this         day of                  ,20    .




                                                UNITED STATES DISTRICT JUDGE




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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019            Page: 27

                                                             ».5.diSS5§wj,
                            UNITED STATES DISTRICT
                                DISTRICT OF WYOMING              FEB -1     tO* '
                                                                                1
                                                            STEfHAN HARmS.CLE«4
  TAMI MAE BRONNENBERG,

               Plaintiff,

        V.                                                   Case No. 19-CV-21-SWS


  BEAU J. EGGAR,Arresting Officer; WILLIAM K.
  STRUEMKE,Attorney; SARA L. STRUEMKE,
  Secretary; SERVICM LEGAL SERVICES,LLC;
  MARLIN D. RICHARDSON,DC;BIG HORN BASIN
  CHIROPRACTIC;CITY OF CODY;PARK COUNTY
  DETENTION CENTER;BOARD OF COUNTY
  COMMISSIONERS OF THE COUNTY OF PARK;

               Defendants.



       ORDER DISMISSING COMPLAINT ON 28 U.S.C. § 1915 SCREENING


        This matter comes before the Court on Ms. Bronnenberg's pro se 1983 Civil

  Rights Complaint Pursuant to 42 USCS §1983 (Doc. 1), filed on January 30, 2019.

  Because Ms. Bronnenberg seeks to proceed in forma pauperis in this action without the

  prepayment of fees (Doc. 2), the litigation process begins with the Court screening her

  complaint under 28 U.S.C. § 1915. See Lister v. Dep't ofTreasury^ 408 F.3d 1309, 1312

 (10th Cir. 2005) (holding that § 1915(a) applies to all persons seeking to proceed in

 forma pauperis). Section 1915(e)(2)(B) requires a district court to dismiss the case

  whenever the court determines the action "fails to state a claim on which relief may be

  granted or seeks monetary relief against a defendant who is immune from such relief."

  See Merryfield v. Jordan^ 584 F.3d 923, 926 (10th Cir. 2009). Having screened the



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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019                Page: 28


  complaint as required by statute, the Court finds all claims must be dismissed because

  Ms. Bronnenburg has failed to state a claim upon which relief can be granted and seeks

  monetary relief against a defendant who is immune from such relief.

          For § 1915 screening purposes, the Court accepts the Plaintiffs allegations as true

  and construes all reasonable inferences drawn from those allegations in the light most

  favorable to the Plaintiff. See Kay v. Bemis, 500 F.3d 1214, 1217-18 (10th Cir. 2007).

  The underlying basis for Ms. Bronnenburg's civil rights complaint seems to be an

  allegation that Defendant Beau Eggar', a peace officer, arrested her on January 31, 2017,

  on an invalid arrest warrant despite her attempts to explain to him why it was invalid.

 (Doc, 1 at pp. 3-4.) It appears she was released from detention less than an hour after

  being booked, ostensibly because the arrest warrant had indeed been canceled. (Id.)

          Ms. Bronnenburg's complaint must be dismissed under 28 U.S.C. § 1915(e)(2)(B).

   As to Officer Eggar, she does not contend the arrest warrant he relied on was somehow

  invalid on its face; that is, there is nothing to suggest that Officer Eggar could know the

  warrant was invalid just by looking at it. "Unless a warrant is facially invalid[,] an

  officer has no constitutional duty to independently determine its validity." Hill v.

  Bogans, 735 F.2d 391, 393 (10th Cir. 1984). "'[F]acially valid' does not mean 'lawful,'

  and erroneous orders can be valid." Moss v. Kopp,559 F.3d 1155, 1165 (10th Cir. 2009).

  The Tenth Circuit has held "that an official [including a police officer] charged with the

  duty of executing a facially valid court order enjoys absolute immimity from liability for

  damages in a suit challenging conduct prescribed by that order." Valdez v. City & Cty. of

  ' She also spells this defendant's name as "Edger" in her complaint.

                                                 Page 2 of4

                                                                                                28
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  Denver, 878 F.2d 1285, 1286 (10th Cir. 1989). An arrest warrant is a court order

  commanding law enforcement to arrest the person named in the warrant and bring that

  person before the judge. Thus, a police officer who executes a facially-valid warrant is

  immune from liability for complying with that order. Because there is nothing to suggest

  that the warrant for Mr. Bronnenburg's arrest was invalid on its face. Officer Eggar (or

  "Edger") is immune from liability for executing that warrant.^ This lawsuit must be

  dismissed as to Officer Eggar under 28 U.S.C. § 1915(e)(2)(B)(iii) because it "seeks

  monetary relief against a defendant who is immune from such relief."

          As to the remaining defendants, Ms. Bronnenburg's complaint fails to allege how

  each participated in the violation of her protected rights. "In § 1983 cases, defendants

  often include the government agency and a number of government actors sued in their

  individual capacities. Therefore it is particularly important in such circumstances that the

  complaint make clear exactly who is alleged to have done what to whom,to provide each

  individual with fair notice as to the basis of the claims against him or her, as

  distinguished from collective allegations against the state." Robbins v. Oklahoma, 519

  F.3d 1242, 1249-50 (10th Cir. 2008)(emphasis in original)(citing Bell Atlantic Corp. v.

  Twombly, 127 S. Ct. 1955, 1970-71 n.10 (2007)). Ms. Bronnenburg's sole assertion

  toward this end is that she "believe[s]" the remaining defendants "are equally responsible


  2 See also Rivera v. Bates, No. CIV 12-0473 JB/RHS,2014 WL 3421050, at *46(D.N.M. June 21,2014)
  (unpublished) ("Rivera envisions a scenario where the police show him the warrant, and give him an
  opportunity to find papers that support his position and then make his case to the police. That idyllic
  picture of how warrants are executed is not how it is done or should be done. If there is a problem with a
  warrant, much of the time it is upstream, and the police have little discretion; if there is a problem, a
  criminal defendant's remedy is usually in a later court, not in negotiations with, and a mini-trial before,
  the arresting officers.").

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  for Kidnapping, False Arrest and False Imprisonment, Conspiracy of Kidnapping and

  Conspiracy of Civil Rights." (Doc. 1 at p. 4.) However, it is well-established that

  conclusory allegations such as this fail to state a viable claim, and more specific to this

  case, "[cjonclusory allegations of conspiracy are insufficient to state a valid § 1983

  claim." Durre v. Dempsey, 869 F.2d 543, 545 (10th Cir. 1989). An allegation that Ms.

  Bronnenburg "believe[s]" the defendants conspired against her, or even a eonclusory

  allegation that they did conspire against her, is insufficient to state a viable claim for

  which relief may be granted under § 1983.^

         IT IS THEREFORE ORDERED that the complaint in this matter must be

  dismissed without prejudice under 28 U.S.C. § 1915(e)(2)(B)(ii) and (iii).

         IT IS FURTHER ORDERED that all pending motions in this case are denied as

  moot
                                      $i
         DATED: January 3/ ,2019.



                                                                  \ Skavdahl
                                                          United States District Judge




  ^ The Court notes that the entire "supporting facts" section in the complaint is actually a recitation of
  various rules oflaw and legal principles. It does not allege any facts about what happened in this case.

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                                                                                      FILED




                              United States District Court
                                                                                  2:02 pm, 2/5/19
                                  For The District of Wyoming                U.S. Magistrate Judge



  TAMI MAE BRONNENBERG,

                     Plaintiff,

              vs.

  BEAU J. EGGAR, Arresting Officer;
  WILLIAM K. STRUEMKE, Attorney;
  SARA L. STRUEMKE, Secretary;
                                                          Civil No. 19-CV-021-S
  SERVICM LEGAL SERVICES, LLC;
  MARLIN D. RICHARDSON, DC; BIG
  HORN BASIN CHIROPRACTIC; CITY
  OF CODY; PARK COUNTY DETENTION
  CENTER; BOARD OF COUNTY
  COMMISSIONERS OF THE COUNTY OF
  PARK;


                    Defendants.

    ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND 1983 CIVIL RIGHTS
                        COMPLAINT [DOC. 6]


        This matter is before the Court on Plaintiff’s Motion to Amend 1983 Civil Rights

  Complaint [Doc. 6]. This case originally comes before the Court on Plaintiff’s civil rights

  Complaint pursuant to 42 U.S.C. § 1983 filed on January 30, 2019 [Doc. 1]. Along with her

  Complaint, Plaintiff filed a Motion to Proceed In Forma Pauperis [Doc. 2], a Motion to

  Appoint Counsel [Doc. 3], and a Motion for Service of Process at Government Expense

  [Doc. 4]. Plaintiff’s litigation process began with the trial Court screening her complaint

  under 28 U.S.C. § 1915. See Lister v. Dep't of Treasury, 408 F.3d 1309, 1312 (10th Cir.

  2005) (holding that § 1915(a) applies to all persons seeking to proceed in forma pauperis).



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  During this initial screening, the trial Court dismissed all claims, finding Plaintiff failed to

  state a claim upon which relief could be granted and because Plaintiff sought monetary relief

  against a defendant who is immune from such relief. Order Dismissing Complaint on 28

  U.S.C. § 1915 Screening [Doc. 5].         The Court filed the Order Dismissing Plaintiff’s

  Complaint on February 1, 2019, and sent Plaintiff a copy of the Order via the U.S. Postal

  Service on the same day. On February 4, 2019, the Clerk of Court received, again via the

  U.S. Postal Service, Plaintiff’s Motion to Amend [Doc. 6]. It appears highly likely the

  Court’s Order Dismissing Plaintiff’s Claims [Doc. 5] and the instant Motion to Amend [Doc.

  6] crossed in the mail.

         In looking at the procedural history of this case, Plaintiff is entitled to file an amended

  complaint. First, Plaintiff’s claims were dismissed without prejudice. Second, amendment

  of pleadings are governed by Rule 15 of the Federal Rules of Civil Procedure, and the rule

  allows a party to amend its pleading once as a matter of course within twenty-one days of

  service, or twenty-one days after service of a responsive pleading or service of a Rule 12

  motion. Fed. R. Civ. P 15(a)(1). Plaintiff’s Motion to Amend comes well within the time

  frame for filing an amendment as a matter of course. Therefore, Plaintiff may file an

  amended complaint. Plaintiff must provide the Court with a complete amended complaint,

  as providing only the pages with changes is insufficient. The Court will conduct its initial

  screening, and proceed accordingly, after the amended complaint is filed.




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        NOW, THEREFORE, IT IS ORDERED Plaintiff’s Motion to Amend 1983 Civil

  Rights Complaint [Doc. 6] is GRANTED.

        IT IS FURTHER ORDERED Plaintiff may file an Amended Complaint on or before

  February 22, 2019.

        IT IS FURTHER ORDERED Plaintiff provide the Court with a complete Amended

  Complaint.

        Dated this 5th day of February, 2019.

                                                ________________________________
                                                 __________ ______________________
                                                      H. Ran
                                                Kelly H  Rankin
                                                           nkin
                                                U.S. Magistrate Judge




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                                                                                    TILED
                                                                             U.S. DISTRICT COUPT
    Tami M.Bronnenberg,Pro-se                                               DiCTn:cT cr
    P.O. Box 802
    Cody, Wyoming 82414                                                    20I9FE8I14 AM 10: oil
    (307)899-2150
                                                                           STEi fUM HARRIS. CLERK
                                                                                   CASrER
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



    TAMI M.BRONNENBERG

                                          Plaintiff,

                       vs.



    BEAU J. EGGAR,Arresting Officer; WILLIAM K.
    STRUEMKE,Attorney;SARA L.STRUEMKE,                             CASE NO.
    Secretary; SERVICM LEGAL SERVICES,LLC;                          19-CV-021-SWS
    MARLIN D.RICHARDSON,DC;BIG HORN BASIN
    CHIROPRACTIC; CITY OF CODY;PARK COUNTY
    DETENTION CENTER;BOARD OF COUNTY
    COMMISSIONERS OF THE COUNTY OF PARK;

                                       Defendants.



                                MOTION TO RECONSIDERATION.

           The plaintiff respectfully moves this Court for a Motion to Reconsider the Order

    Dismissing Complaint on 28 U.S.C.§1915 Screening pursuant to the United States

    District Court Local Rule 7.1 upon the following:

           1. Enclosed: Amended 1983 Civil Rigjit Complaint pursuant to ORDER

    GRANTING PLAINTIFF' MOTION TO AMEND 1983 CIVIL RIGHTS

    COMPLAINT[DOC.6], also enclosed.

                         MEMORANDUM OF LAW ON IMMUNITY.

           "As the qualified immunity defense has evolved,it provides ample support to all

    but the plainly incompetent or those who knowingly violate the law." See,Bums v.



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    Reed,500 U.S. 478, at 495, 111 S. Ct. 1934(1991); Malley v. Bri^,475 U.S. 335 at

    341 (1986); Mitchell v. Forsyth,472 U.S. 511 at 524(1985). Although 'this Court's

    caselaw does not require a ease <hrectly on point for a ri^t to be clearly established,

    existing precedent must have placed the statutory or constitutional question beyond

    debate." White v. Fauly,580 U. S., at       (2018))(Per Curiam.)(Slip op., at 6)(Internal

    quotation marfcs omitted)."In other words,immunity protects ^1 but the pleunly

    incompetent or those who knowingly violate the law." Ibid (internal quotation marks

    omitted). This Court has "'repeatedly told courts—and the Ninth Circuit in particular—

    not to define clearly established law at a high level ofgenerality.'" City and County of

    San Francisco v. Sheehan,575 U. S.         ,    (2015)(slip op., at 13)(quoting Ashcroft

    V. al-Kidd,563 U. S. 731,742(2011)); see also Brosseau,543 U. S. 194, at 198-199

    (2004)ipct curiam); See, Kbela v. Hughes,584 U. S.           (2018)(P^ Curimn.)(Slip

    op., at 6).

            This Court has never suggested that the policy considerations which compel civil

    immunity fin* cert^ govemm^tal officials also place dtem beytmd the reach ofthe

    criminal law. Evenjudges,cloaked with absolute civil immunity for centuries, could be

    punished criminally for willful deprivations of constitutional rights on the strength of18

     U.S.C. 242,die criminal amdog of 1983.0'Shea v. Littleton,414 U.S. 488 at 503

    (1974); cf. Gravel v. United States,408 U.S. 606 at 627(1972).

                   "Every person who,under color of any statute, ordinance, regulation,
            custom,or usage,of any State or Territory,subjects,or causes to be
            subjected,any citizen ofthe United States or other person within the
            jurisdiction thereof to the deprivation of any rights, privileges, or Immunities
            secured by the Constitution... shall be liable to the party injured in an
            action at law,suit in equity, or other proper proceeding for redress."




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            As the language itself makes clear,the central purpose of1983 is to "give a

    remedy to parties deprived ofconstitutional rights, privileges and immunities by an

    officid's abuse ofhis position." Monroe v. Pape,365 U.S. 167,172(1961)(emphasis

    added). The United States Constitution among other things, places substantial limitations

    upon state action, and the cause of action provided in 42 U.S.C. 1983 is fundamentally

    one for "[m]isuse of power, possessed by virtue ofstate law and made possible only

    because the wrongdoer is clothed with the authority of state law." United States v.

    Classic, 313 U.S. 299,326(1941).

            Tlie Constitution of the United States of America, Article6 provides in part;

            "**♦ The Senators and Representatives before mentioned, and the Members of
    the several State Legislatures, and all executive and judicial Officers, both of the
    United States and of the several States, shall be bound by Oath or Affirmation, to
    support this Constitution; ***^\

            The Constitution of the State of Wyoming, Article 6, §20 provides: Senators

    and representatives and all judicial, state and county officers shall, before entering on the

     duties of their respective offices, take and subscribe the following oath or affirmation:

            "I do solemnly swear (or affirm) that I will support, obey and defend the
    constitution of the United States and the constitution of this state and that I will
    discharge the duties of my office with fidelity;'*'**".

             Wyo. Const Article 6, §20 provides in part:

            "♦»* any person refusing to take said oath or affirmation shall forfeit his office,
    and any person who shall be convicted of having sworn or affirmed falsely or of having
    violated said oath or affirmation, shsdl be guilty of peijury, and be forever disqualified
    ftom holding any office of trust or profit within this state. ***'

            The public interest demands strict adherence to judicial decree. The Supreme

     Court has stated that "Public officials ... who fail to ... implement decisions when they

     are made do not fully and faithfully perform the duties of their offices." Scheuer v.




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    Rhodes,416 U.S. 232,241-42,94 S.Ct. 1683,1689,40 L.Ed2d 90(1974). Even Judges

    are subject to professional discipline, constitutional or statutory removal,or in more

    egregious cases,crimind prosecution under 18 U.S.C. Sec.242 for willful deprivations

    ofconstitutional rights. Imbler v. Pachtman,424 U.S. 409,at 429,96 S.Ct 984 at 994,

    47 L.Ed.2dl28(1976). See, Valdez v. City & Cty of Denver,878 F2d 1285 at flO &

    HI1,(lO*** Cir. 1989).The Supreme Court has explained,§ 1983 "provides that[every]
    person who acts under color ofstate law to deprive another of constitutional rights shall

    be liable in a suit for damages." Tower v. Glover,467 U.S. 914,919,104 S. Ct. 2820,81

    L.Ed.2d 758(1984)(quoting 42 U.S.C.§1983); Moss v. Kopp,559 F.3d 1155,at ffl.

    Discussion A.3"* H(lO"* Cir. 2009). If a person cannot be deprived oflife, liberty or
    property without due process of law,(s)he necessarily must have the right to protect it

    Cross V. State, 370 P.2d 371(Wyo.1962).

             WHEREFORE,because ofthe foregoing facts presented above PlaintifF, Tami

    M.Bronnenberg,THERFORE prays this MotjcffTBe'gitHjted.

           DATED:FEBRUARY 13.2019.
                                                           .Bronnenber


                                  CERTIFICATE OF SERVICE.

           I hereby certify that a copy ofthe forgoing Motion to Reconsideration pursuant to

    the U.S.D.C.L.R, Rule 7.1 was mailed or delivered to United States Magistrate Judge,

    Kelly H. Rankin, United States District Court, 2120 Capitol Ave., Suite 2204,Cheyenne,

    Wyoming 82001 on FEBRUARY 13.2019.



                                                       aim M.Bronnenb




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    Tami M.Bronnenberg, Pro-se
    P.O. Box 802
    Cody, Wyoming 82414
    (307)899-2150

                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING



    TAMI M.BRONNENBERG

                                           Plaintiff,

                          V.                                       CASE NO. 19-CV-021-S


    BEAU J. EGGAR,Arresting OfiRcer; WILLIAM K.
    SIRUEMKE,Attorney;SARA L.STRUEMKE,
    Secretary; SERVICM LEGAL SERVICES,LLC;
    MARLIN D.RICHARDSON,DC;BIG HORN BASIN                          AMENDED
    CHIROPRACTIC;CITY OF CODY;PARK COUNTY                          1983 CIVIL RIGHT
    DETENTION CENTER;BOARD OF COUNTY                               COMPLAINT PURSUANT
    COMMISSIONERS OF THE COUNTY OF PARK;                           TO 42 uses §1983

                                         Defendants.




                                           A. JURISDICTION.


            1) Plaintiff, Tami M.Bronnenberg,is a citizen of Wyoming and the United

    States of America who presently resides at 938 19^ Street, Lower Ave., Space 23,Cody,
     Wycwning 82414.

            2) Defendant, Beau J. Eggar,the arresting Officer is a citizen ofUnited States
     of America who presently resides 4225 Road 2da, Cody, Wyoming 82414-9209. At the
     time die clmm sieged in this complaint arose tiiis defendant was acting willfiil and

     wanton misconduct under color ofstate law. Sued Individually, Personally, City AND

     County Officially.




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           3) Defendant, William K. Struemke, Attorney, is a citizen ofUnited States of

    America who presently resides at 2906 Marlisa Ln., Cody, Wyoming 82414-6708. At the

    time tiie cleum alleged in dris complmnt arose this defendant was acting willful and

    wanton misconduct under color ofstate law. Sued Individually, Personally, City AND

    County Officially.

           4) Defendant, Sara L. Struemke, Secretary, is a citiz«i ofUnited States of

    America who presently resides at 2906 Marlisa Ln., Cody, Wyoming 82414-6708. At the

    time the claim alleged in this complaint arose this defendant was acting willful and

    wanton misconduct imder colmr ofstate law. Sued lndi^ddudly,Personally, City AND

    County Officially.

           5) Defendant, Servicm Legal Services, LLC,is a Wyoming Law Corporation at

    1302 Beck Ave.,Cody,Wyoming 82414. At the time the clmm alleged in this compl^t

    arose this defendant was acting willful and wanton misconduct under color ofstate law.

    Sued Individually,Personally, City AND County Officially.

           6)     Def^idant, Martin D.Richardson,DC,is a citizm ofUnited States of

    America who presently resides 11 Beacon Dr., Cody, Wyoming 82414. At the time the

    claim alleged in this complaint arose this defendant was acting willful and wanton

    misconduct under color ofstate law. Sued Individually, Personally,City AND County

    Officially.

            7) Defendant, Big Horn Basin Chiropractic is a Wyoming Medical Corporation

    at 1620 Beck Ave.,Cody, Wyoming 82414. At tire time the clmm alleged in this

    complaint arose this defendant was acting willful and wanton misconduct under color of
    state law. Sued Individually, Personally, City AND County Officially.




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           8) Defendant, City of Cody,P.O. Box 2200, Cody, Wyoming 82414 is a

    municipality in Park County. At the time the claim alleged in this complaint arose this

    defendant was acting willful and wanton misconduct under color ofstate law. Sued

    Individually, Personally, City AND County Officially.

           9) Defendant,Park County Detention Center,is a law enforcement center, 1402

    River View Drive,Cody, Wyoming 82414. At the time fee clmm alleged in feis

    complaint arose this defendant was acting willful and wanton misconduct under color of

    state law. Sued Individually,Personally, City AND County Officially.

           10) Defendant, Board ofCounty C<mimissionefs ofthe County ofPark, 1002

    Sheridan Ave., Cody, Wyoming 82414. At the time fee claim alleged in this complaint

    arose this defendant was acting willful and wanton misconduct under color ofstate law.

    Sued Individually,Personally AND County Officisdly.

           11) Jurisdiction is invoked pursuant to 28 USCS §1343(3);42 USCS §1983;

    42 USCS §1985(2,3); Civil Rights Act 1871; 28 USCS §2201; 28 USCS 2202; Federal

    Rules ofCml Procedure, Rrdes 38,65; 28 USCS §1651;42 USCS §1988; 18 U.S.C.S,

    §1201 (a),(1),(c); 18 U.S.C. §241; 18 U.S.C. §242.

                                       B. NATURE OF THE CASE.

           On January 31,2017, at approximately 1699-1627,16*** & Bleistein Ave., Street,
    Cody, Wyoming,Tami M.Bronnenberg kept telling the defendant, arresting officer Beau

    J. Egger that the warrant he was relying on,issued January 9,2017 in feis matter, was

    vacated. Tami M.Bronnenberg shows him fee court order vacating fee warrant. See,

    Exhibit -A-. attached. Officer Beau J. Egger still arrested plaintiff, placed plaintiffin his

    patrol car, drove plaintiffto fee Park County Detention Center, 1402 River View Drive,




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    booked plaintiffin at 10:19:40. See, Exhibit-B-. attached. Then released plaintiff after

    they were informed that the next stop with the court order would be the Park County

    Prosecuting Attorney's Office at 11:10:58. See,Exhibit-C-. attached. I, Tami M.

    Bronnenberg believes William K.Struemke, Attomey; Sara L. Struemke, Secretary;

    Servicm Legal Services, LLC representing Marlin D. Richardson, DC;Big Hom Basin

    Chiroinaclic; City ofCody; Paric County Detention Center; Park County Commissioners

    are equally responsible for Kidnapping,False Arrest and False Imprisonment; Conspiracy

    ofKidnapping; Conspiracy to depriving persons ofright or privileges; Conspiracy against

    rights; D^)rivation ofRights Under Color ofLaw;

                                       C.      CAUSE OF ACTION.

            1) Plaintiff, Tami M.Bronnenberg, alleges that the following ofher

    constitutional rights, privileges or immunities have been violated and that the following

    &cts form the basis for her allegations:

           a) Count I: Defendants d^ed plaintiff, Tami M.Bronnenberg,established law

    ofthe Constitution ofthe United States of America, Article 6, Amendment 4,Equal

    Protection Clause and the Due Process Clause secured by the Constitution ofthe United

    States of Arnica,Amendment 14; Federd Rules ofCriminal Procedure, Rrdes4(a),41;

    Kidnapping 18 U.S.C. §1201 (a)(1); Conspiracy to kidnap 18 U.S.C. §1201 (c);
     Conspiracy to depriving persons of right or privileges 42 U.S.C. §1985 (3); Conspiracy

    against rights 18 U.S.C.§241; Deprivation of Rights Under Color ofLaw 18 U.S.C. 242;

     Constitution ofthe State of Wyoming,Article 6,§1,§20; Art., 1, §§2,3,4,6; Wyoming

     Rules of Criminal Procedure, Rule 4(a), 41; W.S.§ 6-2-201 (a),(i); W.S.§ 6-2-201 (a),




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    (iii);(c); W.S. §6-2-203 (a); W.S. 33-5-112; W.S.33-10-110(ix); City of Cody,Personnel

    and Policy Manual, Section 3.

            i)   Supporting facts:

            1. After examining Exhibit -A-, defendant, arresting officer Beau J. Egger

    unlawfully removed Plaintifffrom the vicinity where she was at the time of the removal

    and unlawfoUy confined plaintiffftierefore terrori^g die plmntiff in violation of

    Wyoming Public Policy, W.S.§ 6-2-201 (a),(iii); 18 U.S.C.S. §1201 (a),(1); 18 U.S.C.

    242 and in violation ofthe Constitution ofthe United States of America, Article 6;

    Amendment 4; Constitution ofthe State of Wyoming,Article 6,§20; Art., 1 Section 4;

    Federal Rules of Criminal Procedure, Rules 4.(a); Wyoming Rules of Criminal

    Procedure, Rule 4;Equal Protection Clause and the Due Process Clause secured by die

    United States Constitution, Amendment 14 and the Wyoming Constitution, Article 1,

    §§2,3,6; Article 6,§1.

           2. Officer Beau J. Egger knovdngly and unlawfully restrained die plaintiffso as

    to interfere substantially with her liberty in violation of Wyoming Public Policy, W.S. §6-

    2-203(a), a legitimate expectation ofprivacy as to the property rights the plaintiff

    possessed in die invaded area.

           3. Defendant, William K. Struemke, Attorney is a practicing and acting poUcy

     maker for defendant Servicm Legal Services, LLC,defendant City of Cody,defendant

    Park County is equally responsible for die practice and acts ofthe invalid warant

    contracted and accepted by Marlin D. Richardson,DC.,a practicing and acting policy

     maker for defendant. Big Horn Basin Chiropractic. See,Exhibit -A-. to hold for

    collections,(ransom),in ^dotation of Wyoming Public Policy, W.S.§ 6-2-201 (a),(i); ***




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    or to terrorize the victim ***. W.S. §6-2-201 (a),(iii) into submission; Conspiracy to

    kidnap 18 U.S.C, §1201 (c); Conspiracy to depriving persons ofright or privileges 42

    U.S.C.§1985(3);Conspiracy a^junst rights 18 U.S.C. §241; Dejwivationof Ri^ts under

    Color of Uw 18 U.S.C. §242.

            4. Defendant, William K. Struemke, Attomey threaten and confirmed that he

    woidddo it again after the \dolation in a phone call to tiie plaintiffon 2/16/17in violation

    of. Wyoming Public Policy, W.S. §6-2-201 (a),(iii).

            5. Defendant, William K. Struemke,Attomey is bound by constitutional oath not

    to ignore valid legal court orders, in addition to W.S. 33^5^112. Oatiiofattomey.''No

    person shall be deemed admitted to the bar until he shall have taken and filed an oath as

    provided in this section. The oath shall be to the effect that he will support, obey, and

    defend die constitution ofdte United States, and die constitution and laws ofdiis state,

    and that he will faithfully and honesdy and to the best of his ability discharge the duties

    ofan attomey and counselor-at-law.***".

            6. Defeidant, Sara L. Struemke,as legd secretary on cmitract is ^so bound by

    constitutional oath not to ignore legal orders in their mail box for William K.Struemke,

    Attomey her employer,in violation of Conspiracy to kidnap 18 U.S.C. §1201 (c);

    Conspiracy to dqniving persons ofright or pri^leges 42 U.S.C.§1985(3);Conspiracy

    against rights 18 U.S.C. §241; Deprivation ofRights Under Color ofLaw 18 U.S.C.

    §242.

            7. Defendant, Servicm Legal Services, LLC in violation of Conspiracy to kidnap

     18 U.S.C. §1201 (c); Conspiracy to depriving persons of right or privileges 42 U.S.C.




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    §1985(3); Conspiracy against rightsIS U.S.C. §241; Deprivation of Rights under Color

    ofLawlSU.S.C. §242.

            8. Defendant Mariin D. Richardson, DC is prohibited,"To violate or attempt to

    violate, directly or indirectly or assist in or abet the violation or conspiring to violate any

    IMXJvisionor terms of33-10-101 Oiroi^h 33-10-117];the Chiropractic Practice Act.".

    See, W.S.33-10-110(ix); in violation of Conspiracy to kidnap 18 U.S.C. §1201 (c);

    Conspiracy to depriving persons of right or privileges 42 U.S.C. §1985 (3); Conspiracy

    e^ainst rights 18 U.S.C. §241; Deprivation of Rights under Color ofLaw 18 U.S.C. §242.

           9. Defendant, Big Horn Basin Chiropractic is prohibited,"To violate or attempt

    to violate, directly or indirectly or assist in or abet the violation or conspiring to violate

    any provision or terms of33-10-101 Oirough 33-10-117], the Chiropractic Practice Act"

    See, W.S.33-10-110(ix); in violation of Conspiracy to kidnap 18 U.S.C. §1201 (c);

    Conspiracy to depriving persons ofright or privileges 42 U.S.C. §1985 (3); Conspiracy

    against rightsIS U.S.C.§241; Deprivation ofRights under Color ofLaw 18 U.S.C. §242.

            10. This practice and acts ofthe defendant. City of Cody is the second time this

    has occurred. See,Exhibit -D-.-E-.F-."*** The City ofCody does not discriminate in

    employment opportunities or practices on the basis ofrace,color, religion,sex, national

    origin, age,disability, or any other characteristic protected by law. In addition, the City of

    Cody is committed to ensuring that employees do not harass or treat any other employee,

    job applicant or member ofthe public unfairly." See,City ofCody,Personnel and Policy

    Manual, Section 3. Equal Employment Opportunity; in violation of Conspiracy to kidnap

    18 U.S.C. §1201 (c); Conspiracy to depriving persons of right or privileges 42 U.S.C.




                                                                                                      45
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    §1985(3); Conspiracy against rights 18 U.S.C. §241; Deprivation of Rights under Color

    ofLawlSU.S.C. §242.

           11. Defendant,Park County Detention Center, is a law enforcement center that

    was used to terrorize the victim ***. W.S.§ 6-2-201 (a),(iii) into submission and to

    intCTfere substmitially widi her liberty in violation of Wyoming Public Policy, W.S.§6-2-

    203(a), a legitimate expectation of privacy as to the property rights the plaintiff

    possessed in the invaded area; in violation of Conspiracy to kidnap 18 U.S.C. §1201 (c);

    Conspiracy to depriving prisons ofright or privileges 42 U.S.C. §1985(3); Conspiracy

    agmnst rights 18 U.S.C.§241; Deprivation of Rights Under Color ofLaw 18 U.S.C. §242.

           12. Defendant,Board of Coimty Commissioners ofthe County ofPark has

    ent«ed into a contract or ^re^^t to jointly establish and op^te,police jaotection

    agency facilities and jail and administrative office facilities or any combination thereof.

    See, W.S. 18-2-108; in violation of Conspiracy to kidnap 18 U.S.C. §1201 (c);

    Conspiracy to depriving p^sons ofright or privileges 42 U.S.C.§1985(3);Conspiracy

    against rights 18 U.S.C. §241; Deprivation ofRights under Color ofLaw 18 U.S.C. §242.

                    D.PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF.

           1) Plaintiff has In the United States Bankruptcy Court for the District of

    Wyoming.,In re: Tami Mae Brormenberg,Debtor,Randy L. Royal, Trustee ofthe

     Bantoptcy Estate ofTami Mae Bronnenbesg, Plmntiff, v. Tami Mae Bronnenberg,

    Defendant., Case No: 17-20201 Chapter 7, Adv. 17-02031., other administrative

    regarding the acts complained ofin Part C.

                                       E. REQUEST FOR RELIEF.

           I believe I am entitled to the following relief::




                                                                                                  46
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           (A) A declaratory judgment pursuant to 28 uses §§2201 and 2202,(Wyoming

    Statutes 1977, §§1-37-101 to 1-37-115), declaring that defendant's acts, polices and

    practices herein described and complmned of violated plmntiffs rights under the United

    states Constitution and the Wyoming Constitution.

           (B) A preliminary and permanent injunction pursuant to the Federal Rules of

    Civil Procedure, Ride 65,(W.R.C.P.,Ride65; Wyoming Statutes 1977,§§1-28-101 to

    111), which:

           (i) Prohibits the Defendants,their successors in office, agents, and employees

    and dl odiCT persons in action concert and participation witii them frmn denying plAtiff

    established law ofthe Constitution ofthe United States ofAmerica, Article 6,

    Amendment 4,Equal Protection Clause and the Due Process Clause secured by the

    Constitution oftiie United States of America, Amendment 14; Federal Rides ofCriming

    Procedure, Rules 4(a),41; Conspiracy to kidnap 18 U.S.C. §1201 (a),(c);42 U.S.C.

    §1985(3)Conspiracy to depriving persons ofright or privileges; 18 U.S.C. §241

    Cimspiracy against ri^ts;ConstitutiiMi ofthe State of Wyoming,Article6,§1,§20; Art.,

    1, §§2,3,4,6; Wyoming Rules of Criminal Procedure, Rule 4(a),41; W.S.§ 6-2-201 (a),

    G); W.S.§ 6-2-201 (a),(hi);(c); W.S. §6-2-203(a); W.S.33-5-112; W.S.33-10-110 (ix);

    City ofCody,Personneland Policy Manual, Section 3.

           (ii)    Prohibit defendants, their successors in office, agents and employees and all

    other persons in active concert and participation with them fix)m retaliating against

     plmntiffin any way.

           (C) Demand for jury trial pursuant to Federal Rides of Civil Procedure, Rule 38

    Ca),(b).




                                                                                                   47
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          (D) Compensatory damages for loss pain, suffering, humiliation irreparable

    injury and the consequences of deprivation or loss ofrights in personal, individual,
    official capacity ofdie defendsuite jointiy and severally in the amornit as the proof may
    show plus taxation cost,(28 USCS §1915 (e).

           (E) Punitive damages for bad faith and willful actions ofthe defendants in their
    p^sonsd,individual,ofiScial capacity in the amount die comt may determine, plus
    taxation cost,(28 USCS §1915 (e).

           (F) Award plaintiff her cost(28 USCS §1915(e)and attorney fees,42 USCS
    §1988),that attorney be appointed(28 USCS §1915(d)and suchotiier mid fiirdier relief
    that the court deems to be ^propriate and just(28 USCS §1615).

                         DECLARATION UNDER PENALTY OF PERJURY.

            The undersigned declares under penalty of pegury that she is the plaintiffin the
    above action, tl^^t she read the above complaint and that the information contained
    therein is true and correct. 28 USCS §1746,18 USCS §1^21-&ecuted at Cody,
    Wymning on FEBRUARY 13.2019.                           (        )          f--.
                                                                -4^ 'I
                                                          ^T^iM.Bronnenbdfg,

                                  CERTIFICATE OF SERVICE.

           I hereby certify that a copy ofthe forgoing Amended 1983 Civil Right Complaint
    pursuant to 42 USCS §1983 was mailed or delivered to Clerk, United States District
    Court, United States District Judge, Scott W.Skavdahl, 111 S. Wolcott,Room 121,
    Casper, Wyoming 82601;Beau J. Eggar,Arresting Officer,4225 Road 2da, Cody,
    Wyoming 82414-9209; William K. Stru^nke, Attorney, 2906 Marlisa Ln., Cody,
    Wyoming 82414-6708; Sara L. Struemke, Secretary, 2906 Marlisa Ln., Cody, Wyoming
    82414-6708; Servicm Legal Services, LLC; 1302 Beck Ave., Cody, Wyoming 82414;
    Marlin D. Richardson,DC; 11 Beacon Dr., Cody, Wyoming 82414; Big Horn Basin
    Chiropractic; 1620 Beck Ave.,Cody, Wyoming 82414; City of Cody;P.O.Box 2200,
    Cody, Wyoming 82414;Park County Detention Center; 1402 River View Drive, Cody,
    Wyoming 82414; Board of County Commissioners ofthe County ofPark, 1002 Sheridan
    Ave., Cody, Wyoming 82414 FEBRUARY 13.2019.


                                                       ami M. Bronn




                                                                                                10
                                                                                                     48
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          STATE OF WYOMING                          )                 IN THE DISTRICT COURT
                                                    )
          COUNTY OF PARK                            )                 FIFTH JUDICIAL DISTRICT

                                                                      Civil Action No. 28047
          BIG HORN BASIN CHIROPRACTIC.

                             Plaintiff.
                                                                                   PATRA!.
                   vs.                                                             Clerk of DiJilncl Ccjri

          TAMI BRONNENBURG.                                                     filed JAN J-7 2017

                              Defendant.                                                        Deputy


              ORDER VACATING WARRANT AND RESETTING PREVIOUSLY SCHEDULED
                                                               HEARING



          UPON THE COURT'S OWN MOTION. IT IS HEREBY ORDERED that the Warrant

          issued January 9, 2017 in this matter is vacated.

          IT IS ALSO HEREBY ORDERED that the hearing previously scheduled for January 17.

          2017 by Order filed on December 30. 2016, is hereby rescheduled for Jq
          2017 at          ^ *00 ■ P .M.. in the District Courtroom of the Park County Courthouse
          In Cody, Wyoming.

                    Cases shall not be continued upon stipulation of counsel alone, but such

          continuances may be allowed by Order of the Court. No such continuances shall be

          allovi/ed. except for good cause shown.
                                       \n^
                    DATED this v 5 day of January, 2017.
                             STATE OF VWOMING )33
                             COUNTY OF PARK             )
                             t nertifv that the foregoing is

                                                                            DISTRICT JUDGE


                                            PATftA LiNDENfHAL
          Copies to:                                    • let Cour\
                                            Clerk of Di^Wct   Court
                                                          nrrILF——_
             llliam K. Stru
      ^/Tami Bronnenberg
          state of Wyoming             )
                                       )ss.
          County of Park               )

          I certify (hat I distributed a true and
          correct copy of the foregoing this
          /r day of
          as indicated.



          M = Mail / F = FAX / B = Clerk's Box
          H s Hand Delivered




                                                                                                             49
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 Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 50


       ......resident copy


Intake
Receipt #A01838
Park County Detention Center
01/31/2017 10:19:40
ST 04l| CD00l|                   I OPR Aao
BRONNENBERG,
  TAMl MAE


  RIMS ID Number:       106375
  Date of Birth:        04/12/1969
  Location:




Open Amount        : $0.00


Cash



Booking



Commissary Balance:                    $0.00
Debt Balance:                          $0.00




                                                                                  50
           Case 2:19-cv-00021-SWS Document 9 Filed 02/14/19 Page 13 of 17
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      ...... RESIDENT COPY •**•••


Release
Receipt #A01839
Park County Detention Center
01/31/2017 11:10:58
ST 041| CD 00l|                  I OPR Aao
BRONNENBERG,
  Tm\ MAE


  RIMS ID Number:       106375
  Date of Birth:        04/12/1969
  Location:


Cash Amount         :                $0.00

Total Released      :                $0.00



Comment: Release




Commissary Balance:                      $0.00
Debt Balance:                            $0.00




                                                                                  51
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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 52




 STATE OF WYOMING                      )                  IN THE MUNICIPAL COURT
                                       )SS
 COUNTY OF PARK                        )                  FIFTH JUDICIAL DISTRICT
                              \

                                                          Docket No. MC-1303-009
 CITY OF CODY,

                 Plaintiff,

 vs.
                                                              Svi
                                                                                     LEBK
 TAMIBRONNENBERG,                                                                  d
                 Defendant.



       ORDER DISMISSING PENDING MOTION FOR EXPUNGEMENT AND OTHER
        RELIEF AND ORDER DISMISSING PENDING MATTER REFERENCED AS
                    CRIMINAL DOCKET MC1303-009 WITH PREJUDICE



          THIS MATTER HAYING come before this Court upon the stipulated motion of the

 Defendant Tami Bronnenberg, by and through her attomey, William L. Simpson, and City of

 Cody appearing by and through its attomey, City Attomey Scott Kolpitcke, and the Court having

 had an opportunity to review the stipulation and being otherwise fully advised in the premises;

          IT IS THEREFORE HEREBY ORDERED that the previously filed motion seeking to

 expunge the Defendant's criminal record, and other relief sought in that motion is hereby

 dismissed with prejudice;                                                                   . .

          IT IS FURTHER-ORDERED by this Court that the pending crimihal case within the City

 of Cody,referenced as City of Cody MC-1303-009, shall be and i^ dismissed with prejudice.
          IT IS FURTHER ORDERED that the Defendant shall bear her own costs and expenses

 affiliated with this matter, as will the City of Cody.

          DATED this J^day of                             ,2014.



                                                                   Municipal Court Judge

  APPROVED AS TO FORM:




  Scott
  City of Cody                                                                       M4y 02 2014
                                                                                    S/MPSOW./ffftfDp

  William L. Si
  Attomey for D
                                                                                                       52
                Case 2:19-cv-00021-SWS Document 9 Filed 02/14/19 Page 15 of 17
      Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 53


CnYOPCODY
                                                              Information Request
 WYOMING



      I am requesting the Gty of Cody provide the following information in accordance wl^ Wyoming State Statute 16-4-201,
      Public Records, Article 2:                                        /n                        i )/^

      PARTI: I hereby request to:             Inspect            Copy the following records(fee required):
      (please be specific and include names, dates, keywords and the name ofthe record) Attach additionalsheet if necessary.


           jr. //                              €          c- ^Ir   7^
           P^crL ■!- /)/„.                     -/30. ? -g)/? 9
                                                                   Si

                                                        /
                             Pf S        i <.< / ^                                                                               'f
                                                                    Jf:"S      s" s I ^                       ht/S'


                            z                            f Arr.L-f y^/^/SO^-OO^
      PART 11: If the request is for Copy, what document format do you request?                   Paper             Electronic


              If paper format what delivery method do you request?                    Pick UD             US Mail           Fax


               If electronic format what delivery method do you request?                  Email              Disk


      Name of individual requesting information

      Mailing Address (required if US mail delivery Is requested)
                                                                                          }Po)C YO'i-                      ^
      Phone Number


      Fax Number (required If fax delivery Is requested)

      Email Address (required if email delivery is requested)


      The City of Cody will attempt to provide the information requested within a reasonable time frame. Please note that some requests may
      require additional research and preparation that may prolong the amount of time in which you receive your request.

       understand thp^ may         fee t^^provide th^s^quested information. Fee must be paid at the time this request is submitted.

       Requestc rs Signawre
                                                                     ^//j//?-
       Fee due to City $.                            Date Paid                     Receipt#,

       Information Provided By:              Date Provided:                      Request Denied By:.           Notice Sent:




                                                                                                                                        53
                       Case 2:19-cv-00021-SWS Document 9 Filed 02/14/19 Page 16 of 17
             Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 54


                ......resident copy•*"


          Bail
          Receipt #B11497
                                 B11498
          Park County Detention Center
          03/07/2014 08:49:27
     ;- ST 002|                                    OPR JGH

H-    ^    BRONNENBERG,
■ ^ TAMIMAE
            RIMS ID Number:         106375
            Date of Birtti:        04/12/1969
            Location:


          Bail Account : Fine Payment
          Set Amount                    $110.00 '.

          Transfer Amt
                                           c'fM

          Still Owed



          Check Information:
                                             ■ml
          Checkbook           : Inmate Accdiint
          Check #             : 14312

          Check Amount : $110.00

                     Payee: City of Cody
                     Memo : MC-1303-009




          Commissary Balance:                          $0.00
          Debt Balance:                                $0.00
                                                                                                  m


                                                                                        .        y.




                                                                                    i       !*




                                                                                r                *




                                                                                                      54
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              RESIDENT COPY

Intake
Receipt #B11496
Park County Detention Center
03/07/2014 08:48:16
ST 002| CD OOl]               I OPR JGH
BRONNENBERG,
 TAMI MAE


  RIMS ID Number:   106375
 Date of Birth:     04/12/1969
  Location:




Open Amount : $110.00


Cash




Commissary Balance:                $110.00
Debt Balance:                        $0.00




                                                                                     55
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   STATE OF WYOMING                                          IN THE MUNICIPAL COURT
                                          )SS
   COUNTY OF PARK                                            FIFTH JUDICIAL DISTRICT

                                                             Docket No. MC-1303-009
   CITY OF CODY,                                  )

                   Plaintiff,                     )              fiMi J4b'l/l4 A
    vs.
                                                  )              Bvi
                                                                                              xm,
   TAMI BRONNENBERG,                              )
                                                  \
                                                                                           ^
                                                  )
                   Defendant.                     )


          ORDER DISMISSING PENDING MOTION FOR EXPUNGEMENT AND OTHER
           RELIEF AND ORDER DISMISSING PENDING MATTER REFERENCED AS
                      CRIMINAL DOCKET MC1303-009 WITH PREJUDICE



            THIS MATTER HAVING come before this Court upon the stipulated motion of the

    Defendant Tami Bronnenberg, by and through her attorney, William L. Simpson, and City of

    Cody appearing by and through its attorney, City Attorney Scott Kolpitcke, and the Court having

    had an opportunity to review the stipulation and being otherwise fully advised in the premises;

            IT IS THEREFORE HEREBY ORDERED that the previously filed motion seeking to

    expunge the Defendant's criminal record, and other relief sought in that motion is hereby

    dismissed with prejudice;

            IT IS FURTHER ORDERED by this Court that the pending criminal case within the City

    of Cody, referenced as City of Cody MC-1303-009, shall be and is dismissed with prejudice.

            IT IS FURTHER ORDERED that the Defendant shall beai' her own costs and expenses

    affiliated with this matter, as will the City of Cody.

            DATED this          day of                   _,2014.




                                                                   Municipal Court Judge

    APPROVED AS TO FORM:




                                                                       state of Wyoming          )
    Scott Kolpitcke                                                    County of Park            )
    City of Cody                                                       I certify that the foregoing is a true copy of the
                                                                       original document on file in the office of the
                                                                       Municipal Court for ttie City of Cody, vy^ming.


                                                                             Barbara Curless. Clerk of the Muhicipel Court
    William L. Simps(
    Attorney for Defendant

                                                                                                                             56
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                                                                              'FILED
                          UNITED STATES DISTRICT COURT                B(S I     OF WYOHfNS
                             DISTRICT OF WYOMING
                                                                      Z0I9FEB25 fiM8.-38
 TAMI MAE BRONNENBERG,                                                        OASPlH


             Plaintiff,

       V.                                                    Case No. 19-CV-21-SWS


 BEAU J. EGGAR,Arresting Officer; WILLIAM K.
 STRUEMKE,Attorney; SARA L. STRUEMKE,
 Secretary; SERVICM LEGAL SERVICES,LLC;
 MARLIN D. RICHARDSON,DC;BIG HORN BASIN
 CHIROPRACTIC;CITY OF CODY;PARK COUNTY
 DETENTION CENTER;BOARD OF COUNTY
 COMMISSIONERS OF THE COUNTY OF PARK;

              Defendants.



     ORDER ON 28 U.S.C.§ 1915 SCREENING OF AMENDED COMPLAINT


       This matter comes before the Court on Ms. Bronnenberg's pro se Amended 1983

 Civil Rights Complaint Pursuant to 42 USCS §1983(Doc. 9), filed on February 14, 2019.

 Because Ms. Bronnenberg seeks to proceed in forma pauperis in this action without the

 prepayment of fees (Doc. 2), the litigation process generally begins with the Court

 screening her amended complaint under 28 U.S.C. § 1915. See Buchheit v. Green, 705

 F.3d 1157, 1161 (10th Cir. 2012)(noting that prompt screening, even for cases involving

 non-prisoners,"may be a good thing and conserve the resources of defendants forced to

 respond to baseless lawsuits"). Ms. Bronnenberg's original civil rights complaint was

 dismissed without prejudice upon initial screening for failure to state a plausible claim




                                                                                             57
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 upon which relief could be granted. (Doc. 5.) She then sought and received leave to file

 this amended complaint(Docs. 6,7), which the Court now screens.

                                              LAW


        Section 1915(e)(2)(B) requires a district court to dismiss the case whenever the

 court determines the action "fails to state a claim on which relief may be granted or seeks

 monetary relief against a defendant who is immune fi^om such relief." See Merryfield v.

 Jordan, 584 F.3d 923, 926 (10th Cir. 2009). For § 1915 screening purposes, the Court

 accepts the Plaintiffs allegations as true and construes all reasonable inferences drawn
 jfrom those allegations in the light most favorable to the Plaintiff. See Kay v. Bemis, 500

 F.3d 1214,1217-18(10th Cir. 2007).

                                          DISCUSSION


        The underlying basis for Ms. Bronnenburg's amended civil rights complaint seems

 to be an allegation that Defendant Beau Eggar*, a law enforcement officer at the relevant

 time, arrested her on January 31, 2017, on an invalid arrest warrant despite her attempts

 to explain to him why it was invalid. (Doc. 9 at pp. 3-4.) It appears she was released
 from detention less than an hour after being booked, ostensibly because the arrest warrant

 had indeed been canceled. (Id.) As for the other defendants, she alleges generally that

 they are somehow also responsible for her arrest and they conspired together to

  wrongfully arrest her.

  1,     Ms. Bronnenhurg has stated a plausible S 1983 claim for false arrest/false
         imprisonment under the Fourth Amendment against Defendant Beau Egger.



 'Ms. Bronnenburg also spells this defendant's name as"Egger" in her amended complaint.
                                             Page 2 of 12

                                                                                               58
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           Officer Eggar "was relying on" an arrest warrant as his basis for arresting Ms.

 Bronnenburg. (Doc. 9 at p. 3.) Attached as "Exhibit A" to her amended complaint is an

 "Order Vacating Warrant and Resetting Previously Scheduled Hearing," entered by the

 state district judge of the Fifth Judicial District of Wyoming. (Doc. 9 at p. 11.) It was

 entered on January 17, 2017, and it ordered "that the Warrant issued January 9, 2017 in

 this matter is vacated." {Id.) Ms. Bronnenburg alleges she showed this order to Officer

 Eggar at the time he arrested her on January 31, 2017, to convince him not to execute the

 arrest warrant, but he ignored her and arrested her anyway. (Doc. 9 at pp. 3-4, 5.)

 Nowhere in her amended complaint does Ms. Bronnenburg suggest the arrest warrant on

 which Officer Eggar relied was somehow invalid on its face {see generally Doc. 9), but

 its facial validity can be reasonably questioned at this point, particularly considering that

 the order vacating the warrant had been filed two weeks prior to Ms. Bronnenburg's

 arrest.


           Generally, an officer executing an arrest warrant that is valid on its face enjoys

 absolute immunity (also known as "quasi-judicial immunity"). "Just as judges acting in

 their judicial capacity are absolutely immune from liability under section 1983, official[s]

 charged with the duty of executing a facially valid court order enjoy[] absolute immunity

 from liability for damages in a suit challenging conduct prescribed by that order." Moss

 V. Kopp, 559 F.3d 1155, 1163 (10th Cir. 2009)(alterations in original)(quoting Turney v.

 O'Toole, 898 F.2d 1470, 1472 (10th Cir. 1990)). However, to be entitled to this absolute

 immunity, "the judge issuing the disputed order must be immune from liability in his or

  her own right, the officials executing the order must act within the scope of their own

                                            Page 3 of 12

                                                                                                 59
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 jurisdiction, and the officials must only act as prescribed by the order in question." Id.
 The amended complaint does not suggest whether these absolute-immumty requirements

 are or are not met. But construing Ms. Bronnenburg's alleges as true and making all

 reasonable inferences in her favor, as the Court must do at this preliminary stage, the

 Court finds a plausible claim of false arrest/false imprisonment in violation of the Fourth
 Amendment has been stated in the amended complaint, and the question remains whether

 Officer Eggar is entitled to absolute immunity from that claim.

 2.     Ms. Bronnenhurg has not stated anv other plausible S 1983 claims against
        Officer Eggar or against any other defendant.

        Ms. Bronnenburg's "Cause of Action" section in her amended complaint attempts

 to assert several other claims against Officer Eggar and the other defendants, but those

  allegations do not create viable claims under 42 U.S.C. § 1983 for several reasons.
        First, there is no due process claim stated in connection with her false arrest/false

  imprisonment because there is no allegation that legal process was ever instituted against
  Ms. Bronnenburg. Indeed, her amended complaint suggests she was released about an
  hour after booking and nothing more ever came of it. (Doc. 9 at pp. 3-4.) Thus, there is
  no due process violation stated in her amended complaint. See Mondragon v. Thompson,
  519 F.3d 1078, 1083 (10th Cir. 2008)(explaining that a false arrest/false imprisonment
  claim under the Fourth Amendment accrues during "[t]he period of time between an

  unlawful arrest and the institution of legal process," whereas a due process claim under
  the Fourteenth Amendment accrues during "[t]he period of time between the institution

  of[legal] process and its favorable termination").


                                          Page 4 of 12

                                                                                                60
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        Second, as to her claims of Wyoming Constitution violations, 42 U.S.C. § 1983

 "applies to federal constitutional violations and not to state constitutional violations."

 Herrera v. Santa Fe Public Schools^ 41 F. Supp. 3d 1027, 1081 n.l23(D.N.M. 2014);see

 also Davis v. Reynolds, 890 F.2d 1105, 1109 n.3 (10th Cir. 1989) (describing a claim

 grounded in the state constitution as a state law claim)(citing Pulley v. Harris, 465 U.S.

 37, 41 (1983)); Brock v. Herbert, 2012 WL 1029355, at *2 (D. Utah Mar. 26, 2012)

 (unpublished)(describing alleged violations ofthe Utah Constitution as "exclusively state

 law claims"). To state a claim xmder § 1983, a plaintiff must allege the violation of a

 right secured by the U.S. Constitution or federal law, West v. Atkins, 487 U.S. 42, 48

 (1988); an alleged violation of state law does not amount to a § 1983 claim. However,

 Ms. Bronnenburg relies on § 1983 as the basis for asserting all her claims, even naming

 her complaint "Amended 1983 Civil Rights Complaint Pursuant to 42 USCS §1983."

 (Doc. 9.) Section 1983 does not afford Ms. Bronnenburg the right to bring state law

 claims in federal court. This principle also precludes her claims alleging the defendants

 violated state criminal statutes and state rules of criminal procedure.

        Third, as to her claims alleging violations of federal criminal statutes (such as

 kidnapping and conspiracy to kidnap in violation of 18 U.S.C. § 1201),"a plaintiff may

 not recover civil damages for an alleged violation of a criminal statute." Shaw v. Niece,

 111 F.2d 947, 949 (10th Cir. 1984). Criminal statutes "do not provide for a private civil

  cause of action." Henry v. Albuquerque Police Dep't, 49 F. App'x 212, 273 (10th Cir.

  2002)(unpublished)(stating that 18 U.S.C. §§ 241 and 242 do not create a private civil

  cause of action); see also Diamond v. Charles, 476 U.S. 54, 64-65 (1986)(holding that
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 private citizens cannot compel enforcement of criminal law); Andrews v. Heaton, 483

 F.3d 1070,1076(10th Cir. 2007)("criminal statutes that do not provide for a private right

 of action[] are[] not enforceable through a civil action"). Ms. Bronnenburg's claims that

 the defendants violated certain criminal statutes are not viable causes of action in this

 civil lawsuit.


        Fourth, her claims alleging the defendants violated the Federal Rules of Criminal

 Procedure are also incognizable because "rules governing procedure in the federal courts

 do not give rise to private causes of action." Good v. Khosrowshahi, 296 F. App'x 676,
 680(10th Cir. 2008)(unpublished); see also Duncan v. Jackson Energy Auth., No. 1:15-

 CV-1238-JDB-EGB, 2016 WL 4079033, at *2 (W.D, Term. June 28, 2016)

 (unpublished), report and recommendation adopted. No. 15-1238, 2016 WL 4074482

 (W.D. Tenn, July 29, 2016)(unpublished) (stating that "[n]either the Federal Rules of

 Civil Procedure nor the Federal Rules of Criminal Procedure provides" a plaintiff with a

 private cause of action against a defendant); Heiken v. Meeks, No. 2:17-CV-304-WKW,

 2018 WL 1163467, at *3 (M.D. Ala. Feb. 12, 2018) (unpublished), report and

 recommendation adopted, No. 2:17-CV-304-WKW, 2018 WL 1157550(M.D. Ala. Mar.

 5, 2018)(unpublished)(holding that a state's rules of criminal procedure "do not create a

  private right of action for violations of the rules"). Ms. Bronnenburg's claims that the

  defendants violated certain rules of criminal procedure are not viable causes of action in

  this civil lawsuit.


         Fifth, as to all defendants except Officer Eggar, Ms. Bronnenburg's claims of a

  mass conspiracy to kidnap or falsely arrest her fail to state a plausible claim upon which
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 relief can be granted. Under the U.S. Supreme Court's decisions in Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), federal

 pleading "demands more than an unadorned, the-defendant-unlawfiilly-harmed-me

 accusation." Gee v. Pacheco, 627 F.3d 1178, 1184 (10th Cir. 2010)(internal quotation

 marks omitted). "[A] complaint must contain sufficient factual matter, accepted as true,

 to state a claim to relief that is plausible on its face." Iqbal, 556 U.S. at 678 (internal

 quotation marks omitted). "In § 1983 cases, defendants often include the government

 agency and a number of government actors sued in their individual capacities. Therefore

 it is particularly important in such circumstances that the complaint make clear exactly

 who is alleged to have done what to whom, to provide each individual with fair notice as

 to the basis of the claims against him or her, as distinguished from collective allegations

 against the state." Bobbins v. Oklahoma, 519 F.3d 1242, 1249—50 (10th Cir. 2008)

 (emphasis in original) (citing Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1970-71

 n.lO (2007)). Ms. Bronnenburg's amended complaint, however, entirely fails to set forth

 any factual allegations in support of her claims against the remaining defendants. Ms.

 Bronnenburg's bald assertions, e.g., that a local attorney and a local chiropractor

 conspired to have Ms. Bronnenburg falsely arrested so they could hold her "for

 collections (ransom)"(Doc.9 at p. 5), are untethered to any supporting factual allegations

 and constitute no more than speculation and conjecture, which fails to state a plausible

 claim on which relief can be granted. "Conclusory allegations of conspiracy are

 insufficient to state a valid § 1983 claim." Durre v. Dempsey, 869 F.2d 543, 545 (10th

  Cir. 1989); see also Fuller v. Davis, 594 F. App'x 935, 939 (10th Cir. 2014)

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(unpublished) (affirming the trial court's dismissal of a § 1983 claim of conspiracy

 because the "plaintiffs conjecture that [a defendant] conspired with other defendants to

 create an unenforceable no-contact order is too speculative and conclusory" to state a

 plausible claim for relief). Indeed, most of Ms. Bronnenburg's allegations against the

 remaining defendants consist of assertions that the defendants have certain duties, e.g.,

 that the local attorney is bound by Wyoming's attorney oath, but never actually alleges

 those duties were breached (let alone how they were breached). {See Doc. 9 at pp. 6-8.)

 A cause of action unsupported by factual allegations must be dismissed for failure to state

 a claim on which relief may be granted.

        Sixth, concerning the § 1983 claims against the governmental entities (here, the

 City of Cody, the Park County Detention Center, and the Park County Board of County
 Commissioners), Ms. Bronnenburg has not identified any policy, custom, or practice as

 the driving force behind the alleged constitutional violation. Section 1983 does not allow

 governmental entities to be held vicariously liable for the unlawful acts of their
 employees under respondeat superior principles. See Monell v. Department of Social
 Servs., 436 U.S. 658, 691 (1978). That is, they cannot be liable solely because they
 employed a liable employee. Instead, governmental entities may only be liable under §
  1983 for their own unconstitutional conduct, specifically where constitutional deprivation

 is inflicted pursuant to the governmental entity's policy, custom, or practice. Monell, at
 690-91, 694. "Locating a policy ensures that a municipality [or other governmental
  entity] is held liable only for those deprivations resulting from the decisions of its duly
  constituted legislative body or ofthose officials whose acts may fairly be said to be those
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 of the municipality." Board of County Commissioners ofBryan County, OkL v. Brown,

 520 U.S. 397,403-04(1997).

       Here, Ms. Bronnenburg did not identify any policy from the Park County

 Detention Center or the Board of County Commissioners, let alone a policy that caused

 her alleged constitutional deprivation. {See Doc. 9 at p. 8.) As to the City of Cody, Ms.

 Bronnenburg identified a city policy that prohibits its employees from discriminating

 against or harassing others. (Doc. 9 at p. 7.) She did not explain how this policy caused

 her alleged constitutional deprivation. {See id.) In fact, it seems she has asserted the

 defendants violated this policy and their policy violation led to her alleged constitutional

 deprivation. {See id.) This is no basis for municipal liability under § 1983, though. As

 noted above, the City of Cody cannot be held liable under § 1983 for the illegal conduct

 ofits employees unless the city caused such illegal conduct through a city policy, custom,

 or practice. Ms. Bronnenburg's allegation here is that one or more city employees caused

 her alleged constitutional violation because they failed to follow the city's non-

 discrimination/non-harassment policy, but this is the exact opposite of the mumcipal

 liability allowed under § 1983.

        Seventh and fmally, Ms. Bronnenburg sued each defendant "Individually,

 Personally, City AND County Officially" (sic). (Doc. 9 at pp. 1-3 (emphasis in

 original).) It is reasonable to construe this language as Ms. Bronnenburg's attempt to sue

 the defendants in both their individual and official capacities. However, official-capacity

 suits "generally represent only another way of pleading an action against an entity of

 which an officer is an agent." Kentucky v. Graham, 473 U.S. 159, 165-66 (1985)

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(quoting Monell v. New York City Dept. of Social Services, 436 U.S. 658, 690 n.55

 (1978)). "As long as the government entity receives notice and an opportunity to

 respond, an official-capacity suit is, in all respects other than name, to be treated as a suit

 against the entity. It is not a suit against the official personally, for the real party in

 interest is the entity." Id. at 166 (intemal citation omitted). Because the Court

 determined above that Ms. Bronnenburg failed to state plausible claims against the

 governmental entities, the official-capacity claims must be dismissed along with those

 governmental-entity claims because they are one and the same.

 3.     All claims except for false arrest/false imprisonment against Defendant Eggar
        are dismissed with prejudice because further amendment would be futile.

        When dismissing pro se claims for failure to state a plausible claim upon which

 relief can be granted, "the district court should allow a plaintiff an opportunity to cure

 technical errors or otherwise amend the complaint when doing so would yield a

 meritorious claim." Curley v. Perry, 246 F.3d 1278, 1284 (10th Cir. 2001). "Pro se

 litigants are to be given reasonable opportunity to remedy the defects in their pleadings."

 Hall V. Bellmon,935 F.2d 1106,1110 n.3 (10th Cir. 1991).

        The Court dismisses with prejudice all claims except the false arrest/false

 imprisonment claim against Defendant Eggar because Ms. Bronnenburg was previously

 provided an opportunity to amend her complaint to state plausible claims for relief. {See

 Doc.5 (dismissing without prejudice the original complaint); Doc. 7(granting request for

 leave to amend the original complaint).) Ms. Bronnenburg was provided the opportunity

 to cure the deficiencies in her original complaint and did so with regard to her false


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 arrest/false imprisonment claim under the Fourth Amendment against Defendant Eggar.

 She has not cured her other pleading deficiencies, though, and after two bites at the same

 apple, the Court finds her repeated failures to plausibly state her other claims do not

 warrant additional amendment. Consequently, the Court concludes allowing further

 amendment would be futile.


                                         ORDER


       IT IS THEREFORE ORDERED that the amended complaint (Doc. 9) states a

 plausible claim upon which relief can be granted against Defendant Beau J. Eggar in his

 individual/personal capacity for false arrest/false imprisonment in violation of the Fourth

 Amendment.


       IT IS FURTHER ORDERED that the Clerk of Court shall serve Defendant Beau

 J. Eggar,in his individual/personal capacity, as follows:

        1.     The Clerk shall send Defendant Eggar a copy of the complaint, a notice of

               lawsuit, and a copy of this Order on 28 U.S.C. § 1915 Screening of

               Amended Complaint, and the Clerk shall request Defendant Eggar to waive

               service of a summons in the manner set forth in Fed. R. Civ. P. 4(d); and

        2.     If Defendant Eggar fails to return a waiver of service within thirty(30)days

               fi-om the date on which the request for waiver was sent, the Clerk of Court

               shall issue a summons for Defendant Eggar and shall deliver the summons

               (along with a copy of the complaint and this Order) to the United States

               Marshal for service on Defendant Eggar pursuant to Fed. R. Civ. P. 4(c)(3).



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       IT IS FURTHER ORDERED that Defendant Eggar shall serve an answer within

 twenty-one (21) days of being served the summons and complaint, or, if service of the

 summons is timely waived under Fed. R. Civ. P. 4(d), then within sixty (60) days after

 the date when the request for waiver was sent.

       IT IS FURTHER ORDERED that all other claims alleged in the amended

 complaint are dismissed with prejudice under 28 U.S.C. § 1915(e)(2)(B)(ii).

       IT IS FURTHER ORDERED that Ms. Bronnenburg's Application to Proceed in

 District Court Without Prepaying Fees or Costs (Doc. 2) is granted under 28 U.S.C. §

 (a). However,"like any ifp litigant,[Ms. Bronnenburg] remains liable for the full amount

 of the filing fee." Brown v. Eppler, 725 F.3d 1221, 1231 (10th Cir. 2013); see also
 Robbins v. Switzer, 104 F.3d 895, 898 (7th Cir. 1997) ("[A]ll § 1915(a) does for any

 litigant is excuse the pre-payment of fees. Unsuccessful litigants are liable for fees and

 costs and must pay when they are able.").

        IT   IS   FINALLY       ORDERED           that   Ms. Bronnenburg's "Motion       to

 Reconsideration"(Doc. 8)is denied as moot because the Court has herein screened anew

 her amended complaint.

        DATED:February..?.^ .2019.



                                                    Scott W.Skavdahl
                                                    United States District Judge




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                            UNITED STATES DISTRICT COURT
                                                                            OISTftfCT COURT
                                                                       BiSTRlCT OF WYOMIH-S
                               DISTRICT OF WYOMING
                                                                      Z0i9FEB28 m 9=00
  TAMI MAE BRONNENBERG,

               Plaintiff,

        V.                                                    Case No. 19-CV-21-SWS


  BEAU J. EGGAR,Arresting Officer; WILLIAM K.
  STRUEMKE,Attorney; SARA L. STRUEMKE,
  Secretary; SERVICM LEGAL SERVICES,LLC;
  MARLIN D. RICHARDSON,DC;BIG HORN BASIN
  CHIROPRACTIC; CITY OF CODY;PARK COUNTY
  DETENTION CENTER;BOARD OF COUNTY
  COMMISSIONERS OF THE COUNTY OF PARK;

               Defendants.



         ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL



        This matter comes before the Court on the Plaintiffs Motion for Appointment of

  Counsel(Doc. 3).

        "There is no constitutional right to appointed counsel in a civil case." jDurre v.

  Dempsey,869 F.2d 543, 547 (10th Cir. 1989). The United States Code, however, permits

  the Court to "request an attorney to represent" an indigent party in a civil case where

  appropriate. 28 U.S.C. § 1915(e)(1). Section 1915(e)(1) does not create any right to

  counsel, and it does not allow the Court to "appoint" counsel because it "merely

  empowers a court to request an attorney to represent a litigant proceeding in forma

  pauperis.^" Mallard v. U.S. Dist. Ct. S. Dist. Iowa, 490 U.S. 296, 301-02 (1989)

  (emphasis in original)(addressing former § 1915(d), which is the predecessor to current §


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  1915(e)(1)); see also Amin v. Voigtsberger, 560 F, App'x 780, 786 (10th Cir. 2014)

  (unpublished) ("Under 28 U.S.C. § 1915(e)(1), the district court lacked authority to

  appoint an attorney.... Instead, the court could simply request an attorney to take the

  case.").

         Plaintiff was previously permitted to proceed in forma pauperis in this matter.

  The Tenth Circuit has "directed district courts to evaluate, in connection with a request to

  appoint counsel under § 1915, the merits of a [plaintiffs] claims, the nature and

  complexity of the factual and legal issues, and the [plaintiffs] ability to investigate the

  facts and present his claims." Hill v. SmithKline Beecham Corp.^ 393 F.3d 1111, 1115

 (10th Cir. 2004)

         There are no unusual or exceptional circumstances that would warrant the

  appointment of counsel for Plaintiff in this case. See Rucks v. Boergermann, 57 F.3d

  978, 979 (10th Cir. 1995). Specifically, the Court finds that the instant matter is not so

  factually or legally complex as to demand a request for counsel. The totality of the

  circumstances here do not support requesting an attorney to represent Plaintiff.

         IT IS THEREFORE ORDERED that the Plaintiffs Motion for Appointment of

  Counsel(Doc. 3)is DENIED.

         DATED: February o?7,2019.


                                                    (Cott W. Skavdahl
                                                   United States District Judge




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r WAIVER OFCase    2:19-cv-00021-SWS
             SERVICE OF SUMMONS      Document 13 Filed 03/11/19 Page 1 of 3
Appellate  Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 71
  19-CV-21-SWS




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                                                                           U.S. OiSTRicf COURT
                UNITED STATES DISTRICT CDURrE ^
                 FOR THE DISTRICT OF WYOlMdr' P" 2^ ^^2
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                                                                                  Of ill \ Chi iC
 TAMI MAE BRONNENBBRG
                                     Plaintiff(s)

  vs                                                Case Number: 19-CV-21-SWS

 BEAUJ.EGGAR
                                  Defendant(s)


         ACCEPTANCE OF SERVICE ON BEHALF OF LISTED DEFENDANTS
                         AND WAIVER OF SERVICE OF SUMMONS


 TO: Clerk, US District Court


         I acknowledge receipt of your request that we Accept and Waive Service of a Summons

 in the action of Tammi Mae Bronnenberg v. Beau J. Eggar, et al, which is case number 19-

 CV-21-SWS,in the United States District Court for the District of Wyoming. I have also

 received a copy of the complaint in the action.

        I agree to accept electronic service as a reliable means of service as required under Rule

 4(d)(1)(G).

        I agree to Accept Service on behalfofthose defendants listed on the following page(s)

 and to save the cost ofservice of a summons and an additional copy ofthe complaint in this

 lawsuit by not requiring that I(or the entity on whose behalfI am acting) be served with judicial

 process in the manner provided by Rule 4.

        I(or the entity on whose behalfI am acting) will retain all defenses or objections to the

 lawsuit or to the jurisdiction or venue ofthe Court except for objections based on a defect in the

 summons or in the service ofthe summons.




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  WAIVER OF SERVICE OF SUMMONS
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         I understand that a judgment may be entered against me(or the party on whose behalf I

 am acting) if an answer or motion under Rule 12 is not served upon the Court before 60 days

 from the date designated as the date on which the Notice of Lawsuit was sent(or 90 days from

 that date if your address is not in any judicial district of   United States).




         Date                                    ^igfiatitf^

                                                 Printed / Typed Name




                    Duty to Avoid Unnecessary Costs of Service of Summons

         Rule 4 ofthe Federal Rules of Civil Procedure requires certain parties to cooperate in

 saving unnecessary costs of service ofthe summons and complaint. A defendant located in the

 United States who, after being notified of an action and asked by a plaintiff located in the United

 States to waive service of a summons,fails to do so will be required to bear the cost of such

 service unless good cause be shown for its failure to sign and return the waiver.

        It is not good cause for a failure to waive service that a party believes that the complaint

 is unfounded, or that the action has been brought in an improper place or in a court that lacks

 jurisdiction over the subject matter ofthe action or over its person or property. A party who

 waives service ofthe summons retains all defenses and objections(except any relating to the

 summons or to the service ofthe summons), and may later object to the jurisdiction ofthe court

 or to the place where the action has been brought.



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  WAIVER OFCase    2:19-cv-00021-SWS
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        A defendant who waives service must within the time specified on the waiver form serve

 on the plaintiffs attomey(or unrepresented plaintiff) a response to the complaint and must also

 file a signed copy ofthe response with the court. Ifthe answer or motion is not served within

 this time, a defaultjudgment may be taken against that defendant. By waiving service, a

 defendant is allowed more time to answer than if the summons had been actually served when

 the request for waiver ofservice was received.



 List of entities and defendants to be represented and in which capacity:




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    Tami M.Bronnenberg,Pro-se                                             OfSfr^lCT Cr             Jn
    P.O.Box 802                                                                          -'- ..y
    Cody, Wyoming 82414                                                  2ul9KARl2

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



    TAMI M.BRONNENBERG                                       )
                                                             )
                                          Plaintiff,         )
                                                             )
                        V.                                   ) CASE NO. 19-CV-021-S
                                                             )
    BEAU J. EGGAR,Arresting Officer; WILLIAM K.              )
    STRUEMKE,Attorney; SARA L.STRUEMKE,                      )
    Secretary; SERVICM LEGAL SERVICES,LLC;                   )
    MARLIN D.RICHARDSON,DC;BIG HORN BASm                     ) AMENDED
    CHIROPRACTIC;CITY OF CODY;PARK COUNTY                    ) 1983 CIVIL RIGHT
    DETENTION CENTER;BOARD OF COUNTY                          ) COMPLAINT PURSUANT
    COMMISSIONERS OF THE COUNTY OF PARK;                      ) TO 42 USCS §1983
                                                              )
                                        Defendants.           )
                                                              )


                                             OBJECTION.


            Comes now the plaintiff above mentioned, Ms. Bronnenberg, pro-se, and

    respectfully objects, pursuant to Federal Rules of Civil Procedure,Rule 12(a)(1)(C);

    Federal Rules of Evidwice,Rules 103(a)(1); 402,in part,to the Order on 28

    U.S.C.§1915 Screening of Amended Complaint as follows:

            Ms. Bronnenberg is not a prisoner within the meaning ofthe Prison Litigation

     Reform Act of 1995(PLRA),see 28 U.S.C. §1915(h). See also, Meiryfield v. Jordan,584

    F.3d 923(10th Cir. 2009). The screening requirement of28 U.S.C. §1915A (a)applies

    only to prisoner complaints against government officials. "It simply does not require

     district courts to review die merits ofevery claim that comes before them in an IFP (in


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    forma pauperis status) motion,and we decline to read in such an extensive duty absent

    statutory language to that effect," See Buchheit v. Green,705 F3d 1157 at 1161 (10*''
    Cir. 2012). We think an affidavit is sufficient which states that one cannot because of his

    poverty 'pay or give security for the costs * * * and still be able to provide* himself and

    dependents'with the necessities of life.' To say that no persons are entitled to the statute's

    benefits until diey have sworn to contribute to payment ofcosts, die last dollar diey have

    or can get, and thus make themselves and their dependents wholly destitute, would be to

    construe the statute in a way that would throw its beneficiaries into the category of public

    charges. Adkms v.E.L du Punt De Nemours & Co.335 U.S. 331 at 339,69S. Ct85,

    93 L.Ed.43(1948)."A pro se litigant's pleadings are to be construed liberally and held

    to a less stringent standard than formal pleadings drafted by lawyers," Hall v. Bellmon,

    935 F.2d 1106,1110(10diCir. 1991);see also,e.g. Ledbetter v. CityofTopdca,318

    F.3d 1183,1187(10th Cir. 2003).

             Federal Rule of Civil Procedure,Rule 8(a)(2)provides that a complaint must
    contain "a short and plain statement ofthe claim showing that the pleader is entitled to
    relief." Derived &om Conley v. Gibson:"a complaint should not be dismissed for fmlme
    to state a claim unless it appears beyond doubt that the plaintiff can prove no set offacts
    in support of his(her)claim which would entitle him (her)to relief." 355 U.S.41,45-46,
    78 S. Ct.99,21 L.Ed.2d 80(1957)(emphasis added); see e.g. Kikumura v. Osagie,461
    F.3d 1269,1294(lO"" Cir. 2006).
           The new formulation is less then pellucid referring to the "Conflicting signals"

    calling the opinion "confusing" The opinion seeks to find a middle ground betw^n

    "heightened fact pleading," which is expressly rejected, Twombly,127 S. Ct. at 1974; see

    ^so id. At 1964(a complmnt"does not need detailed factuEd allegations"). The most

    difficult question in interpreting Twombly is what the Court means by "plausibility" See

    Robbins v. Oklahoma,519 F.3 1242 at 1247(10"^ Cir. 2008).




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            This short essay examines the seemingly contradictory definitions and
    associations ofthe word ''plausibility" which the Supreme Court unexpectedly elevated
    to a key gate keeping role for all offederal civil litigation in its rulings altering the
    pleading standard in Twombly and Iqbal,[Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct.
    1937,173 L.Ed.2d 868,2009 U.S. Lexis 3472(2009). Justices,judges and commutators
    have not focused on what "plausibility" means,for some good reasons; it carries with it
    connotations ofthe "reasonable" and "fair" but also "superficial,""often specious" and
    "pretext." I can offer only a plausibility defense ofthe seemingly contradictory meanings
    ofthis word deployed to regulate allegations in federal complaints,for which the
    transparency ofits vice is, for better and for worse, its main virtue. By Garrett, Brandon
    L., Applause for the Plausible February 14,2014). University ofPennsylvania Law
    Review Online,2014; Virginia Public Law and Legal Theory Research Paper No. 2014-
    17. Available at SSRN: httPs//ssm.com/abstract-2395912


           "A well-pleaded complaint may proceed even if it strikes a savvy judge that
    actual proof ofthose facts is improbable,and that a recovery is very remote and
    unlikely." Twombly at 1965(quoting Scheuer v. Rhodes,416 U.S. 232,236,94 S. Ct.
    1683,40 L.Ed.2d 90(1974). See, Robbins v. Oklahoma,519 F.3d 1242 at 1247(10^^ Cir.
    2008).

             ^Plausibility'' is ambiguous,open to more than one interpretation; having a

     double meaning. All defendants, above mentioned, violated Ms. Bronnenberg's

    constitutional rights(False Arrest/False imprisonment), under the Forth, Equal Protection

    Clause and Due Process Clause ofthe Fourteenth Amendment ofthe United States

     Constitution, and those rights were clearly established at the time.

          The Supreme Court in Dunaway v. New York,442 U.S. 200 at 216,99 S. Ct.
    224,860 L.Ed.2d 824(1979)stated,"We accordingly hold that the Rochester police
    violated the Fourth and Fourteenth Amendments when, without probable cause,they
    seized petitioner and transported him to the police station for interrogation."

             "The right ofthe people to be secure in their persons, houses, papers, and effects,

     against imreasonable searches and seizures, shall not be violated, and no Warrants shall
    issue, but upon probable cause, supported by Oath or affirmation, and particularly

     describing the place to be sesurched, and the persons or tilings to be seized." TTus

     provision binds the state and its officers,including local police. See, Wolf v. Colorado,

    338 U.S. 25,69 S. Ct. 1359,93 L. Ed. 1782(1949). The Fourth Amendment requires that



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    warrants issue '*upon probable cause, supported by Oath or affirmation." The significance

    ofthe oath requirement is ^that someone must take the responsibility for the facts

    alleged,giving rise to the probable cause for the issuance ofa warrant United

    States ex rel. Pugh v. Pate, 401 F.2d 6(7^ Cir. 1968); See also Frazier v. Roberts,441
    F.2d 1224(8^ Cir. 1971). To effect an arrest there must be actual or constructive seizure
     or detention ofthe person arrested, or his voluntary submission to custody, and the

    restraint must be under real or pretended legal authority. Neilson v. State, 599 P.2d 1326,

    1979 Wyo.LEXIS 447(Wyo. 1979), cert, denied,444 U.S. 1079,100 S. Ct. 1031,62 L.

    Ed. 2d 763,1980 U.S. LEXIS 755(U.S. 1980). Where the claim is that die police have

    improperly searched or seized something,the claimant must have had a legitimate

    expectation of privacy as to that thing. Factors to be considered in making this

     determination include:(1)the precautions taken in order to maintain one's privacy;(2)

    the likely intent ofthe drafters ofthe United States and Wyoming constitutions;(3)the

    property rights the claimant possessed in the invaded area; and(4)the legitimacy ofthe

     individutd's possession ofor presence in die property which was searched or seized.

    Parkhurst v. State,628 P.2d 1369,1981 Wyo. LEXIS 347(Wyo.),cert denied,454 U.S.

    899,102 S. Ct. 402,70 L. Ed. 2d 216,1981 U.S. LEXIS 3986(U.S. 1981). 42 U.S.C.§

     1983, which provides that every "person" t^ho, under color ofany statute, ordinance,

    regulation, custom,or usage ofany State subjects, or "causes to be subjected," any person

    to the deprivation ofany federally protected rights, privileges, or immunities shall be

     civilly liable to die injured party.

            Parties can sue a municipality that has violated their constitutional rights "under

     color of any statute, ordinance, regulation, custom,or usage." 42 U.S.C. § 1983(2015);




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    see also Monell,436 U.S. at 690(holding that municipalities are "persons" for purposes

    of§ 1983). A governmental entity, such as the Mansfield I.S.D., can be sued and

    subjected to monetary damages and injunctive relief under 42 U.S.C. § 1983 only if its

    official policy or custom causes a person to be deprived of a federally protected right

    Board ofthe Cty. Comm'rs of Bryan Cty, v. Brown,520 U.S. 397,403(1997); Monell,

    436 U. S. at 694. See,Bailey v. Mansfield Independent School District; Dr.Jim

    Vaszauskas; and Dr.Kimberly Cantu,Civil Action No.3:18-CV-1161-L., United

    States District Court, N.D. Texas, Dallas Division. January 10,2019.

            Monell V. Department of Social Services ofthe city of New Your et at,436

    U.S.658,98 S.Ct. 2018,56 L. Ed. 2d 611 (1978) Held: 2. Locd governing bodies(and

    local officials sued in their official capacities)can,therefore, be sued directly under §

    1983 for monetary, declaratory, and injunctive reliefin those situations where, as here,

     die action that is dleged to be unconstitutional implements or executes a policy

    statement, ordinance, regulation, or decision officially adopted or promulgated by those

    whose edicts or acts may fairly be said to represent official policy. In addition, local

     governments, like every other § 1983 ''person," may be sued for constitution^

    deprivations visited pursuant to governmental "custom" even though such custom has not

    received formal approval through the government's official decision making channels.

    Pp.436 U.S.690-691.4.(c)In addition, municipdities cannot have arranged their affairs

    on an assumption that they can violate constitutional rights for an indefinite period;

    accordingly, municipalities have no reliance interest that would support an absolute

    immunity. Pp.436 U.S.699-700, 5. Local governments sued under § 1983 cannot be

    entitled to an absolute immunity,lest today's decision "be drained of meaning," Scheuer




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    V. Rhodes,416 U.S.232,416 U.S. 248. P.436 U.S. 701. Owen v. City of

    Independence,445 U.S. 622(1980)Held: A municipality has no immunity from liability

     under § 1983 flowing from its constitutiond violations, and may not ass^ the good faith

    ofits officers as a defense to such liability. Pp.445 U.S.635-658. Since a municipality

    has no "discretion" to violate the Federal Constitution. Pp.445 U.S.644-650.

            The Supreme Court,in Hafer v. Meio,et at,502 U.S. 21,112 S.Ct. 358,116

    L.Ed.2d 301 (1991). Justice O'Conner, held that:(1)state officers may be personally

    liable for damages under § 1983 based upon actions taken in their official capacities;(2)

    officers' potential liability is not limited to acts unda- color ofstate law tiiat are outside

    their authority or not essential to operation ofstate government, but also extends to acts

    within their authority and necessary to performance of governmental functions; and(3)

    Eleventh Amendment does not erect barrier agdnst suits to impose in(tividual and

    personal liability on state officers under § 1983. Because the real party in interest in an

    official-capacity suit is the governmental entity and not the named official,"the entity's

    'policy or custom' must have played a part in tiie violation offederd law." *** Persond-

    edacity suits, seek to impose individud liability upon a government officer for actions

    taken under color ofstate law. Thus,"on the merits,to establish persond liability in a §

     1983 action, it is enough to show that the officid, acting under color ofstate law,caused

    the deprivation ofa federd right." Id., at 166, 105 S.Ct., at 3105. While the plaintiffin a

     persond-capacity suit need not establish a connection to govemmentd "policy or

     custom," Id,,502 U.S. at 25.("A state officid in his or her officid capacity, when sued

    for injunctive relief, would be a person under § 1983 because 'officid-capacity actions

    for prospective reliefare not treated as actions against the State'")(quoting Graham,473




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    U.S., at 167,n. 14,105 S.Q.,at 3106,n. 14). Id.,502 U.S. at 27. Congress enacted §

    1983"'to enforce provisions ofthe Fourteenth Amendment against those who carry a

     badge of audiority ofa State and represent it in some capacity, whedier diey act in

    accordance with their authority or misuse it.'" Scheuer v. Rhodes,416 U.S. 232,243,94

    S. Ct. 1683,1689,40 L.Ed.2d 90(1974)(quoting Monroe v. Pape,supra, 365 U.S., at

     171-172, 81 S.a.., at 475-476). Id.,502 U.S.at 28."Since Ex pate Young,209 U.S.

     123 28 S.Ct 441,52 L.Ed. 714(1908)," we said, "it has been settled that the Eleventh

    Amendment provides no shield for a state official confronted by a claim that he had

    dqwived anodier ofa federal right under the color ofstate law." Scheuer,416 U.S., at

    237,94 S.Ct,at 1687. While the doctrine ofEx parte Young does not apply where a

     plaintiffseeks damages from the public treasury, damages awards against individual

     defendants in fed^al courts"are a penrussible remedy in some circumstances

    notwithstanding the fact that they hold public office." 416 U.S., at 238,94 S.Ct., at 1687.

    That is,the Eleventh Amendment does not erect a barrier against suits to impose

    "individu^ and p^somd liability" on state officials imder § 1983. Ibid. Id.,502 U.S. at

    30,31. We hold that state officials, sued in their individual capacities, are "persons"

     within the meaning of§ 1983. The Eleventh Amendment does not bar such suits, nor are

     state officers absolutely inunune from personsd liability \mder§ 1983 solely by virtue of

    the "official" nature oftheir acts. Id.,502 U.S. at 31.

            Marlin D. Richardson; Big Horn Basin Chiropractic, made a contract or

     agreement to hiring William K. Struemke, Attorney; Servicm Legal S^vices,LLC,to use

    the judicial process to make a collection from Ms.Bronnenberg. See, Amended 1983

     Civd Rights Complaint Exhibit -A-,(Caption ofthe Order Vacating Warrant And




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    Resetting Previously Scheduled Hearing) which crossed the line and violated Federal

    Constitutional Rights,(False Arrest/False imprisonment), under the Forth,Equal

     Protection Clause and Due Process Clause of the Fourteenth Amendment ofthe

     United States Constitution, and those rights were clearfy established at the time.

     And violated Park County Policy Manual,(July 1,2017)Chapter 4, page 4-1, which

     states in part, ***. Park County is an equal opportunity employer: Pursuant to Title VI of

     the Civil Rights Act of 1964 Park County prohibits discrimination. And City of Cody,

    Personnel and Policy Manual, Section 3. See,Amended 1983 Civil Rights Complaint

     C.Cause of Action,a)Count 1,Paragraph 10,Page 7.

            Officer Beau Egger used City and County Property, his patrol car and the Park

     County Detention Center as City and County jail and administrative office facilities to

     violate Federal Constitutional Rights,(False Arrest/False imprisonment), under the

     Forth,Equal Protection Clause and Due Process Clause of the Fourteenth

     Amendment ofthe United States Constitution,and those rights were clearly

     established at the time. I believe there is a contract or agreement between the City of

     Cody and Park Coimty to jointly establish and operate, police protection agency facilities

     and jail and administrative office facilities or any combination thereof. See, W.S. 18-2-

     108). See,Amraded 1983 Civil Rights Complaint,C.Cause of Action,Paragraph 12,

     Page 8. Officer Egger used a two weeks old Vacated Warrant drafted by William K.

     Struemke, Attorney, Servicm Legal Services, LLC,to violate Federal Constitutional

     Rights,(False Arrest/False imprisonment), under the Forth,Equal Protection Clause

     and Due Process Clause of the Fourteenth Amendment of the United States


     Constitution, and those rights were clearly established at the time,instead of giving




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    notice ofthe vacated order to Officer Beau Egger or the City or County Law

    Enforcement Center. See,Exhibit -A-,lower left hand side where it states Copies to:

     William K. Stru^nke.

            "A lawyer shall not:(a) unlawfully obstruct *** or conceal a document ***".
    See,Rules ofProfessional Conduct,Rule 3.4(a). It is professional misconduct for a
    lawyer to:(a)violate or attempt to violate the Rules ofProfessional Conduct; knowingly
    assist or induce another to do so, or do so through the acts ofanother.(b)commit a
    criminal act that reflects adversely on the lawyer's honesty, trustworthiness or fitness as
    a lawyer in other respects;(c)engage in conduct involving dishonesty, fraud, deceit or
    misrepresentation;(d)engage in conduct that is prejudicial to the administration of
    justice;(e)state or imply an ability to influence improperly a government agency or
    official or achieve results by means that violate the Rules ofProfessional Conduct or
    other law; Id.,Rule 8,4.

            Federal Rules of Civil Procedure,Rule 17(b)CAPACITY TO SUE OR BE
     SUED. Capacity to sue or be sued is determined as follows:(I)for an individual who is
     not acting in a representative capacity, by the law ofthe individual's domicile;(2)for a
     corporation, by the law imder which it was organized; and (3)for all other parties, by the
     law ofthe state where the court is located, except that:(A)a partnership or other
     unincorporated association with no such capacity under that state's law may sue or be
     sued in its common name to enforce a substantive right existing under the United States
     Constitution or laws; and(B)28 U.S.C, §§754 and 959(a) govern the capacity ofa
     receiver appointed by a United States court to sue or be sued in a United States court.

            Federal Rules of Evidence,Rules 301 provides, for presumptions in civil cases

     only. A presumption imposes on the party against whom it is directed the burden of going

    forward with evidence to rebut or meet the presumption. F.R.E., Rule 302 provides,"a

     presumption respecting a fact which is an element ofa claim or defense as to which state

    law provides the rule of decision is determined in accordance with state law." The Eric v.

    Thompson doctrine, 304 U.S.64(1938)ofapplying state law where it provides a rule of

     decision applies to presumptions. However,only where the issue or clsdm "has its source

    in state law"(Maternity Yours,Inc v. Your Maternity Shop,Inc., 234 F.2d 538(1956).

    F.R.E., Rule 501 provides that,"in a civil case,state law governs privilege regarding

    a claim or defense for which state law supplies the rule ofdecision.""These rules shall




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    be construed to secure fairness in administration,elimination of unjustifiable expense

    and delay, and promotion of growth and development of the law of evidence to the

    end that the truth may be ascertained and proceedings justly determined.^ See,

    Federal Rules of Evidence,Rule 102. The relevant question, to be answered under state

    law,is whether a particular official is a policy maker to whom the local government has

     delegated policy-decision making authority.

           "This court has the same right, and can, if it deem it proper, decide the local
    questions only,and omit to decide the federal questions, or decide them adversely to the
    party claiming their benefit Homer v. United States, 143 U.S.570,576,36 S. L. ed. 266,
    268,12 Sup. Ct. Rep. 522; Fallbrook Irrig. Dist. v. Bradley, 164 U.S. 112,154,41 S. L.
    ed. 369, 387,17 Sup. Ct. Rep,56; Penn Mut. L. Ins. Co,v. Austm, 168 U.S.685,694,42
    S. L. ed. 626,630, 18 Sup. Ct. Rep.223; Burton v. United States, 196 U.S.283,295,49
    S. L. ed. 482,485,25 Sup. Ct. Rep. 243; Williamson v. United States, 207 U.S. 425,52
    L. ed. 278,28 Sup. Ct. Rep. 163; People's Sav. Bank v. Layman, 134 Fed.635; Michigan
    R.Tax Cases, 138 Fed. 223." See,SUer v. LouisviUe & N.R.CO.(1909)213 U.S. 175,
     at 191.
                                           CONCLUSION.


            The claims against the other defendants mentioned above should not be dismissed

     with prejudice under 28 U.S.C. §1915(e)(2)(B)(ii).

                                                        •D this 9fii d   of     2019.



                                                   Tami M.Bronnenberg,Pro-
                                                   P.O. Box 802
                                                   Cody, Wyoming 82414

                                CERTIFICATE OF SERVICE.


           I, Tami M.Bronnenberg,Pro-se, swear and certify that 1 mailed this true and
    correct original copy ofthe above Objection for the Court,(a copy for Ms. Bronnenberg's
    stamped copy with a pre-paid stamped self addressed envelope to be mailed to her),
    pursuant to Federal Rules of Civil Procedure,Rule 12(a)(1)(C); Federal Rules of
    Evidence,Rules 103(a)(1); 402 to the United States District Court Cleric's Office, 111
     S- Wolcott, Room 121, Casper, Wyoming 82601 onHfih day of Ma^ 9th, 2019.

                                                          M.Bronnenberg,P


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 Bridget Hill
 Attorney General

 Michael J. McGrady
 Deputy Attorney General

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 Senior Assistant Attorney General
 Adrian Kowalski[Wyo. State Bar No. 7-6125]
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 adrian.kowalski@wyo.gov

                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF WYOMING

 TAMI MAE BRONNENBERG,                             )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                ) Civil Action No. 19-CV-21-SWS
                                                   )
 BEAU J. EGGAR,                                    )
                                                   )
         Defendant.                                )


                                    ENTRY OF APPEARANCE


         COMES NOW, the undersigned counsel, and hereby enters his appearance as

 counsel of record for Beau J. Eggar, in his individual capacity as to all federal law claims

 and in all capacities as to all state law claims (“Individual Defendant”).

         DATED this 26th day of March 2019.

                                                   /s/ Daniel E. White
                                                   Daniel E. White [WSB No. 5-1545]
                                                   Senior Assistant Attorney General




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                             CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was served this 26th day of March 2019, by the
 following means:


  Tami M. Bronnenberg                                                   [✔] US Mail
  P.O. Box 802
  Cody, WY 82414


                                          /s/ Jessica Curless
                                          Jessica Curless, Paralegal
                                          Office of the Wyoming Attorney General




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 Bridget Hill
 Attorney General

 Michael J. McGrady
 Deputy Attorney General

 Daniel E. White [Wyo. State Bar No. 5-1545]
 Senior Assistant Attorney General
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 dan.white@wyo.gov
 adrian.kowalski@wyo.gov

                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF WYOMING

 TAMI MAE BRONNENBERG,                             )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                ) Civil Action No. 19-CV-21-SWS
                                                   )
 BEAU J. EGGAR,                                    )
                                                   )
         Defendant.                                )


                                    ENTRY OF APPEARANCE


         COMES NOW, the undersigned counsel, and hereby enters his appearance as

 counsel of record for Beau J. Eggar, in his individual capacity as to all federal law claims

 and in all capacities as to all state law claims (“Individual Defendant”).

         DATED this 26th day of March 2019.


                                                   Adrian Kowalski
                                                   Adrian Kowalski [WSB No. 7-6125]
                                                   Assistant Attorney General



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                             CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was served this 26th day of March 2019, by the
 following means:


  Tami M. Bronnenberg                                                   [✔] US Mail
  P.O. Box 802
  Cody, WY 82414


                                          /s/ Jessica Curless
                                          Jessica Curless, Paralegal
                                          Office of the Wyoming Attorney General




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                                                                   •tJ -5. DISTflCT COURT^
                                                                   :OisrF;'nT
    Tami M.Bronnenberg, Pro-se
                                                                   2019HAR25 PH 3:li2
    P.O. Box 802
    Cody, Wyoming 82414
                                                                           CASPER
    (307)899-2150

                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



    TAJVn M.BRONNENBERG


                                          Plaintiff,
                                                                   CASE NO.
                       V.                                          19-CV-021-S


    BEAU J. EGGAR,Arresting Officer; WILLIAM K.
    STRUEMKE,Attorney; SARA L. STRUEMKE,
    Secretary; SERVICM LEGAL SERVICES,LLC;
    MARLIN D. RICHARDSON,DC;BIG HORN BASIN                       AMENDED
    CHIROPRACTIC; CITY OF CODY;PARK COUNTY                       1983 CIVIL
    DETENTION CENTER;BOARD OF COUNTY                             RIGHT
    COMMISSIONERS OF THE COUNTY OF PARK;                         COMPLAINT
                                                                 PURSUANT
                                                                 TO 42 uses
                                       Defendants.               §1983


                      NOTICE OF UNCONSTITUTIONAL
                    FEDERAL STATUTE,28 U.S.C. §1915.

          Comes now the plaintiff, Ms. Bronnenberg, pro-Se, and respectfully

    gives notice pursuant to the Federal Rules of Civil Procedure, Rule 5.1,(a)

   (1)(A),(2), that on "Objection", dated March 12, 2019, of the Order, dated

    February 27, 2019, denying Motion for Appointment of Attorney pursuant to

    28 U.S.C. §1915 plaintiff noticed that the word "indigent" has been removed



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    from 28 U.S.C. §1915.1 believe the "indigent intent" has specifically been

    removed from the "specific intended purpose" of the statute, making the

    text, structure of the statute unconstitutional and discriminatory for the

    plaintiff.

           Dated: March 25,2019




                                                   Tami M.Bronnenbefg,Phs^se
                                                    P.O. Box 802
                                                    Cody, Wyoming 82414




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    Tami M.Bronnenberg,Pro-se
    P.O.Box 802
    Cody, Wyoming 82414
    (307)899-2150

                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING


    TAMI M.BRONNENBERG                                         )
                                                               ).              ■
                                            Plaljyriff,        )
                                                           ■   )
                        V.                                     ) CASENO.19-CV-021-S

    BEAU J.EGGAR,Arresting OfScer, WILLIAM K.
                                           )
    SIRUEMKE,Attorney; SARA L.SIRUEMKE,    )
    Secretary; SERVICM LEGAL SERVICES,LLC; )
    MARLIN D.RICHARDSON,DC;BIG HORN BASIN ) AMENDED
    CHIROPRACTIC;Crry OF CODY;PARK COUNTY ) 1983 CIVIL RIGHT
    DETENTION CHSTTER;BOARD OF COUNTY      ) COMPLAINT PURSUANT
    COMMISSIONERS OF THE COUNTY OF PARK;   V TO 42 USCS §1983
                                                               )
                                         Defendants.           )


                                           OBJECTION.

            Comes now the plaintiff above mentioned, Ms.Bronnenberg, prbrse, and

    respectfully objects, pursuant to Federal Riiles of Civil Procedurie,Rule 12(a)(1)(C);
    Federal Rules of Evidence,Rules 103(a)(1);402.

           28 U.S.C.§1915,Proceeding in forma pauperise i«ovides in pait,ffi)any court

    ofthe United States may authorize the commencement,prosecution or defense ofany

    suit, action or proceeding,ciVil or criminal, or appeal therein, without prepayment offees
    or security tti^fbr,by a person who sutoiits an affidavit ttiat im^ludes a stataoient of all

    assets ***.




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            (c)Upon the filing ofan affidavit in accordance with *** subsection(b),the court

     may direct payment by the United States ofthe expenses of(1)printing the record on

     appeal in any civil or criminal case,ifsuch printing is required by Ihe appellate court;(2)
     pr^aring a transcript ofproceedings before a United States magistratejudge in any civil
     or criminal case, ifsuch transcript is required by the district court, in the case of

     jBoeeedin^ conducted under section ti36{b)oftiiis tide or under section 3401{b)oftide

     18, UnitS^ States Code; and(3)printing die record on app^ ifsuch prbtin^isfequir^"'
     by the appellate court,in the case ofproceedings conducted pursuant to section 636(c)of
     this tide. Sudiexpenses diall be paid when audiOTized by the Director ofthe

     Administrative Office ofthe United States Courts.

            (d)The officers ofthe court shall issue and serve all process, and perform all

     di^es in sudicases. Witnesses shall att^id as in other cases,and the same rMne<fies shall

     be available as are provided for by law in other cases,(e)(1)the court may request an

     attorney to represent any person unable to afford counsel.

             [See,42 U-S.C. 2000a-3(a)(fqspoint;complsdnant seddng injunction undw civil
     rights laws). These fdleral statutes empowering courts to assign or appoint counsel were
     all passed ^11 after 1915 attained its present broad coverage. See Act of Aug. 10,1956,
     Piib. L. 1028,827,70A Stat 46,10 U.S.C.827;Pub. L.88-455,78 St^. 552(1964), 18
     U.S.C. 3006A;.Pub. L.91-452,84 Stat.934(1970), 18 U.S.C. 3503(c);Pub.L.95-144,
     91 Stat. 1218(1977), 18 U.S.C.4109;Pub. L.95-608,92 Stat. 3071 (1978),25 U.S.C.
     1912(b); Pub. L. 88-352,78 Stat 241 (1964),42 U.S.C. 1971 (f); Pub. L,88.352,78
     Stat 244(1964),42 U.S.C.2000 a-3(a); Pub.L.88-352,78 Stat 259(1964),42 U.S.C.
     2O0Oe-5{^{1);       L.89-793,80 Stat 1445(1966),42 U.S.C. 3413(1). See, MaUard v.
     U.S.Pist a.S. Dist. Iowa,490 U.S. 296, at 306,307(1989). Footnote 7.]

            (h)As used in this section, the term 'prisoner" means any person incarcerated or

     detained in any facility who is accused of, convicted of, sentenced for, or adjudicated

     delinquent for, violations ofcrimind law or tiie t^ns and conditions of parole, probation,

     pretrial release, or diversionary program.



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             Interpretation ofa statute must begin with the statute's language E. g.. United

     States V. Ron Pair Enterprises, Inc.,489 U.S. 235,241 (1989); Landreth Timber Co. v.

     Landreth,471 U.S.681,685 <1985); Mallard v. U.S. Dist Ct. S. EHst Iowa,490 U.S.

     296,atSOO,301 (1989).

             Ms. Bronnenberg is not a prisoner within the meaning ofthe Prison Litigation

     Reform Aet of 1995(PLRA),see 28 U.S.C.§1915 ^). See also, Merryfield v. Jordan,

     584 F.3d 923(10th Cir. 2009). Hie screening requirement of28 U.S.C. §1915A(a)

     applies only to pri^ner complaints against government officials. "It simply does not
                                                                    \

     require district courts to review tiie merits ofevery claim that comes before them in an

     IFP (in forma pauperis status) motion,and we decline to read in such an extensive duty

     absent statutory language to that effect" See Buchheit v. Green,705 F3d 1157 at 1161

     (10^ Cir. 2012). We think an affidavit is sufficient wMtdistates that one cannot b^^ause
     ofhis poverty'pay or give security for the costs * * * and still be able to provide' himself

     and dependents'with the necessities oflife.' To say that no persons are entitled to the

     statute's benefits until tiiey faaVe sworn to contribute to payment ofcosts,the last dtiliar

     they have or can get,and thus make themselves and their dependents vdiolly destitute,

     woidd be to construe the statute in a way that would throw its beneficiaries into the

     category ofpublic diarges. Aihdns v.E.I. duPont DeNemours & Co.335 U.S. 331 at

     339(1948).

            Report ofthe House Judiciary Committee states that the bill containing 1915(d)
     was designed to enable persons unable to afford leg^ representation to avail themselves

     ofthe courts,as "[m]any humane and enlightened States" that had sumlar laws allowed




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     them to do. H. R. Rep. No. 1079, 52d Cong., 1st Sess.,2(1892). See, Mallard v. U.S.

     Dist. Ct. S. Dist Iowa,490 U.S. 296,at 302(1989).

            Some state statutes providing assignmentot appointmentofcounsel are Ark. Stat.
     1053(1884)(assign); 111. Rev. Stat, ch. 26,3(1845)(assign); Ind. Rev. Stat., Vol. 2, pt
     2,ch. 1,Art 2,15(1852)(assign); Ky.Stat 884(1915)(Act ofMay 27,1892)(assign);
     Mo. Rev. Stat 2918(1889)(assign); N. J. Gen.Stat, Vol.2,Practice 369,p.2598(1896)
    (enacted 1799)(assign); 1876 N.Y.Laws,ch.448, Art. 3,460(assign); 1869 N.C.Pub.
    Laws,ch,96,2(assign); Term. Code 3980(1858)(appoint and assign); Tex. Rev. Stat.,
     Art 1125(1879)(enacted 1846)(appoint); Va. Code Ann. 3538(1904)(appeared in
    1849 Code)(assign); W.Va. Code,ch. 138, 1 (1891)(assign). Cf. N.Mex. Comp. Laws
    2289(1884)(judge may appoint attorney to represent Tenitoiy ifTenitoiy's attorneys are
    unable to attend by reason ofsickness or inability); Nev. Comp.Laws 3126(1900)(court
     may appoint attorney to appear on behalfofabsent defendant m,c;Grtmn contract actions).
     See,Mallard v. U.S. Dist Ct S.Dist Iowa,490           296,at303(1989),

            28 U^.C.1915(a), as originally drafted it apparently ^plied only to suits

     commenced by an indigent person. ActofJuly 20,1892,ch.209,1,27 Stat 252. ***

     And the floor debate in the House speaks only ofpoor persons siring as ^aintifife. See 23

     Cong. Rec. 5199(1892). See, Mallard v. U.S. Dist Ct S. Dist Iowa,490 U.S. 296,at

     306(1989). Footnote 5.

            Uiese fedCTal statutes empowering courts to assign or aj^intcounsel were all
    passed well after 1915 attained its present broad coverage. See Act ofAug. 10,1956,
    Pub. L. 1028,827,70A Stat 46,10 U.S.C.827;Pub. L.88-455,78 Stat 552(1964), 18
    U.S.C.3006A;Pub. L.91452,84 St^.934(1970), 18 U.S.C.3503(c);Pub. L.95-144,
    91 Stat 1218(1977),18 U;S.C. 4109;Pub.L.95-608,92Stat 3071(1978),25 U.S.C.
    t912(b); Pub. L.88-352,78 Stat 241(1964),42 U.S.C. 1971(Q;Pub.L.88-352,78 Stat.
    244(1964),42 U.S.C. 2000a-3(a); Pub.L. 88-352,78 StaL 259(1964),42 U.S.C.2000e-
    5(f)(1); Pub. L.89-793,80 Stat. 1445(1966),42 U.S.C. 3413(1). See, MaUard v. U.S.
    Dist. Ct. S.Dist Iowa,490 U.S. 296,at 307(1989). Footnote 7.

            The feet that a court's power to require a lawyer to render assistance to the
    indigentis firmly rooted in the authority to define the terms and conditions i^on which
    members are admitted to the bar, Frazler v. Heebe,482 U.S.641 (1987); United States v.
    Hvass,355 U.S.570(1958),3 and to exercise "those powers necessaiy to protectfee
    functioning ofits own processes." Young v. United States ex rel. Vuilton et Fiis S. A.,
    481 U.S. 787,821(1987)(SCALIA,J., concurring injud^ent). Cf. Sparks v.Parker,
    368 So.2d 528(Ala.)(rejecting constitutional challenges to compelled representation of
    indigent defendants), appeal dism'd,444 U.S.803(1979).The lawyer's duty to provide
    professional assistance to the poor is part ofthe ancient traditions ofthe long


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     recognized by this Court and the courts ofthe several States. *** "Attorneys are officers
     ofthe coiut,and are bound to render service when required by such an appointment."
     Powell V. Alabama,287 U.S.45,73(1932). *** Congress intended to "open the United
     States courts" to impoverished litigants and "to keep pace" with the laws ofthese "[m]any
     humane and ^ilightened States." H.R.Rep. No. 1079,52d Cong., 1st Sess., 1-2(1892).
     *** To be faithful to the congressional design ofensuring the poor litigant equaljustice
     whether th^ suit is prosecuted in federal or state court,the statute should be construed to
     require counsel to serve, absent good reason, when requested to do so by the court See,
     Mallard v. U.S. Dist, Q.S. Dist. Iowa,490 U.S.296,at 312,313-315(dissentingl
    (1989).
           "An Act providing when plaintiff may sue as a poor person and when counsel
    shall be assigned by the court" Ch.209,27 Stat 252. Every contemporary decision uses
    the word "assign" to describe thejudge's authority to secure counsel for parties under
     1915(d). See Boyle v. Great Northern R. Co.,63 F. 539(CC Wash. 1894); Whelan v.
     Manhattan R. Co.,86 F. 219,220-221(CC SONY 1898); Brinkley v. Louisville & N.R-
     Ca,95F-345,353(CCWDTenn. 1899);Philip v. Louisville AKR.Co., 153F.795
    (CC ND Ala. 1907), afPd, 164 F. 1022(CA5 1908); United States ex ret Randolph v.
     Ross,298 F.64(CA6 1924).It is evident that the draftCTS ofthis statute understood these
     terms to impose similar obligations and simply assumed that members ofour profession
     would perform,their assigned tasks when requested to do so by the.court See,Mallard v.
     U.S. Dist. Ct S. Dist Iowa,490 U.S. 296, at 312,316(dissenting)(1989).

            Because plaintiffis preceding pro se, thk court will liberally construe her
     pleadings. Cf.. Efaines V.Kemer,404 U.S. 519,520,92 S. Ct 594,595,30 L.£d.2d 652
    (1972). Durre v. Dempsey,869 F.2d 543 at 545(10*^ Cir. 1989),Pro se complaints are
     held to less stringent standards than formal pleadings drafted by lawyers. Ct,Haihes,
    404 U.S. at 520,92S.Ct at 595. Durre v. Dempsey,869 F.2d 543 at 547(10^ Cir. 1989);
     Hall V. Bellmon,935 F.2d 1106,1110(10th Cir. 1991); see also, e.g. Ledbetter v.City of

     Topeka,318 F.3d 1183, 1187(10th Cir.2003).

            We have previously directed district courts to evaluate, in connection witii a
     request to appoint counsel under § 1915,*** the nature and complexity ofthe factual and
     legal issues. Rucks v. Boergermann,57 F.3d 978 at 979(10^ Cir. 1995); see also,
     Macline v. Fieake,650 F.2d 885,887-89(7th Cir.l98i). Ct,tfill V. SmithKline

     Beecham Corp.,393 F.3d IIII,at 1115 (lO"^ Cir. 2004).In order to be liable pursuant to


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     § 1983,a defendant must have personally participated in the alleged deprivation. Meade

     V. Grabbs,841 F.2d 1512 at 1527-58(10^ Cir. 1988); Duire v. Dempsey,869 F.2d 543
     at 548 {lO*'^ Cir. 1989). See. Amended 1983 Civil Rights Complaint Exhibits -A> thru -F.

     I believe the statute has become imconstitutional by removing ^Indigent person" from the

     statute in violation ofthe Equal Protection Clause and Due Process Clause ofthe 14^
     Amendment see Budiheit v.Cie^ Supra,705 F3d 1157 at 1161 {10*Cir. 2012)."We
     decline to read in'such an extensive duty absent statutoty language to that effect"

     Report ofthe House Judipiary Committee states that the bill containing 1915(d) was

     designed to enable persons unable to afford legal representation to avail themselves ofthe
     courts, as "[mjany humane and enlightened States" that had similar laws allowed them to
     do. H.R,Rq).No. 1079,52d Cong., 1st Sess.,2(1892), See,Supra, M^ard v. U.S.

     Dist. Ct S. Dist Iowa,490 U.S.296, at 302(1989).

                                             CONCLUSION.

            Plaintiff's Motion for Appointment ofCounsel should not be dismissed.

            DATED this JA. th day of March 2019.
                                                          Tami M.Bronnen'
                                                          P.O. Box 802
                                                          Cody, Wyoming 82414

                                    CERTIFICATE OF SERVICE.


             I, Tami M.Bronnenberg,Pro-se,swear and certify that I mailed this true and
     correct original copy ofthe above Objection for the Court,(a copy for Ms. Bronnenberg's
    stamped copy with a pre-paid stamped selfaddressed envelope to be mailed to her),
    pursuant to Federal Rules of Civil Procedure,Rule 12(a)(1)(C); Federal Rules of
     Evidence,Rules 103(a)(1); 402 to the United States District Court Clerk's OjBtice, 111
     S. Wolcott,Room 121, Camper, Wyoming 82601 on this day-ofMarch/;?.th,2019.

                                                                i M.Bronnenbe




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                                                                                     Ic

                                                                                            COURT
                            UNITED STATES DISTRICT COURT                  DiSiRlbT        '''YOMi^iG
                               DISTRICT OF WYOMING
                                                                         2CI9APR-I ARID: 1,5
  TAMI MAE BRONNENBERG,
                                                                        STEPHAlji^gS,CLERK
               Plaintiff,

        V.                                                    Case No. I9-CV-21-SWS


  BEAU J. EGGAR,Arresting Officer; WILLIAM K.
  STRUEMKE, Attorney; SARA L. STRUEMKE,
  Secretary; SERVICM LEGAL SERVICES,LLC;
  MARLIN D. RICHARDSON,DC; BIG HORN BASIN
  CHIROPRACTIC: CITY OF CODY;PARK COUNTY
  DETENTION CENTER; BOARD OF COUNTY
  COMMISSIONERS OF THE COUNTY OF PARK;

               Defendants.



          ORDER GRANTING LEAVE TO APPEAL IN FORMA PAUPERIS



        This matter comes before the Court on the Plaintiffs Motion for Permission to


  Appeal In Forma Pauperis (Doc. 20). Ms. Bronnenburg was previously permitted to

  proceed in forma pauperis in the district-court action. (Doc. 10 at p. 12.) This Court

  does not believe Ms. Bronnenburg seeks an appeal in bad faith.

        IT IS THEREFORE ORDERED that Ms. Bronnenburg's Motion for Permission

  to Appeal In Forma Pauperis is GRANTED. Under Federal Rule of Appellate Procedure

  24(a)(3), Ms. Bronnenburg may proceed on appeal without prepayment of fees.
                               sF'
        DATED: March             . 2019.



                                                "Scott W. Skavdahl
                                                 United Stales District Judge



                                                                                                106
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                                    010110225398 Date
                                                 Date Filed:
                                                      Filed: 04/04/2019
                                                             09/10/2019 Page:
                                                                         Page: 1107

                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
   Elisabeth A. Shumaker                                                          Chris Wolpert
   Clerk of Court                        April 04, 2019                      Chief Deputy Clerk


   Tami Mae Bronnenberg
   P.O. Box 802
   Cody, WY 82414

   Mr. Stephan Harris
   United States District Court for the District of Wyoming
   Office of the Clerk
   2120 Capitol Avenue, Room 2141
   Cheyenne, WY 82001-0000

   Ms. Adrian K. Kowalski
   Mr. Daniel E White
   Office of the Attorney General for the State of Wyoming
   2320 Capitol Avenue
   Cheyenne, WY 82002

   RE:       19-8026, Bronnenberg v. Eggar, et al
             Dist/Ag docket: 2:19-CV-00021-SWS

  Dear Counsel, Clerk and Appellant:

  Please be advised that the court issued an order today dismissing this case.

  In addition, please be advised that the mandate for this case has issued today. The clerk of
  the originating court shall file accordingly.




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                                    010110225398 Date
                                                 Date Filed:
                                                      Filed: 04/04/2019
                                                             09/10/2019 Page:
                                                                         Page: 2108



  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court




   EAS/lg




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Appellate Case: 19-8026
                19-8055 Document:
                          Document: 010110149711
                                    010110225398 Date
                                                 Date Filed:
                                                      Filed: 04/04/2019
                                                             09/10/2019 Page:
                                                                            Page: 1109
                                                                             FILED
                                                                 United States Court of Appeals
                        UNITED STATES COURT OF APPEALSEALS
                                                      E                  Tenth Circuit

                               FOR THE TENTH CIRCUIT                                April 4, 2019
                                                         _
                                                         ___
                           _________________________________
                                                                                 Elisabeth A. Shumaker
                                                                                     Clerk of Court
   TAMI MAE BRONNENBERG,

         Plaintiff - Appellant,

   v.                                                            No. 19-8026
                                                       (D.C. No. 2:19-CV-00021-SWS)
   BEAU J. EGGAR, arresting officer, et al.,                      (D. Wyo.)

         Defendants - Appellees.
                        _________________________________

                                        ORDER
                           _________________________________

         This matter is before the court on pro se appellant Tami Mae Bronnenberg’s

  Motion for Voluntary Dismissal of Notice of Appeal. Upon consideration, the court grants

  the motion and dismisses this appeal.

         A copy of this order shall stand as and for the mandate of the court.


                                               Entered for the Court
                                               ELISABETH A. SHUMAKER, Clerk



                                               by: Lisa A. Lee
                                                   Counsel to the Clerk




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  Bridget Hill
  Attorney General

  Michael J. McGrady
  Deputy Attorney General

  Daniel E. White [Wyo. State Bar No. 5-1545]
  Senior Assistant Attorney General
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  dan.white@wyo.gov
  adrian.kowalski@wyo.gov



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF WYOMING

  TAMI MAE BRONNENBERG,                         )
                                                )
          Plaintiff,                            )
                                                )
  v.                                            ) Civil Action No. 19-CV-21-SWS
                                                )
  BEAU J. EGGAR,                                )
                                                )
          Defendant.                            )



       DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT


          Defendant, by and through his undersigned counsel, hereby move this Court

  for dismissal of the Plaintiffs’ Complaint pursuant to Fed. R Civ. P. 12(b)(6). The

  Defendant also submits his Memorandum in Support of Motion to Dismiss and




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  incorporate the same as if fully set forth herein.

        DATED this 26th day of April, 2019.

                                                 /s/ Daniel E. White
                                                 Daniel E. White [WSB No. 5-1545]
                                                 Senior Assistant Attorney General

                                                 Adrian Kowalski
                                                 Adrian Kowalski [WSB No. 7-6125]
                                                 Assistant Attorney General



                            CERTIFICATE OF SERVICE

         I hereby certify that the foregoing was served this 26th day of April 2019, by
  the following means:


   Tami M. Bronnenberg                                                [✔] US Mail
   P.O. Box 802
   Cody, WY 82414



                                                 /s/ Jessica Curless
                                                 Jessica Curless, Paralegal
                                                 Office of Attorney General




                                             2

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  Bridget Hill
  Attorney General

  Michael J. McGrady
  Deputy Attorney General

  Daniel E. White [Wyo. State Bar No. 5-1545]
  Senior Assistant Attorney General
  Adrian Kowalski[Wyo. State Bar No. 7-6125]
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  dan.white@wyo.gov
  adrian.kowalski@wyo.gov

                            UNITED STATES DISTRICT COURT
                                DISTRICT OF WYOMING

  TAMI M. BRONNENBERG                                 )
                                                      )
           Plaintiff,                                 )
                                                      )
                     v.                               )     Civil Action No: 19-CV-21-S
                                                      )
  BEAU J. EGGAR, et al.,                              )
                                                      )
                                                      )
           Defendants.                                )

                                OFFICER EGGER’S
                          MEMORANDUM IN SUPPORT OF
                     MOTION TO DISMISS PLAINTIFF’S COMPLAINT


           Plaintiff Tami M. Bronnenberg (Bronnenberg) brings this pro se civil rights case

  over her arrest, which she argues was done based on an invalid arrest warrant. (Doc. 9 at

  2-3); (Ex. 1, Narrative, at 1-2).1 More specifically, Bronnenberg alleges that Defendant




  1
      Exhibit 1 is a copy of the Narrative of the Arrest.


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  Officer Beau J. Egger2 (Officer Egger) violated her Fourth Amendment rights by arresting

  her pursuant to a facially valid, albeit vacated, warrant, even though she “kept telling [him]

  . . . the warrant he was relying on . . . was vacated” and that she allegedly showed him a

  copy of the court order vacating the warrant. (Doc. 9 at 3).

         On the basis of Bronnenberg’s pleading, and the outside records attached to this

  memorandum, this case is ripe for dismissal under Federal Rule of Civil Procedure

  12(b)(6). Because Officer Egger is attaching outside records to the present motion, he

  respectfully asks the Court to consider those records by treating the motion as one for

  summary judgment under Rule 12(d), and to dismiss the action on the basis of qualified

  immunity. The pleadings, and attached materials, show that Officer Egger is entitled to

  qualified immunity as a matter of law, because officers who execute a facially valid, albeit

  outdated, arrest warrant in good faith do not violate clearly established law.

                                STATEMENT OF FACTS3

         Bronnenberg alleges that Officer Egger arrested her on the morning of January 31,

  2017, based on an outdated warrant for her arrest. (Doc. 9 at 3). She does not expand on

  this other than to allege that she “kept telling the Defendant, arresting officer Beau J. Egger

  that the warrant he was relying on, issued January 9, 2017 in this matter, was vacated,” and

  alleging that she “shows [sic] him the court order vacating the warrant.” (Id.). Before


  2
    Bronnenberg incorrectly lists Officer Egger’s last name as “Eggar” in the caption of the
  Complaint.
  3
    As discussed below, the allegations contained in Bronnenberg’s Complaint are taken as
  true, but only for the purposes of evaluating this motion to dismiss under Fed. R. Civ. P.
  12(b)(6). Officer Egger does not necessarily admit or deny the allegations in the Complaint.


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  arresting her, Officer Egger checked whether the warrant was still active and outstanding

  through routine police procedures: he specifically called the Park County Dispatch Center

  to verify it was still active and outstanding. (Ex. 2, Egger Aff., at 1-2).4 At the time of the

  arrest, the RIMS Computer Dispatch System in his vehicle also marked the warrant as

  active and outstanding. (Ex. 3, RIMS records, at 1-3).5 RIMS records show that the order

  vacating the arrest was not input into the system until after the arrest, intake, and ultimate

  release of Bronnenberg. (Id. at 1) (indicating that order vacating warrant was input into

  system at 11:13:46); see (Doc. 9 at 3-4) (alleging that Bronnenberg was booked at 10:19:40

  and released at 11:10:58).

         Bronnenberg does not describe how or why the warrant was issued in the first place

  or ultimately vacated. And as this Court noted in its screening order, there is no factual

  allegation suggesting “the arrest warrant on which Officer Eggar [sic] relied was somehow

  invalid on its face.” (Doc. 10 at 3). Indeed, the arrest warrant contains no discrepancy or

  indication that it was somehow invalid. (Ex. 4, Warrant).6 Nor did Officer Egger have any

  personal knowledge suggesting that the arrest warrant was invalid or expired. (Egger Aff.

  at 1-2).

         Bronnenberg alleges that Officer Egger arrested her and drove her to the Park

  County Detention Center. (Doc. 9 at 3). It appears that Bronnenberg alleges that she was



  4
    Exhibit 2 is a notarized affidavit from Officer Egger.
  5
    Exhibit 3 are screenshots from the RIMS computer system showing that the warrant was
  marked as withdrawn on January 31, 2017, the same day as the arrest.
  6
    Exhibit 4 is a scanned copy of the arrest warrant.


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  booked into jail and then released after about fifty minutes. (Id. at 3-4). The Complaint also

  alleges that “the next stop with the court order would be the Park County Prosecuting

  Attorney’s Office[.]” (Id. at 4). There is, however, no explanation of what this means, what

  the purpose of any visit to the Prosecuting Attorney’s Office was, or even what actually

  happened after she was released from the Detention Center.

                                PROCEDURAL HISTORY

         On February 14, 2019, Bronnenberg filed a pro se Amended 1983 Civil Rights

  Complaint. (Doc. 9). Her Complaint includes the following relevant attachments: (1) order

  vacating warrant (id. at 11), (2) an intake receipt from the Park County Detention Center

  (id. at 12), (3) and a release receipt from the Park County Detention Center (id. at 13).7

         Bronnenberg initially brought claims against a variety of individuals and entities,

  including Officer Egger; these claims generally alleged “a mass conspiracy to kidnap or

  falsely arrest her.” (Doc. 9 at 5-10); (Doc. 10 at 6). This Court screened the Complaint and

  ultimately dismissed with prejudice all claims except the Fourth Amendment claim against

  Officer Egger. (Doc. 10 at 10-11).

         Officer Egger now raises qualified immunity in response to the sole remaining claim

  and moves to dismiss on that basis pursuant to Federal Rule of Civil Procedure 12(b)(6).

  On a related note, Officer Egger asks the Court to treat this motion to dismiss as if it were

  one for summary judgment, as permitted under Rule 12(d), and to therefore consider the


  7
   She also includes bail, intake, and release receipts for an unrelated stay in the Park County
  Detention Center that took place in 2014. (Doc. 9 at 15-17). There is no explanation of the
  relevance of these documents to any factual allegation.


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  attached exhibits in ruling on the motion to dismiss.

         As evident above, Officer Egger submits four exhibits in support of his Motion to

  Dismiss: (1) a copy of narrative for the arrest, (2) a notarized affidavit from Officer Egger,

  (3) a copy of screenshots of RIMS records showing the time the vacated warrant was input

  into the system, and, and (4) a copy of the executed warrant. (Exs. 1-4). These records may

  be considered in ruling on a motion to dismiss, per Rule 12(d):

                If, on a motion under Rule 12(b)(6) or 12(c), matters outside
                the pleadings are presented to and not excluded by the court,
                the motion must be treated as one for summary judgment under
                Rule 56.

         “Before treating a motion to dismiss as a summary judgment motion, a district court

  must give notice to the parties ‘to prevent unfair surprise.’” Calbart v. Sauer, 504 F. App’x

  778, 781 (10th Cir. 2012). The Tenth Circuit, however, has concluded “there is no unfair

  surprise when a party submits material beyond the pleadings in support of or in opposition

  to a motion to dismiss because the party’s actions ‘put[] [him] on notice that the judge may

  treat the motion as a Rule 56 motion.’” Id.

                                STANDARD OF REVIEW

         Officer Egger moves to dismiss pursuant to Rule 12(b)(6). A pleading must be

  dismissed if it fails to state a plausible claim for relief. FED. R. CIV. P. 12(b)(6). Although

  a court is obligated, in performing this analysis, to construe liberally the pleadings of a pro

  se litigant, it is not obligated “to act as counsel or paralegal” for him. Erickson v. Pardus,

  551 U.S. 89, 94 (2007); Pliler v. Ford, 542 U.S. 225, 231 (2004). As such, a court is “not

  required to fashion [pro se plaintiff’s] argument for him where his allegations are merely


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  conclusory in nature and without supporting factual averments.” United States v. Fisher,

  38 F.3d 1144, 1147 (10th Cir. 1994) (citation omitted).

         At the pleading stage, “qualified immunity protects defendants performing

  discretionary functions from individual liability unless, on the face of the complaint, the

  plaintiff alleges the violation of ‘clearly established statutory or constitutional rights of

  which a reasonable person would have known.’” Hammett v. Okla. Dep’t of Mental Health

  & Substance Abuse Servs., 1998 U.S. App. LEXIS 16484 *6 (10th Cir. 1998) (citing

  Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Qualified immunity differs from typical

  defenses in that “officials enjoy a presumption of immunity when the defense of qualified

  immunity is raised.” Pahls v. Thomas, 718 F.2d 1210, 1227 (10th Cir. 2013).

         To overcome this presumption, a plaintiff must prove “that (1) the defendant

  violated her constitutional or statutory rights, and (2) the right was clearly established at

  the time of the alleged unlawful activity.” Castillo v. Day, 790 F.3d 1013, 1019 (10th Cir.

  2015). When asserted at the pleading stage, district courts may proceed directly to and

  address only the clearly-established prong of the qualified immunity analysis. Kerns v.

  Bader, 663 F.3d 1173, 7780-81 (10th Cir. 2011). To that end, “[a] Government official’s

  conduct violates clearly established law when, at the time of the challenged conduct, the

  contours of a right are sufficiently clear that every reasonable official would have

  understood that what he is doing violates that right.” Ashcroft v. al-Kidd, 563 U.S. 731,

  741 (2011).

         In its analysis of qualified immunity, a court need only accept the well-pleaded facts



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  as true. Weise v. Casper, 507 F.3d 1260, 1266 (10th Cir. 2007). It need not accept as true

  conclusions that are couched as factual allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009). Further, although a court must “accept all well-pleaded allegations as true and draw

  all reasonable inferences in favor of the plaintiff, if there is a conflict between the

  allegations in the complaint and the content of the attached exhibit, the exhibit controls.”

  Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081, 1105 (10th Cir. 2017).



                                       ARGUMENT

         Qualified immunity bars the Fourth Amendment claim against Officer Egger for

  two reasons. First, Bronnenberg’s case does not meet the first element of qualified

  immunity, showing that Officer Egger violated her Fourth Amendment rights. Second, as

  to the second element of qualified immunity, Bronnenberg does not provide any case law

  clearly prohibiting officers from conducting good-faith arrests pursuant to a facially valid

  warrant verified through routine police procedures. Each of these points will be addressed

  in turn.


     1. Officer Egger did not violate Bronneberg’s Fourth Amendment Rights by
        arresting her pursuant to a facially valid warrant which he verified through
        routine police procedures.

         Bronnenberg cannot state a plausible constitutional violation as Officer Egger is

  entitled to absolutely immunity when enforcing a facially valid warrant. "[O]fficial[s]

  charged with the duty of executing a facially valid court order enjoy[] absolute immunity

  from liability for damages in a suit challenging conduct prescribed by that order.” Turney


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  v. O'Toole, 898 F.2d 1470, 1472 (10th Cir. 1990). “‘Facially valid’ does not mean

  ‘lawful[,]’” and “[a]n erroneous order can be valid.” Id. at 1473 (explaining that this is

  necessary to prevent officials executing warrants from becoming “a ‘lightning rod for

  harassing litigation aimed at judicial orders.’”). For example, one court concluded that an

  already-executed warrant mistakenly executed for a second time was still facially valid

  where “there was no return information filled in and no indication that it had previously

  been served, recalled, canceled or quashed.” Peacock v. Mayor & City Council of Balt.,

  199 F. Supp. 2d 306, 309 (D. Md. 2002); see also Mitchell v. Aluisi, 872 F.2d 577, 579 (4th

  Cir. 1989) (recognizing a recalled warrant as still facially valid).

         Here, the warrant that Officer Egger executed was valid on its face. As this Court

  already noted, Bronnenberg does not allege that the warrant was facially invalid. (Doc. 10

  at 3) Nor can she plausibly do so. There are no mistakes or discrepancies in the warrant

  that suggest it was somehow invalid. (Warrant at 1). And although the warrant was vacated

  in a subsequent hearing, the warrant itself reflects no indication that it was no longer

  outstanding. (Id.). Further, Officer Egger possessed no independent knowledge to

  otherwise cast doubt on the validity of the warrant. (Egger Aff. at 1-2).

         The facial validity of the executed warrant is fatal to Bronnenberg’s Fourth

  Amendment claim. Courts have consistently held that “[u]nless a warrant is facially invalid

  an officer has no constitutional duty to independently determine its validity.” Hill v.

  Bogans, 735 F.2d 391, 393 (10th Cir. 1984); Baker v. McCollan, 443 U.S. 137, 146 (1979)

  (“we do not think a sheriff executing an arrest warrant is required by the Constitution to



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  investigate independently every claim of innocence”).

         When judging the immunity of an officer who executes an arrest warrant, the Tenth

  Circuit uses “an objective standard of good faith” and has consistently concluded that

  officers “act[] reasonably in relying on routine police procedures for establishing the

  existence of an outstanding warrant.” Bogans, 735 F.2d at 393. For example, the Tenth

  Circuit recognized “[a]n officer on the highway is entitled to rely on an accurate computer

  notification that there is an existing warrant for an individual’s arrest.” Smyth v. City of

  Lakewood, 83 F.3d 433 (10th Cir. 1996). The Tenth Circuit does not require an officer to

  do more by, for example, “obtain[ing] a copy of the warrant, research[ing] supporting

  documentation, or go[ing] behind the facial validity of a warrant before making the arrest.”

  Id. Nor must a police officer “investigate a detained prisoner’s claim of innocence.” Echols

  v. Unified Gov't of Wyandotte Cnty., 399 F. Supp. 2d 1201, 1206 (D. Kan. 2005).

         And here, Officer Egger acted in good faith by relying on routine police procedures

  when executing the warrant in question. First, as is routine for Cody Police Department

  officers, Egger verified that the warrant was still active and outstanding by calling into and

  checking with the Park County Dispatch Center. (Egger Aff. at 1-2) (RIMS records, at 1)

  (indicating that warrant was viewed during the time of the arrest). Second, a computer

  notification that indicated there was an active, outstanding warrant for Bronnenberg’s

  arrest. (RIMS records, at 1). Officer Egger was not required to do more even if

  Bronnenberg showed him a copy of the order vacating the warrant and protested her

  innocence. The Complaint contains no factual allegations suggesting Officer Egger



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  somehow acted in bad faith. (Doc. 9 at 3-4).

         Officer Egger’s actions are supported by case law. One factually analogous case is

  a Tenth Circuit Court of Appeals case, Hill v. Bogans. 735 F.2d 391, 393 (10th Cir. 1984),

  in which the officer’s conduct was found constitutional. In Bogans, a plaintiff arrestee sued

  a defendant police officer for arresting him on an outstanding bench warrant. Id. At the

  time of the arrest, the plaintiff “told Bogans [the officer] that he had cleared the speeding

  charge that was the subject of the warrant and asked Bogans to verify the validity of the

  warrant.” Id. Bogans did so, by “verif[ying] the warrant over the police radio and again

  upon arrival at the warrant desk.” Id. Despite these attempts, the officer did not learn that

  the warrant was in fact withdrawn, although “presumably Bogans would have learned the

  fact if he had contacted the county court.” Id. The plaintiff later sued, arguing that the

  defendant officer “violated his civil rights” by not contacting the county court before

  arresting him on the otherwise facially valid warrant. Id. The Tenth Circuit rejected this

  argument concluding “[u]nless a warrant is facially invalid an officer has no constitutional

  duty to independently determine its validity,” and the defendant officer “acted reasonably

  in relying on routine police procedures for establishing the existence of an outstanding

  warrant.” Bogans, 735 F.2d at 393.

         Measured against Bogans, Officer Egger properly relied on routine police

  procedures for establishing the existence of the outstanding warrant and is entitled to

  absolute immunity for enforcing a facially valid warrant.




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     2. Case law does not clearly prohibit good-faith arrests pursuant to a facially
        valid warrant verified through routine police procedures.

         The Court must also dismiss the claim against Officer Egger based on the second

  prong of qualified immunity, because Bronnenberg does not identify case law clearly

  holding that a good-faith execution of facially valid arrest warrant, verified through routine

  police procedures, becomes unlawful if the arrestee protests her innocence and provides a

  copy of the recall order.

         Qualified immunity shields public officials from civil-damages liability “as long as

  their actions could reasonably have been thought consistent with the rights they are alleged

  to have violated.” Anderson v. Creighton, 483 U.S. 635, 638 (1987). “Ordinarily, in order

  for the law to be clearly established, there must be a Supreme Court or Tenth Circuit

  decision on point, or the clearly established weight of authority from other courts must

  have found the law to be as the plaintiff maintains.” Medina v. City & Cnty. of Denver, 960

  F.2d 1493, 1498 (10th Cir. 1992).

         The Tenth Circuit has outlined the need for such clearly established law before

  subjecting an officer to civil liability, explaining that “[d]amages actions against public

  officials under § 1983 . . . impose ‘substantial social costs[,]’” by “threaten[ing] potentially

  significant personal liability for actions that arise out of the performance of official duties,

  and “subject[ing] officials to burdensome and distracting litigation.” Pahls, 718 F.3d at

  1226–27 (internal citations omitted) (emphasis added). And it elaborated on how these

  costs “this could lead to undesirable ex ante effects” such as “reticence of officials in

  carrying out important public functions and, perhaps worse, a general disaffection with


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  public service, rooted in the calculation that its costs simply outweigh its benefits.” Id. “To

  avoid these and other evils, the Supreme Court has recognized that public officials enjoy

  qualified immunity in civil actions that are brought against them in their individual

  capacities and that arise out of the performance of their duties.” Id. Accordingly “[t]his

  standard, by design,” is meant to “give[] government officials breathing room to make

  reasonable but mistaken judgments about open legal questions.” Pahls, 718 F.3d at

  1226–27 (internal citations omitted) (emphasis added).

         With these principles in mind, unless Bronnenberg identifies an applicable case on

  point, or clear weight of authority from other courts that make it “sufficiently clear” that

  Officer Egger acted wrongfully, the Court must dismiss the Fourth Amendment claim

  against Officer Egger. Ashcroft, 563 U.S. at 741. And here, the law in this area supports

  Officer Egger or is hazy at best.

         For example, at least one court has concluded that officers acted reasonably in

  arresting someone, even where that person shows them a copy of the warrant recall order.

  Lauer v. Dahlberg, 717 F. Supp. 612, 614 (N.D. Ill. 1989). The court recognized the

  arrestee’s claims that the warrant was recalled, along with “an uncertified copy of a recall

  order did not require [an officer] to investigate further than confirming the active status of

  the warrant over the police radio[,]” exactly as Officer Egger did in this case. Id. And the

  court found that “[t]o hold otherwise would be to place impossible burdens upon police

  officers,” as “[j]udgments as to the authenticity of recall orders, which like all other

  documents are subject to error, alteration, and forgery, are ordinarily best made in the



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  station house or the courthouse, rather than by a police officer in the field.” Id. And at least

  one other court has extended this same reasoning to a situation an officer presented with a

  certified copy of an order quashing the warrant. See e.g. Ochser v. Funk, 228 Ariz. 365,

  374 (2011) (“Although certified copies provide significant intrinsic assurances of

  authenticity, the concerns of alteration and forgery expressed in Lauer nonetheless extend

  to certified copies, particularly when proffered by an arrestee.”).

         While Lauer may not be controlling against Bronnenberg, the law also does not

  seem clearly established against Egger, which it must be for Bronnenberg to overcome

  Egger’s qualified immunity. At least one court has even recognized the “conflicting case

  law” on the issue of whether an officer acts reasonably when executing an already-quashed

  warrant despite being presented with a certified copy of the court order quashing the

  warrant. See Ochser, 228 Ariz. at 374 (acknowledging that existing case law “could [be]

  reasonably be read as merely requiring officers to make ‘a quick phone call to the precinct’

  to verify a warrant when presented with a certified copy of an order.”). In this case, the

  Arizona Supreme Court concluded that officers acted unreasonably by “failing to retrieve

  the certified copy of the minute entry [vacating the warrant] from Ochser’s nearby office

  and conduct appropriate inquiry into the warrant’s validity before arresting him.” Ochser,

  228 Ariz. 365 at 371. It, however, concluded qualified immunity applied as “[t]he existing

  precedent did not place the question of reasonableness under these circumstances ‘beyond

  debate.’” Id. at 374.




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         This case is not only factually distinguishable, but it also does not represent clearly

  established law for purposes of Egger’s qualified immunity, because the Arizona case is

  not Tenth Circuit precedent, United States Supreme Court precedent, or a great weight of

  national authority. First, the Arizona case is distinguished from the one at hand in a

  significant way. The inquiry in Ochser appeared to revolve around only whether the

  officers acted wrongfully in declining to retrieve a copy of the order that was “easily at

  hand” only “twenty yards away.” Id. Here, there is no such allegation. Second, it does not

  appear that the law related to enforcing facially valid, but outdated, arrest warrants is

  materially clearer since Ochser. Neither the Tenth Circuit nor the Supreme Court, nor the

  clear weight of authority from other courts have recognized a right against good-faith

  execution of facially valid arrest warrants verified through routine police procedures.

         In sum, Officer Egger is entitled to dismissal on all claims against him because he

  arrested Bronnenberg pursuant to a facially valid arrest warrant, and acted in good faith by

  verifying the arrest warrant through routine police procedures when Bronnenberg protested

  her innocence. Further, there is no case law clearly protecting against a good-faith arrest

  done over the protests of the arrestee. Accordingly, qualified immunity bars the Fourth

  Amendment claim against him.

                                       CONCLUSION

         Based on the arguments above, Defendant Egger asks this Court to dismiss Plaintiff

  Bronnenberg’s action and award Defendant Egger his costs and any other relief the Court

  deems appropriate.



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         DATED this 26th day of April, 2019.

                                            /s/ Adrian K. Kowalski
                                            Adrian K. Kowalski
                                            Assistant Attorney General




                               CERTIFICATE OF SERVICE

         I do hereby certify that I have sent a copy of the foregoing on this 26th day of April
  2019, to the following individuals:

   Tami M. Bronnenberg                                            [✔] U.S. MAIL
   P.O. Box 802
   Cody, WY 82414




                                            Jessica Curless
                                            Jessica Curless, Paralegal
                                            Office of the Wyoming Attorney General




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                                     1402 RIVER VIEW DR      CODY, WV 82414
                                                       NARRATIVE                                         17-124


            SUMMARY

                  On Tuesday, January 3 I, 2017, at approximately 1000 hrs, Tami Bronnenberg was arrested and
            booked into the Park County Detention Center on a Fifth Judicial District Court Warrant for Failing to
            Appear on a Civil Matter,

            ENCLOSURES
                    I. Copy of Warrant.

            INVESTIGATION
                  On Tuesday, JanuruJ 31, 2017, at approximately 0955 hrs, I was patrolling in the area of Rumsey
            Avenue and 15th Street, when I observed Tami Bronnenberg driving in her late model Mercedes Benz
            SUV, bearing Wyoming Registration l lP34308. 1was aware Bronnenberg had an outstanding District
            Court Warrant for failing to appear on a Civil Matter in that court.

                   Subsequently, I pertormed a traffic stop on Bronnenberg's vehicle to affect the arrest for the
            warrant in the 1600 block of Bleistein Avenue. I made contact with Bronnenberg who was aware of the
            warrant. She was taken into custody and placed in hand cuffs, A tightness check was performed and the
            handcuffs were double locked.

                   Bronnenberg was transported to the Park County Detention Center without incident and
            remanded to the custody of the Park County Detention Staff, where I provided her with a copy of the
            warrant.

                    No further action taken.

            UNDEVELOPED LEADS

                    None

            STATUS
                    Closed




                                                                                              Exhibit 1


  PtepBctd lly;                                 Date:            Appro>ed By:                           Da1e:
  COS         EGGER, llEAlJ                     01/3112017
  •   BODYCAMf://A Rl,CORDf:D
                                                                 Cl6       STAFFORD, JASON              01/31/2017




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         vs

       TAMI BRONNENBURG

      - - - - - -Defendant
                  ~ - - - N..................----'--
                            .,..,, ,.,, ,,,
                                                          WARRANT
                                   .. .... ......" .....________________ ___ . ,_,... ,,,......,,,. ,.,,.,, .....
                                                                                                  ,   _.            ,



    TO A~Y SHERIFF IN THE STATE OF WYOMING, GREETING:
              WHEREAS, within open court on 4 January 2017 the Plaintiff requested that a Warrant
    issue for the arrest of the above-named defendant, for failure to appear for the ORDER TO
    SHOW CAUSE hearing scheduled for 9:30 AM that day; in District Court, Fifth Judicial
    Distrift, Park County Courthouse, Cody, WY, and the Court having been in session and not
    seein~ the Defendant on the premises has found good cause to issue the same;
          I

          I   YOU ARE, THEREFORE, HEREBY COMMANDED forthwith to arrest the above•
    named Defendant and bring the Defendant before the Court for further proceedings.
              DATED THIS                      ~v-,,   day or   Wc.....,..,.,         , 2017.
                                                          BY T~tryOURT:
                                                                                I)                -
                                                                     \..-v--,   C._µc,_, {r
                                                          HONORABLE STEVEN CRANFILL
                                                          District Court Judge
          I
          I
    BONQ RECOMMENDATION _ _ _ _ __


      DOB:        t/ - I..Z - ~q
      SSN:

      LK~:       q 38' ;r,tt, St
                           ,Pf'"


                                                       RETURN

    STATE OF WYOMING } ss
    COUNTY OF PARK

           I hereby certify tha.t I received the above Warrant filed in the above matter, that I served
    the same in Park County on -~j,l) J\NA,1111       '/,/ '/I         by delivering copies of both to 7                 ?:
    nt ' 1lc:c   'L
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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF WYOMING

  TAMI MAE BRONNENBERG,                               )
                                                      )
          Plaintiff,                                  )
                                                      )
  V.                                                  ) Civil Action No. 19-CV-21-SWS
                                                      )
  BEAU J. EGGAR,                                      )
                                                      )
          Defendant.                                  )


                             AFFIDAVIT OF BEAU J. EGGER


  I, Beau J. Egger, being first duly sworn, depose and state as follows:

       1. I am a resident of Park County, Wyoming, am over the age of 21 years, and have

          personal knowledge of the facts and circumstances set forth in this affidavit.

       2. At all times relevant to this case, I was an officer employed with the City of Cody

          Police Department as a Sergeant.

       3. My duties include, but are not limited, to conducting traffic stops and executing

          arrest warrants.

       4. I have held my position as an Officer with the City of Cody for 16 years. I have 16
                                                         ,..,
          years of prior law enforcement experie~e.        ,

       5. I have executed hundreds of arrest warrants. Some of standard practices to confirm

          a warrant include, but are not limited to; checking the RIMS Computer Aided

          Dispatch System at police headquarters, checking warrant boxes, and, by calling/

          radioing dispatch to verify if the warrant is still outstanding/ active.




                                                                                Exhibit 2
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     6. I have no knowledge of any invalid arrest warrant being executed or being listed in

        the RIMS system.

     7. To the best of my knowledge, Exhibit 3 to the Motion to Dismiss are accurate

        screenshots of the RIMS system records pertaining to the warrant executed in this

        case. The RIMS records indicate that the order vacating the warrant was not input

        or processed until January 31, 2017, at 11: 13 :46. To the best of my knowledge this

        is not until after I arrested Tami Bronnenberg and transported her to the Park County

        Detention Center.

     8. On January 31, 2017, at approximately 9:55 A.M., I performed a traffic stop on

        Tami Bronnenberg as she was driving her vehicle in order to execute an outstanding

        District Court Arrest Warrant for failing to appear on a Civil Matter. I confirmed

        the warrant through the Park County Dispatch Center, verifying it was still active

        and outstanding.

     9. Tami Bronnenberg protested the warrant was invalidated. I do not recall Tami

        Bronnenberg showing me any copy of the order vacating the said warrant.

     10. I had prior knowledge of Tami Bronnenberg through previous law enforcement

        contacts and was aware of the existence of said arrest warrant, justifying the reason

        for the traffic stop.

     11. At approximately 1000 A.M. I arrested Tami Bronnenberg pursuant to the warrant

        and transported her to Park County Detention Center where I remanded her to the

        custody of the Park County Detention Staff, served the arrest warrant and provided



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        her with a copy of said warrant in accordance with Wyoming State Law. To the best

        of my knowledge, she was released af~er one hour.

     12. To the best of my knowledge, Exhibit 1 to the motion to dismiss is a copy of police

        narrative report and Exhibit 4 is a copy of the executed warrant.

     13. I followed standard procedure related to the detention and arrest of citizens wanted

        on active arrest warrants.

        DATED this 26 th day of April, 2019.




  STATE OF WYOMING                   )
                                     ) ss
  COUNTY OF PARK                     )


        The foregoing instrument Affidavit of Beau Egger was subscribed and sworn to

  before me by Beau Egger, personally known to me on this ~         ay of April, 2019.




                                                   ~J~~
                                                   Notary Public


  My commission expires:     9, - l o · ~:}.




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                                                                                                131
                 Case 2:19-cv-00021-SWS Document 29-3 Filed 04/26/19 Page 1 of 3
       Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 132
                                         PARK COUNTY SHERIFF'S OFFICE                                               Page 1

                                                Audit for Warrant 011715150                                         04/25/2019


           Date         Time        By          Entry
           01/12/2017   15:58:45    KZELLER     Added warrant for BRONNENBERG, TAMI MAE
           01/12/2017   15:58:45    KZELLER     Warrant Date added: 01/09/2017
           01/12/2017   15:58:45    KZELLER     Status added: Active
           01/12/2017   15:58:45    KZELLER     Felony/Misdemeanor added: Misdemeanor
           01/12/2017   15:58:45    KZELLER     Reason added: Failed to appear in court
           01/12/2017   15:58:45    KZELLER     Court added: DISTRICT
           01/12/2017   15:58:45    KZELLER     No Bail: NoBail changed to Checked
r..-   l   01/12/2017   15:58:45    KZELLER     Charge 1 added: FTA-CIVIL
           01/12/2017   15:58:45    KZELLER     Comment added: 28047
           01/12/2017   15:58:55    KZELLER     Attachment (7610) - added: Created attachment record: Warrant
           01/12/2017   15:58:55    KZELLER     Warrant Date added: 01/09/2017
           01/12/2017   15:58:55    KZELLER     Status added: Active
           01/12/2017   15:58:55    KZELLER     Felony/Misdemeanor added: Misdemeanor
           01/12/2017   15:58:55    KZELLER     Reason added: Failed to appear in court
           01/12/2017   15:58:55    KZELLER     Court added: DISTRICT
           01/12/2017   15:58:55    KZELLER     No Bail: NoBail changed to Checked
           01/12/2017   15:58:55    KZELLER     Charge 1 added: FTA-CIVIL
           01/12/2017   15:58:55    KZELLER     Comment added: 28047
           01/12/2017   17:32:34    E WRIGHT    Viewed
           01/12/2017   17:53:01    P PARISI    Viewed
           01/12/2017   23:58:39    TBREWER     Viewed
           01/13/2017   09:11:52    MHARTMAN    Viewed
           01/16/2017   10:18:27    PGERAGHTY   Viewed
           01/16/2017   11:30:47    JMORRlS     Viewed
           01/25/2017   12:37:50    B STINSON   Viewed
           01/31/2017   09:53:44    JSUMMERS    Viewed
           01/31/2017   09:54:17    JSUMMERS    Viewed
           01/31/2017   09:56:22    MMCCLAIN    Viewed
           01/31/2017   09:56:51    MMCCLAIN    Viewed
           01/31/2017   09:57:01    MMCCLAIN    Viewed
           01/31/2017   10:01 :53   KZELLER     Viewed
           01/31/2017   10:01:57    KZELLER     Attachment (7610) - Viewed, Warrant
           01/31/2017   10:02:17    JMORRlS     Viewed
           01/31/2017   10:27:59    VTHULL      Viewed
           01/31/2017   10:28:05    VTHULL      Attachment (7610) - Viewed, Warrant
           01/31/2017   10:53:38    KZELLER     Viewed
           01/31/2017   10:53:42    KZELLER     Attachment (7610) - Viewed, Warrant
           01/31/2017   11 :02:37   KZELLER     Viewed
           0l/31/2017   11:02:52    KZELLER     Viewed
           0l/31/2017   11:06:37    JSUMMERS    Viewed
           01/31/2017   11:08:26    JSUMMERS    Status: Active changed to Closed
           01/31/2017   11:13:07    KZELLER     Viewed
           01/31/2017   11:13:46    KZELLER     Attachment (7672) - added: Created attachment record: Withdrawal not received
                                                ti! 1/31/2017
           01/29/2019   08:27:19    CTORCZON    Viewed
           01/29/2019   08:27:27    CTORCZON    Attachment (7610) - Viewed, Warrant
           01/29/2019   08:27:33    CTORCZON    Attachment (7672) - Viewed, Withdrawal not received ti! 1/31/2017
           01/29/2019   08:27:58    CTORCZON    Attachment (7610) - Viewed, Warrant
           01/29/2019   08:28:47    CTORCZON    Attachment (7672) - Viewed , Withdrawal not received ti! 1/31/2017
           01/29/2019   08:29:06    CTORCZON    Attachment (7610) - Viewed, Warrant
           01/29/2019   08:29:17    CTORCZON    Attachment (7672) - Viewed, Withdrawal not received ti! 1/31/2017
           01/29/2019   08:30:08    CTORCZON    Attachment (7672) - Viewed , Withdrawal not received ti! 1/31/2017




                                                                                                       Exhibit 3
                                                                                                                                 132
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Appellate Case: 19-8055 PARK
                          Document: 010110225398 Date Filed: 09/10/2019 Page: 133
                              COUNTY SHERlFF'S OFFICE                                                       Page 2

                                    Audit for Warrant 011715150                                             04/25/2019

Date         Time        By         Entry
01/29/2019   08:32:23    CTORCZON   Attachment (7610) -   Viewed, Warrant
01/29/2019   08:32:40    CTORCZON   Attachment (7672) -   Viewed , Withdrawal not received ti! 1/31/2017
01/29/2019   08:32:46    CTORCZON   Attachment (7672) -   Viewed , Withdrawal not received ti! l /31/2017
01/29/2019   08:38:34    JTORCZON   Viewed
01/29/2019   08:38:49    JTORCZON   Attachment (7610) -   Viewed, Warrant
01/29/2019   08:39:33    JTORCZON   Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
01/29/2019   08:46:09    JTORCZON   Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
01/29/2019   08:46:34    JTORCZON   Attachment (7672) -   Viewed , Withdrawal not received ti! 1/31/2017
01/29/2019   12:20:00    JTORCZON   Viewed
01/29/2019   12:20:05    JTORCZON   Attachment (7610) -   Viewed, Warrant
01/29/2019   12:20:37    JTORCZON   Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
01/29/2019   12:24:47    JTORCZON   Viewed
01/29/2019   12:24:51    JTORCZON   Attachment (7610) -   Viewed, Warrant
01/29/2019   12:25:24    JTORCZON   Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
01/29/2019   12:35:25    JTORCZON   Viewed
01/29/2019   12:35:31    JTORCZON   Attachment (7672) -   Viewed , Withdrawal not received ti! 1/31/2017
01/29/2019   15:31:38    JTORCZON   Viewed
01/29/2019   15:32:11    JTORCZON   Attachment (7610) -   Viewed, Warrant
01/29/2019   15:33:09    JTORCZON   Attachment (7672) -   Viewed, Withdrawal not received til 1/31/2017
03/27/2019   18:55:04    BEGGER     Viewed
03/27/2019   18:55:13    BEGGER     Attachment (7610) -   Viewed, Warrant
03/27/2019   18:55:29    BEGGER     Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
03/27/2019   19:14:04    B EGGER    Printed
04/17/2019   15:24:57    KZELLER    Viewed
04/17/2019   15:26:39    KZELLER    Viewed
04/17/2019   15:50:00    KZELLER    Viewed
04/17/2019   15:52:08    KZELLER    Viewed
04/17/2019   15:54:20    KZELLER    Viewed
04/17/2019   15:58: 14   KZELLER    Viewed
04/17/2019   16:00:46    KZELLER    Attachment (7672) -   Viewed , Withdrawal not received ti! 1/31/2017
04/18/2019   08:09:14    MMCCLAIN   Viewed
04/25/2019   13:29:02    BEGGER     Viewed
04/25/2019   13:29:53    B EGGER    Printed
04/25/2019   14:12:09    BEGGER     Viewed
04/25/2019   14:12:15    BEGGER     Attachment (7672) -   Viewed, Withdrawal not received ti! 1/31/2017
04/25/2019   14:50:22    KZELLER    Viewed




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          Case 2:19-cv-00021-SWS Document
                           PARK COUNTY    29-3 Filed
                                        SHERIFF'S    04/26/19 Page 3 of 3
                                                   OFFICE
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                                                                              1341
                                                  WARRANT 011715150
                                                BRONNENBERG, TAMI MAE                                                         04/25/2019

War#                                                                                                         Phone            Cell Phone
 011715150
 Officer Safety                                               Sex      Race                       Hair       Eyes             Height Weight
                                                               F        White                     Brown      Brown
Type                                   Reason                          Fel/Mis           Status              Will Pick Up?    Night Svc
                                       Failed to appear in court        Misdemeanor Closed
Date              Case                 Court                                     Judge                                  FCN
 01/09/2017                            DISTRICT
 Citation                              Docket                                    Reference#


 Charges                                                                         Note
              FTA-CIVIL                                                          28047




Bail


Vehicle License      State       Make                               Model                            Color                    Year


Attempted Service
    Date            Time     Officer             Note
    0l/3!/2017      11:00    II35                Arrested by C24, warrant was pulled by court on the 17th




                                                                                                                                   134
              Case 2:19-cv-00021-SWS Document 29-4 Filed 04/26/19 Page 1 of 1
                                                                                  -
    Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 135


      STATE OF WYOMING                                                            IN THE DISTRICT COURT
      COUNTY OF PARK                                                             FIFTH JUDICIAL DISTRICT
                                -       - - -- -··       --
      BIG HORN BASIN CHIROPRACTIC
                                                                                 Civil No. 28047
                           Plaintiff
                                                                                          PP·TRI>. L.,;,~r,~:. ·-\. ~-L
        vs                                                                                CJer:, u,       1~..:1 _.t_; ~ .., ._ Ci..;U:-t

      TAMI BRONNENBURG
                                                                                       FILED   !J~1 _?~1~ Y:
               ___
                 De
                  _f_en_d_an_t _ _ __ _ _ _ __,___ _ __ _ _                           _;b2:.-=:;:~~~~~
                                                                                                 :; -~
                                                         WARRANT
                ·••·   -   ·------        - -- - · · - ··--··-·-   -    - -- - - - - --            ---·     -     --        ·-------·


   TO ANY SHERIFF IN THE STATE OF WYOMING, GREETING:
          WHEREAS, within open court on 4 January 2017 the Plaintiff requested that a Warrant
   issue for the arrest of the above-named defendant, for failure to appear for the ORDER TO

   SHOW CAUSE hearing scheduled for 9:30 AM that day; in District Court, Fifth Judicial
   District, Park County Courthouse, Cody, WY, and the Court having been in session and not

   seeing the Defendant on the premises has found good cause to issue the same;

             YOU ARE, THEREFORE, HEREBY COMMANDED forthwith to arrest the above-
   named Defendant and bring the Defendant before the Court for further proceedings.
                           I/. l.,A.-'
             DATED THIS _ _V\
                                       Cy~
                            _ _ day of_,_:;
                                       ~ ~ - - - - ' 2017.




                                                          HONORABLE STEVEN CRANFILL
                                                          District Court Judge

   BOND RECOMMENDATION- - - - - -


     DOB:       Y- 12- &9
     SSN:

     LKA:      035          j(-} f"I,   St·
                                       -J 3
                                    -ff_
                                                       RETURN

   STATE OF WYOMING                                                                             Exhibit 4
   COUNTY OF PARK

          I hereby certify that I received the above Warrant filed in the above matter, that I served
   the same in Park County on -:))) NJ~-,i-v,       --;; S'/         by delivering copies of both to /.. Z:
   at <y_ l --::L            .

                                                          SH ERIFF
                                                            ~ ~ .'      ....,
r">arx: County Shoriffs Cffi~c
         WARRANT#
                                                   BY:       /;J-r (j
                                                          DEPUTY
                                                                        --..l
                                                                                                                                EIVEfD
  0\l ~l l 61 0<)                                                                                                    J/4f (~ 2011           .
-----------=-
                                                                                                          BY_ _~(__;
                                                                                                               __ _  135-=
           Case 2:19-cv-00021-SWS Document 29-5 Filed 04/26/19 Page 1 of 6
 Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 136

0    Neutral
As of: April 26, 2019 4:19 PM Z


    Hammett v. Oklahoma Dep't of Mental Health & Substance Abuse Servs.
                                  United States Court of Appeals for the Tenth Circuit
                                                   July 21 , 1998, Filed
                                                        No. 97-6374

Reporter
1998 U.S. App. LEXIS 16484 *; 98 Colo. J. C.A.R. 3981
                                                               appellee employee brought for wrongful termination
MARI BOB L. HAMMETT, Plaintiff - Appellee, v.
                                                               under 42 U.S.C.S. § 1983 on the basis of qualified
OKLAHOMA DEPARTMENT OF MENTAL HEALTH &
                                                               immunity.
SUBSTANCE ABUSE SERVICES, Sued as State of
Oklahoma ex rel; SHARRON BOEHLER, in her
                                                              Overview
individual capacity; DWIGHT HOLDEN , MD, in his
                                                              The employee argued that disciplinary actions were
individual capacity; J. B. PRATT, MD, in his individual
                                                              taken in retaliation for her having reported patient
capacity; LAVERN PHILLIPS, in her individual capacity;
                                                              abuses. The board members contended that the
PAUL BLEVINS, JD, in his individual capacity; JOHN A.
                                                              employee's U.S. Const. amend. I claim was barred
CALL, PHO, JD, in his individual capacity; BETTY
                                                              because the board members were entitled to qualified
PFEFFERBAUM , MD, JD, in her individual capacity;
                                                              immunity, and they asserted that the district court's
and DUANE STEBENS, Ed.D, in his individual capacity,
                                                              denial of their motion to dismiss was immediately
Defendants - Appellants.
                                                              appealable because it was purely a legal decision. The
                                                              court concluded that it had jurisdiction to review the
Notice: [*1] RULES OF THE TENTH CIRCUIT
                                                              denial of the motion to dismiss on the basis of qualified
COURT OF APPEALS MAY LIMIT CITATION TO
                                                              immunity because the court's decision solely involved
UNPUBLISHED OPINIONS. PLEASE REFER TO THE
                                                              applying principles of law to an assumed set of facts.
RULES OF THE UNITED STATES COURT OF
                                                              The court found that the board members had not
APPEALS FOR THIS CIRCUIT.
                                                              demonstrated that, the state interest in regulating the
                                                              employee's speech outweighed her First Amendment
Subsequent History: Reported in Table Case Format
                                                              interest in reporting patient abuses. Because the
at: 1998 U.S. App. LEXIS 25909.
                                                              employee alleged a clearly established right of which a
Prior History: (W.D. Okla.). (D.C. No. 96-CV-1333).           reasonable person should have known, and given the
                                                              scant factual record on the motion, the court found it
Disposition: AFFIRMED.                                        was premature to grant qualified immunity.

                                                              Outcome
Core Terms                                                    The judgment denying board members' motion to
                                                              dismiss the employee's§ 1983 claims was affirmed.
qualified immunity, patients, regulations, rights,
constitutional right, alleged violation, motion to dismiss,
public concern, allegations, reporting                         LexisNexis® Headnotes

Case Summary

Procedural Posture
                                                                   Civil Procedure > Appeals > Summary Judgment
Appellants, State of Oklahoma, Department of Mental
                                                                   Review > Appealability
Health and Substance Abuse Services (department),
and its board members, challenged the judgement of
                                                                   Civil Rights Law> ... > Immunity From
the federal district court (W. Dist. Okla), which denied
                                                                   Liability > Local Officials > Customs & Policies
the board members' motion to dismiss the claim of

                                                                                                                      136
           Case 2:19-cv-00021-SWS Document 29-5 Filed 04/26/19 Page 2 of 6 Page 2 of 6
 Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page:      137
                                            1998 U.S. App. LEXIS 16484, *1

    Civil Procedure > Appeals > Summary Judgment                show that the relevant law was clearly established when
    Review > General Overview                                   the alleged violation occurred. In the appellate court's
                                                                assessment of whether a plaintiff has asserted a
    Civil Procedure > Appeals > Appellate                       violation of a constitutional right and whether the
    Jurisdiction > Interlocutory Orders                         constitutional right was clearly established so that
                                                                reasonable officials wou ld have understood that their
HN1[~ ] Summary Judgment Review, Appealability                  conduct violated that right. The appel late court, like the
                                                                district court before it, must construe the complaint and
Orders denying qualified immunity before trial are              amended complaint in the light most favorable to
immediately appealable when they resolve issues of              plaintiff, accept all wel l-pleaded allegations as true, and
law. A determination that the law allegedly violated by         draw all reasonable inferences in plaintiffs favor.
the defendant was clearly established at the time of the
challenged actions is an abstract issue of law that is
immediately appealable. A determination that under
either party's version of the facts the defendant violated          Constitutional Law > ... > Fundamental
clearly established law is also immediately appealable.             Freedoms > Freedom of Speech > Public
However, government officials cannot appeal pretrial                Employees
denial of qualified immunity to the extent the district
                                                                    Constitutional Law > ... > Fundamental
court's order decides nothing more than whether the
                                                                    Freedoms> Freedom of Speech> Scope
evidence could support a finding that particular conduct
occurred. An order denying qualified immunity on
                                                                HN3[~ ] Freedom of Speech, Public Employees
summary judgment is not appealable if it merely
determines the facts asserted by the plaintiff are
                                                                Generally, public employment cannot be conditioned on
sufficiently supported by evidence in the record to
                                                                a basis that infringes the employee's constitutionally
survive summary judgment.
                                                                protected interest in freedom of expression.


    Civil Procedure > ... > Defenses, Demurrers &
                                                                    Healthcare Law > Medical
    Objections > Affirmative Defenses > Immunity
                                                                    Treatment > Incompetent, Mentally Disabled &
                                                                    Minors > General Overview
    Civil Rights Law > ... > Immunity From
    Liability > Local Officials > Customs & Policies
                                                                HN4[~ ] Medical Treatment, Incompetent, Mentally
                                                                Disabled & Minors
    Civil Procedure > ... > Responses > Defenses,
    Demurrers & Objections > Motions to Dismiss
                                                                The quality of care given to patients in Oklahoma's
                                                                Department of Mental Health system involves a matter
    Civil Procedure > Appeals > Standards of
                                                                of public concern .
    Review > De Novo Review

HN2[~ ] Affirmative Defenses, Immunity
                                                                    Labor & Employment Law > Collective Bargaining &
The appellate court reviews de novo the denial of a                 Labor Relations > Labor Arbitration > Discipline,
motion to dismiss based on qualified immunity because               Layoffs & Terminations
it is a question of law. At the Fed. R. Civ. P. 12(b)(6)
stage,      qualified   immunity    protects    defendants      HN5[~ ] Labor Arbitration, Discipline, Layoffs &
performing discretionary functions from individual              Terminations
liability unless, on the face of the complaint, the plaintiff
alleges the violation of clearly established statutory or       Under Okla. Stat. tit. 74. § 840-2.S(A) , a disciplinary
constitutional rights of which a reasonable person would        action may constitute, among other things, a withholding
have known. Once a defendant pleads qualified                   of work, reprimand, admonishment, warning of possible
immunity as an affirmative defense, the plaintiff must:         dismissal or dismissal.
(1) allege sufficient facts showing that the defendant's
actions violated a constitutional or statutory law, and (2)     Counsel: For MARIBOB L. HAMMETT, Plaintiff -

                                                                                                                         137
           Case 2:19-cv-00021-SWS Document 29-5 Filed 04/26/19 Page 3 of 6 Page 3 of 6
 Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page:      138
                                                1998 U.S. App. LEXIS 16484, *1

Appellee: Stanley M. Ward, Norman, OK.                               [Defendants] appeal only the court's refusal to dismiss
                                                                     the First Amendment section 1983 claim on qualified
For OKLAHOMA DEPARTMENT OF MENTAL HEALTH
                                                                     immunity grounds. Plaintiff argues that disciplinary
& SUBSTANCE ABUSE SERVICES, Defendant -
                                                                     actions taken in retaliation against her as the [*3]
Appellant: Jim T. Priest, Timothy D. Eisel, McKinney,
                                                                     Patient Advocate General for the DMHSAS violated her
Stringer & Webster, Oklahoma City, OK. For SHARRON
                                                                     First Amendment right of free speech. Defendants
BOEHLER, J.B. PRATT, MD, LAVERN PHILLIPS,
                                                                     contend that Plaintiffs First Amendment claim is barred
JOHN A. CALL, PHO, JD, BETTY PFEFFERBAUM,
                                                                     because they are entitled to qualified immunity, and they
MD, JD, DUANE STEBENS, Ed.D., PAUL BLEVINS,
                                                                     assert that the district court's denial of their Rule
JR., Defendants - Appellants: Timothy D. Eisel,
                                                                     12(b)(6) motion to dismiss is immediately appealable
McKinney, Stringer & Webster, Oklahoma City, OK. For
                                                                     because it was purely a legal decision.
DWIGHT HOLDEN, MD, Defendant - Appellant: Timothy
D. Eisel, Dixie L. Coffey, McKinney, Stringer & Webster,             HN1[~ ] Orders denying qualified immunity before trial
Oklahoma City, OK.                                                   are immediately appealable when they resolve issues of
                                                                     law. See Behrens v. Pelletier, 516 U.S. 299, 311. 313,
Judges: Before ANDERSON, McKAY, and LUCERO,
                                                                     133 L. Ed. 2d 773. 116 S. Ct. 834 (1996) ; Johnson v.
Circuit Judges.
                                                                     Jones. 515 U.S. 304, 312-14, 132 L. Ed. 2d 238. 115 S.
                                                                     Ct. 2151 (1995) ; Clanton v. Cooper, 129 F.3d 1147,
Opinion by: MONROE G. McKAY
                                                                     1152 (10th Cir. 1997). This court summarized when the
                                                                     denial of qualified immunity is appealable in Foote v.
Opinion                                                              Spiegel:

                                                                         A determination that the law alleged ly violated by
ORDER AND JUDGMENT *                                                     the defendant was clearly established at the time of
                                                                         the challenged actions is an abstract issue of law
 [*2] After examining the briefs and the appellate                       that is immediately appealable. A determination that
record, this panel has determined unanimously to grant                   under either party's version of the facts the
the parties' request for a decision on the briefs without                defendant violated clearly established law is also
oral argument. See Fed. R. App. P. 34(f); 10th Cir. R.                   immediately         appealable.     However,       [*4]
34.1.9. The case is therefore ordered submitted without                  government officials cannot appeal pretrial denial of
oral argument.                                                           qualified immunity to the extent the district court's
                                                                         order decides nothing more than whether the
Plaintiff Maribob Hammett brought an action against the                  evidence could support a finding that particular
State of Oklahoma, the Oklahoma Department of Mental                     conduct occurred. An order denying qualified
Health and Substance Abuse Services [DMHSAS], and                        immunity on summary judgment is not appealable if
individual members of the Board of the DMHSAS in                         it merely determines the facts asserted by the
which she alleged a 42 U.S.C. § 1983 violation of her                    plaintiff are sufficiently supported by evidence in the
First and Fourteenth Amendment rights, a violation of                    record to survive summary judgment.
Oklahoma's whistleblowing statute, and other state law
claims incl uding intentional infliction of emotional                 118 F.3d 1416, 1422 (10th Cir. 1997) (citations
distress and wrongful termination. All of the defendants             omitted); see also Wilson v. Meeks. 98 F.3d 1247,
filed a Federal Rule of Civil Procedure 12(b)(6) motion              1251-52 (10th Cir. 1996) (surveying circuit court cases
to dismiss all of Plaintiffs claims. The district court              applying the rules announced in Behrens and Johnson).
denied the motion to dismiss.

The individual members of the Board of DMHSAS                        In its denial of Defendants' Rule 12(b)(6) motion to
                                                                     dismiss the First Amendment claim on qualified
                                                                     immunity grounds, the district court relied on ou r
· This order and judgment is not binding precedent, except           decision in Ramirez v. Oklahoma Dep't of Mental
under the doctrines of law of the case, res judicata, and            Health, 41 F.3d 584. 589 (10th Cir. 1994). The court
collateral estoppel. The court generally disfavors the citation of   stated that, "having construed plaintiffs allegations in
orders and judgments; nevertheless, an order and judgment            the light most favorable to her, as this Court must do at
may be cited under the terms and conditions of 10th Cir. R.          this stage of the litigation , the Court is satisfied that
36. 3.

                                                                                                                            138
           Case 2:19-cv-00021-SWS Document 29-5 Filed 04/26/19 Page 4 of 6 Page 4 of 6
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                                           1998 U.S. App. LEXIS 16484, *4

plaintiffs complaint is sufficient to withstand dismissal.    of whether Plaintiff has asserted a violation of a
 [*5) "Appellant's App. , Doc. Fat 3. Because the court       constitutional right and whether the constitutional right
appropriately accepted        all well-pleaded factual        was clearly established so that reasonable officials
allegations in Plaintiffs complaint as true and drew all      would have understood that their conduct violated that
reasonable inferences in her favor, its decision denying      right, we, like the district court before us, must construe
qualified immunity at the Rule 12(b)(6) stage did not         the complaint and amended complaint in the light most
involve any disputed questions of fact. We conclude that      favorable to Plaintiff, accept all well-pleaded allegations
we have jurisdiction to review the denial of Defendants'      as true, and draw all reasonable inferences in Plaintiffs
motion to dismiss on the basis of qualified immunity          favor. See Bella. 24 F.3d at 1254; see also Conley v.
because the court's decision solely involved applying         Gibson. 355 U.S. 41. 45-46. 2 L. Ed. 2d 80. 78 S. Ct. 99
principles of law to an assumed set of facts. See             (1957) (noting that a complaint should not be dismissed
Mitchell v. Forsyth. 472 U.S. 511, 528 n.9. 86 L. Ed. 2d      for failure to state a claim unless it appears beyond
411. 105 S. Ct. 2806 (1985) (stating that "the                doubt that a "plaintiff can prove no set of facts" [*8)
appealable [immunity] issue is a purely legal one:            that would entitle him to relief). At this stage of the
whether the facts alleged ... support a claim of violation    proceedings, we do not determine the merits of
of clearly established law"); Seamons v. Snow. 84 F.3d        Plaintiffs claim that Defendants' conduct actually
1226. 1238 (10th Cir. 1996) (retaining jurisdiction and       violated clearly established statutory or constitutional
reversing Rule 12(b)(6) motion to dismiss on qualified        rights.
immunity because the complaint, and all inferences in
favor of plaintiff, established a claim that defendants       Plaintiff rests her section 1983 claim on an alleged
violated clearly established law); accord Dickerson v.        violation of her First Amendment right to free speech.
McClellan. 101 F.3d 1151. 1156-57 (6th Cir. 1996)             She alleges that she was retaliated against for her
(concluding [*6] that where the facts giving rise to a        speech on matters of public concern. Specifically, she
claim of qualified immunity are undisputed, the court         contends that Defendants restricted her duties and
could exercise jurisdiction over the appeal to the extent     rights as Patient Advocate General to the DMHSAS and
that it raised legal questions); Hafley v. Lohman. 90         eventually terminated her in retaliation for her speech.
F.3d 264. 266 (8th Cir. 1996) (stating that an                The alleged speech encompasses Plaintiffs reporting of
interlocutory denial of a motion to dismiss on grounds of     specific patient complaints and alleged violations of the
qualified immunity is a final appealable order), cert.        rights of patients in DMHSAS facilities to those facilities
denied, _ U.S._, 137 L. Ed. 2d 216, 117 S. Ct. 1081           and to her supervisor. Plaintiffs speech also includes
(1997) .                                                      her letter to a member of the Oklahoma Legislature
                                                              which described patient abuses within the DMHSAS,
                                                              Plaintiffs advocacy on behalf of her clients, her
HN2[":i] We review de novo the denial of a motion to          reporting of the abuses to the DMHSAS, and her
dismiss based on qualified immunity because it is a           resulting inability to discharge her duties in the face of
question of law. See Bella v. Chamberlain. 24 F.3d            DMHSAS harassment.
1251. 1254 (10th Cir. 1994). cert. denied , 513 U.S.
1109, 130 L. Ed. 2d 783, 115 S. Ct. 898 (1995). At the        HN3[":i] Generally, public employment cannot be
Rule 12(b)(6) stage, qualified immunity protects              conditioned "on a basis that infringes the em ployee's
defendants performing discretionary functions from            constitutionally [*9] protected interest in freedom of
individual liability unless, on the face of the complaint,    expression." Connick v. Myers. 461 U.S. 138. 142. 75 L.
the plaintiff alleges the violation of "clearly established   Ed. 2d 708. 103 S. Ct. 1684 (1983) ; see Ramirez. 41
statutory or constitutional rights of which a reasonable      F.3d at 593. "It is essential that public employees be
person would have known ." Harlow v. Fitzgerald. 457          able to speak out freely [on matters of public concern]
U.S. 800. 818. 73 L. Ed. 2d 396. 102 S. Ct. 2727 (1982) ;     without fear of retaliatory dismissal." Connick. 461 U.S.
see Hafley, 90 F.3d at 266. [*7] Once a defendant             at 149. We rely on Oklahoma statutes, DMHSAS
pleads qualified immunity as an affirmative defense, the      regulations, and this court's decision in Ramirez to hold
plaintiff must (1) allege sufficient facts showing that the   that Plaintiff has sufficiently stated a claim al leging a
defendant's actions violated a constitutional or statutory    clearly established free speech right to report patient
law, and (2) show "'that the relevant law was clearly         abuses and treatment at DMHSAS facilities.
established when the alleged violation occurred."'
                                                              Ramirez determined that HN4[":i] the quality of care
Clanton. 129 F.3d at 1153 (quoting Gehl Group v. Koby,
                                                              given to patients in Oklahoma's Department of Mental
63 F.3d 1528. 1533 (10th Cir. 1995)). In our assessment

                                                                                                                      139
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Health system "involves a matter of public concern." 41      state or federal law, such as violations of patients' rights,
F.3d at 593; see Connick, 461 U.S. at 145-46                 and for discussing the operations and [*12] functions of
(discussing public concern as a matter relating to           the agency with a member of the Legislature. See Okla.
"political, social or other concern to the community"). In   Stat. Ann. tit. 74, § 840-2.5(A) . HN5['¥'] Under that
Ramirez, we recognized Oklahoma's strong public              statute which was enacted in 1982, a disciplinary action
policy of protecting patients from abuse. See 41 F.3d at     may constitute, among other th ings , a withholding of
593-94. We are convinced that the principles of              work, reprimand , admonishment, warning of possible
Oklahoma law discussed in Ramirez apply equally [*1O]        dismissal or dismissal. See id. § 840-2.5(0). Plaintiffs
to this case. Similar to the duty of medical and nursing     alleged attempt to care for patients in an aggressive
personnel to safeguard patients, Plaintiffs job              manner by reporting violations to her supervisor at the
description and its authorizing regulations allegedly        DMHSAS and by writing to a member of the Legislature
obligated her to protect the interests and rights of         may not be stymied by the alleged retaliatory actions.
mental health patients within the DMHSAS. See
Appellants' App. , Docs. A & B & Exhs. 1-4. Under our        At this stage of the proceedings Defendants have not
interpretation in Ramirez, the relevant Oklahoma             demonstrated that, under the balancing test established
statutes, and the DMHSAS regulations, Plaintiffs             by Pickering v. Board of Education, 391 U.S. 563, 568,
alleged speech certainly involved matters of public          20 L. Ed. 2d 811, 88 S. Ct. 1731 (1968) , the state
concern. That Plaintiffs speech was motivated by a           interest in regulating Plaintiffs speech outweighs
desire to expose wrongdoing and was related to her job       Plaintiffs First Amendment interest in reporting patient
duties as Patient Advocate General reinforces the public     abuses by DMHSAS facilities. 1 See Ramirez, 41 F.3d
importance of her speech.                                    at 594-95.

We also hold that the constitutional right alleged by         [*13] For these reasons, we cannot say that the district
Plaintiff was clearly established by Ramirez, which was      court was erroneous in its determination that
decided in 1994 before the alleged retaliatory action in     Defendants were not entitled to qualified immunity at
this case, and the Oklahoma statutes discussed therein ,     this stage of the proceedings. Because Plaintiff has
see 41 F.3d at 593-94, so that reasonable officials          alleged a clearly established right of which a reasonable
would have understood that their conduct violated that       person should have known, and given the scant factual
right. See Medina v. City & County of Denver, 960 F.2d       record on this Rule 12(b)(6) motion, it is premature to
1493, 1498 (10th Cir. 1992); see also Wren v. Spurlock,      grant qualified immunity. See Seamons, 84 F.3d at
798 F.2d 1313, 1318 (10th Cir. 1986) (holding [*11] that     1238-39; see also 2 James Wm. Moore, Moore's
adverse employment action against public school              Federal Practice, § 12.34{4l[bl & n.56 (3d ed. 1998)
teacher who was harassed, reprimanded, and                   (stating that dismissal for failure to state a claim on
suspended for speech may give rise to First                  qualified immunity grounds is generally inappropriate
Amendment claim), cert. denied , 479 U.S. 1085, 94 L.        because qualified immunity defense requires a factual
Ed. 2d 145, 107 S. Ct. 1287 (1987).                          review); cf. Workman v. Jordan, 958 F.2d 332, 336
                                                             (10th Cir. 1992) (stating that court cannot frame
Further, the DMHSAS regulations and another                  question of qualified immunity as factual to avoid
Oklahoma statute give a reasonable official notice that it   determining whether the law was clearly established at
would be a violation of Plaintiffs rights to discipline or   time of alleged violation).
terminate her after she blew the whistle on improprieties
at the DMHSAS. It is a logical and reasonable inference      AFFIRMED.
that Defendants, who are members of the board of the
DMHSAS, would be aware of DMHSAS regulations                 Entered for the Court
which describe the function and responsibility of the
                                                             Monroe G. McKay
Patient Advocate General. This inference is especially
reasonable in light of the fact that the DMHSAS itself       Circuit Judge
created the Patient Advocate General position and its
accompanying regu lations. Plaintiff also alleges that
Defendants knew or should have known of the
Oklahoma statute which prohibits a state agency from         1 This  determination does not preclude Defendants from
taking disciplinary action against an employee for
                                                             asserting the qualified immunity defense as the facts develop
disclosing public information or reporting violations of
                                                             more fully. See Ramirez 41 F. 3d at 595 & n.7.

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                                               Calbart v. Sauer
                                  United States Court of Appeals for the Tenth Circuit
                                               December 6, 2012, Filed
                                                      No. 12-1157

Reporter
504 Fed. Appx. 778 *; 2012 U.S. App. LEXIS 25132 **
                                                             discretion in converting the officers' Fed. R. Civ. P.
ERNIE CALBART, SR., Plaintiff-Appellant, v. DENVER
                                                             12(b)(6) motion to dismiss into a motion for summary
SHERIFF CAPT. SAUER; DENVER SHERIFF
                                                             judgment under Fed. R. Civ. P. 56 without additional
SANTANGELO; DENVER SHERIFF PACHCO;
                                                             notice because all parties had submitted evidence
DENVER SHERIFF ESPINOZA, Defendants-Appellees.
                                                             outside of the amended complaint. Summary judgment
                                                             was properly granted to the officers because the
Notice: PLEASE REFER TO FEDERAL RULES OF
                                                             detainee failed to exhaust his administrative remedies
APPELLATE PROCEDURE RULE 32.1 GOVERNING
                                                             and was barred from pursuing a § 1983 claim under the
THE CITATION TO UNPUBLISHED OPINIONS.
                                                             Prison Litigation Reform Act. The detainee did not follow
Prior History: [**1] (D.C. No. 1:11-CV-01026-LTB-            all the steps specified in the inmate handbook, which
CBS). (D. Colo.).                                            contained a multi-step grievance procedure. The
                                                             detainee's contention that the administrative remedies
                                                             were unavailable to him since the officers interfered with
Calbart v. Sauer, 2012 U.S. Dist. LEXIS 51302 (D.            his ability to access the necessary grievance forms was
Colo., Apr. 12, 2012)                                        belied by the numerous grievance forms in the record,
                                                             and the detainee failed to satisfy certain steps that did
                                                             not require the use of a grievance form. The detainee's
Core Terms
                                                             motion to amend his complaint was properly denied
                                                             because his proffered amended complaint would not
grievance, inmate, district court, magistrate judge,
                                                             cure his failure to exhaust his administrative remedies.
defendants', amended complaint, summary judgment
motion, administrative remedy, summary judgment,
                                                             Outcome
notice, motion to dismiss, exhaust, parties, abused,
                                                             The judgment was affirmed.
amend, steps, pod, grant summary judgment, fail to
exhaust, quotation, cell, exhaustion of administrative
remedies, converted, contends                                LexisNexis® Headnotes

Case Summary

Procedural Posture
                                                                 Civil Procedure > Appeals > Standards of
Appellant pretrial detainee appealed the judgment of the
                                                                 Review > Abuse of Discretion
United States District Court for the District of Colorado
that granted summary judgment to appellee law
                                                                 Civil Procedure > ... > Responses > Defenses,
enforcement officers in a 42 U.S.C.S. § 1983 that
                                                                 Demurrers & Objections > Motions to Dismiss
alleged the officers violated his rights under the Eighth
and Fourteenth Amendments by failing to protect him              Civil Procedure > ... > Summary
from an attack by another inmate.                                Judgment > Motions for Summary
                                                                 Judgment > General Overview
Overview
                                                             HN1[   ] Standards of Review, Abuse of Discretion
The court held that the district court did not abuse its

                                                                                                                    142
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                            504 Fed. Appx. 778, *778; 2012 U.S. App. LEXIS 25132, **1

An appellate court reviews for an abuse of discretion a       HN4[ ]    Defenses, Demurrers               &    Objections,
district court's decision to consider evidence beyond the     Exhaustion of Remedies
pleadings and convert a motion to dismiss to a motion
for summary judgment. Before treating a motion to             Exhaustion of administrative remedies is mandatory
dismiss as a summary judgment motion, a district court        under the Prison Litigation Reform Act (PLRA), and
must give notice to the parties to prevent unfair surprise.   unexhausted claims cannot be brought in court.
But there is no unfair surprise when a party submits          Because the prison's procedural requirements define
material beyond the pleadings in support of or in             the steps necessary for exhaustion, an inmate may only
opposition to a motion to dismiss because the party's         exhaust by properly following all of the steps laid out in
actions put him on notice that the judge may treat the        the prison system's grievance procedure. An inmate
motion as a Fed. R. Civ. P. 56 motion.                        who begins the grievance process but does not
                                                              complete it is barred from pursuing a 42 U.S.C.S. §
                                                              1983 claim under PLRA for failure to exhaust his
                                                              administrative remedies. The doctrine of substantial
    Civil Procedure > ... > Summary
                                                              compliance does not apply.
    Judgment > Motions for Summary
    Judgment > General Overview

    Civil Procedure > ... > Responses > Defenses,                  Civil Procedure > Appeals > Standards of
    Demurrers & Objections > Motions to Dismiss                    Review > De Novo Review

HN2[ ] Summary Judgment, Motions for Summary                       Civil Procedure > ... > Responses > Defenses,
Judgment                                                           Demurrers & Objections > Exhaustion of Remedies

Fed. R. Civ. P. 12(d) plainly states if matters outside the   HN5[      ] Standards of Review, De Novo Review
pleadings are presented to and not excluded by the
court, the motion must be treated as one for summary          An appellate court reviews de novo a district court's
judgment.                                                     finding of failure to exhaust administrative remedies.

                                                              Counsel: ERNIE CALBART, Plaintiff - Appellant, Pro
                                                              se, Denver, CO.
    Civil Procedure > Parties > Pro Se
    Litigants > Pleading Standards                            For SAUER, SANTANGELO, PACHCO, ESPINOZA,
                                                              Defendants - Appellees: Suzanne A. Fasing, Office of
    Civil Procedure > Pleading &                              the Denver City Attorney, Litigation Section, Denver,
    Practice > Pleadings > Rule Application &                 CO.
    Interpretation
                                                              Judges: Before GORSUCH, ANDERSON, and EBEL,
HN3[   ] Pro Se Litigants, Pleading Standards                 Circuit Judges.

Pro se parties follow the same rules of procedure that        Opinion by: Stephen H. Anderson
govern other litigants.
                                                              Opinion

    Civil Procedure > ... > Responses > Defenses,
    Demurrers & Objections > Exhaustion of Remedies
                                                              [*779] ORDER AND JUDGMENT*
    Civil Rights Law > ... > Procedural
    Matters > Federal Versus State Law > Exhaustion
    Doctrine                                                  * After
                                                                    examining the briefs and appellate record, this panel
                                                              has determined unanimously that oral argument would not
    Civil Rights Law > ... > Prisoner Rights > Prison
                                                              materially assist the determination of this appeal. See Fed. R.
    Litigation Reform Act > Exhaustion of Administrative
                                                              App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is therefore
    Remedies                                                  ordered submitted without oral argument. This order and

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                               504 Fed. Appx. 778, *779; 2012 U.S. App. LEXIS 25132, **1

Ernie Calbart, Sr., appeals pro se from the district                Rule 12(b)(6) motion could be treated as a motion for
court's grant of summary judgment in favor of                       summary judgment under Fed. R. Civ. P. 56 if matters
defendants on his civil rights claims under 42 U.S.C. §             outside of the pleading were presented to and
1983. Exercising jurisdiction under 28 U.S.C. § 1291,               considered by the court. Calbart did not object that
we affirm.                                                          defendants' motion referenced materials outside of the
                                                                    amended complaint. Instead, he attached an affidavit
                                                                    and over thirty pages of exhibits to his response to the
I. Background                                                       motion.

Calbart's claims related to events occurring on February            A magistrate judge issued a report and recommendation
20 and 21, 2011, while he was a pre-trial [**2] detainee            (R&R) on defendants' motion. He initially determined
at the Denver Detention Center. In his amended                      that the motion to dismiss should be converted into a
complaint, he alleged that defendants, all of whom are              motion for summary judgment because [**4] the parties
Denver Deputy Sheriffs, violated his rights under the               had relied on documents not attached to or incorporated
Eighth and Fourteenth Amendments by failing to protect              into the amended complaint. After reviewing the
him from an attack by another inmate. Calbart alleged               evidence the parties submitted regarding Calbart's
that he was threatened by two other inmates on                      grievances, the magistrate judge concluded that Calbart
February 20. He [*780] reported the threat and                      failed to exhaust his administrative remedies as outlined
received a grievance form, which he submitted, asking               in the Denver Sheriff Department Inmate Handbook
to be moved to a cell in a different pod. The next day,             ("Inmate Handbook"). He also determined that Calbart
February 21, Calbart met with defendants with regard to             failed to establish a cognizable Eighth Amendment
the threat and he again asked to be moved to a different            claim because he did not allege more than a de
pod. Defendant Santangelo referred him to the officer in            minimus injury and there was no evidence that his injury
charge of moving inmates (who is not a defendant in                 resulted from defendants' deliberate indifference. The
this action). Calbart alleged that defendants Espinoza              R&R therefore recommended that defendants be
and Pachco went off duty on February 21, without                    granted summary judgment on Calbart's claims.
informing the deputies who relieved them that the two
inmates had threatened Calbart. He alleged that his cell            Calbart simultaneously filed objections to the R&R and a
door was opened at 4:00 p.m. that day so he could go to             motion for permission to file an amended complaint. In
an appointment. The two inmates who had threatened                  his objections, he contended that the magistrate judge
him were in the pod, and one of them attacked him.                  abused his discretion by treating defendant's motion to
                                                                    dismiss as a motion for summary judgment without first
In claim one of his amended complaint, Calbart alleged              notifying the parties. As to his exhaustion of
that defendants violated his Fourteenth Amendment                   administrative remedies, Calbart argued that defendants
rights because they were aware [**3] that the two                   had hindered his access to grievance forms. He also
inmates had threatened him. His second claim alleged                maintained that defendants had filed in the district court
that defendant Sauer violated his Eighth Amendment                  an exhibit purporting to be [**5] a copy of one of his
rights because Sauer had the power to move him to a                 grievance forms, but that the handwriting on that exhibit
different pod as soon as possible, but failed to do so              was not his. And he claimed that he had sent letters to
after becoming aware of the threats.                                the Division Chief and Director of Corrections, but
                                                                    defendants had not produced his letters and he had
Defendants moved to dismiss Calbart's amended                       never received a response to them. Finally, Calbart
complaint pursuant to Fed. R. Civ. P. 12(b)(6), because             argued that the magistrate judge erred in concluding
he failed to exhaust his administrative remedies as                 that [*781] his Eighth Amendment claim failed because
required by the Prison Litigation Reform Act, 42 U.S.C.             he alleged only a de minimus injury.
§ 1997e(a) ("PLRA"). They argued alternatively that
they were entitled to qualified immunity. Defendants                The district court denied Calbart's motion for permission
attached exhibits to their motion, and they noted that a            of file an amended complaint. After reviewing the R&R
                                                                    de novo, the district court approved it and granted
                                                                    summary judgment in favor of defendants. Calbart filed
judgment is not binding precedent, except under the doctrines       a timely notice of appeal.
of law of the case, res judicata, and collateral estoppel. It may
be cited, however, for its persuasive value consistent with
Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.

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II. Discussion                                                plaintiff's evidence would have precluded a grant of
                                                              summary judgment on his claims if it had been
Calbart argues on appeal that the district court (1)          submitted in the proper form, see id. at 1139, and we
abused its discretion in converting defendants' motion to     cautioned that "[d]istrict courts must take care to insure
dismiss into a motion for summary judgment; (2) abused        that pro se litigants are provided with proper notice
its discretion in granting defendants summary judgment        regarding the complex procedural issues involved in
on their failure-to-exhaust defense without stating the       summary judgment proceedings," id. at 1140 (quotation
bases for its decision; (3) erred in concluding that he       omitted).
failed to exhaust his administrative remedies; (4) erred
in concluding his Eighth Amendment claim failed               Jaxon is distinguishable from this case. While the
because he suffered only a de minimus injury; and (5)         plaintiff in Jaxon was tripped up by a highly technical
abused its discretion in [**6] denying him leave to           requirement for the presentation of admissible evidence,
further amend his amended complaint.                          Calbart acknowledges that HN2[~] -     Rule-12(d)
                                                                                                            - plainly
                                                              states [**8] if "matters outside the pleadings are
                                                              presented to and not excluded by the court, the motion
A. Conversion of Defendants' Motion to Dismiss into           must be treated as one for summary judgment." We
a Motion for Summary Judgment                                 have "repeatedly insisted that HN3[ ] pro se parties
                                                              follow [*782] the same rules of procedure that govern
Calbart contends that he did not receive adequate             other litigants." Garrett v. Selby Connor Maddux &
notice before the magistrate judge treated defendants'        Janer, 425 F.3d 836, 840 (10th Cir. 2005) (quotation
Rule 12(b)(6) motion as a summary judgment motion             omitted). Here, defendants not only submitted evidence
under Rule 56. HN1[ ] "We review for an abuse of              outside of the amended complaint with their Rule
discretion a district court's decision to consider evidence   12(b)(6) motion, they also alerted Calbart to the
beyond the pleadings and convert a motion to dismiss to       possibility that the court might treat the motion as
a motion for summary judgment." Marquez v. Cable              seeking summary judgment. He responded in kind with
One, Inc., 463 F.3d 1118, 1120 (10th Cir. 2006)               his own evidence in opposition to the motion, which the
(quotation omitted).                                          magistrate judge admitted and thoroughly considered in
                                                              the R&R. Calbart has not shown an abuse of discretion
Before treating a motion to dismiss as a summary
                                                              by the district court in converting defendants' motion to
judgment motion, a district court must give notice to the
                                                              dismiss into a motion for summary judgment without
parties "to prevent unfair surprise." Wheeler v.
                                                              additional notice to the parties.1
Hurdman, 825 F.2d 257, 259 (10th Cir. 1987) (quotation
omitted). But we have held there is no unfair surprise
when a party submits material beyond the pleadings in
                                                              B. Failure to Exhaust Administrative Remedies
support of or in opposition to a motion to dismiss
because the party's actions "put[] [him] on notice that
the judge may treat the motion as a Rule 56 motion." Id.
                                                              1 We
at 260. Here, because all parties had submitted                      decline to consider Calbart's additional contention that
evidence outside of the amended complaint, the                the district court abused its discretion by not permitting him to
magistrate judge determined that additional notice was        commence discovery before responding to defendants'
 [**7] not required before treating defendants' motion as     converted summary judgment motion. Calbart did not make
                                                              that argument in his objections to the magistrate judge's R&R,
a motion for summary judgment. The district court
                                                               [**9] and as he is aware, "the failure to make timely objection
agreed and therefore granted defendants summary
                                                              waives appellate review of both factual and legal questions."
judgment.
                                                              Casanova v. Ulibarri, 595 F.3d 1120, 1123 (10th Cir. 2010)
                                                              (ellipsis omitted). Calbart contends that his argument about
Calbart argues that this reasoning should not apply to a      lack of notice—which he did make in his objections—can be
pro se litigant. He cites Jaxon v. Circle K Corp., 773        liberally read to include an argument about a lack of
F.2d 1138, 1140 (10th Cir. 1985), in which we reversed        opportunity for discovery. We note that the R&R advised
a grant of summary judgment in favor of the defendant.        Calbart that his objections must be specific in order to
In that case the district court held that the plaintiff's     preserve an issue for appellate review. Accordingly, we will not
unsworn evidence was insufficient to oppose summary           expand our liberal construction of his pro se objections to
judgment and also denied him a continuance in order to        include an argument he plainly did not make. Nor does Calbart
file affidavits. See id. at 1139, 1140. We noted that the     make any effort to demonstrate that the interests of justice
                                                              support an exception to our firm waiver rule. See id.

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HN4[ ] Exhaustion of administrative remedies is               requested. At Step Two the inmate writes a sealed letter
mandatory under the PLRA and "unexhausted claims              to the Division Chief stating the specific grievance, the
cannot be brought in court." Thomas v. Parker, 609 F.3d       previous steps taken, and all previous answers
1114, 1117 (10th Cir. 2010). "Because the prison's            received. And at Step Three the inmate writes a
procedural requirements define the steps necessary for        personal letter to the Director of Corrections. At each
exhaustion, an inmate may only exhaust by properly             [**12] step, the Inmate Handbook states that the
following all of the steps laid out in the prison system's    recipient of the grievance form or letter will provide a
grievance procedure." Little v. Jones, 607 F.3d 1245,         written response within ten working days, and the
1249 (10th Cir. 2010) [**10] (citation omitted). "An          Director's response at Step Three is considered the final
inmate who begins the grievance process but does not          resolution.
complete it is barred from pursuing a § 1983 claim
under PLRA for failure to exhaust his administrative          In opposition to the defendants' motion, Calbart
remedies. The doctrine of substantial compliance does         presented evidence of numerous grievances he had
not apply." Thomas, 609 F.3d at 1118 (citation,               submitted, but the magistrate judge found that only
quotations, and brackets omitted).                            three potentially related to his claims in the amended
                                                              complaint. In grievance number 10 94020, Calbart
Calbart first contends that the district court abused its     described the events on February 20, 2011, when two
discretion in granting summary judgment in favor of           inmates threatened him. The relief he requested was to
defendants on their affirmative defense of failure to         be moved to a cell in a different pod. The grievance
exhaust administrative remedies. He maintains that the        form notes that Calbart received a response on
magistrate judge did not recommend that summary               February 21 indicating that no cells were available in the
judgment be granted on that basis and that defendants         other pod. The magistrate found there was no evidence
failed to object to that aspect of the R&R. Calbart           that Calbart satisfied Steps Two or Three with respect to
asserts that the district court therefore erred by granting   this grievance.
summary judgment on that ground without stating its
reasons for doing so. Calbart's argument has no merit         Calbart submitted grievance number 10 94021 on
because the magistrate judge did find that he failed to       February 22, 2011. After referencing grievance number
exhaust his administrative remedies, albeit with the          10 94020, he stated further that a deputy sheriff (who is
qualifying statement that "the facts are not entirely clear   not a defendant in this action) opened his cell door, and
as to exhaustion." R. at 187. In the next sentence the        one of the inmates who had threatened him walked over
magistrate judge stated that "the court also concludes"       and attacked him. Calbart asserted in grievance number
that Calbart failed to establish a triable fact issue         10 94021 [**13] that he was defending himself and
concerning [**11] his § 1983 claims, id., thus confirming     following the rules. The relief he requested was to be
that the R&R recommended two independent bases for            moved back to a cell in his former pod and that all
granting summary judgment in defendants' favor.               charges against him be dropped. Calbart stated in an
Therefore, by approving the R&R, the district court           affidavit that he did not receive a response to grievance
adequately stated its reasons for granting summary            number 10 94021. He also presented a letter that he
judgment on defendants' failure-to-exhaust defense.           wrote to Chief Diggans on March 14, 2011, appealing
                                                              this grievance. But the magistrate judge found that he
 [*783] Construing his pro se appellate briefs liberally,     failed to satisfy Step Three by writing a letter to the
see de Silva v. Pitts, 481 F.3d 1279, 1283 n.4 (10th Cir.     Director of Corrections.
2007), Calbart also appears to challenge the district
                                                              Finally, Calbart submitted grievance number 10 94330
court's conclusion that he failed to exhaust his
administrative remedies. HN5[ ] "We review de novo            on February 25, 2011, which he characterized as an
the district court's finding of failure to exhaust            appeal of grievance number 10 94020. But the remedy
administrative remedies." Thomas, 609 F.3d at 1117            he sought in grievance number 10 94330 was to obtain
                                                              access to a video tape of his attack by the other inmate.
(quotation omitted).
                                                              The grievance form notes that a response was provided
The magistrate judge found that the Inmate Handbook           the same day, indicating where Calbart could submit his
specifies a multi-step grievance procedure. At Step           request for the video tape. Although Calbart's March 14
One, the inmate delivers a signed grievance form              letter also referenced grievance number 10 94330, the
detailing the date and time of the incident, the act or       magistrate judge construed it as appealing only
condition giving rise to the grievance, and the remedy        grievance number 10 94021. Calbart sent a letter to


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                            504 Fed. Appx. 778, *783; 2012 U.S. App. LEXIS 25132, **13

Director Wilson on April 1, 2011, reiterating his claim
that he had been attacked after putting defendants on         C. Denial of Motion to Amend Complaint
notice of the [**14] other inmates' threats. But he
referred only to grievance number 10 94330 and                Calbart argues that the district court abused its
complained about the lack of a response to his request        discretion in denying his motion for permission to file a
for a video tape of the attack. After reviewing all of the    further amended complaint. His proposed amended
evidence submitted by the parties, the magistrate judge       complaint would have added factual allegations
concluded that Calbart failed to exhaust his                  regarding the nature of his injury, as well as a claim that
administrative remedies.                                      defendants "acted with a whimsical and cavalier attitude
                                                              about [the other inmates' threats]." Id. at 233. In denying
 [*784] Calbart contends that the administrative              leave to amend, the district court stated that "Plaintiff is
remedies were unavailable to him because defendants           not entitled to a second bite of the apple so as to
interfered with his ability to access the necessary           dispute the [R&R] at this late date." Id. at 245. Calbart
grievance forms; therefore, the exhaustion requirement        contends that the district court should have granted his
is inapplicable. See Little, 607 F.3d at 1250 (holding        motion because his proposed amendments stated a
"PLRA only requires the exhaustion of 'available'             claim for relief and because he had not been given
administrative remedies"). But Calbart's contention is        notice of the conversion of defendants' motion to
belied by the numerous grievance forms in the record.         dismiss into a motion for summary judgment. We have
Moreover, the magistrate judge found that he failed to        already addressed the latter contention. And because
satisfy Steps Two and Three of the grievance process,         Calbart's proffered amended complaint would not cure
which do not require the use of a grievance form.             his failure to exhaust his administrative remedies, he
Calbart argues further that he did satisfy those steps.       has not demonstrated that the district court abused its
But in support of this assertion he points generally to his   discretion in denying leave to amend. See Ketchum v.
affidavit and the exhibits he submitted in response to        Cruz, 961 F.2d 916, 921 (10th Cir. 1992) (finding no
defendants' motion. He therefore fails to address the         abuse [**17] of discretion in denial of motion to amend
magistrate judge's reasons for concluding that the            where amendment would be futile).
letters he sent were insufficient [**15] to fully exhaust
his administrative remedies with respect to any of the
potentially relevant grievances.                              III. Conclusion

Finally, Calbart claims that the exhibit defendants           The judgment of the district court is AFFIRMED. We
submitted in the district court, purporting to be grievance   GRANT Calbart's motion for leave to proceed in forma
number 10 94020, is not a true and accurate copy of           pauperis, but remind him of his continuing
that grievance form. He asserts that defendants' exhibit      obligation [*785] to make partial payments until the
was handwritten by someone other than him. In                 filing fee is paid in full.
examining defendant's exhibit, see R. at 64, as
compared to Calbart's exhibit that he claims is a true        Entered for the Court
copy of his grievance number 10 94020, see id. at 134,
                                                              Stephen H. Anderson
there do appear to be differences in the handwriting and
in some of the words written in the sections filled out by    Circuit Judge
the inmate. But the substance of those sections in the
two documents is identical, and Calbart fails to explain
how the discrepancies he identifies could establish that        End of Document
he satisfied Steps Two and Three of the grievance
process by sending appropriate letters to the Division
Chief and the Director of Corrections.

We affirm the district court's grant of summary judgment
in favor of defendants based on Calbart's failure to
exhaust his administrative remedies. Accordingly, we
need not address his contentions regarding the court's
alternative ground for granting [**16] defendants
summary judgment.


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                                                                            FILED
                                                          U.S. DISTRICT COURT
                            UNITED STATES DISTRICT COURT OiSTRiCT OF WYOMIHG
                                DISTRICT OF WYOMING                                  ^
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                                                                   STEPH.AH HARRIS. CLERK
  TAMI MAE BRONNENBERG,                                                   CASPER


               Plaintiff,

        V.                                                     Case No. 19-CV-21-SWS


  BEAU J. EGGAR,Arresting Officer

               Defendant.



   ORDER CONVERTING DEFENDANT'S MOTION TO DISMISS TO MOTION
                               FOR SUMMARY JUDGMENT



        This matter comes before the Court on Defendant's Motion to Dismiss Plaintiffs

  Complaint(Doc. 28) and accompanying memorandum (Doc. 29). Defendant moved for

  Plaintiffs complaint to be dismissed under F.R.C.P. 12(b)(6), but included materials

  from outside the pleadings as exhibits and requested the motion be treated as a motion for

 summary judgment under F.R.C.P. 56. (Doc. 29 at p. 2.) The materials from outside the

  pleadings will not be excluded by the Court from consideration; consequently, the motion

 to dismiss will be treated as a motion for summary judgment under Rule 56. See

  F.R.C.P. 12(d). In response to the motion. Plaintiff shall be given the opportunity to

  present all material, including that from outside the pleadings, that is pertinent to a

  motion for summary judgment.

        IT IS THEREFORE ORDERED that Defendant's Motion to Dismiss Plaintiffs

  Complaint (Doc. 28) and accompanying memorandum (Doc. 29) will be treated and



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  considered as a motion for summary judgment under Rule 56. Plaintiff is hereby

  provided the opportunity to include all materials pertinent to the motion with her

  response to the motion, which she must file no later than May 17, 2019.
                             fk
        DATED: April         ^ ,2019.


                                                  Scott W. Skavdahl
                                                  United States District Judge




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                                                                           FILED
                                                                    U.S. DISTRICT COURT
     Tami M.Bronnenberg,Pro-se                                     DISTRICT OF WYuMmQ

     P.O. Box 802                                                 2019HAY 17 Aril|:M
    Cody, Wyoming 82414
                                                                 STEPHA?! HARRIS. CLERK
    (307)899-2150                                                        CASPER


                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



     TAMI M.BRONNENBERG                                  )     CASE NO.
                                                         )     19-CV-021-S
                                          Plaintiff,     )
                                                         )     RESPONSE TO
                        V.                               )     DEFENDANT'S
                                                         )     MOTION FOR
     BEAUJ.EGGER,etal.,                                  )     SUMMARY
                                                         )     JUDGMENT.
                                       Defendants.       )


           The plaintiffrespectfiilly responds to the Defendant's Motion for

     Summary Judgment pursuant to the ORDER CONVERTING

     DEFENDANT'S MOTION TO DISMISS TO MOTION FOR SUMMARY

     JUDGMENT;United States District Court Local Rule 7.1 (b)and presents

     the following in support: The Constitution ofthe United States ofAmerica,

     Amendment 5, guarantees that:

           "No person shall be      deprived oflife, liberty, or property, without
     due process oflaw;        See, Judicial Notice,

     Amendment 14,guarantees that:

           "All persons bom or naturalized in the United States and subject to the
     jurisdiction thereofare citizens ofthe United States and ofthe State wherein
     they reside. No State shall make or enforce any law which shall abridge the


                                                                                          150
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     privileges or immunities ofcitizens ofthe United States; nor shall any State
     deprive any person oflife, liberty, or property, without due process oflaw;
     nor deny to any person within its jurisdiction the equal protection ofthe
     laws." See,Amended Complaint, C, 1), a),Page 4; i), 1,Page 5.

           1. The question here is whether the 4**^ Amendment and the 14*^
     Amendments Due Process ofLaw was violated, a clearly established law

     barring Officer Egger from arresting and transporting Tami to the Park

     County Detention Center. See,Plaintiffs Exhibit-A-; Brokers' Choice of

     Am.,Inc V. NBC Universal,Inc.,861 F.3d 1081,1105(10*^ Cir. 2017)

    ("Exhibits controls"); See also, page 7 of Defendant's Motion For Summary

     Judgment;Exhibit 2, Affidavit ofBeau J. Egger,Page 2,#9,("Tami

     Bronnenberg protested the warrant was invalidated."); Affidavit ofTami M.

     Bronnenberg, attached as Exhibit -G-; Dunaway v. New York,422 U.S. 200,

     95 S. Ct. 2240(1979), attached; See, Objection to the Order on 28 U.S.C.

     §1915 Screening Amended Complaint,Page 3,4,filed March 12,2019.

           Because plaintiff is preceding pro se, this court will liberally construe
     her pleadings. Cf,Haines V.Kemer,404 U.S. 519,520,92 S. Ct 594,595,
     30 L.Ed.2d 652(1972). Durre v. Dempsey,869 F.2d 543 at 545(10*^ Cir.
     1989). Pro se complaints are held to less sfringent standards than formal
     pleac^gs drafted by lawyers. Cf.,supra,Haines,404 U.S. at 520; Durre v.
     Dempsey,869 F.2d 543 at 547(10"^ Cir. 1989); Hall v. Bellmon,935 F.2d
     1106,1110(10th Cir. 1991); see also, e.g. Ledbetter v. City ofTopeka,318
     F.3d 1183,1187(10th Cir. 2003). See, Objection to Dismissal of
     Appointment ofAttorney,Page 5,filed March 15,2019. The Supreme Court
     and all courts established by Act ofCongress may issue all writs necessary
     or appropriate in aid oftheir respective jurisdictions and agreeable to the
     usages and principles oflaw.28 U.S.C. §1651 (a). An alternative writ or rule
     nisi may be issued by ajustice orjudge ofa court which hasjurisdiction. 28


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    U.S.C. §1651 (b). See, Amended Complaint, A. Jurisdiction, 11,Page 3,
    filed March 12,2019.

                       MEMORANDUM OF LAW ON IMMUNITY.

           "As the qualified immunity defense has evolved, it provides ample

    support to all but the plainly incompetent or those who knowingly violate

    the law." See,Bums v. Reed,500 U.S.478,at 495,111 S. Ct. 1934(1991);

     Malley v. Briggs,475 U.S. 335 at 341 (1986); Mitchell v. Forsyth,472 U.S.

    511 at 524(1985). Although "this Court's caselaw does not require a case

    directly on point for a right to be clearly established, existing precedent must

    have placed the statutory or constitutional question beyond debate." White v.

    Pauly,580 U. S., at      (2018))(Per Curiam.)(Slip op., at 6)(Intemal

     quotation marks omitted)."In other words,immunity protects all but the

     plainly incompetent or those who knowingly violate the law." Ibid (intemal

     quotation marks omitted). This Court has "'repeatedly told courts—and the

    Ninth Circuit in particular—^not to define clearly established law at a high

    level ofgenerality.'" City and County of San Francisco v. Sheehan,575 U.

     S.    ,    (2015)(slip op., at 13)(quoting Ashcroft v. Al-Kidd,563 U. S.

     731,742(2011)); See also Brosseau,543 U. S. 194, at 198-199(2004)(per

     curiam); See,Kisela v. Hughes,584 U.S.          (2018)(Per Curiam.)(Slip

     op., at 6). As we have explained many times:"Qualified immunity attaches

     when an official's conduct does not violate clearly established statutory or



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    constitutional rights of which a reasonable person would have known."

     Kisela v. Hughes,584 U.S.        ,     (2018)(per curiam)(Slip op., at 4

    (internal quotation marks omitted); see District ofColumbia v. Wesby,583

     U. S.     ,    -     (2018); White v. Pauly,580 U.S.        ,     -    (2017)

    (per curiam); MuUenix v. Luna,577 U. S.           ,    -     (2015)(per

    curiam). *** "[W]e have stressed the need to identify a case where an

     officer acting imder similar circumstances was held to have violated the

     Fourth Amendment           While there does not have to be a case directly on

     point, existing precedent must place the lawfulness ofthe particular [action]

     beyond debate        See,Escondido v. Emmons,586 U.S.              (2019), No.

     17-1660. Decided January 7,2019,(Per Curiam)(Slip op., at 4,5,and 6).

             The Constitution ofthe United States ofAmerica, Amendment 4.

     Guarantees that;


             "The right ofthe people to be secure in their persons, houses, papers,
     and effects, against unreasonable searches and seizures, shall not be violated,
     and no Warrants shall issue, but upon probable cause, supported by Oath or
     affirmation, and particularly describing the place to be searched,and the
     persons or things to be seized."

             This provision binds the state and its officers, including local police.

     See, WolfV. Colorado, 338 U.S. 25,69 S. Ct. 1359,93 L. Ed. 1782(1949);

     See, Objection to the Order on 28 U.S.C. §1915 Screening Amended

     Complaint,Page 3,filed March 12, 2019.




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           Fourth Amendment probable-cause requirements before a warrant for

     either arrest or search can issue require that thejudicial officer issuing such

     warrant be supplied with sufficient information to support an independent

    judgment that probable cause exists for the warrant. Spinelli v. United

     States, 393 U.S.410,21 L.Ed. 2d 637,89 S. Ct584(1969); United States v.

     Ventresca,380 U.S. 102,13 L.Ed. 2d 684,85 S. Ct. 741 (1965); Aguilar v.

     Texas,378 U.S. 108,12 L.Ed. 2d 723,84 S. Ct. 1509(1964); Rugendorf v.

     United States, 376 U.S. 528,11 L.Ed.2d 887,84 S. Ct. 825(1964); Jones v.

     United States, 362 U.S. 257,4 L. Ed. 2d 697,80 S. Ct. 725,78 ALR2d 233

    (1960); Glordenello v. United States,357 U.S.480,2 L.Ed.2d 1503,78 S.

     Ct. 1245(1958); Whiteley v. Warden of Wyoming Penitentiary, 401 U.S.

     560 at 564,28 L. Ed. 2d306,91 S. ct. 1031.InKerv. California, 374 U.S.

     23,10 L.Ed. 2d 726,83 S. Ct 1623(1963),the court held that the same

     probable cause standards were applicable to federal and state warrants under

     the Fourth and Fourteenth Amendments.Id. note 6. An arrest is a "seizure"

     4**" Amendment U.S.v. Watson,423 U.S.411,428(1976),96 S.Ct. 1117.

     Severe restriction upon plaintiffs personal mobility, can only be justified by

     probable cause. Illinois v. Gates,462 U.S. 213,(1983), 103 S. Ct. 2317,76

     L. Ed. 2d 527.




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           Where the plaintiffsued police officers for the allegedly unlawful

    search oftheir home and office, the Tenth Circuit distinguished between the

     Fourth Amendment,which in its view did not depend on the mental state of

    the defendantd, and quified immunity, which involved an inquiry into their

    "objective good faith," Even ifthe defendants acted in an objectively

     rezisonable and non-negligent manner,that was irrelevent to the existence of

    a Fourth Amendment violation which was premised on the balancing of

     individual and state interests. See, Specht v. Jensen,832 F.2d 1516

    Paragrphs 18,19(10*^ Cir. 1987); Civil Rights And Civil Liberties

     Litigation, The Law ofSection 1983,3"^ Ed., Sheldon H.Nahmod(1991)
     §8.14 note 38; §3.04 note 40.

           This Court has never suggested that the policy considerations which

     compel civil immunity for certain governmental officials also place them

     beyond the reach ofthe criminal law. Even judges, cloaked with absolute

     civil immunity for centuries, could be punished criminally for willful

     deprivations ofconstitutional rights on the strength of 18 U.S.C. 242,the

     criminal analog of 1983. O'Shea v. Littleton,414 U.S.488 at 503(1974); cf.

     Gravel v. United States, 408 U.S. 606 at 627(1972). See also,Imbler v.

     Pachtman,424 U.S. 409,at 429,96 S.Ct 984 at 994,47 L.Ed.2dl28




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    (1976); Vaidez v. City & Cty ofDenver,878 F2d 1285 at^11,(10^ Cir.
     1989).

           "Every person who,under color ofany statute, ordinance, regulation,
    custom, or usage, ofany State or Territory, subjects, or causes to be
    subjected, any citizen ofthe United States or other person within the
    jurisdiction thereofto the deprivation ofany rights, privileges, or immunities
    secured by the Constitution... shall be liable to the party injured in an
    action at law,suit in equity, or other proper proceeding for redress."

           As the language itself makes clear, the central purpose of 1983 is to

    "give a remedy to parties deprived ofconstitutional rights, privileges and

    immunities by an official's abuse ofhis position." Monroe v. Pape,365 U.S.

     167,172(1961)(emphasis added). The United States Constitution among

     other things, places substantial limitations upon state action,and the cause of

     action provided in 42 U.S.C. 1983 is fundamentally one for "[mjisuse of

     power, possessed by virtue ofstate law and made possible only because the

     wrongdoer is clothed with die authority ofstate law." United States v.

     Classic, 313 U.S. 299,326(1941).

           The public interest demands strict adherence to judicial decree.

    (See,Plaintiffs Exhibit A). The Supreme Court has stated that "Public

     officials ... who fail to ... implement decisions when they are made do not

     fully and faithfully perform the duties oftheir offices." Scheuer v. Rhodes,

     416 U.S. 232,241-42,94 S.Ct 1683,1689,40 L. Ed. 2d 90(1974). See,

     Vaidez v. City & Cty ofDenver, Supra,878 F2d 1285 atf10(10*** Cir.


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     1989). The Supreme Court has explained,§1983 "provides that[every]

     person who acts under color ofstate law to deprive another of constitutional

    rights shall be liable in a suit for damages." Tower v. Glover,467 U.S. 914,

    919,104 S. Ct 2820,81 L.Ed.2d 758(1984)(quoting 42 U.S.C. §1983);

     Moss V.Kopp,559 F.3d 1155, at HI. Discussion A.3"* %(10^ Cir. 2009).
                          REGULATION,CUSTOM,OR USAGE.

           2. The second question here is whether the RIMS computer system,

    (regulation, custom,or usage having a force oflaw),ofthe Park Coimty

    Sheriffs Office violated the 5th Amendment,"due process oflaw",4^

     Amendment,"unreasonable search and seizure" and 14**^ Amendment Due
    Process ofLaw and Equal Protection ofLaw a clearly established law. The

    RIMS computer system is a Regulation, Custom or Usage having the force

     oflaw, a settled practice; it is the State that has commanded the result by its

    law. Cf., Gamer v. Louisiana, 368 U.S. 157,176-185(Douglas, J.,

     Concurring)(1961); Wright v. Georgia,373 U.S.284(1963); Baldwin v.

     Morgan,287 F. 2d 750,754(CA.5"^ Cir. 1961); Adickes v. Kress & Co.
     398 U.S. 144, at 168,169,171,90 S. Ct. 1598,26 L.Ed. 2d 142(1970). See,

     Amended Complaint, A. Jurisdiction, 11,Page 3,filed March 12, 2019.

           3. The third question here is whether the Park County Detention

     Center violated the 5th Amendment,"due process oflaw", 4*** Amendment,



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    "unreasonable search and seizure" and 14^ Amendment Due Process ofLaw

     and Equal Protection ofLaw a clearly established law. This defendant was

     acting willful and wanton misconduct under color ofstate law in supplying

     the facility in the execution ofthe False Imprisonment See,In Director

     General ofRailrosds v. Kastenbaum(1923)263 U.S. 25,68 L.Ed. 146,44 S.

     Ct. 52,attached,the court, in a civil action for for false imprisonment,

     affirmed ajudgment in favor ofthe plaintiff and stated that good faith on the

     part ofthe defendant was not enough to constitute probable cause for the

     plaintiffs arrest; ***. In response to Note 7 ofthe Defendant's Motion

     ,...Page 4. This is not a single incident ofunconstitutional activity by the

    Park County Detention Center. Jenkins v. Wood,81 F. 3d. 988,994(10* Cir
     1996); Moss,559 F. 3d 1155 at 1169(10* Cir. 2009); See,Plaintiffs
     Exhibits -B- through -F-.

           4. The fourth question here is whether Board ofCoimty of

     Commissioners ofthe County ofPark and the City of Cody, W.S. 18-2-108

    (agreement to jointly establish and operate the Park County Detention

     Center See,Amended Complaint, C. Cause of Action, 1), a), i), 11,Page 8,

     filed March 12,2019.), violated the 5th Amendment,"due process oflaw",

     4* Amendment,"unreasonable search and seizure" and 14* Amendment

     Due Process ofLaw and Equal Protection ofLaw a clearly established law.



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           Park County Policy Manual,(July 1,2017)Chapter 4,page 4-1,

     which states in part, ***.Park County is an eqiial opportunity employer:

     Pursuant to Title VI ofthe Civil Rights Act of 1964 Park County prohibits

     discrimination.


           City ofCody,Personnel and Policy Manual, Section 3. Equal

     Employment Opportunity."*** The City ofCody does not discriminate

     ***" See, Amended Complaint, C. Cause ofAction, 1), a), i), 10,Page 7,

     filed March 12,2019.

           42 U.S. Section 1985(3):

           (Depriving persons ofrights or privileges.,"Iftwo or more persons in
     any State or territory conspire or go in disquise on the highway or on the
     premises ofanother, for the pmpose ofdepriving, either directly or
     indirectly, any person or class ofpersons ofthe equal protection ofthe laws,
     or ofequal privileges and immunities under the laws, or for the purpose of
     preventing or hindering the constituted authorites of any State or Territory
     fi'om giving or securing to all persons within such State or Territory the
     equal protection ofthe laws, or iftwo or more persons conspire to prevent
     by force, intimidation, or threat, any citizen who is lawfully entitled to vote,
     from giving support or advocacy ina legal manner,toward or in favor ofthe
     election ofany lawfully qualifed person as an elector for President or Vice
     President, or as a Member ofCongress ofthe United States or to injure any
     citizen in person or property on account ofsuch support or advocacy,in any
     case ofconspiracy set forth in this section, ifone or more persons engaged
     therein do,or cause to be done,any act in fiirtherance ofthe object ofsuch
     conspiracy, whereby another is injured in his person or property, or deprived
     ofhaving and exercising any right or privilege ofa citizen ofthe United
     States,the party so injured or deprived may have an action for the recovery
     of damages occasioned by such injury or deprivation, against any one or
     more or the conspirators."). See, Amended Complaint, A.Jurisdiction, 11,
     Page 3,filed March 12,2019,



                                                                                    10

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           42 U.S. Section 1985(3)can also overlap 42 U.S.C. § 1983 to reach

     deprivations ofconstitutional rights which involve state action,(RIMS

     computer system; Park County Sheriffs Office; Park County Detention

     Center; Board ofCoimty of Commissioners ofthe County ofPark and the

     City of Cody). Still another possible use ofsection 1985(3)involves a

     remedy for conspirator's deprivation offederal or state statutory rights. See,

     1-1-1979,42 U.S.C. § 1985(3)- A Private Action to Vindicate Fourteenth

     Amendment Rights: A Paradox Resolved Stephanie M. Wildman Santa

     Clara University School ofLaw,swildman@scu.edu by the Faculty

     Scholarship at Santa Clara Law Digital Commons,Note 81; Missouri Law

     Review,volume 50,Issue 1, Winter 1985, Article 11 Winter 1985 Civil

     Rights Conspiracies: Section 1985(3)after Carpenters v. Scott Rick E.

     Temple. Temple: Civil Rights Conspiracies CIVIL RIGHTS

     CONSPIRACIES: SECTION 1985(3)AFTER CARPENTERS v. SCOTT

     United Brotherhood of Carpenters Local 610 v. Scotl. 103 S. Ct 3352

    (1983).

            ***.In North America v. Reichardt 591 F.2d 499(9th Cir. 1979),

     the state is allegedly being manipulated by a private conspiracy,(Cf,here of

     William K.Struemke; Sara L. Struemke; Servicm Legal Services,LLC;

     Marlin D.Richardson, DC;Big Horn Basin Chiropractic, see, caption of


                                                                                 11
                                                                                      160
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     Plaintiffs Exhibit -A-."Private persons,jointly engaged with state

     officials in the prohibited action, are acting 'under color' oflaw for purposes

     ofthe statute. To act'under color' oflaw does not require that the accused be

     an officer ofthe State. It is enough that he is a willful participant in joint

     activity with the State or its agents," United States v. Price, 383 U.S. 787,

     794(1966); Adickes, Supra,398 U.S. 144, at 152, note 7,(1970). The

     Supreme Court has declared that action "under color oflaw" is a predicate

     for a cause ofaction under § 1983, or its criminal counterpart, 18 U. S. C.§

     242. Id., Adickes, 398 U.S. at 165;Polk County v. Dodson,454 U.S. 312,

     102 S. Ct. 445,70 L.Ed. 2d 509(1981); Dennis v. Sparks,449 U.S. 24, at

     Page 919-920,101 S. Ct. 183,66 L.Ed. 185(1980). See, Amended

     Complaint, A.Jurisdiction, 11,Page 3,filed March 12, 2019.), *** which is

     frustrating the state's ability to ensure that a citizen receives equal protection

     ofthe laws. ***.The treatment of corporations as individuals, rather than as

     the powerful entities that they are, makes the task ofdeveloping a

     jurisprudence of civil rights that affords human individuals the protections

     envisioned by the Constitution an urgent one. Id., Supra,42 U.S.C.§ 1985

    (3)- A Private Action to Vindicate Fourteenth Amendment Rights,Note 55,

     64.




                                                                                      12
                                                                                           161
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           In Scott V. Moore,461 F. Supp.224(E.D. Tex. 1978),aft'd,680 F.2d

     979(5th Cir. 1982),rev'd sub nom.. United Bhd. ofCarpenters, Local 610 v.

     Scott, 103 S. Ct 3352(1983),the court felt compelled to follow the holding

     in Griffin v. Breckenridge,403 U.S. 88(1971),that section 1985(3)reaches

     both public and private constitutional wrongs. Id., Supra,42 U.S.C. § 1985

    (3)- A Private Action to Vindicate Fourteendi Amendment Rights,Notes

     15,19. In Griffin v. Breckenridge,403 U.S. 88,102-03(1971). The Court

     articulated a clear position that section 1985(3)was a remedial statute that

     was constitutional on its face and that reached private conspiracies to

     deprive citizens ofcivil rights. The Court stated: "That § 1985(3)reaches

     private conspiracies to deprive others oflegal rights can, ofitself, cause no

     doubts ofits constitutionality." *** The manipulation of and interference

     with the state purpose by private persons, who would conspire to frustrate

     the citizens' enjoyment ofthese rights,is precisely the type ofconduct that

     Congress sought to protect citizens against by enacting section 1985(3)***

     Congress has broad enforcement power imder section 5 ofthe fourteenth

     amendment and is "chiefly responsible" South Carolina v. Katzenbach,383

     U.S. 301,326(1966),for implementing the rights which the amendment

     guarantees. Under section 5 *** An example of a section 1985(3)suit

     against defendants for a private conspiracy to deprive a citizen-plaintiffof


                                                                                     13
                                                                                          162
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     the fourteenth amendment right to the equal protection ofthe laws, which

     usually requires state involvement,is illustrated in a modem context by Life

     Insurance Co.ofNorth America v. Reichardt, 591 F.2d 499(9th Cir. 1979).

     Id., Supra,42 U.S.C. § 1985(3)- A Private Action to Vindicate Fourteenth

     Amendment Rights, Notes 24, 37,38,55.

           42 U.S. Section 1985(3)specifically provides that a conspiracy to be

     actionable must be "for the purpose ofdepriving *** any person *** ofthe

     equal protection ofthe laws, or equal privileges and immunities under the

     laws ***(Emphasis supplied). In Collins v. Hardyman,341 U.S. 651

    (1951), 71 S. Ct. 937,95 L.Ed. 1253,the action was brought under the

     predecessor ofSection 1985(3). The Court said, at page 661 of341 U.S. at

     page 942 of 71 S.Ct.:        it is clear that this statute does not attempt to

     reach a conspiracy to deprive one ofrights, unless it is a deprivation of

     equality,of"equal protection ofthe law," or of"equal privileges and

     immunities under the law."" See,Egan v. Aurora,365 U.S. 514,81 S. Ct.

     684,5 L.Ed. 2d 741(1961).

           28 U.S.C. §1343(a)(3)provides:

           to redress the deprivation, under color ofany State law,statute,
     ordinance,regulation, custom or usage, ofany right, privilege or immunity
     secured by the Constitution ofthe United States or by any Act ofCongress
     providing for equal rights of citizens or of all persons within the jurisdiction
     ofthe United States;...



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           In order to be liable pursuant to § 1983,a defendant must have

     personally participated in the alleged deprivation. Meade v. Grubbs,841F.

     2d 1512 at 1527-58(10*^ Cir. 1988); Durre v. Dempsey,869 F.2d 543 at 548
    (10^ Cir. 1989). See. Amended 1983 Civil Rights Complaint Exhibits -A-
     thru —F; Affidavit ofTami M.Bronnenberg, attached as Exhibit -G-.

           A governmental entity, such as the Park County Sheriffs Office; Park

     County Detention Center; Board of County ofCommissioners ofthe County

     ofPark and the City of Cody can be sued separately and subjected to

     monetary damages and injunctive relief under 42 U.S.C. § 1983 only if its

     official policy or custom causes a person to be deprived of a federally

     protected right See, Board ofthe Cty. Comm'rs ofBiyan Cty, v. Brown,

     520 U.S. 397,403(1997); Monell,436 U. S. at 694. See, Bailey v.

     Mansfield Independent School District; Dr. Jim Vaszauskas; and Eh*.

     Kimberly Cantu, Civil Action No.3:18-CV-1161-L., United States District

     Court,N.D. Texas, Dallas Division. January 10,2019. See,Objection to the

     Order on 28 U.S.C. §1915 Screening Amended Complaint, Page 5-7,filed

     March 12,2019. More specifically, we have recognized that a municipally

     can be liable under §1983 ifthe "final policymakef takes the

     unconstitutional action. We have also acknowledged two situations where

     municipal liability may by found even though the action is taken by an


                                                                                 15
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     individual other than the final policymaker. Melton v. City of Oklahoma

     City,879 F. 2d 706,724(10*^ Cir. 1089)rev'd en bunc in part on other
     grounds 928 F. 2d 920(10th Cir. 1991); Moss,Supra,559 F. 3d at 1168,

     1169(2009). The relevant question, to be answered under state law,is

     whether a particular official is a policy maker to whom the local government

     has delegated policy-decision making authority.

           The Park County Sheriffs Office; Park County Detention Center;

     Board ofCounty of Commissioners ofthe County ofPark; Officer Beau J.

     Egger are all separately liable to Tami under §1983 for compensatory

     damages. Owen v. City ofIndependence,445 U.S.622(1980)Held: A

     municipality has no immunity fi-om liability under § 1983 flowing from its

     constitutional violations, and may not assert the good faith of its officers as a

     defense to such liability. Pp.445 U.S.635-658. Since a municipality has no

    "discretion" to violate the Federal Constitution. Pp.445 U.S. 644-650.

     Officer Beau J. Egger is also, liable to Tami M.Bronnenberg for

     compensatory damages imder §1983 for unconstitutional application ofthe

     RIMS computer system ofthe Park County Sheriffs Office. Id.

                                        CONCLUSION.

           "*** all executive and judicial Officers, both ofthe United States and
     ofthe several States, shall be bound by Oath or Affirmation,to support this
     Constitution; ♦»*". See, Constitution of the United States of America,
     Article 6; "*** all judicial, state and county officers shall, before entering on

                                                                                    16
                                                                                         165
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     the duties oftheir respective offices,take and subscribe the following oath or
     affirmation:'I do solemnly swear(or affirm)that I will support, obey and
     defend the constitution ofthe United States and the constitution ofthis state
     and that I will discharge the duties of my office with fidelity; **»"'. See,
     Constitution ofthe State of Wyoming,Article 6,§20.

             Defendant's Motion for Summary Judgment should be dismissed and

     Declaratory judgment granted for the Plaintiff pursuant to §§2201 and 2202

     declaring that defendant's acts, policies and practices herein described and

     complained ofviolated plaintiffs rights under the Fourth Amendment and

     the Fourteenth Amendment ofthe Constitution ofthe United States of

     America. See, Amended Complaint,E. Request for Relief,(A),Page 9.

             DATED: May JS-.2019.                                           -
                                              C                                     '
                                                  Tami M.Bronnenberg^Wtege

                            CERTIFICATE OF SERVICE.


           I hereby certify that a copy ofthe forgoing Response to Defendant's
     Motion for Summary Judgment and attached Affidavit ofTami Bronnenberg
     pursuant to the ORDER CONVERTING DEFENDANT'S MOTION TO
     DISMISS TO MOTION FOR SUMMARY JUDGMENT; United States
     District Court Local Rule 7.1 (b)was mailed to the Office ofthe Attorney
     General,2320 Capitol Avenue, Cheyenne, Wyoming 82002 on May              ,
     2019.

                                                    Tami M.Bro




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                                                                                             166
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                                                                   FILED
                                                            U.S. DiSTKICT COURT
     Tami M.Broimenberg, Pro-se
     P.O.Box802                                            20I9HAYI7 mW'Ul

     (307)899-2150                                                CASPER

                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



     TAMI M.BRONNENBERG                                       CASE NO.
                                                               19-CV-021-S
                                          PlaintilF,
                                                               AFFIDAVIT OF
                        V.                                     TAMIM.
                                                               BRONNENBERG
     BEAUJ.EGGER,etal.,

                                       Defendants.



           I, Tami M.Bronnenberg, being first duly sworn, depose and states as

     follows:


           Prior to being arrested Officer Wright was patrolling by my mom's

     house, 2821 Rocky Road #19,to which I was leaving when he stopped and

     informed me the warrant, was still out there. I asked him why,he stated, he

     didn't know but to keep my court order vacating it on me. Officer Wright is

     the officer who came to arrest me over failure ^        pn (Jte Ptyil pt^tter
     on January 17, 2019.1 was not arrested. He allowed me to 9^1 Honorable

     Judge Canfield and the Judge vacated the warrant then the Judge spoke with

     Officer Wright and let him know he was vacating the warrant. Then on



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     January 31,2017 Officer Egger pulled me over on Bleistein Street, Cody,

     Wyoming. Across from Eastside School and said there was a warrant for me.

     I Told him that warrant, he was relying on, had been vacated and showed

     him the Court Order, filed January 17,2017 setting a hearing on January 26

     at 4p.m., which I and Mr. Struemke attended,that specifically states that

     warrant has been vacated, see. Exhibit-A- ofthe Complaint. Egger said,

     "Well, let's take you in and get it straightened out." Egger allowed me to

     contact my boyfiiend,Rudy Munoz,to tell him I was being arrested. Once at

     the jail Egger informed, Jauna Harris,the intake deputy I had an Order

     vacating the warrant and to allow me to hang on to it for court, whom I also

     informed, showed the Court Order vacating the warrant. She looked at it and

     said the Order must be for something else. I was booked in and put in a cell.

           A little while later, Rudy Munoz came down and informed them they

     had me locked up in jail illegally and ifthey didn't release me he was going

     to the county attorney's office. What that means,in response to Defendant's

     Statement ofFacts,Page 4., is the exercise ofexhaustion ofadministrative

     remedies that maybe available before filing a petition for Habeas Corpus Ad

     Subjiciendum in the Fifth Judicial District Court in behalfofTami M.

     Bronnenberg, W.S. §1-27-102,"The petition shall be sworn to by the person

     confined or by someone in(her)his behalf, and presented to a court or




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     officer authorized to allow the writ." They released me. When they were

     checking me out Officer Torcazon informed me that I needed to yell at

      William Struemke because he did not file the paperwork he was suppose too

     to take the warrant off.


            "A lawyer shall not:(a)unlawfully obstruct *** or conceal a

     document **♦". See, Rules of Professional Conduct, Rule 3.4 (a). It is

      professional misconduct for a lawyer to: (a) violate or attempt to violate the

      Rules of Professional Conduct; knowingly assist or induce another to do so,

      or do so tiirough the acts of another.(b) commit a criminal act that reflects

      adversely on the lawyer's honesty, trustworthiness or fitness as a lawyer in

      other respects; (c) engage in conduct involving dishonesty, fi^ud, deceit or

     misrepresentation; (d) engage in conduct that is prejudicial to the

      administration ofjustice; (e) state or imply an ability to influence improperly

      a government agency or official or achieve results by means that violate the

     Rules of Professional Conduct or other law; Id., Rule 8.4. Officer Torcazon

      didn't know why Mr. Struemke did this.

            Marlin D. Richardson; Big Horn Basin Chiropractic, made a contract

      or agreement to hiring William K. Struemke, Attorney; Servicm Legal

      Services, LLC, to use the judicial process to make a collection finm Ms.

     Brormenberg. See, Amended 1983 Civil Rights Complaint Exhibit -A-,



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     (Caption ofthe Order Vacating Warrant And Resetting Previously

     Scheduled Hearing)which crossed the line and violated Federal

     Constitutional Rights,(False Arrest/False imprisonment), under the Fourth,

     Due Process ofLaw and Equal Protection ofthe Laws ofthe Fourteenth

     Amendment ofthe United States Constitution, and those rights were clearly

     established at the time. William Stmemke called on February 16, 2017 after

     violating my Constitutional Rights and left me message stating in part"***

     I'm ready to have you dragged back into court and if not arrested. You had a

     warrant out for you once. I'll put one for you out again *** and my client

     can get the money ***"l do have the recorded message from William

     Struemke ready to submit to the court as evidence ifthe court gives me a

     phone number to forward the message too.

           42 U.S.§1985(3)specifically provides that a conspiracy to be

     actionable must be "for the purpose ofdepriving *** any person *** ofthe

     equal protection ofthe laws, or equal privileges and immunities under the

     laws ***(Emphasis supplied). In Collins v. Hardyman,341 U.S.651

     (1951),71 S. Ct. 937,95 L. Ed. 1253,the action was brought under the

     predecessor ofSection 1985(3). The Court said, at page 661 of341 U.S. at

     page 942 of71 S.Ct.:"*** it is clear that this statute does not attempt to

     reach a conspiracy to deprive one ofrights, unless it is a deprivation of



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     equality, of"equal protection ofthe law," or of"equal privileges and

     immunities imder the law."" See,Egan v. Aurora, 365 U.S. 514,81 S. Ct.

     684,5 L.Ed. 2d 741 (1961).("... local attorney and local chiropractor

     conspired to have Ms. Bronnenberg falsely arrested...")(Doc.9 at p. 5).

      See, Tower v. drover,467 U.S. 914,104 S. Ct. 2820,81 L.Ed 2d 758

     (1984); Polk County v. Dodson,454 U.S. 312,102 S. Ct 445,70 L.Ed.2d

     509(1981); Dennis v. Sparks,449 US 24 at Pp. 919-920,101 S. Ct. 183,66

     L. Ed.2d 185(1980); Adickes v. Kress & Co,398 U.S. 144,90 S. Ct. 1598,

     26 L.Ed 2d 142(1970).

           After my release I called my attorney, Sara Miles,to inform her ofthe

     arrest and she said at first, Struemke probably was going to tiy and use it

     against me in the child custody case, which was pending at the time, and

     then she said he was going to try and use it.

           DATED this 1-S day ofMay,2019.


                                                     ami M.Bronnenbe

     STATE OF WYOMING
     COUNTY OF PARK
                                                                .04,
           Subscribed and sworn to before me this^ay of 15^ M^y,2019.
      Witness my hand and official seal:         'S.       -Cv.
     My commission^xpke?:                       0




                                                                        •-         ^^5
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                            CERTIFICATE OF SERVICE.


             I hereby certify that a copy ofthe forgoing AFFIDAVIT OF TAMI

     M.BRONNENBERG was mailed to the Defendant, Office ofthe Attorney

     General,2320 Capitol Avenue,Cheyenne, Wyoming 82002 on May 1^

     2019.




                                                     nvLBtomienbi^^^o^




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                                                          No. 78-5066
                                                             U.S.




                                              Dunaway v. New York
                                              442 U.S. 200(1979) ' 99 S. Ct. 2248
                                                      Decided Jun 5,1979



                                                                           ' ^ Sec opinion in People v. Dunaway
    MR. JUSTICE BRBNNAN delivered the opinion
                                                                             (Monroe County Ct., Mar. 11, 1977), App.
   of the Court.
                                                                             116-117. An informant bad reportedly told
                                                                             the other detective that one James Cole had
    We decide in this case the question reserved 10
                                                                             said that he and someone named "Irving"
    years ago in Morales v. New York, 396 U.S. 102
                                                                             had been involved in the crime. The
   (1969), namely, "the question of the legality of
                                                                             informant did not know "Irving's" last
   custodial questioning on less than probable cause
                                                                             name, but had identified a picture of
   for a full-fledged arrest." Id., at 106.
                                                                             petitioner Dunaway from a police file.
                                                                             After hearing this information, Fantigrossi
   I
                                                                             interviewed Cole, who was in jail pending
    On March 26, 1971, the proprietor of a pizza
                                                                             an indictment for burglary. Cole denied any
    parlor in Rochester, N. Y., was killed during an                         involvement in the crime, but stated that he
    attempted robbery. On August 10, 1971, Detective                         had been told about it two months earlier
203 Anthony Fantigrossi of the *203 Rochester Police                         by   another   inmate,    Hubert    Adams.
    was told by another officer that an informant had                        According to Cole, Adams had mentioned
   supplied a possible lead implicating petitioner in                        that his younger brother, Ba Ba Adams,
   the crime. Fantigrossi questioned the supposed                            had told him that he and a fellow named

   source of the lead — a jail inmate awaiting trial                         "Irving," also known as "Axelrod," had
   for burglary — but learned nothing that supplied                          been involved in the crime.

   "enough information to get a warrant" for                               2 See 61 A.D.2d 299, 301, 402 N.Y.S.2d
   petitioner's arrest. App. 60.' Nevertheless,                              490, 491 (1978). The first statement was
   Fantigrossi ordered other detectives to "pick up"                         made within an hour after Dunaway
   petitioner and "bring him in." Id., at 54. Three                          reached the police station; the following
   detectives located petitioner at a neighbor's house                       day he made a second, more complete
   on the morning of August 11. Petitioner was taken                         statement.


   into custody; although he was not told he was
                                                                    At petitioner's jury trial for attempted robbery and
   under arrest, he would have been physically
                                                                    felony murder, his motions to suppress the
   restrained if he had attempted to leave. Opinion in
                                                                    statements and sketches were denied, and he was
   People v. Dunaway(Monroe County Ct, Mar. 11,
                                                               204 convicted. On appeal, both the *204 Appellate
   1977), App. 116, 117. He was driven to police
                                                                    Division of the Fourth Department and the New
   headquarters in a police car and placed in an
                                                                    York Court of Appeals initially affirmed the
   interrogation room, where he was questioned by
                                                                    conviction without opinion. 42 A.D.2d 689, 346
   officers after being given the warnings required by
                                                                    N.Y.S.2d 779 (1973), afPd, 35 N.Y.2d 741, 320
   Miranda v. Arizona, 384 U.S. 436 (1966).
                                                                    N.E.2d 646 (1974). However, this Court granted
   Petitioner waived counsel and eventually made
                                                                    certiorari, vacated the judgment, and remanded the
   statements and drew sketches that incriminated
                                                                    case for further consideration in light of the
   him in the crime.
                                                                    Court's supervening decision in Brown v. Illinois,
   ^casetext

                                                                                                                            173
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    422 U.S. 590 (1975). 422 U.S. 1053 (1975). The               response to a request of the police ...." App. 117.
    petitioner in Brown, like petitioner Dunaway,                The State's attempt to justify petitioner's
    made inculpatory statements after receiving                  involuntary      investigatory         detention      on   the
    Miranda warnings during custodial interrogation              authority of People v. Morales, 22 N.Y.2d 55, 238
    following his seizure — in that case a formal                N.E.2d 307 (1968) — which upheld a similar
    arrest — on less than probable cause. Brown's                detention on the basis of information amounting to
    motion to suppress the statements was also denied            less than probable cause for arrest — was rejected
    and the statements were used to convict him.                 on the grounds that the precedential value of
    Although tlie Illinois Supreme Court recognized              Morales was questionable,^                   and that the
    that Brown's arrest was unlawful, it affirmed the            controlling authority was the "strong language" in
    admission of the statements on the ground that the           Brown v. Illinois indicating "disdain for custodial
    giving of Miranda warnings served to break the               questioning without probable cause to arrest."^
    causal connection between the illegal arrest and             The County Court further held that "the factual
    the giving of the statements. This Court reversed,           predicate in this case did not amount to probable
    holding that the Illinois courts erred in adopting a         cause sufficient to support the arrest of the
    per se rule that Miranda warnings in and of                  defendant," that "the Miranda warnings by
    themselves    sufficed    to    cure    the     Fourth        themselves did not purge the taint of the
    Amendment violation; rather the Court held that in        206 defendant's *206 illegal seizure[,] Brown v.
    order to use such statements, the prosecution must           Illinois, supra, and [that] there was no claim or
    show not only that the statements meet the Fifth             showing by the People of any attenuation of the
    Amendment voluntariness standard, but also that              defendant's illegal detention," App. 121.
    the causal connection between the statements and             Accordingly petitioner's motion to suppress was
    the illegal arrest is broken sufficiently to purge the       granted. Ibid.
    primary taint of the illegal arrest in light of the
    distinct policies and interests of the Fourth                     ^ We granted certiorari in Morales and noted
                                                                         that "[tlhe ruling below, that the State may
    Amendment.
                                                                         detain for custodial questioning on less
    In compliance with the remand, the New York                          than probable cause for a traditional arrest,
    Court of Appeals directed the Monroe County                          is manifestly important, goes beyond our
    Court to make further factual findings as to                        subsequent decisions in Terry v. Ohio, 392

    whether there was a detention of petitioner,                         U.S. 1 (1968), and Sibron v. New York, 392

    whether the police had probable cause, "and, in                      U.S. 40 (1968), and is claimed by
                                                                         petitioner to be at odds with Davis v.
    the event there was a detention and probable cause
                                                                         Mississippi, 394 U.S. 721 (1969)." Morales
    is not found for such detention, to determine the
                                                                         V. New York, 396 U.S. 102, 104-105
    further question as to whether the making of the
                                                                        (1969). Nevertheless, inadequacies in the
205 confessions was rendered infirm *205 by the
                                                                         record   led    us    to   remand   for further
    illegal arrest (see Brown v. Illinois, 422 U.S. 590,                 development and to reserve the issue we
   supra)." People v. Dunaway, 38 N.Y.2d 812, 813-                       decide today for a record that "squarely and
    814, 345 N.E.2d 583,584(1975).                                      necessarily presents the issue and fiilly
                                                                        illuminates the factual context in which the
    The    County     Court     determined        after   a
                                                                        question arises." Id., at 105. On remand,
    supplementary     suppression     hearing     that
                                                                        the    New      York   courts determined that
    Dunaway's motion to suppress should have been
                                                                         Morales had gone to the police voluntarily.
    granted. Although reaffirming that there had been                   People V. Morales, 42 N.Y.2d 129, 137-
   "full compliance with the mandate of Miranda v.                       138, 366 N.E.2d 248, 252-253 (1977).
    Arizona," the County Court found that "this case
    does not involve a situation where the defendant                  ^ App. 118; see Brown v. Illinois, 422 U.S.,
                                                                        at 602,605.
   voluntarily appeared at police headquarters in
   ^casetext

                                                                                                                                  174
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    A divided Appellate Division reversed. Although        unreasonable searches and seizures, shall not be
    agreeing that the police lacked probable cause to      violated, and no Warrants shall issue but upon
    arrest petitioner, the majority relied on the Court    probable cause ...." There can be little doubt that
    of Appeals' reaffirmation, subsequent to the           petitioner was "seized" in the Fourth Amendment
    County Court's decision, that "[l]aw enforcement       sense when he was taken involuntarily to the
    officials may detain an individual upon reasonable     police station.^ And respondent State concedes
    suspicion for questioning for a reasonable and         that the police lacked probable cause to arrest
    brief period of time under carefully controlled        petitioner before his incriminating statement
    conditions which are ample to protect the              during interrogation.' Nevertheless respondent
    individual's Fifth and Sixth Amendment rights."        contends that the seizure of petitioner did not
    61 A.D.2d 299, 302, 402 N.Y.S.2d 490, 492              amount to an arrest and was therefore permissible
    (1978), quoting People v. Morales, 42 N.Y.2d 129,      under the Fourth Amendment because the police
    135, 366 N.E.2d 248, 251 (1977). The Appellate         had a "reasonable suspicion" that petitioner
    Division also held that even if petitioner's           possessed "intimate knowledge about a serious
    detention were illegal, the taint of his illegal       and unsolved crime." Brief for Respondent 10. We
    detention was sufficiently attenuated to allow the     disagree.
    admission of his statements and sketches. The
    Appellate Division emphasized that petitioner was           ^ "It must be recognized that whenever a
                                                                  police officer accosts an individual and
    never threatened or abused by the police and
                                                                  restrains his freedom to walk away, he has
    purported to distinguish Brown v. Illinois} The
                                                                  'seized' that person." Terry v. Ohio, 392
    Court of Appeals dismissed petitioner's                       U.S. 1. 16 (1968). Respondent contends
    application for leave to appeal. App. 134.                    that petitioner accompanied the police

          5 61 A.D.2d, at 303-304, 402 N.Y. So.2d, at             voluntarily and therefore was not "seized."

            493. Two of the five members of the court             Brief for Respondent 7-9. The County

            dissented on this issue. Id., at 304, 402             Court found otherwise, App. 117, quoted
            N.Y.     So.2d,   at   493 (Denman, J.,               supra, at 205; and the Appellate Division

            concurring); id., at 305,402 N.Y. So.2d, at           treated the case as an involuntary detention

            494(Cardamone, J., dissenting).                       justified by reasonable suspicion. See 61
                                                                  A.D.2d, at 302-303, 402 N.Y. So.2d. at
    We granted eertiorari, 439 U.S. 979 (1978), to                492. See also ALI, Model Code of Pre-
    clarify the Fourth Amendment's requirements as to             Arraignment Procedure § 2.01(3) and
    the permissible grounds for custodial interrogation           commentary, p. 91 (Tent. Draft No. 1,

    and to review the New York court's application of             1966) (request to come to police station

    Brown v. Illinois. We reverse.                                "may easily carry an implication of
                                                                  obligation, while the appearance itself,
    II                                                            unless clearly stated to be voluntary, may
                                                                  be an awesome experience for the ordinary
    We first consider whether the Rochester police
                                                                  citizen").
    violated the Fourth and Fourteenth Amendments
    when, without probable cause to anest, they took          'Both the County Court and the Appellate
207 petitioner into custody, transported *207 him to the          Division found that the police lacked
    police station, and detained him there for                    probable cause, and respondent does not
    interrogation.                                                question those findings here. See 61
                                                                  A.D.2d, at 302, 402 N.Y. So.2d, at 492;
    The Fourth Amendment, applicable to the States                App. 120, citing SpinelU v. United Stales,
    through the Fourteenth Amendment, Mapp v.                     393 U.S. 410 (1969); Aguilar v. Texas, 378
    Ohio,361 U.S.643(1961), provides:"The right of                U.S. 108(1964).
    the people to be secure in their persons ... against

   ^casetext

                                                                                                                 175
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   Before Terry v. Ohio, 392 U.S. 1 (1968), the                          10 See Gerslein v. Pugh, 420 U.S. 103, Hi
208 Fourth *208      Amendment's guarantee against                          ll2(1975); Kerv. California, 374 U.S. 23

   unreasonable seizures of persons was analyzed in                        (1963).

   terms of arrest, probable cause for arrest, and
                                                                   Terry for the first time recognized an exception to
   warrants based on such probable cause. The basic
                                                                   the requirement that Fourth Amendment seizures
   principles      were       relatively     simple      and
                                                               209 of persons must *209 be based on probable cause.
   straiglitforward:      The       term    "arrest"     was
                                                                   That case involved a brief, on-the-spot stop on the
   synonymous with those seizures governed by the
                                                                   street and a frisk for weapons, a situation that did
   Fourtli Amendment. While warrants were not
                                                                   not fit comfortably within the traditional concept
   required in all circumstances,® the requirement of
                                                                   of an "arrest." Nevertheless, the Court held that
   probable cause, as elaborated in numerous                       even this type of "necessarily swift action
   precedents,^ was treated as absolute.'® The "long-              predicated upon the on-the-spot observations of
   prevailing standards" of probable cause embodied                the officer on the beat" constituted a "serious
   "the best compromise that has been found for                    intrusion upon the sanctity of the person, which
   accommodating [the] often opposing interests" in                may inflict great indignity and arouse strong
   "safeguard[ing] citizens from rash and                          resentment," 392 U.S., at 20, 17, and therefore
   unreasonable interferences with privacy" and in                 "must be tested by the Fourth Amendment's
   "seek[ing] to give fair leeway for enforcing the                general proscription against unreasonable searches
   law in the community's protection." Brinegar v.                 and seizures." Id., at 20. However, since the
   United States, 338 U.S. 160, 176 (1949). The                    intrusion involved in a "stop and frisk" was so
   standard of probable cause thus represented the                 much less severe than that involved in traditional
   accumulated wisdom of precedent and experience                  "arrests," the Court declined to stretch the concept
   as to the minimum justification necessary to make               of "arrest" — and the general rule requiring
   the kind of intrusion involved in an arrest                     probable cause to make arrests "reasonable" under
   "reasonable" under the Fourth Amendment. The                    the   Fourth      Amendment       —     to   cover   such
   standard applied to all arrests, without the need to            intrusions. Instead, the Court treated the stop-and-
   "balance" the interests and circumstances involved              fnsk intrusion as a siii generis "rubric of police
   in particular situations. Cf. Camara v. Municipal               conduct," ibid. And to determine the justification
   Cowrt,387U.S. 523(1967).                                        necessary to make this specially limited intrusion
        ^ See,e. g., Warden v. Hayden,387 U.S. 294                 "reasonable" under the Fourth Amendment, the
          (1967) (hot pursuit); United States v.                   Court balanced the limited violation of individual
           Watson, 423 U.S. 411 (1976) (felony                     privacy involved against the opposing interests in
           arrests in public places).                              crime prevention and detection and in the police
                                                                   officer's safety. Id., at 22-27. As a consequence,
        9 "Probable cause exists where 'the facts and
                                                                   the Court established "a narrowly drawn authority
          circumstances within their (the officers']
                                                                   to permit a reasonable search for weapons for the
           knowledge and       of which    they   had
           reasonably trustworthy.information [are]
                                                                   protection of the police officer, where he has
          sufficient in themselves to warrant a man
                                                                   reason to believe that he is dealing with an armed
          of reasonable caution in the belief that' an             and dangerous individual, regardless of whether
           offense has been or is being committed [by              he has probable cause to arrest the individual for a
          the person to be arrested]." Brinegar v.                 crime." Id., at 27." Thus, Terry departed from
           United States, 338 U.S. 160, 175-176                    traditional Fourth Amendment analysis in two
          (1949), quoting Carroll v. United Slates,            210 respects. *210 First, it defined a special category of
          267 U.S. 132, 162 (1925). See generally 2                Fourth Amendment "seizures" so substantially less
           W. LaFave, Search and Seizure: A Treatise
                                                                   intrusive than arrests that the general rule
          on the Fourth Amendment 436-480(1978).
                                                                   requiring    probable     cause    to    make       Fourth

  ^casetext

                                                                                                                                176
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    Amendment       "seizures"       reasonable       could   be      (random checks for drivers' licenses and proper
    replaced by a balancing test. Second, the                         vehicle registration not permitted on less than
    application of this balancing test led the Court to                articulable reasonable suspicion).
    approve this narrowly defined less intrusive
                                                                               Terry specifically declined to address "the
    seizure on grounds less rigorous than probable
                                                                              constitutional propriety of an investigative
    cause, but only for the purpose of a pat-down for
                                                                              'seizure' upon less than probable cause for
    weapons.
                                                                              purposes      of     'detention'      and/or

        '' The Court stressed the limits of its holding:                      interrogation." Id., at 19 n. 16. Mr.

            the police officer's belief that his safety or                    JUSTICE WHITE,in a concurring opinion,

            that of others is in danger must be                               made these observations on the matter of

            objectively   reasonable    —     based    on                     interrogation during an investigative stop:
            reasonable inferences &om known facts —                           "There is nothing in the Constitution which
           so that it can be tested at the appropriate                        prevents a policeman from addressing
           time by "the more detached, neutral                                questions to anyone on the streets. Absent
           scrutiny of a judge," 392 U.S., at 21. 27;                         special     circumstances.      the   person
            and the extent of the intrusion must be                           approached may not be detained or frisked
            carefully tailored to the rationale justifying                    but may refuse to cooperate and go on his
            it.                                                               way.      However,    given     the   proper
                                                                              circumstances, such as those in this case, it
    Because Terry involved an exception to the                                seems to me the person may be briefly
    general rule requiring probable cause, this Court                         detained against his will while pertinent
    has been careful to maintain its narrow scope.                            questions are directed to him. Of course,
    Terry itself involved a limited, on-the-street fiisk                      the person stopped is not obliged to
   for weapons.'^ Two subsequent cases which                                  answer, answers may not be compelled,

   applied Terry also involved limited weapons                                and refusal to answer furnishes no basis for

                                                                              an arrest, although it may alert the officer
   frisks. See Adams v. Williams, 407 U.S. 143
                                                                              to the need for continued observation." Id.,
   (1972) (frisk for weapons on basis of reasonable
                                                                              at 34.
   suspicion); Pennsylvania v. Mimms,434 U.S. 106
   (1977)(order to get out of car is permissible "de                       •3 "[B]ecause of the importance of the
   minimis" intrusion after car is lawfully detained                          governmental interest at stake, the minimal
   for traffic violations; fiisk for weapons justified                        intrusion of a brief stop, and the absence of
   after "bulge" observed in jacket). United States v.                        practical alternatives for policing the

   Brignoni-Ponce, 422 U.S. 873 (1975), applied                               border, we hold that when an officer's

   Terr)' in the special context of roving border                             observations lead     him     reasonably to
                                                                              suspect that a particular vehicle may
   patrols stopping automobiles to check for illegal
                                                                              contain aliens who are illegally in the
   immigrants. The investigative stops usually
                                                                              country, he may stop the car briefly and
211 consumed *211 less than a minute and involved "a
                                                                              investigate the circumstances that provoke
   brief question or two." 422 U.S., at 880. The Court
                                                                              suspicion." 422 U.S., at 881.
   stated that "[bjecause of the limited nature of the
   intrusion, stops of this sort may be justified on                   Respondent State now urges the Court to apply a
   facts that do not amount to the probable cause                     balancing test, rather than the general rule, to
   required for an arrest." Ibid.^^ See also United                   custodial interrogations, and to hold that
   States V. Martinez-Fuerte, 428 U.S. 543 (1976)                     "seizures" such as that in this case may be justified
   (fixed checkpoint to stop and check vehicles for                   by mere "reasonable suspicion." ''*Terry and its
   aliens); Delaware v. Proiise, 440 U.S. 648 (1979)               212 *212 progeny clearly do not support such a result.
                                                                       The narrow intrusions involved in those cases
                                                                       were judged by a balancing test rather than by the

   ^casetext

                                                                                                                              177
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   general principle that Fourth Amendment seizures                  remained unsolved for a period of almost
   must be supported by the "long-prevailing                         five months." Id., at 303, 402 N.Y. So.2d,

   standards" of probable cause, Brinegar v. United                  at 492.

   States, 338 U.S., at 176, only because these
                                                             In contrast to the brief and narrowly circumscribed
   intrusions fell far short of the kind of intrusion
                                                             intrusions involved in those cases, the detention of
   associated with an arrest. Indeed, Brignoni-Ponce
                                                             petitioner        was     in    important         respects
   expressly refiised to extend Terry in the manner
                                                             indistinguishable       from   a    traditional      arrest.
   respondent now urges. The Court there stated:
                                                             Petitioner was not questioned briefly where he
   "The officer may question the driver and
                                                             was found. Instead, he was taken from a
   passengers about their citizenship and immigration
                                                             neighbor's home to a police car, transported to a
   status, and he may ask them to explain suspicious
                                                             police station, and placed in an interrogation
   circumstances, but anyJurther detention or search
                                                             room. He was never informed that he was "free to
   must be based on consent or probable cause." 422
                                                             go"; indeed, he would have been physically
   U.S., at 881-882 (emphasis added). Accord,
                                                             restrained if he had refused to accompany the
   United States v. Martinez-Fuerte, supra, at 567.
                                                             officers or had tried to escape their custody. The
          The factors that respondent would consider         application       of    the    Fourth     Amendment's
          relevant in its balancing test, and the scope      requirement of probable cause does not depend on
          of the rule the test would produce, are not        whether an intrusion of this magnitude is termed
          completely clear. The Appellate Division           an "arrest" under state law. The mere facts that
          quoted two apparently different tests from         petitioner was not told he was under arrest, was
          the Court of Appeals opinion in People v.
                                                             not "booked," and would not have had an arrest
          Morales, 42 N.Y.2d 129, 366 N.E.2d 248
                                                             record if the interrogation had proved fhiitless,
          (1977):
                                                             while not insignificant for all purposes, see Cupp
          ""{L]aw enforcement officials may detain
                                                             V. Murphy,412 U.S. 291 (1973), obviously do not
          an individual upon reasonable suspicion for
                                                          213 make petitioner's *213 seizure even roughly
          questioning for a reasonable and brief
                                                             analogous to the narrowly defined intrusions
          period of time under carefully controlled
                                                             involved in Terry and its progeny. Indeed, any
          conditions which are ample to protect the
          individual's Fifth and Sixth Amendment
                                                             "exception" that could cover a seizure as intrusive
          rights' (42 N.Y.2d. at p. 135). '"[A]              as that in this case would threaten to swallow the
          policeman's right to request information           general rule that Fourth Amendment seizures are
          while discharging his law enforcement              "reasonable" only if based on probable cause.
          duties will hinge on the manner and
                                                             The central importance of the probable-cause
          intensity of the interference, the gravity of
                                                             requirement to the protection of a citizen's privacy
          the crime involved and the circumstances

          attending the encounter"'(42 N.Y.2d, at p.
                                                             afforded by the Fourth Amendment's guarantees
          137, quoting from People v. De Bour, 40            cannot be compromised in this fashion. "The
          N.Y.2d 210, 219)." 61 A.D.2d. at 302, 402          requirement of probable cause has roots that are
          N.Y. So.2d, at 492.                                deep in our history." Henry v. United States, 361
          Then, in characterizing the ease before it,        U.S. 98, 100(1959). Hostility to seizures based on
          the Appellate Division suggested yet a             mere suspicion was a prime motivation for the
          third "test":                                      adoption of the Fourth Amendment, and decisions
          "[T]his case involves a brief detention for        immediately after its adoption affirmed that
          interrogation   based    upon    reasonable        "common rumor or report, suspicion, or even
          suspicion, where there was no formal               'strong reason to suspect' was not adequate to
          accusation filed against defendant Page            support a warrant for arrest." Id., at 101 (footnotes
          212 and where great public interest existed        omitted). The familiar threshold standard of
          in solving a brutal crime which had                probable cause for Fourth Amendment seizures
  ^casetext


                                                                                                                            178
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   reflects the benefit of extensive experience                            characterized as an arrest, must be supported by
    accommodating the factors relevant to the                              probable cause. Davis v. Mississippi, 394 U.S. 721
   "reasonableness" requirement              of the         Fourth         (1969), decided the Term after Terry, considered
    Amendment, and provides the relative simplicity                        whether fingerprints taken from a suspect detained
    and clarity necessary to the implementation of a                       without probable cause must be excluded from
    workable rule. See Brinegar v. United States,                          evidence. The State argued that the detention "was
   supra, at 175-176.                                                      of a type which does not require probable cause,"
                                                                           394 U.S., at 726, because it occurred during an
   In effect, respondent urges us to adopt a
                                                                           investigative, rather than accusatory, stage, and
    multifactor balancing test of "reasonable police
                                                                           because it was for the sole purpose of taking
   conduct under the circumstances" to cover all
                                                                           fingerprints. Rejecting the State's first argument,
   seizures that do not amount to technical arrests.'^
                                                                           the Court wamed:
   But the protections intended by the Framers could
   all too easily disappear in the consideration and                          "[T]o argue that the Fourth Amendment
    balancing of the          multifarious circumstances                      does not apply to tlie investigatory stage is
    presented by different cases, especially when that                        fundamentally to misconceive the purposes
    balancing may be done in the first instance by                            of the Fourth Amendment. Investigatory
    police officers engaged in the "often competitive                         seizures would subject unlimited numbers
    enterprise of ferreting out crime." Johnson v.                            of innocent persons to the harassment and
    United States, 333 U.S. 10, 14 (1948). A single,                          ignominy      incident    to     involuntary
214 familiar standard is essential to *214 guide police                       detention. Nothing is more clear than that
    officers, who have only limited time and expertise                        the Fourth    Amendment was meant to

    to reflect on and balance the social and individual                       prevent wholesale intrusions upon the
    interests involved in the specific circumstances                 215      personal security of our "215 citizenry,
    they confront.'^ Indeed, our recognition of these                         whether these intrusions be termed 'arrests'

    dangers, and our consequent reluctance to depart                          or 'investigatory detentions.'" Id., at 726-
   from the proved protections afforded by the                                727.

    general rule, are reflected in the narrow limitations
                                                                           The State's second argument in Davis was more
    emphasized in the cases employing the balancing
                                                                           substantial, largely because of the distinctions
    test. For all but those narrowly defined intrusions,
                                                                           between taking fingerprints and interrogation:
    the requisite "balancing" has been performed in
    centuries of precedent and is embodied in the
    principle that seizures are "reasonable" only if
    supported by probable cause.

            Seen. \A,supra.

            While the rule proposed by respondent is
            not entirely clear, the Appellate Division
            cited with approval a test that would
            require an officer to weigh before any
            custodial interrogation "the manner and
            intensity of the interference, the gravity of
            the crime involved and the circumstances

            attending the encounter." See n. 14,supra.

    Moreover, two important decisions since Terry
    confirm the conclusion that the treatment of
    petitioner, whether or not it is technically
       casetext



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      "Fingerprinting involves none of the                                   have   resorted    to   similar    measures     if

       probing into an individual's private life and                         petitioner had resisted being taken into

       thoughts that marks an interrogation or                               custody. App. 117.

       search. Nor can fingerprint detention be
                                                                       "The impropriety of the                     arrest was
       employed repeatedly to harass any
                                                                       obvious; awareness of the fact was
       individual, since the police need only one
                                                                       virtually conceded by the two detectives
       set of each person's prints. Furthermore,
                                                                       when they repeatedly acknowledged, in
       fingerprinting is an inherently more
                                                                       their testimony, that the purpose of their
       reliable and effective crime-solving tool
                                                                       action was 'for investigation' or for
       than      eyewitness       identifications        or
                                                                       'questioning.' . . . The arrest, both in
       confessions and is not subject to such
                                                                       design and in execution, was investigatory.
       abuses as the improper line-up and the
                                                                       The     detectives           embarked          upon        this
      'third degree." Finally, because there is no
                                                                       expedition for evidence in the hope that
       danger of destruction of fingerprints, the
                                                                       something might tum up." Id., at 605.
       limited     detention      need      not     come
       unexpectedly or at an inconvenient time."                 See also id., at 602.
      Jd., at 727.
                                                                 These passages from Davis and Brown reflect the
   In Davis, however, the Court found it unnecessary             conclusion          that       detention          for       custodial
   to decide the validity ofa "narrowly circumscribed            interrogation — regardless of its label — intrudes
   procedure for obtaining" the fingerprints of                  so severely on interests protected by the Fourth
   suspects without probable cause — in part                     Amendment           as     necessarily          to      trigger         the
   because, as the Court emphasi2ed, "petitioner was             traditional safeguards against illegal arrest. We
   not merely fingerprinted during the ... detention             accordingly hold that the Rochester police violated
   but also subjected to interrogation." Id., at 728             the Fourth and Fourteenth Amendments when,
   (emphasis added). The detention therefore violated             without probable cause, they seized petitioner and
   the Fourth Amendment.                                         transported        him        to    the   police        station for
                                                                 interrogation.
   Brown v. Illinois, 422 U.S. 590 (1975), similarly
   disapproved arrests made for "investigatory"                  Ill
   purposes on less than probable cause. Although                There       remains        the      question         whether            the
   Brown's arrest had more of the trappings of a                 connection between this unconstitutional police
   technical formal arrest than petitioner's, such               conduct and the incriminating statements and
   differences in form must not be exalted over
                                                                 sketches       obtained        during         petitioner's        illegal
216 substance." *216 Once in the police station.                 detention was nevertheless sufficiently attenuated
   Brown was taken to an interrogation room, and his             to permit the use at trial of the statements and
   experience was indistinguishable from petitioner's.           sketches. See Wong Sun v. United States, 371 U.S.
   Our condemnation of the police conduct in Brown               471 (1963); Nardone v. United States, 308 U.S.
   fits equally the police conduct in this case:                 338 (1939); Silverthorne Lumber Co. v. United
       "The officers drew their guns, informed                   States, 251 U.S. 385(1920).
           Brown that he was under arrest, and
                                                                 The New York courts have consistently held, and
           handcuffed   him.   But   Brown,    unlike
                                                                 petitioner does not contest, that proper Miranda
           petitioner, was not a teenager; and the
                                                                  wamings were given and that his statements were
           police had a report that he possessed a
                                                                 "voluntary" for purposes of the Fifth Amendment.
           pistol and had used it on occasion, 422
           U.S.. at 594. The police in this case would
                                                              217 But Brown v. Illinois, supra, settled that *217 "
                                                                 [t]he exclusionary rule, . . . when utilized to
                                                                 effectuate the Fourth Amendment, serves interests
   ^casetext


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   and policies that are distinct from those it serves                 confession, not only is exclusion of the evidence
   under the Fifth," 422 U.S., at 601, and held                        more likely to deter similar police misconduct in
   therefore that " Miranda warnings, and the                          the future, but use ofthe evidence is more likely to
   exclusion of a confession made without them, do                     compromise the integrity of the courts.
   not alone sufficiently deter a Fourth Amendment
                                                                       Brown identified several factors to be considered
   violation." Ibid.
                                                                       "in determining whether the confession is obtained
       "If Miranda warnings, by themselves,                            by exploitation of an illegal arrest[: t]he temporal
       were held to attenuate the taint of an                          proximity of the arrest and the confession, the
       unconstitutional arrest, regardless of how                      presence of intervening circumstances, . . . and,
       wanton      and     purposeful      the       Fourth            particularly, the purpose and flagrancy of the
       Amendment violation, the effect of the                          official misconduct . . . . And the burden of
       exclusionary rule would be substantially                        showing admissibility rests, of course, on the
       diluted. ... Arrests made without warrant                       prosecution." Id., at 603-604.'' Examining the
       or without probable cause, for questioning                      case before it, the Court readily concluded that the
       or 'investigation,' would be encouraged by                      State had failed to sustain its burden of showing
       tlie knowledge that evidence derived                            the confession was admissible. In the "less than
       therefrom could well be made admissible                         two hours" that elapsed between the arrest and the
       at trial by the simple expedient of giving                      confession "there was no intervening event of
       Miranda warnings." Id., at 602.                                 significance whatsoever." Ibid. Furthermore, the
                                                                       arrest without probable cause had a "quality of
   Consequently, although a confession after proper
                                                                       purposeflilness" in that it was an "expedition for
   Miranda warnings may be foimd "voluntary" for
                                                                       evidence" admittedly undertaken "in the hope that
   purposes of the Fifth Amendment,'® this type of
                                                                       something might tum up." Id., at 605.
   "voluntariness"       is     merely         a      "threshold
   requirement" for Fourth Amendment analysis, 422                             See generally, 3 LaFave,supra n. 9, at 630-
   U.S., at 604. Indeed, if the Fifth Amendment has                            638; Comment, 25 Emory L. J. 227, 239-

   been violated, the Fourth Amendment issue would                             244(1976); Comment, 13 Houston L. Rev.

   not have to be reached.                                                     753,763-770(1976).


            But see Westoverv. United States, 384 U.S.                 The situation in this case is virtually a replica of
            436, 494-497 (1966) (decided            with               the situation    in Brown. Petitioner was also
            Miranda v. Arizona).                                       admittedly seized without probable cause in the
                                                                       hope that something might tum up, and confessed
   Beyond     this     threshold    requirement. Brown
                                                                       without any intervening event of significance.^"
   articulated a test designed to vindicate the "distinct
                                                                       Nevertheless, three members of the Appellate
   policies and interests of the Fourth Amendment."
                                                                       Division purported to distinguish Brown on the
   Id., at 602. Following Wong Sun, the Court
                                                                       ground that the police did not threaten or abuse
   eschewed any per se or "but for" rule, and
                                                                       petitioner (presumably putting aside his illegal
   identified the relevant inquiry as "whether
                                                                    219 seizure and detention) and that the police *219
   Brown's statements were obtained by exploitation
                                                                       conduct was "highly protective of defendant's
   ofthe illegality of his arrest," 422 U.S., at 600; see
                                                                       Fifth and Sixth Amendment rights." 61 A.D.2d, at
   Wong Sun v. United States, supra, at 488. Brown's
                                                                       303, 402 N.Y. So.2d, at 493. This betrays a
   focus on "the causal connection between the
                                                                       lingering confusion between "voluntariness" for
   illegality and the confession," 422 U.S., at 603,
                                                                       purposes of the Fifth Amendment and the "causal
   reflected the two policies behind the use of the
                                                                       cormection" test established in Brown. Satisfying
218 exclusionary rule to effectuate *218 the Fourth
                                                                       the Fifth Amendment is only the "threshold"
   Amendment. When there is                a       close   causal
                                                                       condition of the Fourth Amendment analysis
   connection between the illegal seizure and the
   ^casetext

                                                                                                                              181
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   required by Brown. No intervening events broke                            of certain exceptions to the normal rule of
   the connection between petitioner's illegal                               probable cause where more flexibility is essential.
   detention and his confession. To admit petitioner's                       Cf., e. g., Terry v. Ohio, supra. It is enough, for
   confession in such a case would allow "law                                me, that the police conduct here is similar enough
   enforcement       officers      to    violate      the        Fourth      to an arrest that the normal level of probable cause
   Amendment with impunity, safe in the knowledge                            is necessary before the interests of privacy and
   that they could wash their hands in the 'procedural                       personal security must give way.
   safeguards' ofthe Fifth." ^'Reversed.
                                                                             MR. JUSTICE STEVENS,concurring.
         20 The cases are even parallel in that both
            Brown and petitioner made subsequent                             Although I join the Court's opinion, 1 add this
            statements, see n. 2, supra; Brown v.                            comment on the significance of two factors that
            Illinois, 422 U.S., at 595-596, which in
                                                                             may be considered when determining whether a
            each case were "clearly the result and the
                                                                             confession has been obtained by exploitation of an
            fruit ofthe first." Id., at 605, and n. 12.
                                                                             illegal arrest.
         21 Comment,25 Emory L. J. 227,238(1976).
                                                                             The temporal relationship between the arrest and
   MR. JUSTICE POWELL took no part in the                                    the confession may be an ambiguous factor. If
   consideration or decision of this case.                                   there are no relevant intervening circumstances, a
                                                                             prolonged detention may well be a more serious
   Mr. JUSTICE WHITE,concurring.                                             exploitation of an illegal arrest than a short one.
                                                                             Conversely, even an immediate confession may
   The opinion of the Court might be read to indicate                        have been motivated by a prearrest event such as a
   that Terry v. Ohio^ 392 U.S. 1 (1968), is an almost                       visit with a minister.
    unique exception to a hard-and-fast standard of
   probable cause. As our prior cases hold, however,                         The flagrancy of the official misconduct is
   the key principle of the Fourth Amendment is                              relevant, in my judgment, only insofar as it has a
   reasonableness — the balancing of competing                               tendency to motivate the defendant. A midnight
    interests. E. g., Delaware v. Prouse, 440 U.S. 648,                      arrest with drawn guns will be equally frightening
   653-654(1979); Michigan v. Tyler, 436 U.S. 499,                           whether the police acted recklessly or in good
   506 (1978); Marshall v. Barlow's. Inc., 436 U.S.                          faith. Conversely, a courteous command has the
   307, 321-322 (1978); United States v. Martinez-                           same effect on the arrestee whether the officer

   Fuerte,428 U.S. 543, 555 (1976); United States v.                         thinks he has probable cause or knows that he
   Brignoni-Ponce, 422 U.S. 873, 878 (1975); Terry                           does not. In either event, if the Fourth Amendment
   v. Ohio, supra, at 20-21; Camara v. Municipal                             is violated, the admissibility question will turn on
    Court, 387 U.S. 523,536-537(1967). But if courts                         the causal relationship between that violation and
   and   law    enforcement          officials     are      to    have       the defendant's subsequent confession.
    workable rules, see Rakas v. Illinois, 439 U.S.
                                                                             1 recognize that the deterrence rationale for the
    128, 168 (1978) (dissenting                   opinion), this          221 exclusionary *221 rule is sometimes interpreted
    balancing must in large part be done on a                                quite differently.' Under that interpretation,
    categorical basis — not in an ad hoc, case-by-case
                                                                             exclusion is applied as a substitute for punishment
220 *220 fashion by individual police officers. Cf.
                                                                             of the offending officer; if he acted recklessly or
    Mincey v. Arizona, 437 U.S. 385, 394-395 (1978).
                                                                             flagrantly, punishment is appropriate, but if he
   On the other hand, the need for rules of general
                                                                             acted in good faith, it is not.^ But when evidence is
    applicability precludes neither the recognition in
                                                                             excluded at a criminal trial, it is the broad societal
    particular cases of extraordinary private or public
                                                                             interest in effective law enforcement that suffers.
   interests, cf. Zurcher v. Stanford Daily, 436 U.S.
                                                                             The justification for the exclusion of evidence
   547, 564-565 (1978), nor tlie generic recognition
   ^casetext

                                                                                                                                      182
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   obtained by improper metliods is to motivate the                   knocking on the door of a person's house and
   law enforcement profession as a whole — not the                    when the person answers the door, inquiring
   aberrant individual officer — to adopt and enforce                 whether he is willing to answer questions that they
   regular procedures that will avoid the future                      wish to put to him. "Obviously, not all personal
   invasion of the citizen's constitutional rights. For               intercourse   between    policemen     and citizens
   that reason, exclusionary rules should embody                      involves 'seizures' of persons." Terry v. Ohio, 392
   objective criteria rather than subjective                          U.S. 1, 19 n. 16 (1968). Voluntary questioning not
   considerations.                                                    involving any "seizure" for Fourth Amendment
                                                                      purposes may take place under any number of
        ' See, e g., MR. JUSTICE REHNQUIST,
                                                                      varying circumstances. And the occasions will not
             dissenting,      at 226.
                                                                      be few when a particular individual agrees
         2 I would agree that the officer's subjective                voluntarily to answer questions that the police
             state of mind is relevant when he is being               wish to put to him either on the street, at the
             sued for damages, but this case involves
                                                                     station, or in his house, and later regrets his
             the question whether the evidence he has
                                                                      willingness to answer those questions. However,
             obtained is admissible at trial.
                                                                      such   moming-afler     regrets   do    not render
                                                                      involuntary responses that were voluntary at the
   MR. JUSTICE REHNQUIST, with whom THE                               time they were made. In my view, this is a case
   CHIEF JUSTICE joins, dissenting.                                   where the defendant voluntarily accompanied the
   If the Court did no more in this case than it                      police to the station to answer their questions.
   announced in the opening sentence of its opinion                  In Terry v. Ohio, the Court set out the test for
   — "decide ... the question reserved 10 years ago                   determining whether a person has been "seized"
   in Morales v. New York, 396 U.S. 102 (1969),                       for Fourth Amendment purposes. "Only when the
   namely, 'tlie question of the legality of custodial                officer, by means of physical force or show of
   questioning on less than probable cause for a full-                authority, has in some way restrained the liberty of
   fledged arrest'" — I would have little difficulty                 a citizen may we conclude that a 'seizure' has
   joining its opinion. The decision of this question,                occurred." Ibid. In this case three police officers
   however, does not, contrary to the implication in                  were dispatched to petitioner's house to question
   the Court's opening sentence, decide this case. For                him about his participation in a robbery According
   the Court goes on to conclude that petitioner                     to the testimony of the police officers, one officer
   Dunaway was in fact "seized" within the meaning                   approached a house where petitioner was thought
   of the Fourth Amendment, and that the connection                   to be located and knocked on the door. When a
   between Dunaway's purported detention and the                      person answered the door, the officer identified
   evidence obtained therefrom was not sufficiently                   himself and asked the individual his name. App.
   attenuated as to dissipate the taint of the alleged               97-98. After learning that the person who
   unlawful police conduct. Ante, at 207, 216-219. I              223 answered the door was *223 petitioner, the officer
   cannot     agree        with    either       conclusion, and       asked him if he would accompany the officers to
   accordingly,I dissent.                                             police headquarters for questioning, and petitioner
222 *222 I                                                           responded that he would. Id., at 89-90; see 61
                                                                      A.D.2d 299, 301, 402 N.Y.S.2d 490, 491 (1978).
   There is obviously nothing in the Fourth                          Petitioner was not told that he was under arrest or
   Amendment that prohibits police from calling
                                                                      in custody and was not warned not to resist or flee.
   from their vehicle to a particular individual on the               No weapons were displayed and petitioner was not
   street and asking him to come over and talk with                   handcuffed. Each officer testified that petitioner
   them; nor is there anything in the Fourth
                                                                      was not touched or held during the trip downtown;
   Amendment that prevents the                     police from
                                                                      his freedom of action was not in any way

   ^casetext

                                                                                                                             183
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    restrained by the police. App. 78-79, 99. In short,    the case "as an involuntary detention justified by
   the police behavior in this case was entirely free of   reasonable suspicion." Ante, at 207 n. 6. But the
   "physical force or show of authority."                  Appellate Division did not accept the County
                                                           Court's     conclusion      that    petitioner     did   not
    The Court, however, categorically states in text
                                                           voluntarily accompany the police to the station. To
   that "[tjhere can be little doubt that petitioner was
                                                           the contrary, in its recitation of the facts, the
   'seized' in the Fourth Amendment sense when he
                                                           Appellate Division recites the officers' testimony
    was taken involuntarily to the police station."
                                                           that petitioner       voluntarily      agreed to come
   Ante, at 207. In an accompanying footnote, the
                                                           downtown to talk with them. 61 A.D.2d, at 301,
   Court states: "Respondent contends that petitioner
                                                           302, 402 N.Y. So.2d, at 491, 492. That the
   accompanied the police voluntarily and therefore
                                                           Appellate Division found that it was able to
    was not 'seized.' . . . The County Court found
                                                           resolve the case on the basis of the Court of
   otherwise .. . and the Appellate Division treated
                                                           Appeals' decision in People v. Morales, 42 N.Y.2d
   the case as an involuntary detention justified by
                                                           129, 366 N.E.2d 248 (1977), does not mean that
   reasonable suspicion." Ante, at 207 n. 6. The Court
                                                           the Appellate Division decided that petitioner had
    goes on to cite a commentary from the Tentative
                                                           been "seized" within the meaning of the Fourth
    Draft of the ALI Model Code of Pre-Arraignment
                                                           Amendment.
    Procedure to the effect that a "request to come to
   [the] police station 'may easily carry an               Finally, the Court quotes the Model Code for Pre-
   implication of obligation, while the appearance         Arraignment Procedure to support its assertion.
   itself, unless clearly stated to be voluntary, may be   Ante, at 207 n. 6. I do not dispute the fact that a
   an awesome experience for the ordinary citizen.'"       police request to come to the station may indeed
   Ibid.                                                   be an "awesome experience." But I do not think
                                                           that that fact alone means that in every instance
    The Court's heavy reliance on the conclusions of
                                                           where a person assents to a police request to come
   the Monroe County Court on this issue is
                                                           to headquarters, there has been a "seizure" within
    misplaced, however. That court clearly did not
                                                           the meaning of the Fourth Amendment. The
    apply the Terry standard in determining whether
                                                           question turns on whether the officer's conduct is
   there had been a seizure. Instead, that court's
                                                           objectively coercive or physically threatening, not
   conclusions were based solely on the facts that
                                                           on the mere fact that a person might in some
    petitioner was in the physical custody of
                                                           measure feel cowed by the fact that a request is
    detectives until he reached police headquarters and
                                                           made by a police officer. Cf. Oregon v. Mathiason,
    that "had he attempted to leave the company of the
                                                           429 U.S. 492,495 (1977).
    said detectives, they would have physically
    restrained him (per stipulation of People at               '' Neither Davis v. Mississippi, 394 U.S.
    conclusion of hearing)." App. 117. But the fact                  721 (1969), nor Brown v. Illinois, 422 U.S.

224 that the officers accompanied *224 petitioner from               590 (1975), which the Court treats as
                                                                     points of departure Page 225 for today's
    his house to the station in no way vitiates the
                                                                     opinion, supports the Court's conclusion
    State's claim that petitioner acted voluntarily.
                                                                     that petitioner was "seized" within the
    Similarly, the unexpressed intentions of police
                                                                     meaning of the Fourth Amendment. In
    officers as to hypothetical situations have little
                                                                     Davis, the State made no claim that Davis
    bearing on the question whether the police
                                                                     had voluntarily accompanied the police
    conduct, objectively viewed, restrained petitioner's             officers to headquarters. 394 U.S., at 726.
    liberty by show offorce or authority.                            Similarly, in Brown there could be no
                                                                     reasonable disagreement that the defendant
    The Appellate Division's opinion also can be of no
                                                                     had been "seized" for Fourth Amendment
    assistance to the Court. The Court's opinion
                                                                     purposes. In Brown, two detectives of the
    characterizes the Appellate Division's treatment of
                                                                     Chicago police force broke into Brown's
       casetext



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           apartment and searched it. When Brown              Miranda warnings are given is "an important
           entered the apartment, he was told that he          factor." 422 U.S., at 603-604. Also relevant are "
           was under arrest, was held at gunpoint, and        [t]he temporal proximity of the arrest and the
           was searched. He then was handcuffed and
                                                              confession, the     presence of intervening
           escorted to the squad car that eventually
                                                               circumstances, . . . and, particularly, the purpose
           took him to the police station. 422 U.S., at
                                                               and flagrancy of the official misconduct." Ibid.
           593. No doubt this police activity was the
                                                               But the Court did not assign equal weight to each
           cause of the Court's observation that "[t]he
           illegality here, moreover, had a quality of
                                                               of these factors. Given the deterrent piuposes of
           purposefiilness. .. . The manner in which
                                                              the exclusionary rule, the "purpose and flagrancy"
           Brown's arrest was effected gives the               of the police conduct is, in my view, the most
           appearance of having been calculated to             important factor. Where police have acted in good
           cause surprise, fright, and confusion." Id.,        faith and not in a flagrant manner, I would require
           at 605. No such circumstances occurred              no more than that proper Miranda warnings be
           here.                                               given and that the statement be voluntary within
                                                               the meaning of the Fifth Amendment. Brown v.
   Therefore, although I agree that the police officers
                                                              Illinois, supra, at 612(POWELL,J., concurring in
   in this case did not have that degree of suspicion
                                                              part). "Absent aggravating circumstances, I would
   or probable cause that would have justified them
                                                              consider a statement given at the station house
   in physically compelling petitioner to accompany
                                                               after one has been advised of Miranda rights to be
   them to the police station for questioning, I do not
                                                               sufficiently   removed       from   the   immediate
   believe that the record demonstrates as a fact that
                                                               circumstances of the illegal arrest to justify its
   this is what happened. No involuntary detention
                                                               admission at trial." Ibid.
   for questioning, was shown to have taken place.
   The Fourth Amendment, accordingly, does not                 The Court concedes that petitioner received proper
   require suppression of petitioner's statements.            Miranda warnings and that his statements were
                                                              "voluntary" for purposes of the Fifth Amendment.
   II
                                                               Ante, at 216. And the police acted in good faith.
   Assuming, arguendo, that there was a "seizure" in           App. 61; see United States v. Peltier, 422 U.S.
   this case, I still cannot agree with the Court that         531, 536-537 (1975). At the time of petitioner's
   the Fourth Amendment requires suppression of                detention, tlie New York Court of Appeals had
   petitioner's statements and sketches. Relying on           held that custodial questioning on less than
   Brown v. Illinois, 422 U.S. 590 (1975), the Court          probable cause for an arrest was permissible imder
   concludes that this evidence must be suppressed            the Fourth Amendment. People v. Morales, 22
   primarily, it seems, because no intervening events          N.Y.2d 55, 238 N.E.2d 307 (1968).^ Petitioner
   broke the connection between petitioner's               227 *227 testified that the police never threatened or
   detention and his confession. Ante, at 219. In my           abused him. App. 35. Petitioner voluntarily gave
   view, the connection between petitioner's                  his first statement to police about an hour after he
   allegedly unlawful detention and the incriminating         reached the police station and then gave another
   statements and sketches is sufficiently attenuated         statement to police the following day. Contrary to
   to permit their use at trial. See fVong Sun v. United      the Court's suggestion, the police conduct in this
   States, 371 U.S. 471 (1963).                               case was in no manner as flagrant as that of the
226 "226 In Brown v. Illinois, supra, we identified           police in Brown v. Illinois, supra. See 422 U.S., at
                                                              605; n. 1, supra. Thus, in my view, the record
   several factors to be considered in determining
   whether inculpatory statements were sufficiently a         convincingly demonstrates that the statements and

   product of free will to be admissible under the            sketches given police by petitioner were of
   Fourth Amendment. The voluntariness of the
                                                              sufficient free will as to purge the primary taint of
   statements is a threshold requirement. That
   ^casetext

                                                                                                                      185
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      his alleged illegal detention. I would, therefore,            investigatory detention on less than
      affirm the judgment of the Appellate Division of              probable cause. Morales v. New York, 396
      the Supreme Court of New York.                                        (1969).

           ^ Tiiis Court granted certiorari in Morales,
228                                                          *228
             but, as the Court points out, ante, at 205 n.
             3, we ultimately reserved decision on the
             question of the legality of involuntary




         casetext




                                                                                                               186
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 Director General of Railroads v.
 Kastenbaum,263 U.S. 25(1923)



 Justia Opinion Summary and Annotations




   Syllabus    Case




 U.S. Supreme Court

 Director General of Railroads v. Kastenbaum,263
 U.S. 25(1923)

 Director General of Railroads v. Kastenbaum


 No.39

 Argued October 3,4,1923

 Decided November 12,1923

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 CERTIORARI TO THE SUPREME COURT


 OF THE STATE OFNEW YORK

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 OL/Liauua


 Under § lo ofthe Federal Control Act, an action for false imprisonment maybe maintained
 against the Director General of Railroads by a person, who at the instigation of railroad
 detectives(agents of the Director General) acting without probable cause, was arrested
 without warrant for a theft offreight from the railroad while under federal control. P. 263
 U. S. 27.

 198 App.Div. 966; 199 id. 957, affirmed.

 Certiorari to the Supreme Court of New York to review a judgment for damages recovered
 by the respondent from the petitioner in an action for false imprisonment. The judgment
 was affirmed by the Appellate Division, and leave to appeal to the Court of Appeals was
 denied.


 MR.CHIEF JUSTICE TAFT delivered the opinion of the Court.

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 Respondent brought an action in the Supreme Court of Erie County, New York, against the
 Director General of Railroads, seeking damages for false imprisonment and malicious
 prosecution. The trial court, at the close ofthe plaintiffs case, dismissed the cause of action
 for malicious prosecution, but allowed the trial to proceed to verdict and judgment for
 $500 for false imprisonment. The judgment was affirmed by the Appellate Division of the
 Supreme Court, and a motion for leave to appeal was denied by the Court of Appeals ofthe
 state.


 The brieffor petitioner on the merits states the single question to be:

 Does an action for false arrest lie against the petitioner, an officer of the United States
 government, under the provisions of§ 10 ofthe Act of Congress of March 21,1918, c. 25,40
 Stat. 451, providing for federal control of carriers?

 Twenty-one tubs of butter were taken from a freight car ofthe Lehigh Valley Railroad in
 Buffalo. A trolley car of that city,late at night, collided with a horse and wagon, and,in the
 wreck which followed,the stolen tubs of butter were discovered. Two men who had been
 driving the wagon escaped. The detective force of the railway company sought to discover
 the owner of the horse, and thought they had traced the ownership to Kastenbaum, who
 was a huckster. The railroad detective notified the police authorities ofthe city, who
 detailed two policemen to accompany him to Kastenbaum's house, where they arrested him
 without warrant. They took him to a police station, and kept him there overnight and until

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 he was released the next day on bail. He was brought to a hearing before an examining
 magistrate on a charge of grand larceny and burglary. After four or five adjournments at the
 instance of the prosecution, the magistrate discharged Kastenbaum. His horse proved to be
 one of another color. Under the charge ofthe court,

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 thejury were permitted to return only compensatory damages.

 Section 10 ofthe Federal Control Act provides:

 "That carriers, while under federal control, shall be subject to all laws and liabilities as
 common carriers, whether arising under state or federal laws or at common law, except
 insofar as may be inconsistent with the provisions ofthis Act or any other act applicable to
 such federal control or with any order of the President. Actions at law or suits in equity may
 be brought by and against such carriers and judgments rendered as now provided by law,
 and in any action at law or suit in equity against the carrier, no defense shall be made
 thereto upon the ground that the carrier is em instrumentality or agency ofthe federal
 government."

 By General Order No.50,the executive so limited suits to be brought against carriers for
 injuries to person or property under the section as to exclude those for recovery offines,
 penalties and forfeitures.

 As we said in Missouri Pacific R. Co, v. Ault, 256 U. S,554,256 U. S. 563:

 "The government undertook as carrier to observe all existing laws; it undertook to
 compensate any person injured through a departure by its agents or servants from their
 duty under such law; but it did not undertake to punish itself for any departure by the
 imposition upon itself offines and penalties, or to permit any other sovereignty to punish
 it."


 The action for false imprisonment is in the nature of a trespass for a wrong or illegal act in
 which the defendant must have personally participated directly or by indirect procurement.
 The gist of it is an unlawful detention, and,that being shown,the burden is on the
 defendant to establish probable cause for the arrest. The want of probable cause, certainly
 in the absence of proof of guilt or conviction of the plaintiff, is measured by the state of

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 the defendant's knowledge, not by his intent. It means the absence of probable cause

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 known to the defendant when he instituted the suit. But the standard applied to
 defendant's consciousness is external to it. The question is not whether he thought the facts
 to constitute probable cause, but whether the court thinks they did. Holmes on the
 Common Law,140. Probable cause is a mixed question oflaw and fact. The court submits
 the evidence ofit to the jury, with instructions as to what facts will amount to probable
 cause if proved.Stewart v.Sonneborn,98 U. S. 187,98 U. S. 194; Pollock on Torts(8th ed.)
 225; 1 Cooley on Torts(3d ed.) p. 321. Counsel for petitioner contends that,in an action
 against the sovereign government, it must be conclusively presumed that good faith existed
 upon its part so far as it is responsible for the arrest, and therefore that a complete defense
 of probable cause on its part is always made out. But, as we have seen, good faith is not
 enough to constitute probable cause. That faith must be grounded on facts within
 loiowledge ofthe Director General's agent, which,in the judgment ofthe court, would make
 his faith reasonable.


 The government, under § 10,in a case offalse imprisonment stands exactly as if it were a
 railway corporation operating as a common carrier. Such a corporation would clearly be
 responsible for an arrest ofthe kind here shown if without probable cause and made by one
 of its detectives employed to protect the property entrusted to its care as a common carrier.
 It is within the scope ofthe agency ofsuch an employee to discover the perpetrators of
 crime against the property in order to recover it and to procure the arrest ofsupposed
 offenders and their prosecution and conviction in order to deter others from further
 depredations. If, in the field ofsuch employment,the agent acts without probable cause
 and an illegal arrest without judicial warrant is made,the corporation

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 is liable as for any other act of its agents within the scope oftheir employment in carrying
 on the business of a common carrier. Philadelphia, Washington &Baltimore Railway v.
 Quigley, 21 How. 202,62 U.S, 210; Genga v. Director General ofRailroads, 243 Mass.
 101.



 We have not before us the question whether the Director General might be held for
 exemplary damages in a case like this under the restrictions of Order No.50, as construed
 in the Ault case, because, as already said,the court limited the recovery to compensatory
 damages.

 Affirmed.




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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF WYOMING

  TAMI M. BRONNENBERG                                )
                                                     )
          Plaintiff,                                 )
                                                     )
                  v.                                 )       Civil Action No: 19-CV-21-S
                                                     )
  BEAU J. EGGAR, et al.,                             )
                                                     )
                                                     )
          Defendants.                                )

                     DEFENDANT OFFICER EGGER’S
            REPLY BRIEF IN SUPPORT OF SUMMARY JUDGEMENT


          Defendant Officer Egger files this reply brief in support of his converted motion for

  summary judgment. The Court should still grant summary judgment against Bronnenberg

  because Officer Egger is entitled to qualified immunity as a matter of law. Officers who

  execute a facially valid, albeit outdated, arrest warrant in good faith do not violate clearly

  established law. And here, Bronnenberg does not appear to dispute the facial validity of

  the warrant, nor Officer Egger’s good-faith execution of the facially valid warrant. Further,

  the cases she cites do not clearly establish a constitutional right protecting against the good-

  faith execution of facially valid warrants.



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                            A. No Genuine Issue of Material Fact

         There are no material factual disputes in this case which preclude summary

  judgment. Officer Egger arrested Bronnenberg for failing to appear in court pursuant to a

  facially valid, albeit outdated, arrest warrant. Bronnenberg told Officer Egger that the arrest

  warrant was vacated. She also alleges that she showed him a copy of the order vacating the

  warrant. Before arresting Bronnenberg, Officer Egger called the police station to inquire

  whether the arrest warrant was valid. Dispatched confirmed that it was still valid. The

  RIMS Computer System also indicated the arrest warrant was valid.1

         Bronnenberg does not appear to dispute the above facts. See generally (Doc. 33 at

  1-17). Bronnenberg, however, filed an affidavit in which she claims that another officer

  pulled her over to execute the same warrant some time before Officer Egger arrested her.

  (Doc. 33-1 at 1-2). The language in the affidavit is unclear; it states “Officer Wright is the


  1
   Counsel for Officer Egger wishes to advise the Court and the parties of an error in the
  memorandum in support of the motion to dismiss. On page three of the memorandum,
  Defense counsel inadvertently made a misstatement in the following sentence:

                At the time of the arrest, the RIMS Computer Dispatch System
                in his vehicle also marked the warrant as active and
                outstanding.

  (Doc. 29 at 3). The above sentence should have read: “At the time of the arrest, the RIMS
  Computer Dispatch System also marked the warrant as active and outstanding,” because
  the RIMS Computer Dispatch System was not accessible from Officer Egger’s vehicle.
          Defense counsel apologizes for this mistake. It was unintentional and inadvertently
  retained language from a working draft of the memo. The mistake is not material and
  should not affect the arguments in the motion to dismiss because the executed arrest
  warrant was still facially valid and verified through dispatch who informed Officer Egger
  that the warrant was still active and outstanding in the RIMS system. (Doc. 29-2) (Doc. 29-
  3).


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  officer who came to arrest me over failure to appear on the civil matter on January 17,

  2019.” (Doc. 33-1 at 1). This can be read as either stating that this interaction took place

  on January 17, 2019 or that she was arrested for failing to appear on a separate matter which

  was scheduled for January 17, 2019. Id. Also, it is likely that Bronnenberg meant January

  17, 2017, not 2019. She asserts that this officer did not arrest her, but rather allowed her to

  call “Judge Canfield” who subsequently informed this officer that he would vacate the

  warrant. (Doc. 33-1 at 1). By “Judge Canfield,” Bronnenberg probably means Judge Steven

  Cranfill who initially signed the arrest warrant. (Doc. 29-4 at 1).

         This interaction, however, is immaterial for two reasons. First, there is no

  connection between this interaction and the arrest by Officer Egger. Bronnenberg does not

  suggest that Officer Egger somehow had any knowledge of this interaction. And indeed,

  Officer Egger was not aware that the warrant was vacated or otherwise not outstanding.

  (Doc. 29-1 at 1) (Doc. 29-2 at 2). Thus, even if true, this interaction does not create any

  dispute over the fact that Officer Egger acted in good faith when executing the warrant.

  Second, Bronnenberg does not suggest this prior interaction was routine police procedure.

                                  B. Clearly Established Law

         The majority of Bronnenberg’s response appears to be directed towards her already-

  dismissed claims against Officer Egger and other defendants. See generally (Doc. 33 at 8-

  16). Bronnenberg, however, does appear to attempt to overcome the clearly-established

  prong of qualified immunity by discussing Fourth Amendment probable-cause

  requirements. (Doc. 33 at 4-6). This does not overcome qualified immunity for two reasons.



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         First, while it is true that “[i]t is clearly established that an arrest must be supported

  by probable cause, whether independently evaluated by the officer or embodied in a valid

  warrant,” “a state law enforcement officer is entitled to qualified immunity if a reasonable

  officer could have believed that probable cause to arrest existed at the moment the arrest

  was made.” Taylor v. Burd, 2016 U.S. Dist. LEXIS 168498, at *11 (D.N.M. Dec. 5, 2016)

  (emphasis added). And here, Officer Egger could have believed that probable cause existed

  because he was informed by dispatch that there was an active warrant for Bronneberg’s

  arrest. See id. (“Because dispatch informed Burd that there was an active warrant for

  Plaintiff's arrest, the Court finds that it was reasonable for Burd to rely on this

  information.”); Hill v. Bogans, 735 F.2d 391, 393 (10th Cir. 1984) (“Bogans acted

  reasonably in relying on routine police procedures for establishing the existence of an

  outstanding warrant”).

         Second, the cases Bronnenberg cites in her brief are far too general to provide

  adequate warning that the conduct here was unlawful. “A constitutional right is clearly

  established if it is ‘sufficiently clear that every reasonable official would have understood

  that what he is doing violates that right.’” Doe v. Woodard, 912 F.3d 1278, 1289 (10th Cir.

  2019). Accordingly, “it is a ‘longstanding principle that clearly established law should not

  be defined at a high level of generality[,]’” because “general statements of the law are not

  inherently incapable of giving fair and clear warning to officers.” Id. Here, the cases

  Bronnenberg points to are generally not relevant to the facts and are not capable of

  providing fair and clear warning to officers that the good-faith execution of a facially valid,



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  but outdated, warrant is unconstitutional.

         First, Bronnenberg cites Dunaway v. New York, 442 U.S. 200 (1979). This case

  focused on “the question of the legality of custodial questioning on less than probable cause

  for a full-fledged arrest.” Id. at 202. Specifically, this was in the context of suppression of

  information gathered from a confession during the interrogation. Id. The Supreme Court

  affirmed that probable cause was necessary for an arrest and that the custodial interrogation

  in that case amounted to an arrest. Id. There was no discussion on whether an arrest

  pursuant to a facially valid, albeit outdated, warrant verified through routine police

  procedures implicated any constitutional rights.

         Second, Bronnenberg cites Director General of Railroads v. Kastenbaum, 263 U.S.

  25 (1923). This case is likewise not particularized to the facts of this case. Rather, the sole

  inquiry was whether “an action for false arrest lie against the petitioner, an officer of the

  United States government, under the provisions of § 10 of the Act of Congress of March

  21,1918, c. 25, 40 Stat. 451, providing for federal control of carriers?” Id. at 26. It did not

  involve an arrest pursuant to a warrant at all, let alone one that was facially valid. Id. In

  sum, neither case places the constitutional issue here “beyond debate,” especially in light

  of the case law already discussed in the memorandum in support of dismissal. See Doe,

  912 F.3d at 1289 (“‘existing precedent must have placed the statutory or constitutional

  question beyond debate’ for a right to be clearly established.”); (Doc. 29 at 11-14)

  (discussing existing case law on the issue).




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                                        C. Conclusion

        For the reasons above, and those already discussed in prior filings, Defendant

  Officer Egger respectfully requests the Court grant summary judgment against

  Bronnenberg.

        DATED this 24th day of May, 2019.

                                           /s/ Adrian K. Kowalski
                                           Adrian K. Kowalski
                                           Assistant Attorney General


                              CERTIFICATE OF SERVICE

         I do hereby certify that I have sent a copy of the foregoing on this 24th day of May
  2019, to the following individuals:

   Tami M. Bronnenberg                                           [✔] U.S. MAIL
   P.O. Box 802
   Cody, WY 82414




                                           Jessica Curless
                                           Jessica Curless, Paralegal
                                           Office of the Wyoming Attorney General




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                                                   Taylor v. Burd
                                 United States District Court for the District of New Mexico
                                                 December 5, 2016, Filed
                                                 No. 15 CV 642 JAP/LAM

Reporter
2016 U.S. Dist. LEXIS 168498 *
                                                               SUMMARY JUDGMENT (Doc. No. 52) (Defendants'
MICHAEL TAYLOR, Plaintiff, v. ANTHONY ROBINSON
                                                               Motion); DEFENDANTS ANTHONY ROBINSON AND
AND JORDAN BURD, Defendants.
                                                               JORDAN BURD'S MEMORANDUM BRIEF IN
                                                               SUPPORT OF THEIR OPPOSED MOTION FOR
Core Terms                                                     SUMMARY JUDGMENT (Doc. No. 53) (Defendants'
                                                               Memorandum). Plaintiff filed a cross-motion for
arrest, dispatch, summary judgment, qualified immunity,        summary judgment the next day. See PLAINTIFF'S
facially valid, false arrest, outstanding, probable,           MOTION FOR SUMMARY JUDGMENT (Doc. No. 54)
summary judgment motion, enforcement officer, false            (Plaintiff's Motion). Each [*2] party responded in
imprisonment, absolute immunity, bench warrant, tort           opposition. See DEFENDANTS ANTHONY ROBINSON
claim, quotation, REPLY, marks
                                                               AND JORDAN BURD'S RESPONSE TO PLAINTIFF'S
                                                               OPPOSED MOTION FOR SUMMARY JUDGMENT
Counsel: [*1] For Michael Taylor, Plaintiff: Kari T
                                                               (Doc. No. 55) (Defendants' Response); PLAINTIFF'S
Morrissey, Law Office of Kari Morrissey, Albuquerque,
                                                               RESPONSE IN OPPOSITION TO DEFENDANT'S
NM.
                                                               MOTION FOR SUMMARY JUDGMENT (Doc. No. 56)
For Anthony Robinson, Jordan Burd, Defendants:                 (Plaintiff's Response). The parties then replied in
Deborah D. Wells, Debra J. Moulton, LEAD                       support of their Motions. See DEFENDANTS
ATTORNEYS, Kennedy, Moulton & Wells PC,                        ANTHONY ROBINSON AND JORDAN BURD'S REPLY
Albuquerque, NM.                                               TO PLAINTIFF'S RESPONSE TO THEIR MOTION FOR
                                                               SUMMARY JUDGMENT (Doc. No. 57) (Defendants'
Judges: James A. Parker, SENIOR UNITED STATES                  Reply); PLAINTIFF'S REPLY SUPPORTING HIS
DISTRICT JUDGE.                                                MOTION FOR SUMMARY JUDGMENT (Doc. No. 59)
                                                               (Plaintiff's Reply). The Court will deny Plaintiff's Motion
Opinion by: James A. Parker                                    and will grant summary judgment in favor of
                                                               Defendants.
Opinion
                                                               I. BACKGROUND

MEMORANDUM OPINION AND ORDER                                   The facts are undisputed unless otherwise noted. On
                                                               December 2, 2014, Plaintiff was stopped for speeding
On July 24, 2015, Plaintiff Michael Taylor (Plaintiff) filed   by New Mexico State Police Officer Robinson.
a COMPLAINT FOR NEGLIGENCE AND VIOLATION                       Defendant's Memo. ¶ 1, Ex. A Taylor Depo. 43:2-12,
OF THE FOURTH AMENDMENT (Doc. No. 1)                           36:6-8. Dispatch informed Robinson that Plaintiff had a
(Complaint), alleging that Defendants Anthony Robinson         valid outstanding bench warrant. Defendant's Memo. ¶
(Robinson) and Jordan Burd (Burd) (together,                   2, Ex. A Taylor Depo. 34:15-23, Ex. B Robinson Depo.
Defendants) had caused Plaintiff's unlawful arrest             28:13-18. Robinson arrested Plaintiff for the warrant and
through Robinson's negligence and Burd's violation of          transported Plaintiff to the San Miguel County Jail,
Plaintiff's civil rights. See Compl. ¶¶ 15-16, 19.             where Plaintiff was booked [*3] into the facility.
Defendants moved for summary judgment on October               Defendant's Memo. ¶ 4, Ex. A Taylor Depo. 34:22-25,
31, 2016. See DEFENDANTS ANTHONY ROBINSON                      35:22-23; Ex. B Robinson Depo. 28:19, 40:10-41:24.
AND JORDAN BURD'S OPPOSED MOTION FOR                           Robinson signed the warrant, gave it to dispatch at the

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jail, and provided a copy to Plaintiff. Defendant's Memo.     Summary judgment may be granted if the moving party
¶ 5, Ex. B Robinson Depo. 40:23-44:21. Plaintiff bonded       shows "there is no genuine issue as to any material fact
out of the San Miguel County Jail on December 4, 2014.        and that the moving party is entitled to a judgment as a
Defendant's Memo. ¶ 6, Ex. A Taylor Depo. 36:1.               matter of law." Fed.R.Civ.P. 56(c). "When applying this
                                                              standard, [the Court] view[s] the evidence and draw[s]
On December 16, 2014, Plaintiff was stopped again for         reasonable inferences therefrom in the light most
speeding by Officer Burd, also of the New Mexico State        favorable to the nonmoving party." Scull v. New Mexico,
Police. Defendant's Memo. ¶ 8, Ex. A Taylor Depo.             236 F.3d 588, 595 (10th Cir. 2000) (internal quotation
33:21-24. Dispatch informed Burd that Plaintiff had a         marks omitted). The court must analyze each motion
valid outstanding bench warrant. Defendant's Memo. ¶          individually and on its own merits if both parties have
9, Ex. G Burd Depo. 19:17-24. Plaintiff told Burd that he     moved for summary judgment. See Buell Cabinet Co. v.
had already been arrested on the warrant and had been         Sudduth, 608 F.2d 431, 433 (10th Cir. 1979) (explaining
released on bond, and he presented Burd with a bond           that "[c]ross-motions for summary judgment are to be
receipt. Plaintiff's Mot. ¶ 14, Ex. 1 Taylor Depo. Ex. C,     treated separately; the denial of one does not require
Ex. 3 Burd Depo 19:25-20:10. Plaintiff alleges that he        the grant of another."). Cross-motions for summary
also presented release papers from San Miguel County          judgment entitle the Court "to assume that no evidence
Jail, but he did not submit copies of these papers with       needs to be considered other than that filed by the
his Motion because they are no longer in his                  parties, but summary judgment is nevertheless
possession. Plaintiff's Mot. ¶ 14, Ex. 1 Taylor Depo.         inappropriate if disputes remain as to material facts."
46:10-47:12. Defendants acknowledge only the bond             Atlantic Richfield Co. v. Farm Credit Bank of Wichita,
receipt [*4] showing the amount paid. Defendants'             226 F.3d 1138, 1148 (10th Cir. 2000).
Resp. ¶¶ 3-5. The bond receipt contained Plaintiff's
name, case number, and the amount and date of                 However, when a defendant raises qualified immunity
Plaintiff's bond. Plaintiff's Mot. ¶ 14, Ex. 1 Taylor Depo.   as a defense, the plaintiff must demonstrate that the
Ex. C, Plaintiff's Resp. ¶¶ 9-10. Plaintiff further alleges   defendant's actions violated a clearly-established
that he called the bonding company for verification of his    constitutional or statutory [*6] right before the
release but that Burd refused to speak to them.               defendant will bear the traditional burden. See Scull,
Plaintiff's Mot. ¶ 15, Ex. 1 Taylor Depo. 44:21-45:15.        236 F.3d at 595. A right is clearly established only if
Defendants dispute this allegation. Defendants Resp. ¶        there is "a Supreme Court or Tenth Circuit decision on
4. When Plaintiff claimed the warrant was not active,         point, or the clearly established weight of authority from
Burd called dispatch and asked for verification of the        other courts [has] found the law to be as the plaintiff
outstanding warrant. Defendants Resp. ¶ 3, Ex. G Burd         maintains." Id. (internal quotation marks omitted).
Depo. 20:13-21. Dispatch informed Burd that the
warrant was indeed valid and active, and Burd placed
Plaintiff under arrest. Defendants' Resp. ¶ 3. Burd then      III. DISCUSSION
transported Plaintiff to Santa Fe County Adult Detention
Center, where Plaintiff was booked and held for multiple      Plaintiff contends that Burd unlawfully arrested him in
days before being released again on bond. Plaintiff's         violation of the Fourth Amendment, which the Court will
Mot. ¶¶ 18-19, Ex. 3 Burd Depo. 20:21-21:4, Ex. 1             construe as a claim under 42 U.S.C. § 1983, and that
Taylor Depo. 49:2-50:7.                                       Burd is also liable for false arrest under the NMTCA,
                                                              although Plaintiff acknowledges that his Complaint did
                                                              not expressly bring an NMTCA claim against Burd. See
II. LEGAL STANDARD                                            Compl. ¶¶ 17-21; Plaintiff's Mot. at 8-11. Plaintiff asserts
                                                              that Robinson failed to fulfill his duty to cause Plaintiff's
Plaintiff brings claims for unlawful arrest under the         warrant to be cleared from the system after Robinson
Fourth Amendment and under the New Mexico Tort                arrested Plaintiff, and therefore that Robinson is liable
Claims Act, NMSA 1978, §§ 41-4-1 to -29 (1976, as             under the NMTCA for his negligence that resulted in
amended through 2009) (NMTCA). [*5] See Compl. ¶¶             Plaintiff's later false arrest by Burd. See Compl. ¶¶ 14-
14-21. The Court has original jurisdiction over Plaintiff's   16; Plaintiff's Mot. at 6. Defendants maintain that Burd is
Fourth Amendment claim, see 28 U.S.C. § 1331, and             entitled to absolute and qualified immunity for his arrest
supplemental jurisdiction over the related state-law          of Plaintiff on a facially valid warrant, and that neither
claims, see 28 U.S.C. § 1367.                                 Robinson nor Burd is liable under the NMTCA [*7] for
                                                              Burd's reasonable actions. See Defendant's Memo. at

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6-7, 12.                                                      Plaintiff cites to Maresca v. Bernalillo County, 804 F.3d
                                                              1301, 1310 (10th Cir. 2015), for the proposition that "in
                                                              determining whether there is probable cause, officers
A. Fourth Amendment                                           are charged with knowledge of any 'readily available
                                                              exculpatory evidence' that they unreasonably fail to
The Fourth Amendment prohibits unreasonable                   ascertain." But Maresca addressed a warrantless arrest
seizures, including unlawful arrests. See Koch v. City of     based on a stolen vehicle report, brought up when the
Del City, 660 F.3d 1228, 1238-39 (10th Cir. 2014). But        officer mistyped [*9] a license plate number, wherein
even if an arrest is unlawful because it is based on an       the description of the stolen vehicle clearly did not
erroneous order, that order may still be facially valid.      match the vehicle occupied by the plaintiffs and the
See Turney v. O'Toole, 898 F.2d 1470, 1473 (10th              officer ignored repeated requests to recheck the
Cir.1990) ("[E]ven assuming that an order is infirm as a      number. See id. at 1304-05. The Tenth Circuit held that
matter of state law, it may be facially valid, as 'facially   the officer was not entitled to rely on her unreasonable
valid' does not mean 'lawful,' and erroneous orders can       mistake as probable cause to arrest particularly due to
be valid."). "Just as judges acting in their judicial         the officer's "failure to use readily available
capacity are absolutely immune from liability under           information—already on the computer screen in front of
section 1983, officials charged with the duty of              her and from the dispatcher—to verify that the
executing a facially valid court order enjoy absolute         [plaintiffs'] vehicle was reported stolen before arresting
immunity from liability for damages in a suit challenging     them." Id. at 1311.
conduct prescribed by that order." Id. at 1472 (internal
brackets, quotation marks, and citations omitted). "[L]aw     In contrast, Burd was not tasked with independently
enforcement officers are . . . entitled to absolute 'quasi-   assessing probable cause, but only with carrying out a
judicial' immunity for their actions in executing facially    court order for Plaintiff's arrest. Burd testified in
valid warrants, writs, and other court orders, such as        deposition that a bond receipt does not prove that a
bench warrants." Zamora v. City of Belen, 383                 warrant is not active and that documents proving a
F.Supp.2d 1315, 1325-26 (D.N.M. 2005) (collecting             defendant has been picked up on a warrant are given to
cases).                                                       the defendant upon release, but that Plaintiff did not
                                                              have this documentation. See Defendants' Memo. Ex. G
Plaintiff argues that Burd is not entitled to absolute        Burd Depo. 20:2-13. Plaintiff presents no evidence to
immunity because he should have known from the                contradict Burd's testimony beyond his assertion that
information on the bond receipt that the warrant was no       "Burd had all the information necessary and sufficient to
longer valid. See Plaintiff's Resp. at 11-12. But "[u]nless   know that the warrant was no longer valid." See [*10]
a warrant [*8] is facially invalid an officer has no          Plaintiff's Resp. ¶ 10. Plaintiff states that dispatch from
constitutional duty to independently determine its            the arresting agency communicates with the issuing
validity." Hill v. Bogans, 735 F.2d 391, 393 (10th Cir.       agency, which has access to the relevant court records.
1984) (officer acted reasonably in relying on routine         See id. Yet Plaintiff does not dispute that dispatch
police procedures for establishing the existence of an        informed Burd that the warrant was valid. See id. Burd
outstanding warrant and should not be held responsible        contacted dispatch when presented with Plaintiff's bond
for the failure of county personnel to clear the warrant      receipt and confirmed the active status of the warrant for
from the records). See also Scull, 236 F.3d at 597-98         Plaintiff's arrest. See Defendants Resp. at 4. Nothing in
(Jailers had no duty to independently investigate claims      Maresca requires an officer to question the veracity of
that a defendant should be released on writ of habeas         official information obtained through routine police
corpus when facility was not named in writ and the            procedures for establishing the existence of an
warrant for arrest was facially valid). "An officer on the    outstanding warrant.
highway is entitled to rely on an accurate computer
notification that there is an existing warrant for an         The Court therefore finds that the warrant was facially
individual's arrest. The officer is not required by the       valid when dispatch confirmed to Burd that there was a
Fourth Amendment to obtain a copy of the warrant,             valid and active warrant for Plaintiff's arrest. Because
research supporting documentation, or go behind the           Burd relied on the facially valid warrant as the basis for
facial validity of a warrant before making the arrest."       arresting Plaintiff, the Court concludes that Burd is
Smyth v. City of Lakewood, 83 F.3d 433, 1996 WL               entitled to absolute immunity on Plaintiff's Fourth
194715, at *4 (10th Cir. 1996).                               Amendment claim.



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Even if Burd were not entitled to absolute immunity, he       NMSC-028, ¶ 25, 119 N.M. 690, 895 P.2d 212
would be protected by qualified immunity. Qualified           (questioning the parties' assumption that qualified
immunity shields government officials from liability when     immunity protects an official sued under the NMTCA but
they reasonably perform their duties. Pearson v.              declining to address the question because it was not
Callahan, 555 U.S. 223, 231, 129 S. Ct. 808, 172 L. Ed.       properly before the Court). Under the NMTCA, "any
2d 565 (2009). To defeat Burd's assertion of                  public employee while acting within the scope of duty
qualified [*11] immunity, Plaintiff must demonstrate that     [is] granted immunity from liability for any tort except as
Burd's actions violated a constitutional right that was       waived." Section 41-4-4(A). The NMTCA waives
clearly established at the time of the alleged                immunity for an enumerated list of torts, including
misconduct. See id. at 232.                                   false [*13] imprisonment and false arrest, "when
                                                              caused by law enforcement officers while acting within
It is clearly established that an arrest must be supported    the scope of their duties." Section 41-4-12. A law
by probable cause, whether independently evaluated by         enforcement officer may be liable under the NMTCA
the officer or embodied in a valid warrant. See Malley v.     both for perpetrating any listed tort and for negligent
Briggs, 475 U.S. 335, 341, 345, 106 S. Ct. 1092, 89 L.        acts that result in an enumerated tort, even if that tort is
Ed. 2d 271 (1986) (warrant does not shield officer from       actually committed by a third party. See Weinstein v.
liability when the officer had applied to the court for a     City of Santa Fe ex rel. Santa Fe Police Dep't, 1996-
warrant and "a reasonably well-trained officer in             NMSC-021, ¶ 21, 121 N.M. 646, 916 P.2d 1313.
petitioner's position would have known that his affidavit     Therefore, if Robinson's negligence caused Burd to
failed to establish probable cause and that he should         falsely arrest Plaintiff, both Defendants could be held
not have applied for the warrant."). But a state law          liable. Plaintiff brought an NMTCA claim against
enforcement officer is entitled to qualified immunity if a    Robinson only, see Compl. ¶¶ 14-16, but informally
reasonable officer could have believed that probable          requests leave to amend his Complaint to include an
cause to arrest existed at the moment the arrest was          NMTCA claim against Burd as well, arguing that he
made. See Hunter v. Bryant, 502 U.S. 224, 227-28, 112         sufficiently pleaded state-law tort claims for false arrest
S. Ct. 534, 116 L. Ed. 2d 589 (1991). Because dispatch        and false imprisonment against Burd, see Plaintiff's Mot.
informed Burd that there was an active warrant for            at 11.
Plaintiff's arrest, the Court finds that it was reasonable
for Burd to rely on this information. See Maresca, 804        "Under New Mexico law, false imprisonment consists of
F.3d at 1312 (deputy that assisted arresting officer was      intentionally confining or restraining another person
entitled to qualified immunity because deputy was             without his consent and with knowledge that he has no
entitled to rely on arresting officer's report that the car   lawful authority to do so." Fuerschbach v. Southwest
was stolen). Plaintiff has not presented any cases            Airlines Co., 439 F.3d 1197, 1207 (10th Cir. 2006)
demonstrating [*12] that Burd's conduct in relying on         (quoting Romero, 1995--NMSC-028, ¶ 13, 119 N.M.
dispatch's statement that there was a valid warrant for       690, 895 P.2d 212) (internal quotation marks omitted).
Plaintiff's arrest, rather than extrapolating contrary        "False arrest or unlawful detention occurs when the
information from Plaintiff's bond receipt, was a clear        facts available to a detaining officer would not warrant a
violation of Plaintiff's rights. "[T]here is no clearly       person of reasonable caution to believe detention
established law to the effect that an arrest based on         appropriate." Id. (internal quotation [*14] marks and
execution of a court's bench warrant may constitute           brackets omitted). "A defendant possessed of a good
false arrest." Zamora, 383 F.Supp.2d at 1338. The             faith and reasonable belief in the lawfulness of the
Court therefore concludes that Burd is also entitled to       action is not liable for false imprisonment or false
qualified immunity. The Court will grant summary              arrest." Id.
judgment for Burd on the Fourth Amendment claim.
                                                              Burd arrested Plaintiff after dispatch informed Burd that
                                                              there was an outstanding warrant for Plaintiff's arrest.
B. New Mexico Tort Claims Act                                 See Defendants' Resp. ¶ 3. Plaintiff has presented no
                                                              evidence that Burd executed the arrest knowing that he
While both absolute and qualified immunity protect Burd       was without lawful authority to do so. As discussed
from liability on Plaintiff's constitutional claim, these     above, Burd's decision to arrest Plaintiff was reasonable
doctrines may not apply to Plaintiff's common-law tort        when, after Plaintiff stated that the warrant was not
claims even though those claims are based on the same         valid, Burd contacted dispatch to verify the warrant and
factual circumstances. See Romero v. Sanchez, 1995-           dispatch confirmed that it was active. See Defendants'

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                                          2016 U.S. Dist. LEXIS 168498, *14

Resp. ¶ 3. Even if the Court liberally construes Plaintiff's   1) will be dismissed with prejudice by a summary
Complaint to present a state-law tort claim against Burd,      judgment.
Burd cannot be held liable for false imprisonment or
false arrest under these circumstances. The Court will         /s/ James A. Parker
grant summary judgment in Burd's favor on Plaintiff's
                                                               SENIOR UNITED STATES DISTRICT JUDGE
claim under the NMTCA.

Accordingly, summary judgment must also be granted in
                                                                 End of Document
Robinson's favor. Plaintiff argues that Robinson was
negligent because New Mexico court rules require
Robinson to have ensured that the warrant was
cancelled. See [*15] Plaintiff's Resp. ¶ 7; Rule 6-207
NMRA ("If the warrant has been entered into a law
enforcement information system, upon arrest of the
defendant, the person executing the warrant shall cause
it to be removed from the system."). But Defendants
have presented evidence that the New Mexico
Department of Public Safety relies on dispatch
personnel to, "after service, . . . remove[] warrants from
NCIC and the file from the manual filing system, as
quickly as possible." See Defendants Resp. Ex. A-1 at
7. Plaintiff admits that Robinson signed the warrant and
gave a copy to dispatch and that Robinson himself was
not responsible for removing the warrant from the NCIC
database. See Plaintiff's Resp. ¶¶ 5, 7. There is no
basis for the Court to find that Robinson was
responsible for further actions in clearing the warrant
after he gave the copy to dispatch. See Gose v. Board
of County Comm'rs of County of McKinley, 778
F.Supp.2d 1191, 1199 n.6 (D.N.M. 2011) ("Neither the
statute nor the rule gives a correctional officer the power
to cancel or modify a bench warrant. From a logical
standpoint, it would seem that only a court could modify
a court order."). But the Court need not decide this issue
because, even if Robinson had been negligent,
Robinson is not liable under the NMTCA when no false
arrest resulted. [*16] See Weinstein, 1996-NMSC-021,
¶ 25, 121 N.M. 646, 916 P.2d 1313 (law enforcement
officer is not liable under the NMTCA for negligence that
does not result in a listed tort or a statutory or
constitutional violation). Therefore, the Court will grant
summary judgment to Robinson.

IT IS ORDERED that:

1) PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
(Doc. No. 54) is denied,

2) DEFENDANTS ANTHONY ROBINSON AND
JORDAN   BURD'S OPPOSED        MOTION       FOR
SUMMARY JUDGMENT (Doc. No. 52) is granted, and

3) Plaintiff's COMPLAINT FOR NEGLIGENCE AND
VIOLATION OF THE FOURTH AMENDMENT (Doc. No.

                                                                                                            202
           Case 2:19-cv-00021-SWS Document 36 Filed 05/28/19 Page 1 of 2
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                                                                         TILED
     ^             1.
     Taim M.Bronnenberg,Pro-se                                     US. DISTRICT
                                                                   DISTRICT     COURT
                                                                            OF WYOHING

     cSy^Cming 82414                                                          PH 2=05
     (307)899-2150                                               STEFHAH HARH]S,£iERii
                                                                         CASPER

                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING



     TAMIM.BRONNENBERG                                   )     CASE NO.
                                                         )     19-CV-021-S
                                           Plaintiff,    )
                                                         )     MOTION FOR
                        V.                               )     DECLARATORY
                                                         )     JUDGMENT.
     BEAUJ.EGGER,etal.,                                  )
                                                         )
                                        Defendants.      )


           The plaintiff, Tami M.Bronnenberg,respectfiilly requests to move

     this court for Declaratory Judgment declaring that defendant's acts, policies

     and practices herein described and complained ofviolated plaintiffs rights

     under the Fourth Amendment and the Fourteenth Amendment ofthe

     Constitution ofthe United States of America. See, Amended Complaint,E.

     Request for Relief,(A),Page 9; Response to Defendant's Motion for

     Summary Judgment, pursuant to the United States District Court Local Rule

     7.1; 28 uses §2201; 28 USCS 2202.

             WHEREFORE,Plaintiff, Tami M.Bronnenberg, THEREFORE

     prays this Motion be granted.




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           DATED:Mav'2^2019.




                                                    M.BroiWnberg,P^se




                           CERTIFICATE OF SERVICE.

           I hereby certify that a copy ofthe forgoing Motion for Declaratory

     Judgment with proposed Order was mailed to the Defendant, Office ofthe

     Attorney General,2320 Capitol Avenue,Cheyenne, Wyoming 82002 on

              2019.




                                                  Tami M.Bro




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



     TAMIM.BRONNENBERG                                   ) CASE NO.
                                                         ) 19-CV-021-S
                                           Plaintiff,    )
                                                         )
                        V.                               ) ORDER
                                                         ) GRANTING
     BEAU J. EGGER,et al.,                               ) DECLARATORY
                                                         ) JUDGMENT.
                                       Defendants.       )


           This matter comes before the Court on PlaintifPs Motion for

     Declaratory Judgment declaring that Officer Beau J. Egger's acts, policies

     and practices herein described and complained ofviolated plaintiffs rights

     under the Fourth Amendment and the Fourteenth Amendment ofthe

     Constitution ofthe United States of America.

           IT IS THEREFORE ORDERED that the Plaintiff Motion for

     Declaratory Judgment declaring that Officer Beau J. Egger's acts, policies

     and practices herein described and complained ofviolated plaintiffs rights

     under the Fourth Amendment and the Fourteenth Amendment ofthe

     Constitution ofthe United States of America.

           DATED;                 ,2019.



                                               Scott W.Skavdahl
                                               United States District Judge



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Appellate Case: 19-8055 Document: 010110225398 Date Filed: 09/10/2019 Page: 207

                                                                           riLEO
                                                                  U.S. DISTRICT GmjRT
     Tami M.Brormenberg,Pro-se                                   DISTRICT OF WYOHIMQ
     P.O. Box 802
                                                                20!9JUH-li AM 10: 32
     Cody, Wyoming 82414
     (307)899-2150                                              STEPHAN HARRIS, CLERK
                                                                      CASPER

                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



     TAMI M.BRONNENBERG                                  ) CASE NO.
                                                         ) 19-CV-021-S
                                           Plaintiff,    )
                                                         ) MOTION FOR
                        V.                               ) SUMMARY
                                                         ) JUDGMENT.
     BEAUJ.EGGER,etaL,                                   )
                                                         )
                                        Defendants.      )


           In Response to Defendant OfScer Egger's reply Briefin Support of

     Summary Judgment. The plaintiff, Tami M.Bronnenberg,respectfiilly

     requests to move this Court for Summary Judgment pursuant to United

     States District Court Local Rule 7.1 (b)(1); Federal Rules of Civil

     Procedure,Rules 12(d)RESULT OF PRESENTING MATTERS

     OUTSIDE THE PLEADINGS.;56,(a):

            "*** The court shall grant summary judgment ifthe movant shows
     that there is no genuine dispute as to any material fact and the movant is
     entitled tojudgment as a matter oflaw. ***";

            Rule 56,(f)JUDGMENT INDEPENDENT OF THE MOTION.After
     giving notice and a reasonable time to respond,the court may:(1)grant
     summary judgment for a nonmovant;(2)grant the motion on grounds not
     raised by a party; or(3)consider summary judgment on its own after



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     identifying for the parties material facts that may not be genuinely in
     dispute.

            Declaring, pursuant to the Federal Rules ofCivil Procedure,Rule 57,

           "These rules govern the procedure for obtaining a declaratory
     judgment under 28 U.S.C. §2201.

           that defendant's acts, policies and practices herein described and

     complained ofviolated plaintiffs rights under the Fourth Amendment and

     the Fourteenth Amendment ofthe Constitution ofthe United States of

     America.

           Defendant is correct that Bronnenberg meant January 17,2017 when

     the interaction took place with Officer Wright and Honorable Judge Steven

     Cranfill in Defendant Officer Egger's Reply Briefin Support ofSummary

     Judgment, page 3. See, ORDER VACATING WARRANT AND

     RESETTING PREVIOUSLY SCHEDULED HEARING,Filed January 17,

     2017,(Amended Complaint,Exhibit -A-). Officer Egger arrested and

     imprisoned Brormenberg in jail on a vacated warrant without probable cause

     on January 31,2017, after the hearing previously scheduled for January 17,

     2017 by Order filed on December 30,2016,that was rescheduled for

     January 26,2017 at 4:00 pm,which Bronnenberg complied md attended.

           In any given section 1983 action, the court must determine the state of

     mind,ifany,necessary to violate the constitutional provision at issue.




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     Daniels v. Williams,474 U.S.327,106 S. Ct.662 at 664,88 L.Ed. 2d 662

     (1986); McKay v. Kammock,730 F.2d 1367,1373(10*^ Cir. 1984)(en
     banc); Specht v. Jensen,832 F.2d 1516(10* Circuit 1987),Paragrph 15.

     Case Enclosed."Could have believed" does not constitue probable cause. It

     is a mental state. See Defendant Officer Egger's Reply Briefin Support of

     Summaiy Judgment,Page 4. The 10^ Circuit, in 1987 in the case of Specht

     V. Jensen,832 F.2d 1516, Supra.,Paragrphs 19,20, stated that,"In sum,a

     Fourth Amendment violation occurs when police,(Officer Egger),engage in

     a warrantless search and no exception to the warrant requirement applies,or

     when police,(Officer Egger),search pursuant to a warrant not based on

     probable cause. That the police officer,(Officer Egger), acted in an

     objectively reasonable (i.e., non-negligent) manner is irrelevant to the

     existence ofa constitutional violation. See, e.g., Anderson v. Creighton,483

     U.S. 635,107 S.Q.3034,97 L.Ed.2d 523(1987); Malley v. Briggs,475

     U.S. 335,106 S.Ct. 1092,89 L.Ed.2d 271 (1986); United States v. Leon,

     468 U.S. 897, 104 S.Ct. 3405,82 L.Ed.2d 677(1984). In a section 1983

     action,the existence ofqualified immunity for police officers,(Officer

     Egger), who rely on a warrant is determined by an identical inquiry into the

     objective good feith ofthe officer,(Officer Egger). *♦* no specific mental

     state, (could have believed), is required to violate the Fourth Amndment."




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     See,Plaintiffs Response to Defendant's Summary Judgement, page 6; See

     also, ORDER VACATING WARRANT AND RESTETTING

     PREVIOUSLY SCHEDULED HEARING,Filed January 17,2017,

     (Amended Complaint, Exhibit -A-), Supra; Cf. Johnson v. United States,

     333 U.S. 10,68 S.a.367,92 L.Ed.436(1948)(post-hoc showing that

     probable cause existed does notjustify warrentless search); Specht v. Jensen,

     832 F.2d 1516, Supra., Paragrph 18.

           In Beck v. Ohio(1964)379 U.S. 89,13 L.Ed.2d 142,85 S. Ct 223,

     enclosed,the court stated that it could assume that the officers acted in good

     faith in arresting the accused, but that"good fiiith on the part ofthe arresting

     officers was not enough". Henry v. United States, 361 U.S. 98,102(1959).

     If subjective good faith alone were the test, the protection ofthe Fourth

     Amendment would evaporate, and the people would be secure in then-

     persons, houses, papers, and effects only in the discretion of(Officer Egger),

     the police. Beck v. Ohio(1964)Supra,379 U.S. at 97.

           In Response to Defendant Officer Egger's Reply Briefin Support of

     Summary Judgment,Page 5, Officer Egger went further than the legality of

     custodial questioning on less than probable cause for a full-fledged arrest.

     Dunaway v. New York,422 U.S. 200,95 S. Ct. 2240(1979);In Director

     General ofRailroads v. Kastenbaum,263 U.S. 25,(good faith is not enough




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     to constitute probable cause); PlaintifFs Response to Defendant's Summary

     Judgement,pages 2,9; Affidavit ofTami Bronnenberg,Exhibit -G-.

            The language ofthe Fourth Amendment,that 'that... no Warrants
     shall issue, but upon probable cause .. of course applies to arrest as well
     as search warrants." Giordenello v. United States, 357 U.S. 480 at 485-486.
     Beck V. Ohio(1964)Supra,379 U.S. at 96,note 6. In Ker v. California, 374
     U.S. 23,10 L.Ed. 2d 726,83 S. Ct. 1623(1963),the court held that the
     same probable cause standards were applicable to federal and state warrants
     under the Fourth and Fourteenth Amendments. See, Whiteley v. Warden of
     Wyoming Penitentiary, 401 U.S. 560 at 564,note 6,28 L.Ed. 2d 306,91 S.
     ct. 1031 (1971); See also,PlaintifFs Response to Defendant's Summary
     Judgement, page 5."While this Court does not sit as in nisi prius to appraise
     contradictory factual questions, it will, where necessary to the determination
     ofconstitutional rights, make an idependent examination ofthe fects, the
     findings, and the record so tfiat it can determine for itself whether in the
     decision as to reasonableness the fundamental—i.e., constitutional—criteria
     established by this Court have been respected ***. Ker v. California, 374
     U.S. 23, Supra; Beck v. Ohio(1964)Supra, at 92.

           WHEREFORE,Plaintiff, Tami M.Bronnenberg, THEREFORE prays

     this Motion for Summary Judgment be granted.

           DATED:June 2? ,2019.
                                                Tami M.Bronnenberg,Pro^e

                            CERTIFICATE OF SERVICE.

           I hereby certify that a copy ofthe forgoing Motion for Summary
     Judgment was mailed to the U.S. Magistrate Judge, Kelly H.Rankin, United
     States District Court,2120 Capitol Ave., Suite 2204, Cheyenne, Wyoming
     8200land to the Defendant, Office ofthe Attorney General,2320 Capitol
     Avenue,Cheyenne, Wyoming 82002 on June ^ ,2019.


                                                    Tami M.Bronnenbei^,      ro-^e




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING



     TAMIM.BRONNENBERG                                   )     CASE NO.
                                                         )     19-CV-021-S
                                           Plaintiff,    )
                                                         )
                        V.                               )    ORDER
                                                         )    GRANTING
     BEAUJ.EGGER,etal.,                                  )    SUMMARY
                                                         )    JUDGMENT.
                                       Defendants.       )


           This matter comes before the Court on Plaintiffs Motion for

     Summary Judgment declaring that Officer Beau J. Egger's acts, policies and

     practices herein described and complained of violated plaintiffs rights under

     the Fourth Amendment and the Fourteenth Amendment ofthe Constitution

     ofthe United States of America.

           IT IS THEREFORE ORDERED that the Plaintiff Motion for

     Summary Judgment declaring that Officer Beau J. Egger's acts, policies and

     practices herein described and complained ofviolated plaintiffs rights under

     the Fourth Amendment and the Fourteenth Amendment ofthe Constitution

     ofthe United States of America.

           DATED:                 ,2019.


                                                Scott W.Skavdahl
                                                United States District Judge



                                                                                     212
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     832 F.2dl516


     24 Fed. R. Evid. Serv. 124

     O. George SPECHT,Jr. and June B. Specht,Plaintiffs-Appellees,
     V.

     Roger JENSEN,Doug Martin, and Don Owens,Defendants-Appellants,
     Pat Tellier and Ken Jacobs,Defendants.
     O. George SPECHT,Jr. and June B. Specht,Plaintiffs-Appellants,
     V.

     RogCT JENSEN,Pat Tellier, Doug Martin,Don Owens and Kot
     Jacobs, Defendants- Appellees.

     Nos.85-1457, 85-1533.

     United States Court of Appeals,
     Tenth Circuit

     Nov. 10,1987.
     Rehearing en banc granted in part andjudgm^ but not
     opinion, vacated Feb.4, 1988.

     Theodore S. Halaby and Robert M.Liechty, of Halaby & McCrea,Daiver,Colo.,for
     defendants Jensen, Martin and Owens.

     Arthur H. Bosworth,II(Michael J. Peterson with him on the brief), ofBosworth & Slivka,
     Denver, Colo.,for plaintiffs.

     Before McKAY,SETH,and SEYMOUR,Circuit Judges.

     SEYMOUR,Circuit Judge.




     AdrntbooMBt




     1


     George and June Specht, husband and wife, brought this action against Roger Jensen,
     Dan Owens,and Doug Martin,three members ofthe Steamboat Springs, Colorado,
     Police Department!The Spechts asserted claims under 42 U.S.C. Sec. 1983(1982)and
     Colorado law arising ffom the alleged unlawful search ofthe Specht home and George
     Specht's office. A jury found in favor ofthe Spechts, awarding Mr. Specht $151,250 in
     compensatory damages against Jensen, Owens,and Martin,and awardii^ Mrs. Specht
     $76,250 in compensatory damages against Jensen and Owens and $7,500 in punitive



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     damages against Owens.2 Defendants appeal, asserting that 1)the district court erred in
     denying their various motions forjudgment notwithstanding Ae verdict; 2)the trial court
     committed reversible error in its evidentiary rulings; and 3)the trial court erred in
     denying their motions for a new trial or a remittitur because the jury verdict is excessive.
     We affinn.3


     1.


     JUDGMENT NOTWITHSTANDING THE VERDICT




     AU three defendants moved for j.n.o.v., contending they were entitled tojudgment as a
     matter oflaw on the state tort claims and the asserted constitutional violations, as well as
     on the issues ofqualified immunity and punitive damages. Upon review ofthe grant or
     denial ofa motion forj.n.o.v., we must view the evidence and the inferences to be drawn
     fiieiefiom in the light most ^vorable to the nonmoving party. Westem Plams Service
     Coip. v.Ponderosa Development Corp., 769 F.2d 654.656(10th Cir.1985). In so doing,
     we may not weigh the evidence, pass on the credibility of witnesses, or substitute our
     judgment forthat ofthe jury. Brown v. McGraw-Edison Co.,736 F.2d 609,613(10th
     Cir.1984). Accordingly, we must view the record in the light most favorable to the
     Spechts in setting out the facts presented at trial and in assessing individually defendants'
     motions forj.n.o.v.



     The incidents giving rise to this lawsuit involve the attempts of Ken Jacobs,4 a private
     citizen,to repossess a compute that had previously been repossessed fix)m Jacobs by the
     Spechts'son Timothy. Jacobs had obtained a state court order ofpossession and writ of
     assistance that directed any sheriffto assist Jacobs in obtaining the computer.



     The Spechts, who are in their sixties, live in Steamboat Springs. Although Timothy, who
     was thirty-seven, had not lived with his parents for many years, he had been in business
     with his &ther for a time and Jacobs thought the computer might be located at the
     Spechts* home. Consequently, Jacobs traveled to Steamboat Springs with two fiiends,
     Peter Corr and Ken Long. Long, who owned a restaurant, had previously held positions
     as a law enforcement official. Corr was a Denver police officer on medical leave.



     Before the trip. Long called defendant Jensen,a supervisor vrith the Steamboat Springs
     police department,whom Long had known for several years. Long told Jensen that a
     firiend had a court order and might need some help executing it Jacobs, Corr,and Long
     arrived at die Steamboat Springs police station in the early afternoon of Wednesday,



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     February 24, 1982. Jensen, who was just going offduty,told his replacement,Pat Tellier,
     "to take care of the three men. Rec., vol. IV,at 70. Jacobs learned the location ofthe
     Specht residence at the police station, and he drove there that afternoon with Corr and
     Long. They were accompanied by defendant Owens,a Steamboat Springs police ofGcer,
     at TeUieFs direction. No one was home and they returned to the police station.



     Jacobs then obtained the location of George Specht's business office. He,Corr,and Long
     drove to the office,found no one there, and went back to the police station again.
     Sometime early that evening, Tellier said he knew the person who owned die building in
     which Mr. Specht's office was located. Tellier called the daughter ofthe owner, Dorinda
     Wheeler,and told her about the court order. She called her brother, Steve Valdeck. Ms.
     Wheeler and Mr. Valdeck went to the building that evening and met Corr,Long,and
     Jacobs, who were accompanied by defendant Martin, another Steamboat Springs police
     officer, at TellieFs instruction. Martin asked Valdeck if he had brought the key. Valdeck
     asked if he could see the search warrant and Jacobs handed him the order of possession.
     Valdeck unlocked the building, and they all entered it and went into the reception area
     that served both George Specht's office and the other building occupant. At least some of
     the group then went into Mr. Specht's office, the doors of which were closed but not
     locked,turned on the lights, and looked around. Jacobs used a flashlight to look into the
     comers. Finding nothing,the men returned to the reception area,looked into a storage
     closet used by lx>th building occupants,and left.



     Eariy the next morning. Long called the police station and requested a police car to
     accompany them to the Specht residence. Long,Corr, and J^jobs went to the home and
     were met there at ^proximately 7:45 a.m. by defendant Owens and an officer-in-training,
     Gomez.Before approaching the front door, Owens asked Jacobs what powers the writ
     provided. Jacobs told him that it gave the same powers as a search warrant.




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     8


     Owens then knocked on the door and June Specht answered. Owens asked for Mr. Specht,
     who was out oftown on business. Mrs. Specht told Owens that her husband was not
     home and asked ifshe could help him. She asked him in, and the other four men came in
     uninvited. Jacobs stated that he had a search warrant to seize a stolen computer. Owens
     and Jacobs both told Mrs. Specht that ifshe obstructed Jacobs or did not cooperate,
     Owens would arrest her and take her to jail. She and Jacobs entered into a heated
     exchange while the men began milling around the kitchen, and living and dining areas.


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     Jacobs and Owens told her several times to cooperate or she would go to jail. When Mrs.
     Specht stated that she wanted to call her lawyer, Owens told her she had no right to do so
     unless Jacobs said she could. Jacobs then told her she could not. She finally gave them
     her son's work phone number and the men left. They had bem at the home approximately
     thirty to forty minutes.

     A. Unconstitutionality ofthe Searches

     9


     The Spechts sought damages under section 1983, asserting that defendants'conduct
     violated their Fourth Amendment right to be ftee ftom unreason^le searches. Section
     1983 applies to persons who both deprive others ofa right secured by the Constitution or
     laws ofthe United States, and act under color ofstate law. See Lusby v. T.G.& Y.Stores,
     Inc., 749 F.2d 1423.1428(10th Cir.1984). Owens and Martin contend that the Spechts
     failed to present sufficient evidence that a search ofthe office or the home had occurred.
     Alternatively, they contend that they did not violate the Specht's constitutional rights
     because they were at most negligent in relying on the repossession order to conduct die
     searches.

     10

     1. Existence ofthe Searches.

     11


     The court instructed the jury without objection that"a search is a visual observation
     which inftinges upon a person's reasonable expectations of privacy." Rec.,vol X,at 921.
     George Specht testified that he closed his office doors and drapes when he was not there,
     and that he kept confidential business information on his desk. Assuming as we must that
     such assertions are true, Mr,Specht indisputably had a reasonable expectation of privacy
     in his office against police intrusions. O'Connor v. Ortega, — U.S. —,107 S.Ct. 1492,
     1498,94 L.Ed.2d 714(1987); see Mancusi v. DeForte,392 U.S. 364.369,88 S.Ct 2120,
     2124,20 L.Ed.2d 1154(1968). The evidence ofthe warrantless entry into his office and
     the activity that occurred there was sufficient to send to the jury the issue of whether this
     entry and activity constituted a search. Likewise the activity that took place in the Specht
     home clearly raised a fact issue regarding a visual inspection ofthat which the Spechts
     could reasonably have expected to remain private and which they did not voluntarily
     expose to public view.5

     12

     2. Mental State ofOfficials.

     13




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     While the instant appeal was pending,the United States Supreme Court held that an
     injury arising from a state agent's negligent actions does not deprive an individual oflife,
     liberty, or property under the Fourteenth Amendment due process clause. Daniels v.
     WUliams,474 U.S. 327.106 S.a.662,665,88 L.Ed.2d 662(1986)("mere lack of due
     care by a state official [will not]'deprive' an individual oflife, liberty or property under
     the Fourteenth Amendment"); Davidson v. Cannon,474 U.S. 344.106 S.Ct. 668,670,88
     L.Ed,2d 677(1986)(same). In these cases, the Court adopted the position recognized by
     this circuit at least since Hewitt v. City ofTruth or Consequences, 758 F.2d 1375. 1379-
     80(10th Cir.1985),that a state official's negligence does not invariably rise to the level of
     an abuse ofpower necessary to give rise to a due process violation. Defendants argue
     here that their negligence in relying on the repossession order cannot violate the Spechts'
     constitutional rights.

     14

     Daniels and Davidson involved procedural due process.6 The plaintifrs contended that
     negligent torts by state officials constituted a denial oftheir liberty without due process of
     law. The Supreme Court disagreed, holding that the plaintiffs' injuries were not
     compensable under section 1983 because negligently leaving a pillow on the stairs ofa
     prison, as the guard did in Daniels, or failing to respond quickly to a prisoner's written
     request, as the official did in Davidson, does not constitute the deprivation ofa liberty
     interest protected by procedural due process.

     15


     This case involves a section 1983 clmm arising out ofa search of plaintiffs' home and
     office, not a procedural due process claim. In Daniels,the Court recognized that in any
     given section 1983 action,the court must determine the state ofmind,ifany, necessary to
     violate the constitutional provision at issue. See 106 S.Ct at 664; McKay v. Hammock
     730 F.2d 1367,1373(loi Cir.i984)(en banc). We must therefore determine what
     mental state,ifany,a state official must have in order to conduct an unconstitutional
     search.

     16


     The right to be free from unreasonable searches and seizures originates in the Fourth
     Amendment and is applied to the states through the Fourteenth Amendment due process
     clause. Wolf v. Colorado,338 U.S. 25.69 S.Ct 1359,93 L.Ed. 1782(1949)(Fourteenth
     Amendment incorporates Fourth Amendment rights); Mapp v.Ohio,367 U.S. 643. 81
     S.Ct 1684,6 L.Ed.2d 1081 (1961)(exclusionary rule applies to state violations of Fourth
     Amendment rights). Specifically enumerated constitutional rights found in the first eight
     amendments are applied to the states in exactly the same fashion that the right is
     guaranteed against federal intrusion. Benton v. Maryland,395 U.S. 784, 795,89 S.Ct.
     2056,2063,23 L.Ed.2d 707(1969); see Ker v. California, 374 U.S. 23,83 S.Ct. 1623,10
     L.Ed.2d 726(1963)(although disagreeing over the existence of probable cause, eight of
     nine justices agreed that same Fourth Amendment inquiry applies to state and federal



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     action)."The Court thus has rejected the notion that the Fourteenth Amendment applies
     to the States only a watered-down, subjective version ofthe individual guarantees ofthe
     Bill ofRights....'" Malloy v. Hogan,378 U.S. 1.10-11, 84 S.Ct. 1489,1494-1495,12
     L.Ed.2d 653(1964)(privilege against self-incrimination applies to states in same manner
     as to federal government).

     17


     The Supreme Court has justified this form ofincorporation by recognizing that both state
     and federal criminaljustice systems have developed fiom the same common-law heritage
     and are in virtually every relevant sense identical systems. Duncan v. Louisiana, 391 U.S.
     145.148-49 & n. 14,88 S.Ct 1444,1446-47 & n. 14,20 L.Ed.2d 491 (1968). Although
     the particular genesis ofa guarantee ofindividual liberty does not necessarily dictate the
     only imaginable way to protect a particular right, the similarity in origin and current
     practice ofthe criminaljustice systems throughout the country leads to the conclusion
     that what is fimdamentd to feimess in the federal system "is fimdamental in the context
     ofthe criminal processes maintained by the American States." Id. at n. 14. In this case,
     dierefore, we must determine what mental state is necessary to violate an individual's
     Fotirth Amendment rights.

     18


     The contours ofthe search and seizure and warrant clauses are not nearly so vague as
     those encompassed by the due process clause. Cf. Hewitt,758 F.2d at 1379. The
     Constitution explicitly prohibits all unreasonable searches and mandates that no warrants
     shall issue except upon probable cause.7 As these clauses have been interpreted, a police
     officer must obtain a search warrant before conducting a search unless an exception to the
     warrant requirement exists. Katz v. United States, 389 U.S. 347. 357,88 S.Ct. 507,514,
     19 L.Ed.2d 576(1967); see Mincey v. Arizona, 437 U.S. 385.390,98 S.Ct. 2408,2412,
     57 L.Ed.2d 290(1978)(describing warrant requirement as a "cardinal principle" of
     Fourth Amendment law); Johnson v. United States, 333 U.S. 10.68 S.Ct. 367,92 L.Ed.
     436(1948)(post-hoc showing that probable cause existed does notjustify warrantless
     search).

     19


     The Supreme Court has on numerous occasions delineated the scope ofindividual Fourth
     Amendment rights by clarifying the probable cause standard, e.g., Illinois v. Gates,462
     U.S. 213.103 S.Ct. 2317,76 L.Ed.2d 527(1983)(refining standard for determining
     whether probable cause exists to issue a warrant based on informant's tip), and defining
     exceptions to the warrant requirement, e.g.. United States v. Robinson,414 U.S. 218.94
     S.Ct. 467,38 L.Ed.2d 427(1973)(clarifying search incident to arrest exception to
     warrant requirement). In these cases,the Court has never implied that the existence ofa
     constitutional violation hinges upon the official's mental state. Instead, the Court has
     balanced "the nature and quality ofthe intrusion on the individual's Fourth Amendment
     interests against the importance ofthe governmental interests alleged to justify the




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     intrusion." United States v. Place, 462 U.S. 696.703,103 S.Ct 2637,2642,77 L.Ed.2d
     110(1983); see Tennessee v. Gamer,471 U.S. 1.105 S.Ct. 1694,1699,85 L.Ed.2d 1
     (1985)(balancing ofindividual and state intwests is key principle ofFourth Amendment
     jurispmdence); Michigan v. Summers,452 U.S. 692.700 n. 12,101 S.Ct 2587,2593 n.
      12,69 L.Ed.2d 340(1981)(same). In sum,a Fourth Amendment violation occurs when
     police engage in a warrantless search and no exception to the warrant requirement applies,
     or when police search pursuant to a warrant not based on probable cause. That the police
     officer acted in an objectively reasonable (i.e., non-negligent) manner is irrelevant to the
     existence of a constitutional violation. See,e.g., Anderson v. Creighton, — U.S. —,107
     S.Ct. 3034,97 L.Ed.2d 523(1987); Malley v. Briggs,475 U.S. 335. 106 S.Ct. 1092,89
     L.Ed.2d 271 (1986); United States v. Leon,468 U.S. 897. 104 S.a. 3405,82 L,Ed.2d
     677(1984).

     20


     The mental state of an officer vriio violates the Fourth Amendment becomes relevant only
     when detennining whetiber a particular remedy will be available. For example,although
     the officers conducting the search in Leon violated the defendant's Fourth Amendment
     rights,468 U.S. at 904-05,104 S.Ct. at 3410-11,the exclusionaiy rule did not apply
     because the officers acted in an objectively reasonable fashion. Had the police acted
     unreasonably (i.e., negligently)in relying on the warrant, the exclusionary rule would
     have prevented the fruits ofthe search fix)m being introduced into evidence in a criminal
     prosecution agmnst the individual whose rights were violated. Id. at 921 n. 20,923-24,
     104 S.Ct at 3419 n. 20,3420-21. In a section 1983 action, the existence ofqualified
     immunity for police officers who rely on a warrant is determined by an identical inquiry
     into the objective good feith ofthe officers. Malley, 106 S.Ct at 1098; cf. Anderson, 107
     S.Ct at 3039-40(same rule for warrantless search). In either case,the availability ofa
     remedy(exclusion ofevidence or civil damages)involves a totally separate inquiry from
     that necessary to determine whether a constitutional violation has occurred. See Leon,
     468 U.S. at 906,104 S.Ct at 3411.8

     21


     Thus, although good feith may shield individual actors from liability in appropriate cases,
     see Part IC infra., no specific mental state is required to violate the Fourth Amendment.
     Defendants'argument that no constitutional violation occurred because the officers in this
     case were merely negligent in rel)dng iqmn a repossession order to conduct the office and
     home searches is without merit.

     B. Officers' Participation in Searches

     22


     Defendants Owen and Martin contend that the evidence oftheir participation in the
     searches undertaken by the three private parties is insufficient as a matter oflaw to
     impose liability on them under section 1983. We are not persuaded. When a government



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     ofScial affirmatively ^cilitates or encourages an unreasonable search performed by a
     private person, a constitutional violation occurs. See, e.g., Booker v. City of Atlanta, 776
     F.2d 272,274(11th Cir.1985)(police presence, even absent active participation, could
     provide an intimidating "cachet oflegality" establishing a constitutional violation); Harris
     V. City of Roseburg,664 F.2d 112K 1127(9th Cir.1981)(issue whether police officer did
     more than merely"'stand by in case oftrouble'" involves ^tual determination.)

     23

     The evidence with respect to both Owens and Martin is sufficient to create a fact issue on
     -vvhether their conduct was such that the searches at issue occurred under color ofstate
     law. Martin drove a police car to the office building upon Tellier's instruction after Tellier
     had asked Dorinda Wheeler to unlock the building. Martin asked Steve Valdeck if he had
     brought the key. Valdeck testified that Martin's presence had a great effect on his
     decision to unlock the building because he felt it gave the men an official reason for
     being there. This evidence supports die reasonable inference that no search ofthe office
     would have occurred abs«it Martin's activity. The evidence of Martin's role in gaining
     access to the office by lending the authority ofthe police to the entry was sufficient to
     permit the jury to find that he was more than a mere peace-keeping bystander. See
     Booker,776 F.2d at 274; Howerton v. Gabica,708 F.2d 380,382-84(9th Cir.1983);
     Harris,664 F.2datll27.

     24


     The evidence of Owens* activity at the Specht residence is likewise sufficient to allow the
     jury to find that he actively participated in the search. Owens* threats to take June Specht
     to jail ifshe obstructed Jacobs* search for the computer and Owens'statement that she
     could not call her lawyer without Jacobs'consent support a finding that Owens made an
     important affirmative contribution to the private conduct See Booker,776 F.2d at 274;
     Howerton,708 F.2d at 382-84; Harris,664 F.2d at 1127. Thus,the district court properly
     denied Owens'and Martin's motions for aj.n.o.v. with respect to their participation in the
     se^hes.


     25


     Jensen argues that he was entided to aj.iLo.v. because there was insufficient evidence of
     the required connection between his conduct and the alleged constitutional violations. A
     supervisor is not liable imder section 1983 unless an "affirmative link" exists between the
     derivation and either the supervisor's "personal participation, his exercise ofcontrol or
     direction, or his failure to supervise." McKay,730 F.2d at 1374. The court in this case
     instructed thejury without objection that

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     "[a] person subjects another to the deprivation ofa constitutional right within the
     meaning of... section 1983 if he does an affirmative act, participates in another's



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     affirmative acts,or omits to perform an act vs^iich he is legally required to do fliat causes
     a deprivation ofwhich complaint is made. Personal participation is not necessary.
     Anyone who causes any citizen to be subjected to a constitutional deprivation is also
     liable. Requisite causal connection can be established not only by some kind ofdirect
     personal participation in the deprivation, but also by setting in motion a series of acts by
     others which the actor knows or reasonably should know would cause others to inflict die
     unconstitutional injury."

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     Rec., vol. X,at 920-21.

     28


     The record here is sufficient to support the jury finding on Jensen's liability under the
     applicable law.The Spechts presented evidence that when Long called Jensen before the
     trip to Steamboat Springs and told Jensen that Jacobs might need assistance in executing
     an order, Jensen said "[sjure,come on over, or something to that effect." Rec., vol.IV,at
     68. When Long,Jacobs, and Corr arrived at the police station, Jacobs showed Jqisct the
     order and Jensen told Tellier to "take care of them. Id. at 70. In response to Jensen's
     instruction, Tellier assigned police officers to accompany the men to the Specht office
     and home.This evidence is sufficient to raise a fact issue as to either Jensen's personal
     participation in, or control or direction of, the events culminating in the alleged injuries.
     Cf. Miller v. City of Mission, 705 F.2d 368.375-76(10th Cir.1983)(upholding
     imposition ofliability on council members who participated in wrongful termination
     decision). Thus,the ^strict court properly denied the motion by Jensen for aj.n.o.v. with
     respect to his role in providing police participation in the searches.

     C. Qualified Immunity

     29

     Defendants contend that they were entitled to aj.n.o.v. on their claim for qualified
     immunity. Government officials performing discretionary functions are entitled to
     qualified immunity "shielding them fi*om civil damages liability as long as their actions
     could reasonably have been thought consistent with die rights they are alleged to have
     violated." Anderson, 107 S.Ct. at 3038. This inquiry turns on "the 'objective legal
     reasonableness'ofthe action... assessed in light ofthe legal rules that were 'clearly
     established' at the time it was taken...." Id.(quoting Harlow v, Fitzgerald, 457 U.S. 800,
     819,818,102 S.a.2727,2739,2738,73 L.Ed.2d 396(1982)). The Supreme Court has
     pointed out that whether a search was objectively legally reasonable "will often require
     examination ofthe information possessed by the searching officials." Id. 107 S.Ct. at
     3040. Thus the relevant inquiry "is the objective (albeit fact-specific) question whether a
     reasonable officer could have believed [defendants'] warrantless search to be lawful,in
     light ofclearly established law and the information in the searching officers possession."
     Id.




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     30


     The availability ofqualified immunity is ordinarily decided on a motion for summary
     judgment. However^ defendants did not move for summaryjudgment on that ground.
     Instead, the jury was instructed that defendants were not liable to plaintiffs ifthe jury
     found that "(1)the defendant believed at the time ofthe incident that the action he took
     was lawful;(2)the defendant held such a beliefin good faith, and(3)it was reasonable
     for the defendant to reach the conclusion he did." Rec., vol. X,at 924. This instruction
     incorporates the element ofsubjective good faith that the Supreme Court eliminated &om
     die qualified immunity defense in Harlow v. Fitzgerald,457 U.S. 800.815-19,102 S.Ct
     2727,2736-38,73 L.]M.2d 396(1982). Although plaintiffs raised the propriety ofthe
     content ofthe instruction with the district court, defendants stated that they had no
     objection to the instruction as given.

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     On appeal,defendants do not assert that the instruction constitutes plain error. Instead
     they argue that there was no evidence upon which the jury could have found a violation
     ofclearly established rights of which a reasonable officer would have known. We
     ^sagree.Even though Jacobs told Owens that die writ of assistance was equivalent to a
     warrant,the writ on its fece was not a search warrant. Moreover, it was directed to any
     sheriffrather than to a police officer. These undisputed facts undermine defendants'
     assertion that their conduct in the face ofthis information was objectively reasonable as a
     matter oflaw. The district court properly denied their motimis forjudgment
     notwithstanding the verdict.

     D.Outrageous Conduct and Punitive Damages

     32


     Owens contends that the evidence is insufficient to support thejury verdict finding him
     liable on June Specht's claims for outrageous conduct under state law and for punitive
     damages. Colorado recognizes a cause ofaction for intentional infliction ofemotional
     distress when the plaintiffshows that

     33

     "(1)the conduct is extreme and outrageous;(2)the conduct is intentional or reckless;(3)
     the conduct causes emotional distress; and(4)the distress is severe.[Citation omitted].
     For the conduct to be considered extreme and outrageous, it must'go beyond all possible
     boimds of decency and...be regarded as atrocious, and utterably intolerable in a civilized
     commimity. Genraully,the case is one in which the recitation ofthe facts to an average
     member ofthe community would arouse his resentment against the actor, and lead him to
     exclaim "Outrageous!"'"

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     Malandris v. Merrill Lynch. Pierce, Fanner & Smith,703 F.2d 1152. 1158(10th Cir.1981)
     (en banc)(plurality opinion)(quoting Rugg v. McCarty, 173 Colo. 170,476 P.2d 753,
     756(1970)(citation omitted)), cert, denied,464 U.S. 824,104 S.Ct. 92,78 L.Ed.2d 99
     (1983)."Where reasonable men may differ, it is for thejiuy, subject to the control ofthe
     court, to determine ^^hethe^,in the particular case,the conduct has been sufficiently
     extreme and outrageous to result in liability." DeCicco v. Trinidad Area Health Ass'n,40
     Colo.App.63,573 P.2d 559,562(1977)(quoting Restatement(Second)ofTorts Sec. 46
     comment h(1965)).

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     As we have noted above, Owens actively participated in the improper search by five men
     ofthe Specht home at an early hour when he knew June Specht was alone in the house.
     He repeatedly threatened to arrest her and take her tojail, and supported Jacobs' refiisal to
     allow her to call her lawyer. This evidence is sufficient to raise a &ct issue on the
     outrageous nature of Owens'conduct. The evidence is equally sufficient to support the
     award of punitive damages against Owens for conduct in "wanton and reckless disregard
     ofthe rights and feelings of[June Specht]." Rec., vol X,at 932.11.

     EVIDENTIARY RULINGS


     36


     Defendants argue that the trial court erred in permitting a lay witness and an expert to
     testify as to the legal definition ofa search,thereby usurping the province ofthe court
     Defendants also contend that allowing these witnesses to give their opinions on whether a
     search took place invaded the province ofthe jury. These are matters committed to the
     discretion ofthe trial court, Kams v. Emerson Electric Co., 817 F.2d 1452.1459(10th
     Cir.1987), and we are not persuaded diat an abuse ofdiscretion occurred.

     37


     A lay witness may give an opinion if it is "(a)rationally based on the perception ofthe
     witness and(b)helpful to a clear understanding of his testimony on the determination of
     a fact in issue." Fed.R.Evid. 701. Moreover,"[tjestimony in the fonn ofan opinion or
     inference otherwise admissible is not objectionable because it embraces an ultimate issue
     to be decided by the trier offact." Fed.R.Evid. 704.

     38


     Plaintiffe proposed to ask Long, who had prior experience as a law enforcement officer,
     whether in his opinion the office building incident constituted a search. Defendants
     objected on the ground that the question called for a legal conclusion. The court
     overruled the objection, stating that Long could answer "in his experience how this
     compared with a search...." Rec., vol. V,at 102. Long was then asked whether,in his
     opinion, going into the building was a search,and he responded "we entered the building,



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     we did not go in any areas that could not have contained the subject computer,and we
     didn't go through doors or rummage through the place or anything like that. But within
     the confines ofthe purest definition,simply walking with your eyes open is a search."
     Rec., vol. V,at 103-04(emphasis added).

     39


     Although the italicized sentence, which defendants cite as grounds for reversal, was
     arguably objectionable as not responsive to the question,defendants did not object or
     move to strike on that ground. The sentence may also have been objectionable as contrary
     to the court's instruction that Long "answer according to his experience, not to the legal
     definition." Id. at 103. However,defendants did not object on ^t ground either. The
     court subsequently instructed the jurors that they were "to follow the law stated in the
     instructions ofthe Court and to apply the rules oflaw so given to the facts as you find
     fiiem fixjm the evidence in the case." Rec., vol. X,at 911. Under these circumstances the
     error, if any, was harmless.

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     Defendants also contend that the court erroneously permitted opinion testimony fi-om
     plaintiff' witness Daniel Sears, who was qualified as an expert on the constitutional law
     of search and seizure and on criminal procedure. Plaintiffs proposed to ask Sears whether,
     in his expert opinion,the home and the office were subjected to searches and ifso
     whether the searches were illegal. Defendants again objected, contending that this was a
     legal issue and that Sears would therefore intrude upon the province ofthe court by
     giving his opinion. Although the court offered to instruct thejury on the legality ofthe
     s^rches as a matter oflaw,defendants did not accept die offer. The court then ruled fiiat
     ifthe legality ofthe searches was a matter for the jury to decide, Sears could give his
     opinion on that issue within the perimeters ofthe court's instructions on the law. Sears
     then testified, in response to hypothetical questions adopting evidence most favorable to
     plaintiffs, that searches had occurred and that in his opinion the searches were illegal. On
     appeal, defendants contend that Sears'testimony usurped the province both ofthe district
     court and ofthe jury.

     41


     Experts may give opinions iftheir specialized knowledge will assist the fact finder to
     understand the evidence or to determine a fecL Fed.R.Evid. 702. Significantly,as set
     forth above,an opinion is admissible even thou^ it goes to an ultimate issue to be
     decided by the fact finder. Thus,to the extent defendants contend that the court erred by
     allowing Sears to express an opinion on an issue defendants screed was ajury question,
     their argument is without merit.

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     Defendants also assert that reversible error occurred because Sears improperly told the
     jury what law to apply. We disagree. Although it constitutes error to allow a witness to
     instruct the jury on the applicable law,see, e.g.. United States v. Zipkin, 729 F.2d 384.
     386-87(6th Cir.1984); Marx & Co.,Inc. v. The Diners* Club,Inc., 550 F.2d 505.510(2d
     Cir.1977), a review ofthe entire record demonstrates that no such improper instruction
     occurred here. Defendants pointed out on cross-examination that Sears* opinions were
     based on his own view ofthe law,and diat Sears did not know what the court*s
     mstructions on the law would be. Although Sears agreed that his view ofthe law in the
     area ofsearch and seizure could very well differ fiem that ofthe trialjudge, his definition
     ofan illegal search was essentially the same as the one the judge gave to the jury. Cf.
     Kams,817 F.2d at 1459. Sears fiirther stated that the trial court's "understanding ofthe
     law is controlling in this case." Rec., vol. UI, at 133. In addition to instructing the jury
     fiiat it must ^>ply the law as stated in the court's instructions,the comt also informed the
     jury that it could determine what weight,if any,should be given to the expert testimony.
     Under these circumstances, we are not prepared to say that the jury misunderstood its
     duty to follow the law given by the court or that it gave improper credence to any legal
     definitions embodied in Sears' testimony. See Kams,817 F.2d at 1459(upholding
     admission ofexpert testimony on legal issue where"'jury was[not] prevailed upon to
     abdicate its function or responsibility for reaching an independentjudgment on the
     ultimate issues....*").

     43

     We are not persuaded by defendants* contention that the court committed reversible error
     by refusing to allow Sears to be cross-examined on his knowledge ofspecific judicial
     decisions. The court foimd that defendants' proposed questioning on particular
     constitutional cases was irrelevant because it would mean nothing to thejury. "[T]he
     scope and extent ofcross-examination of^pert witnesses rests in the sound discretion of
     the trial court and 'is not subject to exception unless wholly arbitrary, unreasonable and
     abusive, and the examination need not be extended to permit interrogation about
     collateral, immaterial or irrelevant matters.*" United States v. 10.48 Acres ofLand,621
     F.2d 338.340(9th Cir.1980)(quoting United States v. 25.02 Acres of Land,495 F.2d
     1398.1402(10th Cir.1974)). Even assuming that such cross-examination was relevant to
     Sears' credibility as an expert, "it was still within the discretion ofthe trial court to
     exclude this evidence if its probative value was substantially outweighed by the risk that
     its admission would confuse the issues or mislead the jury." 10.48 Acres of Land,621
     F.2d at 340. We ^ree with the trial court's assessment here that the requested cross-
     examination would have had no value to the jury. Accordingly, we fihd no abuse of
     discretion.

     44


     Defendants also object to die court's decision allowing evidence ofa statement Jensen
     made to a process server regarding service in this action. Plaintiffs asked Jensen if he had
     said "we screwed up and now we're in trouble." Rec., vol. VIII, at 704. Defendants
     objected that the statement was prejudicial, inflammatory, and not probative. The district



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     court ruled that the alleged statement was relevant as an admission against interest and
     also was probative on the issue of good faith. Rec. vol. VIII, at 693-95. A trial court has
     broad discretion in determining whether relevant evidence is admissible under
     Fed.R.Evid. 403. See Higgins v. Martin Marietta Corp., 752 F.2d 492,497(10th
     Cir.1985). We are not convinced the court abused its discretion.

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     When Jensen denied making the statement, plaintifis called the process server to the
     stand on rebuttal and he testified that Jensen made the statement to him. Jensen asserts on
     appeal tiiat this testimony was inadmissible under Fed.R.Evid. 608(b). No objection was
     made to the testimony at trial, and we will not consider this allegation here. See
     Fed.R.Evid. 103(a)(1); Fed.R.Civ.P. 61.01.

     DAMAGES


     46


     Defendants contend that the amount ofdamages was excessive and that the district court
     therefore erred in denying their motion for a new trial or,in the alternative,for remittitur.
     A district court's refusal to grant a new trial motion asserting excessive damages is
     afforded "considerable deference on appeal." Kams,817 F.2d at 1460; Blevins v.Cessna
     Aircraft Co., 728 F.2d 1576, 1579(10th Cir.1984). Moreover,"absent an award so
     excessive as to shock the judicial conscience and to raise an irresistible inference that
     passion, prejudice, corruption or other improper cause invaded the trial, diejurys
     determination ofthe damages is considered inviolate." M^andris,703 F.2d at 1168; see
     also Kams,817 F.2d at 1460; Aspen Highlands Skiing v. Aspen Skiing Co., 738 F.2d
     1509, 1526(10th Cir.1984), affd, 472 U.S. 585, 105 S.Ct. 2847,86 L.Ed.2d 467(1985);
     Blevins, 728 F.2datl579.

     47

     Plaintiffs presented evidence through lay and expert testimony of Mrs. Specht's
     psychological injury. The Spechts also testified to their change in lifestyle and the
     resulting loss oftheir enjoyment in life. Mr.Specht testified that prior to the incidents at
     issue, he had been president ofa company and had traveled extensively because he had
     been completely responsible for the company's sales in the United States and Canada.
     After the incidents, his wife was afraid to be left alone, so he resigned as president and
     retained four small accoimts as a sales agent for the company.

     48


     In view ofthis largely undisputed evidence ofemotional injury and financial loss, we
     find no ground for disturbing the trial court's refusal to grant a new trial or remittitur.
     Upon thorough review, the record does not provide an irresistible inference that the
     verdict amount was the product ofpassion or prejudice.




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     AFFIRMED,

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     The Spechts originaliy included as defendants various other public oflScials and private
     parties. The disposition ofthe claims against these defendants is not at issue in ^s appeal


     June Specht also asserted a state tort claim for false imprisonment against two defendants.
     Thejury decided this claim against her



     Although the Spechts brought a cross^ppeal,they asserted at oral argument that they
     would withdraw it ifthe judgment were affirmed. In view ofour disposition ofthis
     appeal, we deem the cross^appeal abandoned



     Jacobs was a defendant at trial and was found liable to the Spechts for violations of42
     U.S.C. Sec. 1983 and state tort law. The jury awarded both Spechts actual damages
     against Jacobs and,in addition, awarded Mrs. Specht exemplary damages. Jacobs did not
     appeal



     Thejury rejected defendants' argument that Mrs. Specht had consented to the search, and
     defendants do not raise the issue ofconsent on appeal



     The phrase "procedural due process" is a term ofart used by the federal courts to
     distinguish among different sorts ofindividual rights and liberties that the Fourte^th
     Amendment due process clause guarantees against state action. See Daniels v. Williams,
     474 U.S. 327,106 S.Ct. 677,678,88 L.Ed.2d 662(1986)(Stevens,J., concurring in
     judgment). A "procedural due process" violation refers to an instance where the state
     violates the Constitution not in the action that it takes, but in its failure to provide
     sufficient process to guarantee that the individual is treated fairly. See,e.g., Fuentes v.
     Shevin,407 U.S. 67.92 S.Ct. 1983,32 L.Ed.2d 556(1972)(meaning^ notice and
     hearing must proceed state seizure ofproperty); In re Winship, 397 U.S. 358,90 S.Ct.
     1068,25 L.Ed.2d 368(1970)(proof beyond a reasonable doubt required to find an
     individual guilty ofa crime). Conversely,a "substantive due process" violation occurs
     where the state action itselfis unconstitutional regardless ofthe process extended.



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     Yoimgberg v. Romeo,457 U.S. 307.315,319,102 S.Ct 2452,2457,2459,73 L.Ed.2d
     28(1982)(mental patient admitted under proper procedures retains substantive liberty
     interests in safety and freedom from bodily restraint protected by Fourteenth
     Amendment); Moore v. City of East Cleveland, 431 U.S. 494.503,97 S.Ct. 1932,1937,
     52 L.Ed.2d 531 (1977)("sanctity ofthe family" is a right protected by substantive due
     process component ofthe Fourteenth Amendment); see Daniels, 106 S.Ct. at 665. A third
     sort ofconstitutional violation involves those enumerated rights found in the first eight
     amendments that the Fourteenth Amendment due process clause applies to the states. See,
     e.g., Douglas v. City ofJearmette, 319U.S. 157.63 S.Ct. 877,87 L.Ed. 1324(1943)
     (First Amendment rights); Wolf v. Colorado, 338 U.S. 25.69 S.Ct. 1359,93 L.Ed. 1782
     (1949)(Fourth Amendment rights); Malloy v. Hogan,378 U.S. K 84 S.Ct. 1489,12
     L.Ed.2d 653(1964)(Fifth Amendment compelled self-incrimination clause); Benton v.
     Maryland,395 U.S. 784. 89 S.Q.2056,23 L.Ed.2d 707(1969)(Fifth Amendment double
     jeopardy clause); Duncan v. Louisiana, 391 U.S. 145.88 S.Ct. 1444,20 L.Ed.2d 491
     (1968)(Sixth Amendment right to ajury trial); Robinson v, California 370 U.S. 660.82
     S.Ct. 1417,8 L.Ed.2d 758(1962)(Eighth Amendment cruel and unusual punishment
     clause)



     "The right ofthe people to be secure in their persons, houses, papers and effects, against
     unreasonable searches and seizures shall not be violated, and no Warrants shall issue, but
     upon probable cause, supported by Oath or affirmation, and particularly describing the
     place to be searched,and the persons or things to be seized."

     U.S.Const amend.IV.


     8


     In Leon,the Court stressed that lower courts may address underlying Fourth Amendment
     issues before deciding whether the remedy sought is available. Id. at 924-25,104 S.Ct at
     3421-22(alleged Fourth Amendment violations "undoubtedly raise live controversies
     which Art III empowers federal courts to adjudicate"). This approach is essential to the
     continued development and articulation ofthe liberty protected by the Fourth
     Amendment See id. at 925,104 S.Ct. at 3421 ("Ifthe resolution ofa particular Fourth
     Amendment question is necessary to guide ftiture action by law enforcement officers and
     magistrates, nothing will prevent reviewing courts fi»m deciding that question before"
     deciding whether a remedy exists.)




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     175 Ohio St. 73.191 N.E.2d 826, reversed.


     U.S. Supreme Court
     Beck V. Ohio,379 U.S.89(1964)

     Beck V. Ohio

     No. 18

     Argued October 15,1964

     Decided November 23,1964

     379 U.S.89

     CERTIORARI TO THE SUPREME COURT OF OHIO

     Syllabus

     Police officers, who had received unspecified "information" and "reports" about
     petitioner, who knew what he looked like, and that he had a gambling record,
     stopped petitioner, who was driving an automobile. Placing him under arrest,
     they searched his car, though they had no arrest or search warrant. They found
     nothing of interest They took him to a police station, where they found some
     clearing house slips on his person,for the possession of which he was
     subsequently tried. His motion to suppress the slips as seized in violation of the
     Fourth and Fourteenth Amendments was overrul^, the slips were admitted into
     evidence, and he was convicted, his conviction being ultimately sustained on
     appeal by the Supreme Court of Ohio, which found the search valid as incident to
     a lawful arrest.

     Held: No probable cause for petitioner's arrest having been shown,the arrest,
     and therefore necessarily the search for and seizure of the slips incident thereto,
     were invalid under the Fourth and Fourteenth Amendments. Pp. 379 U. 8. 91-97.

     175 Ohio St. 73.191 N.E.2d 826, reversed.

     MR. JUSTICE STEWART delivered the opinion of the Court.

     On the aftemoon of November 10,1961, the petitioner, William Beck, was driving
     his automobile in the vicinity

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     of East 115th Street and Beulah Avenue in Cleveland. Ohio. Cleveland police
     officers accosted him, identified themselves, and ordered him to pull over to the
     curb. The officers possessed neither an arrest warrant nor a search warrant.
     Placing him under arrest, they searched his car, butfound nothing of interest.
     They then took him to a nearby police station, where they searched his person
     and found an envelope containing a number of clearing house slips "beneath the
     sock of his leg." The petitioner was subsequently charged in the Cleveland
     Municipal Court with possession of clearing house slips in violation of a state
     criminal statute.[Footnote 1] He filed a motion to suppress as evidence the
     clearing house slips in question upon the ground that the police had obtained
     them by means of an unreasonable search and seizure in violation of the Fourth
     and Fourteenth Amendments. After a hearing, the motion was overruled, the
     clearing house slips were admitted in evidence, and the petitioner was convicted.
     His conviction was affirmed by an Ohio Court of Appeals, and ultimately by the
     Supreme Court of Ohio, with two judges dissenting. 175 Ohio St 73,191 N.E.2d
     825. We granted certiorari to consider the petitioner's claim that, under the rule of
     Mapp V. Ohio, 367 U. 8. 643, the clearing house slips were wrongly admitted

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     in evidence against him because they had been seized by the Cleveland police in
     violation of the Fourth and Fourteenth Amendments. 376 U. S. 905.

     Although the police officers did not obtain a warrant before arresting the
     petitioner and searching his automobile and his person, the Supreme Court of
     Ohio found the search nonetheless constitutionally valid as a search incident to a
     lawful arrest. And it is upon that basis that the Ohio decision has been supported
     by the respondent here. See Draper v. United States, 358 U. S. 307; Kerv.
     Califomia, 374 U. 8. 23.

     There are limits to the permissible scope of a warrantless search incident to a
     lawful arrest, but we proce^ on the premise that, if the arrest itself was lawful,
     those limits were not exceeded here. See Harris v. United States, 331 U. 8. 145;
     United States v. Rabinowitz, 339 U. 8. 56; cf. Preston v. United States, 376 U. 8.
     364. The constitutional validity of the search in this case, then, must depend
     upon the constitutional validity of the petitioner's arrest. Whether that arrest was
     constitutionally valid depends, in turn, upon whether, at the moment the arrest
     was made,the officers had probable cause to make it ~ whether, at that moment,
     the facts and circumstances within their knowledge and of which they had
     reasonably trustworthy information were sufficient to warrant a prudent man in
     believing that the petitioner had committed or was committing an offense.
     Biinegarv. United States, 338 U. 8. 160, 338 U. 8. 175-176; Henry v. United
     States, 361 U. 8. 98, 361 U. 8. 102.

     "The rule of probable cause is a practical, nontechnical conception affording^
     best compromise that has been found for accommodating...often opposing




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     interests. Requiring more would unduly hamper law enforcement. To allow less
     would be to leave law-abiding citizens at the mercy of the officers' whim or
     caprice."

     Brinegarv. United States, supra, at 338 U. S. 176.

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     In turning to the question of whether or not the record in the case before us can
     support a finding of probable cause for the petitioner's arrest, it may be well to
     repeat what was said by Mr. Justice Clark, speaking for eight members of the
     Court, in Ker v. Califbmia:

     "While this Court does not sit as in nisi prius to appraise contradictory factual
     questions, it will, where necessary to the determination of constitutional rights,
     make an independent examination of the ^cts. the findings, and the record so
     that it can determine for itself whether in the decision as to reasonableness the
     fundamental- i.e., constitutional - criteria established by this Court have been
     respected. The States are not thereby precluded from developing workable rules
     governing arrests, searches and seizures to meet the practical demands of
     effective criminal investigation and law enforcement* in the States, provided that
     those rules do not violate the constitutional proscription of unreasonable
     searches and seizures and the concomitant command that evidence so seized Is
     inadmissible against one who has standing to complain. See Jones v. United
     States, 362 U. S. 257(1960). Such a standard implies no derogation of
     unifbrmity in applying federal constitutional guarantees, but is only a recognition
     that conditions and circumstances vary, just as do investigative and enforcement
     techniques."

     374 U. S. 374 U.S. 23, at 374 U. S. 34,

     The trial court made no findings offact in this case. The trial judge simply made a
     conclusory statement:"A lawful arrest has been made,and this was a search
     incidental to that lawful arrest," The Court of Appeals merely found "no error
     prejudicial to the appellant." In the Supreme Court of Ohio, Judge Zimmerman's
     opinion contained a narrative recital which is accurately

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     excerpted in the dissenting opinions filed today. But, putting aside the question of
     whether this opinion can fairly be called the opinion of the court,[Footnote 2]
     such a recital in an appellate opinion is hardly the equivalent of findings made by
     the trier of the facts. In any event, after giving full scope to the flexibility
     demanded by "a recognition that conditions and circumstances vary just as do
     Investigative and enforcement techniques," we hold that the arrest of the




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     petitioner cannot on the record before us be squared with the demands of the
     Fourth and Fourteenth Amendments.

     The record is meager, consisting only of the testimony of one of the arresting
     officers, given at the hearing on the motion to suppress. As to the officer's own
     knowledge of the petitioner before the arrest, the record shows no more than that
     the officer "had a police picture of him and knew what he looked like," and that
     the officer knew that the petitioner had "a record in connection with clearing
     house and scheme of chance."[Footnote 3] Beyond that, the officer

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     testified only that he had "information," that he had "heard reports," that
     "someone specifically did relate that information," and that he "knew who that
     person was." There is nowhere in the record any indication of what "information"
     or "reports" the officer had received, or, beyond what has been set out above,
     from what source the "information" and "reports" had come.The officer testified
     that, when he left the station house,"I had in mind looking for[the petitioner] in
     the area of East 115th Street and Beulah, stopping him if I did see him make a
     stop in that area." But the officer testified to nothing that would indicate that any
     informer had said that the petitioner could be found at that time and place. Cf.
     Draper v. United States, 358 U. S. 307. And the record does not show that the
     officers saw the petitioner "stop" before they arrested him, or that they saw,
     heard, smelted, or otherwise perceived anything else to give them ground for
     belief that the petitioner had acted or was then acting unlawfully.[Footnote 4]

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     No decision of this Court has upheld the constitutional validity of a warrantless
     arrest with support so scant as this record presents. The respondent relies upon
     Draper v. United States, 358 U. 8. 307. But, in that case, the record showed that
     a named special employee of narcotics agents who had on numerous occasions
     given reliable information had told the arresting officer that the defendant, whom
     he described minutely, had taken up residence at a stated address and was
     selling narcotics to addicts in Denver. The informer further had told the officer
     that the defendant was going to Chicago to obtain narcotics, and would be
     returning to Denver on one of two trains from Chicago, which event in fact took
     place. In complete contrast, the record in this case does not contain a single
     objective fact to support a belief by the officers that the petitioner was engaged in
     criminal activity at the time they arrested him.

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     An arrest without a warrant bypasses the safeguards provided by an objective
     predetermination of probable cause, and substitutes instead the far less reliable




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     procedure on an after-the-event justification for the arrest or search,too likely to
     be subtly influenced by the familiar shortcomings of hindsight judgment.

     "Whether or not the requirements of reliability and particularity of the information
     on which an officer may act are more stringent where an arrest warrant is absent,
     they surely cannot be less stringent than where an arrest warrant is obtained.
     Othen/vise, a principal incentive now existing for the procurement of arrest
     warrants would be destroyed."

     Wong Sun v. United States, 371 U. S. 471, 371 U. S. 479-480. Yet even In cases
     where warrants were obtained, the Court has held that the Constitution demands
     a greater showing of probable cause than can be found in the present record.
     AguHarv. Texas, 378 U. S. 108; Glordenello v. United States, 357 U. S. 480;
     [Footnote 5]Nathanson v. United States, 290 U. S. 41.[Footnote 6]

     When the constitutional validity of an arrest is challenged, it is the function of a
     court to determine whether the facts available to the officers at the moment of the
     arrest would 'Swarrant a man of reasonable caution In the belief that an offense
     has been committed. CanoHv. United States, 267 U. S. 132, 267 U. S. 162. If the
     court is not Informed of the facts upon which the arresting officers acted, it cannot
     properly discharge that function. All that the trial court was told in this case was
     that the officers knew what the petitioner looked like and knew

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     that he had a previous record of arrests or convictions for violations of the
     clearing house law. Beyond that, the arresting officer who testified said no more
     than that someone(he did not say who) had told him something(he did not say
     what)about the petitioner. We do not hold that the officer's knowledge of the
     petitioner's physical appearance and previous record was either inadmissible or
     er\tirely irrelevant upon the issue of probable cause. See Bn'negar v. United
     States, 338 U. S. 160, 338 U. S. 172-174. But to hold knowledge of either or both
     of these facts constituted probable cause would be to hold that anyone with a
     previous criminal record could be arrested at will.

     It is possible that an infonner did, in fact, relate information to the police officer in
     this case virhich constituted probable cause for the petitioner's arrest. But when
     the constitutional validity of that arrest was challenged, it was incumbent upon
     the prosecution to show with considerably more specificity than was shown in
     this case what the informer actually said, and why the officer thought the
     information was credible. We may assume that the officers acted in good faith in
     arresting the petitioner. But"good faith on the part of the arresting officers is not
     enough." Henry v. United States, 361 U. S. 98, 361 U. S. 102. If subjective good
     faith alone were the test, the protections of the Fourth Amendment would
     evaporate, and the people would be "secure in their persons, houses, papers,
     and effects," only in the discretion of the police.



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     Reversed.

     [Footnote 1]

     Ohio Revised Code,§ 2915.111. Possession of"numbers game" ticket.

     "No person shall own, possess, have on or about his person, have in his custody,
     or have under his control a ticket, order, or device for or representing a number
     of shares or an interest in a scheme of chance known as 'policy,''numbers
     game,''clearing house,' or by words or terms of similar import, located in or to be
     drawn, paid, or carried on within or without this state."

     "Whoever violates this section shall be fined not more than five hundred dollars
     and imprisoned not more than six months for a first offense; for each subsequent
     offense, such person shall be fined not less than five hundred nor more than one
     thousand dollars and imprisoned not less than one nor more than three years."

     [Footnote 2]

     For more than 100 years, the rule in Ohio has been that its Supreme Court,
     except for per curiam opinions, speaks as a court only through the syllabi of its
     cases. See Rule VI, 94 Ohio St. ix; 6 Ohio St. viii; 5 Ohio St. vii. "Individual
     opinions speak the conclusions of their writer. What useful purpose they serve is
     an open question," Thackery v. Helfrich, 123 Ohio St 334, 336,175 N.E. 449,
     450.

     [Footnote 3]

     It is not entirely clear whether the petitioner had been previously convicted, or
     only arrested. At one point, the officer testified as follows; "I heard reports and
     found that he has a record in connection with clearing house and scheme of
     chance. Q. Previous convictions? A. Yes."

     Later he testified as follows;

     "Q. You indicated that you knew of Mr. Beck's previous record7'

     "A. Yes, I did."

     "Q. What was that, sir?"

     "A. Three arrests for clearing house violations."

     "Q. When was this?"

     "A. They were all during the year 1959. 1 believe."



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     "Q. All during the year 1959?"

     "A. Yes."

     "Q. Then you didnt have any arrests that you knew of as far as 1960 was
     concerned?"

     "A. Not to my knowledge."

     [Footnote 4]

     "Q. About what time was it that you first saw Mr. Beck?"

     "A. A few minutes before 1:00 p.m. that afternoon."

     "Q. And he was in his automobile?"

     "A. He was driving his automobile."

     "Q. He was proceeding then lawfully down the street?"

     "A. He was operating north on 115th Street."

     "Q. And you stopped him?"

     "A. We stopped him going east on Beulah."

     "Q. You did not stop him for any traffic offense?"

     "A. No; I did not stop him for that reason."

     "Q. You caused him to pull over to the curb?"

     "A. I identified myself and requested him to pull over to the curb."

     "Q. Then you searched his automobile?"

     "A. Yes. I did."

     "Q. Prior to that, did you indicate to him that he was under arrest?"

     "A. Not while searching the automobile."

     "Q. In other words, you searched the automobile before you placed him under
     arrest?"




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     "A. I placed him under arrest just as we were searching the automobile."

     "Q. Prior to that time, you had not discovered anything that was illegal?"

     "A. Other than a hunting knife in the automobile, that was it."

     "Q. Why then did you place him under arrest?"

     "A. I placed him under arrest for a clearing house operation, scheme of chance,"

     "Q. At that time, you had discovered some evidence of a scheme of chance?"

     "A. I did not."

     "Q. At the time you placed him under arrest, you did not have any evidence?"

     "A. Other than information."

     [Footnote 5]

     The Court has made clear that the Giordenello decision rested upon the Fourth
     Amendment, rather than upon Rule 4 of the Federal Rules of Criminal Procedure.
     SeeAguHarv. Texas, 378 U. S. 108, at 378 U. S. 112, n. 3.

     [Footnote 6]

     The Aguilar and Nathanson cases involved search warrants rather than arrest
     warrants, but as the Court has said,

     'The language of the Fourth Amendment,that . no Warrants shall issue, but
     upon probable cause...'of course applies to arrest, as well as search,
     warrants."

     Giordenello v. United States, 357 U. S. 480, at 357 U. S. 485-486.

     MR. JUSTICE CLARK, with whom MR. JUSTICE BLACK joins, dissenting.

     The Supreme Court of Ohio, 175 Ohio St. 73,74,191 N.E.2d 825,827,
     "determined" the following facts in this case:

     "The Cleveland police had good reason to believe that defendant was regularly
     engaged in carrying on

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     a scheme of chance involving clearing house slips. There was testimony that he
     had previously been convicted on that score. Information was given to the police
     by an informer that defendant would be in a certain locality at a certain time
     pursuing his unlawful activities. He was found in that locality, as predicted, driving
     an automobile. Police officers stopped the car and searched it, without result.
     Defendant was then arrested and taken to a police station, and his clothing was
     examined, resulting In the discovery and seizure of the Illegal clearing house
     slips, which formed the basis of the charge against him and his subsequent
     conviction."

     These are the facts upon which Ohio's highest court based Its opinion, and they
     have support In the record.

     The syllabus rule, Rule VI, peculiar to that State and of which the majority speaks,
     was promulgated in 1858,5 Ohio St. vil. and provides:

     "A syllabus of the points decided by the Court in each case, shall be stated, In
     writing, by the Judge assigned to deliver the opinion of the Court, which shall be
     confined to the points oflaw, arising from the facts of the case, that have been
     detetmined by the Court...

     (Emphasis supplied.) As my late Brother of revered memory. Mr. Justice Burton
     of Ohio, said in the Ohio case of Perkins v. Benguet Consol. Mining Co., 342 U.
     S. 437, 342 U. S. 442, n. 3(1952),

     "[a]syllabus must be read in the light of the facts in the case, even where brought
     out in the accompanying opinion, rather than in the syllabus itself."

     The good Justice was only following Ohio's own cases. See Williamson Heater
     Co. V. Radich, 128 Ohio St. 124,190 N.E.403(1934); Perkins v. Bright, 109
     Ohio St 14.19-20,141 N.E.689,690(1923); In re Poage,87 Ohio St. 72, 82-83,
     100 N.E. 125.127-128(1912).

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     The Court ignores these findings entirely. Where the highest court of a State,
     after detailed and earnest consideration, determines the facts, and they are
     reasonably supportable, I would let them stand. And I would, of course, give the
     same respect to findings of probable cause by United States district courts when
     approved by United States Courts of Appeals. Otherwise, this Court will be
     continually disputing with state and federal courts over the minutiae of facts in
     every search and seizure case. Especially is this true if the Court disputes the
     findings sua sponte where, as here, no attack is leveled at them.




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     Believing that the Ohio Supreme Court's findings, set out above,fully support Its
     conclusion that probable cause existed in this case in support of the arrest and
     the search incident thereto. I would affirni.

      MR. JUSTICE HARLAN, dissenting.

     Judge Zimmerman of the Supreme Court of Ohio stated as a fact,[Footnote 2/1]

     "Information was given to the police by an informer that defendant would be in a
     certain locality at a certain time pursuing his unlawful activities. He was found in
     that locality, as predicted, driving an automobile."

     175 Ohio St. 73, 74,191 N.E.2d 825, 827. 1 regard this as the crucial point in the
     case,for if the informant did give the police that information, the fact of its
     occurrence would sufficiently indicate the informant's reliability to provide a basis
     for petitioner's arrest,

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     Draper v. United States, 358 U. S. 307. It is this Court's function, therefore, to
     determine whether the State's finding is adequately supportable. In doing so it is
     essential to consider what are the appropriate standards of appellate review.

     Generally "our inquiry clearly is limited to a study of the undisputed portions of
     the recort." Thomas v. Arizona, 356 U. S. 390, 356 U. S. 402.

     "fTjhere has been complete agreement that any conflict in testimony as to what
     actually led to a contested confession [or to a contested arrest] is not this Court's
     concern. Such conflict comes here authoritatively resolved by the State's
     adjudication."

     Watts V. Indiana, 338 U. 8. 49, 338 U. 8. 51-52. See also, Gallegos v. Nebraska,
     342 U. 8. 55, 342 U. 8. 60-61; Haley v. Ohio, 332 U. 8. 596, 332 U. 8. 597-598.
     It is equally clear that, in cases involving asserted violations of constitutional
     rights, the Court is free to draw its own inferences from established facts, giving
     due weight to the conclusions of the state court, but not being conclusively bound
     by them, Kerv. Califomia, 374 U. 8. 23; Spano v. New York, 360 U. 8. 315.

     A distinction between facts and inferences may often be difficult to draw, but the
     guiding principle for this Court should be that, when a question is in doubt and
     demeanor and credibility of witnesses, or contemporaneous understandings of
     the parties, have a part to play in its resolution, this Court should be extremely
     slow to upset a state court's inferential findings. The impetus for our exercising
     de novo review of the facts comes from the attitude that, unless this Court can
     fully redetermine the facts of each case for itself, it will be unable to afford
     complete protection for constitutional rights. But when the "f^l" of the trial may



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     have been a proper element In resolving an Issue which Is unclear on the record,
     our independentjudgment should give way to the greater

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     capability of the state trial court[Footnote 2/2] in determining whether a
     constitutional right has been infringed.[Footnote 2/3] Proper regard for the
     duality of the American judicial system demands no less.

     Federal habeas corpus, which allows a federal court in appropriate
     circumstances to develop a fresh record, Townsend v. Sain, 372 U. S. 293,
     provides a far more satisfactory vehicle for resolving such unclear issues,for the
     judge can evaluate for himself the on-the-spot considerations which no appellate
     court can estimate with assurance on a cold record. Those considerations are
     important to the case at bar.

      White I agree that the record is not free from all doubt, I believe that the following
      selected portions of the testimony of one of the arresting officers are sufficient to
      carry the day for the State's judgment;

     "Q. Did you have reasonable and probable cause to stop this man?"

     "A. Yes, I did."

     II* * * **




     "Q. Based on his previous record?"

     "A. Information and previous record and observation.[Emphasis added.]"
     11* * * *n




     "Q. When you left the Station, did you have in mind stopping Mr. Beck?"

     "A. I had in mind looking for him in the area of

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      East 115th Street and Beulah, stopping him if I did see him make a stop in that
      area."

     "Q. You indicated that you were operating on information?"

     "A. Yes."

     "Q. From whom did you get this information?"



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     "A. I couldn't divulge that information."

     "Q. But someone specifically did relate that information to you?"

     "A. Yes."

     "Q. And you knew who that person was?"

     "A. Yes."

     It is true that the officer never specifically said 'The informant told me that Beck
     was operating in the area of East 115th Street and Beulah," but he did testify that
     he went looking for Beck in that specific area, that he was acting in part on
     information, and that his information had been related to him by some specific
     person whose name he felt privileged not to divulge. 1 find the state court
     inference reasonable, even on the basis of the admittedly sparse record before
     us, that the informant told the officer that Beck was operating in the mentioned
     area.


     Furthermore, in reaching this inference,"on the spot" considerations might well
     have come into play. There appears to have been no lack of common
     understanding at trial that the informant had given the officer the crucial
     information. Petitioner argued in the Ohio Supreme Court,"the pattem is obvious,
     an officer testifies he had information from a confidential source that a particular
     person is "picking up" numbers in a given area and based on that information
     they arrest such person "on sight" without a warrant."[Footnote 2/4] Judge
     Zimmemian of the

     Page 379 U. S. 103

     Supreme Court of Ohio found it to be the fact without seeing any need for
     elaboration. Respondent, in its brief in this Court, assumed it to be the fact.
     [Footnote 2/5] And petitioner raised no question as to this inference in either his
     petition or brief. Indeed, the question is raised for the first time, sua sponte, by
     the Court's opinion.

     On this basis, I vote to affirm.

     [Footnote 2/1]

     Although it was Judge Zimmerman's opinion for the Supreme Court of Ohio
     which articulated the specific finding in question here, thatfinding must be
     attributed to the trial court, for we must presume that its conclusion that the arrest
     was constitutionally permissible was based on the factual findings necessary to
     support it. If the Court is unwilling to accept this presumption, it should, at least.




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     remand the case to the Ohio courts In order that any question on this score may
     be set at rest.

     [Footnote 2/2]

     See note 1, supra.

     [Footnote 2/3]

     Norn's V. Alabama, 294 U. S. 587, in which the Court concluded, contrary to a
     state court finding, that Negroes' names had been unlawfully added to a jury
     book, would at first glance appear to be an exception, but in fact It proves the rule.
     The evidence on which the conclusion was based was documentary, and no "on
     the spot" considerations were involved.

     (Footnote 2/4]

     Reply brief for appellant in the Supreme Court of Ohio, p. 5.

     [Footnote 2/5]

     Brief for respondent, p. 8.




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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF WYOMING

  TAMI M. BRONNENBERG                                 )
                                                      )
           Plaintiff,                                 )
                                                      )
                  v.                                  )    Civil Action No: 19-CV-21-S
                                                      )
  BEAU J. EGGER, et al.,                              )
                                                      )
                                                      )
           Defendants.                                )


                    DEFENDANT OFFICER EGGER’S RESPONSE
                   TO MOTION FOR DECLARATORY JUDGMENT


           Defendant Officer Egger files this response brief in opposition to Bronnenberg’s

  motion for declaratory judgment. Bronnenberg moves for declaratory judgment. See (Doc.

  36 at 1); see also 28 U.S.C § 2201 (creating remedy of declaratory judgment); and § 2202

  (recognizing authority of courts to grant “[f]urther necessary or proper relief based on a

  declaratory judgment or decree”). The Court should dismiss her motion for the reasons

  below.

                                                Argument

           Bronnenberg seeks a declaration that “defendant’s acts, policies, and practices



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  herein described and complained of violated plaintiff’s rights under the Fourth Amendment

  and Fourteenth Amendment.” (Doc. 36 at 1). Her motion, however, does not identify which

  acts, policies, and practices she is seeking a ruling upon. She does cite to other pleadings,

  like her Complaint and response to Officer Egger’s motion for summary judgment. (Id.).

  But the cited portions of these pleadings do not provide much, if any, guidance. They

  essentially just repeat her request for declaratory relief or assert arguments against other

  defendants. See Doc. 9 at 9 (seeking a “declaratory judgment pursuant to 28 USCS §§ 2201

  and 2202, (Wyoming Statutes 1977, §§ 1-37-101 to 1-37-115), declaring that defendant’s

  acts, policies and practices herein described and complained of violated plaintiff’s rights

  under the United States Constitution and the Wyoming Constitution.”); and (Doc. 33 at 9)

  (generally making arguments against the Park County Detention Center and Board of

  Commissioners of the County of Park and City of Cody).

         Officer Egger is not mentioned at all in either the motion for declaratory judgment

  or the cited materials within. The only mention of him is in the attendant proposed order

  for her motion. (Doc. 36-1 at 1). The Court should dismiss the motion on this basis alone.

  See e.g. United States v. Ibarra-Diaz, 805 F.3d 908, 918 n.5 (10th Cir. 2015) (declining to

  address argument mentioned in opening brief because plaintiff mentioned it “in a cursory

  fashion,” “never develop[ed] this line of argument or applie[d] it to any specific

  statements.”); United States v. Yelloweagle, 643 F.3d 1275, 1284 (10th Cir. 2011)

  (acknowledging that courts “cannot make arguments”).

         Officer Egger, however, responds to the extent Bronnenberg seeks a declaratory

  judgment against him. The Court should dismiss the motion for declaratory judgment


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  because no “actual controversy” exists. And that is required under Section 2201 of Title 28

  of the United States Code (the Declaratory Judgment Act). See 28 U.SC. § 2201. The

  Declaratory Judgment Act states:

                In a case of actual controversy within its jurisdiction, . . . any
                court of the United States, upon the filing of an appropriate
                pleading, may declare the rights and other legal relations of any
                interested party seeking such declaration, whether or not
                further relief is or could be sought.

  Id. (emphasis added). The Supreme Court recognized “an actual controversy exists . . .

  [when] ‘there is a substantial controversy, between parties having adverse legal interests,

  of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.’”

  Jarita Mesa Livestock Grazing Ass’n v. United States Forest Serv., 921 F. Supp. 2d 1137,

  1187 (D.N.M. 2013) (quoting Maryland Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270

  (1941)). Crucially, “[a] declaratory judgment is meant to define the legal rights and

  obligations of the parties in anticipation of some future conduct, not simply to proclaim

  liability for a past act.” Lawrence v. Kuenhold, 271 F. App’x 763, 766 (10th Cir. 2008).

  The Tenth Circuit has accordingly recognized that a declaratory judgment aimed as past

  conduct would “would serve no purpose [] and thus, is not available.” Id.

         Here, it appears that Bronnenberg seeks declaratory relief aimed at past conduct.

  She cites her response to Officer Egger’s motion for summary judgment in support of her

  motion for declaratory judgment and is thus presumably seeking declaratory relief on the

  same past conduct at issue there—whether he violated her constitutional rights by

  enforcing a facially valid, albeit vacated, arrest warrant against her. See (Doc. 36 at 1). This

  is solely past conduct. There is no suggestion in any of her filings that any similar future


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  conduct is anticipated. She does not allege the existence of any outstanding warrants, the

  imminent issuance of an arrest warrant, nor any fact to suggest that she will be arrested

  again pursuant to an outdated arrest warrant. The closest she gets to alleging future conduct

  is the bare allegation in her complaint that an unrelated defendant threatened to have her

  arrested again at some point in the future. (Doc. 9 at 6). This, however, is not enough as

  the possibility of an arrest happening again someday is simply “too remote and speculative

  to support the exercise of declaratory judgment jurisdiction.” Matthews Int’l Corp. v.

  Biosafe Eng’g, LLC, 695 F.3d 1322, 1329 (Fed. Cir. 2012); see also Robinson v. Blank,

  2013 U.S. Dist. LEXIS 71471, at *15 (S.D.N.Y. May 20, 2013) (unpublished)

  (“‘allegations of possible future injury’ relating to either a hypothetical future arrest . . .

  ‘are not sufficient’ because they are ‘too speculative for Article III purposes.’”); and

  Potomac Ins. Co. v. Pella Corp., 2001 U.S. Dist. LEXIS 5909, at *6 (D. Kan. Apr. 20,

  2001) (unpublished) (“Basically, the question in each case is whether the facts alleged,

  under all the circumstances, show there is a substantial controversy between parties having

  adverse legal interests of sufficient immediacy and reality to warrant the issuance of a

  declaratory judgment.”). Thus, without declaratory relief aimed at future conduct, the Court

  should dismiss the motion.

         Finally, even if the Court reaches the merits of the motion, it should still deny it. To

  reiterate, Bronnenberg seeks a declaration that “defendant’s acts, policies, and practices

  herein described and complained of violated plaintiff’s rights under the Fourth Amendment

  and Fourteenth Amendment.” (Doc. 36 at 1). The Fourth Amendment protects against

  “unreasonable searches and seizures.” U.S. Const. amend. IV. But here there was no


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  unreasonable seizure because Officer Egger enforced a facially valid arrest warrant, as

  already discussed in his motion for summary judgment. (Doc. 29 at 7-10). The Fourteenth

  Amendment protects against violations of due process. U.S. Const. amend. XIV., § 1. But

  the Court already dismissed any Fourteenth Amendment claim in the Court’s screening

  order. (Doc. 10 at 4, 12).

                                         Conclusion

         For the reasons above, and those already discussed in his motion for summary

  judgment, Defendant Officer Egger respectfully requests the Court deny Bronnenberg’s

  motion for declaratory judgment.

         DATED this 11th day of June, 2019.

                                            /s/ Adrian K. Kowalski
                                            Adrian K. Kowalski [Wyo. Bar No. 7-6125]
                                            Assistant Attorney General


                               CERTIFICATE OF SERVICE

         I do hereby certify that I have sent a copy of the foregoing on this 11th day of June
  2019, to the following individuals:

   Tami M. Bronnenberg                                           [✔] U.S. MAIL
   P.O. Box 802
   Cody, WY 82414




                                            Jessica Curless
                                            Jessica Curless, Paralegal
                                            Office of the Wyoming Attorney General




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                                           Lawrence v. Kuenhold
                                 United States Court of Appeals for the Tenth Circuit
                                                 March 27, 2008, Filed
                                                     No. 06-1397

Reporter
271 Fed. Appx. 763 *; 2008 U.S. App. LEXIS 6614 **
                                                             On appeal, the co-trustees represented that the court
JUDY LAWRENCE and GALE GREENSTREET, as Co-
                                                             erred by dismissing their complaint under Rooker-
Trustees of the Red River Trust, Plaintiffs-Appellants, v.
                                                             Feldman because they were not parties to the state
O. JOHN KUENHOLD, District Court Judge acting
                                                             court action. The judge conceded that the co-trustees
without jurisdiction of the proper parties, Defendant-
                                                             were not parties to the state court action and thus, their
Appellee.
                                                             complaint should not have been dismissed under
                                                             Rooker-Feldman. The judge argued, however, the
Notice: PLEASE REFER TO FEDERAL RULES OF
                                                             dismissal should have been affirmed on the alternate
APPELLATE PROCEDURE RULE 32.1 GOVERNING
                                                             basis of judicial immunity or on the basis that a party
THE CITATION TO UNPUBLISHED OPINIONS.
                                                             was not entitled to equitable relief when there was an
Prior History: [**1] D. Colo. (D.C. No. 06-CV-00711-         adequate remedy at law. The appellate court affirmed
REB-MEH).                                                    dismissal of the co-trustees' claim for declaratory relief
                                                             against the judge because the co-trustees did not
                                                             specify what form declaratory relief would take and their
Lawrence v. Kuenhold, 2006 U.S. Dist. LEXIS 58522 (D.        complaint could not have been read to request
Colo., Aug. 9, 2006)                                         declaratory relief in the true legal sense since a
                                                             declaratory judgment was meant to define the legal
                                                             rights and obligations of the parties in anticipation of
Core Terms
                                                             some future conduct, not simply to proclaim liability for a
                                                             past act. Moreover, the co-trustees were not eligible for
declaratory relief, judicial immunity, doctrine doctrine
                                                             declaratory relief because there was a more suitable
doctrine, declaratory, parties, district court, immune,
                                                             remedy, a motion for relief from judgment under Colo.
rights, law law law, recommended, injunctive, Vacation,
                                                             R. Civ. P. 60(b).
courts, Void, state-court, judgments, pleadings,
quotation, default, cases, quiet, suits, act act act,
                                                             Outcome
declaration, unavailable, unspecified, equitable,
                                                             The judgment of the district court was affirmed.
concedes, monetary, Appeals

Case Summary                                                 LexisNexis® Headnotes


Procedural Posture
Appellants, co-trustees, filed a complaint in federal
district court against appellee judge and alleged that he
                                                                 Real Property Law > General Overview
violated their due process rights by entering default
judgment in a quiet title action to which the co-trustees
                                                             HN1[ ] Colo. R. Civ. P. 105(b) provides that no person
were not parties. The United States District Court for the
                                                             claiming any interest under or through a person named
District of Colorado dismissed the complaint with
                                                             as a defendant need be made a party unless his interest
prejudice and concluded that it was barred by the
                                                             is shown of record in the office of the recorder of the
Rooker-Feldman doctrine and judicial immunity.
                                                             county where the real property is situated, and the
                                                             decree shall be as conclusive against him as if he had
Overview

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                            271 Fed. Appx. 763, *763; 2008 U.S. App. LEXIS 6614, **1

been made a party.                                         An appellate court reviews a dismissal under Fed. R.
                                                           Civ. P. 12(b)(6) de novo. The appellate court considers
                                                           whether the complaint contains enough facts to state a
                                                           claim to relief that is plausible on its face. The mere
    Civil Procedure > Parties > Pro Se
                                                           metaphysical possibility that some plaintiff could prove
    Litigants > Pleading Standards
                                                           some set of facts in support of the pleaded claims is
HN2[   ] Pleading Standards                                insufficient; the complaint must give the court reason to
                                                           believe that the plaintiff has a reasonable likelihood of
Where plaintiffs have filed their complaint while          mustering factual support for the claims. In conducting
proceeding pro se, the courts reviews their pleadings      that inquiry, the appellate court accepts as true all well-
liberally.                                                 pleaded facts and views those facts in the light most
                                                           favorable to the nonmoving party. In an action for
                                                           monetary damages, judicial immunity is overcome in
                                                           only two circumstances. First, a judge is not immune
    Civil Procedure > ... > Preclusion of                  from liability for nonjudicial actions, actions not taken in
    Judgments > Full Faith & Credit > Rooker-Feldman       the judge's judicial capacity. Second, a judge is not
    Doctrine                                               immune from actions, though judicial in nature, taken in
                                                           the complete absence of jurisdiction. A judge will not be
HN3[   ] Rooker-Feldman Doctrine                           deprived of immunity because the action he took was in
                                                           error, was done maliciously, or was in excess of his
The Rooker-Feldman doctrine prohibits federal suits that
                                                           authority; rather, he will be subject to liability only when
amount to appeals of state-court judgments.
                                                           he has acted in the clear absence of all jurisdiction.


    Civil Procedure > ... > Preclusion of
                                                               Governments > Courts > Judges > Judicial
    Judgments > Full Faith & Credit > Rooker-Feldman
                                                               Immunity
    Doctrine
                                                           HN6[   ] Judicial Immunity
HN4[   ] Rooker-Feldman Doctrine
                                                           In an action for monetary damages, judicial immunity is
The United States Supreme Court has reiterated that
                                                           overcome in only two circumstances. First, a judge is
Rooker-Feldman is a narrow doctrine that has been
                                                           not immune from liability for nonjudicial actions, actions
applied by the lower courts far beyond the contours of
                                                           not taken in the judge's judicial capacity. Second, a
the Rooker and Feldman cases. The Court has
                                                           judge is not immune from actions, though judicial in
previously held Rooker-Feldman inapplicable where the
                                                           nature, taken in the complete absence of jurisdiction. A
party against whom the doctrine is invoked was not a
                                                           judge will not be deprived of immunity because the
party to the underlying state-court proceeding. The
                                                           action he took was in error, was done maliciously, or
Rooker-Feldman doctrine does not bar actions by
                                                           was in excess of his authority; rather, he will be subject
nonparties to the earlier state-court judgment simply
                                                           to liability only when he has acted in the clear absence
because, for purposes of preclusion law, they could be
                                                           of all jurisdiction.
considered in privity with a party to the judgment.


                                                               Civil Procedure > ... > Declaratory
    Civil Procedure > ... > Defenses, Demurrers &
                                                               Judgments > Federal Declaratory
    Objections > Motions to Dismiss > Failure to State
                                                               Judgments > General Overview
    Claim
                                                           HN7[ ] The only type of relief available to a plaintiff
    Governments > Courts > Judges > Judicial
                                                           who sues a judge is declaratory relief, but not every
    Immunity
                                                           plaintiff is entitled to this remedy. A declaratory
                                                           judgment is meant to define the legal rights and
HN5[   ] Failure to State Claim
                                                           obligations of the parties in anticipation of some future
                                                           conduct, not simply to proclaim liability for a past act. A

                                                                                                                    249
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declaratory judgment action involving past conduct that       Judges: Before O'BRIEN, McKAY, and HOLMES,
will not recur is not justiciable.                            Circuit Judges.

                                                              Opinion by: Terrence L. O'Brien
    Civil Procedure > ... > Federal Declaratory
    Judgments > Discretionary Jurisdiction > Factors          Opinion

HN8[    ] Factors
                                                              [*763] ORDER AND JUDGMENT *
One of the factors for a court to consider in deciding
whether to hear a declaratory action is whether there is      After examining the briefs and appellate record, this
an alternative remedy which is better or more effective.      panel has determined unanimously that oral argument
                                                              would not materially assist in the determination of this
                                                              appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R.
    Constitutional Law > State Sovereign                      34.1(G). The case is therefore ordered submitted
    Immunity > General Overview                               without oral argument.

                                                              Judy Lawrence and Gale Greenstreet filed a complaint
HN9[ ] The Eleventh Amendment does not permit
                                                              in federal [**2] district court against O. John Kuenhold,
judgments against state officers declaring that they
                                                              a judge in the District Court of Alamosa County,
violated federal law in the past.
                                                              Colorado, alleging he violated their due process rights
                                                              by entering default judgment in a quiet title action to
                                                              which Lawrence and Greenstreet were not parties. The
    Civil Procedure > Judgments > Relief From                 court dismissed the complaint with prejudice, concluding
    Judgments > Extraordinary Circumstances                   it was barred by the Rooker-Feldman [*764] doctrine
                                                              and judicial immunity. We affirm.
    Civil Procedure > ... > Relief From
    Judgments > Excusable Mistakes &
    Neglect > General Overview                                I. BACKGROUND

    Civil Procedure > Judgments > Relief From                 As it appears from the limited record, Eddie Stafford,
    Judgments > Reversal of Prior Judgments                   Administrator of the Estate of Alex Stafford, filed a quiet
                                                              title action against Martin Stafford, trustee of the A. M. &
    Civil Procedure > Judgments > Relief From                 J. Trust, in Colorado state court. 1 Judge Kuenhold
    Judgments > Void Judgments                                presided over the case and entered default judgment
                                                              against Martin Stafford. Lawrence and Greenstreet
HN10[    ] Extraordinary Circumstances                        claim the judgment was entered in contravention of
                                                              HN1[ ] Rule 105(b) of the Colorado Rules of Civil
See Colo. R. Civ. P. 60(b).                                   Procedure, which provides: "No person claiming any
                                                              interest under or through a person named as a
Counsel: For JUDY LAWRENCE, Plaintiff - Appellant:            defendant need be made a party unless his interest is
James D. Kilroy, Lee A. Mickus, Snell & Wilmer,               shown of record in the office of the recorder of the
Denver, CO; Judy Lawrence, Red River Trust, Dalhart,          county where the real property is situated, and the
TX.
For GALE GREENSTREET, as Co-Trustees of the Red
River Trust, Plaintiff - Appellant: James D. Kilroy, Lee A.   * This order and judgment is not binding precedent except
Mickus, Snell & Wilmer, Denver, CO; Gale Greenstreet,         under the doctrines of law of the case, res judicata, and
Dalhart, TX.                                                  collateral estoppel. It may be cited, however, for its persuasive
                                                              value consistent with Fed. R. App. P. 32.1 and 10th Cir. R.
O. JOHN KUENHOLD, District Court Judge acting                 32.1.
without jurisdiction of the proper parties, Defendant -
                                                              1 The   record does not contain any pleadings or other
Appellee: State of Colorado, Department of Law,
                                                              documents from the state court action. Thus, we rely on the
Denver, CO.
                                                              parties' description of the relevant events.

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                               271 Fed. Appx. 763, *764; 2008 U.S. App. LEXIS 6614, **2

decree shall be as conclusive against him as if he had            court concluded: "Judge Kuenhold is entitled to absolute
been made a party . . . . " (emphasis added). They claim          judicial immunity . . . as the acts of which plaintiffs
the [**3] A. M. & J. Trust transferred the property at            complain were all taken within his capacity [**5] as a
issue to the Red River Trust, of which they are co-               judicial officer." ( Id. ) The court dismissed the complaint
trustees, by a warranty deed that was recorded.                   with prejudice.

Instead of seeking relief in state court, Lawrence and             [*765] On appeal, Lawrence and Greenstreet, now
Greenstreet filed a pro se "Complaint for Vacation of a           represented by counsel, contend the court erred by
Void Judgment" in federal court alleging a due process            dismissing their complaint under Rooker-Feldman
claim, among others. 2 (R. Vol. I, Doc. 1 at 1.) The              because they were not parties to the state court action.
complaint seeks the following relief: (1) title to the            In his supplemental answer brief, Judge Kuenhold
property at issue be returned to the Red River Trust and          concedes Lawrence and Greenstreet were not parties to
the Red River Trust be compensated for the costs of               the state court action and thus, under Lance v. Dennis,
suit; (2) the judgment entered by Judge Kuenhold be               546 U.S. 459, 464, 126 S. Ct. 1198, 163 L. Ed. 2d 1059
vacated and voided, along with any and all judgments in           (2006), their complaint should not have been dismissed
related cases; and (3) "[s]uch other relief as the Court          under Rooker-Feldman. 4 Judge Kuenhold argues,
may feel is needed to alter the behavior of the State             however, the dismissal should be affirmed on the
Court and Judges thereof." ( Id. at 8.)                           alternate basis of judicial immunity or on the basis that a
                                                                  party is not entitled to equitable relief when there is an
The magistrate judge sua sponte ordered Lawrence and              adequate remedy at law. In their supplemental reply
Greenstreet to show cause why their complaint should              brief, Lawrence and Greenstreet contend the court
not be dismissed under the Rooker-Feldman doctrine. 3             should not have ruled on judicial immunity as it was not
Lawrence and Greenstreet responded to the order to                raised by [**6] the parties. In addition, and without
show cause and the magistrate judge recommended                   citing legal authority, they claim Judge Kuenhold is not
their complaint be dismissed without prejudice. Judge             absolutely immune from their (unspecified) claim for
Kuenhold then filed a motion to dismiss the complaint             declaratory relief.
under Rule 12(b)(1) of the Federal Rules of Civil
Procedure on the basis of Rooker-Feldman. The                     II. DISCUSSION HN5[ ] "We review a dismissal under
magistrate judge again recommended the case be                    Fed. R. Civ. P. 12(b)(6) de novo." Ridge at Red Hawk,
dismissed without prejudice under Rooker-Feldman . On             L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir.
August 9, 2006, the district court issued an order                2007). We consider "whether the complaint contains
adopting the magistrate's recommendation, explaining:             'enough facts to state a claim to relief that is plausible
"[t]he recommendations are detailed and well-reasoned.            on its face.'" Id. (quoting Bell Atlantic Corp. v. Twombly,
Plaintiffs' objections are imponder[able] and without             550 U.S. 544, 127 S. Ct. 1955, 1969, 167 L. Ed. 2d 929
merit." (R. Vol. I, Doc. 21 at 2.) Though the issue was           (2007)). [**7] "[T]he mere metaphysical possibility that
neither argued nor briefed by the parties, the district           some plaintiff could prove some set of facts in support of
                                                                  the pleaded claims is insufficient; the complaint must
                                                                  give the court reason to believe that this plaintiff has a
                                                                  reasonable likelihood of mustering factual support for
2 HN2[     ] Because Lawrence and Greenstreet filed their
complaint while proceeding pro se, we review their pleadings
liberally. See Beedle v. Wilson, 422 F.3d 1059, 1063 (10th Cir.
2005). We note that Lawrence and Greenstreet's position has       4 In Lance, HN4[ ] the Supreme Court reiterated Rooker-
been substantially refined by [**4] their appellate counsel,      Feldman "is a narrow doctrine" that has been applied by the
though they still have not explained what effect the default      lower courts "far beyond the contours of the Rooker and
judgment had on their rights or on the rights of the Red River    Feldman cases." 546 U.S. at 464 (quotations omitted). The
Trust.                                                            Court explained it had previously "held Rooker-Feldman
                                                                  inapplicable where the party against whom the doctrine is
3 HN3[    ] The Rooker-Feldman doctrine is based on Dist. of      invoked was not a party to the underlying state-court
Columbia Ct. of Appeals v.Feldman, 460 U.S. 462, 103 S. Ct.       proceeding." Id. (citing Johnson v. De Grandy, 512 U.S. 997,
1303, 75 L. Ed. 2d 206 (1983) and Rooker v. Fidelity Trust        1006, 114 S. Ct. 2647, 129 L. Ed. 2d 775 (1994)). The Court
Co., 263 U.S. 413, 44 S. Ct. 149, 68 L. Ed. 362 (1923). It        clarified: Â"The Rooker-Feldman doctrine does not bar actions
"prohibits federal suits that amount to appeals of state-court    by nonparties to the earlier state-court judgment simply
judgments." Bolden v. City of Topeka, Kan., 441 F.3d 1129,        because, for purposes of preclusion law, they could be
1139 (10th Cir. 2006).                                            considered in privity with a party to the judgment." Id. at 466.

                                                                                                                              251
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                                 271 Fed. Appx. 763, *765; 2008 U.S. App. LEXIS 6614, **7

these claims." Id . In conducting this inquiry, "[w]e                Lawrence and Greenstreet do not specify what form
accept as true all well-pleaded facts . . . and view those           declaratory relief would take and their complaint cannot
facts in the light most favorable to the nonmoving party."           be read to [**9] request declaratory relief in the true
Maher v. Durango Metals, Inc., 144 F.3d 1302, 1304                   legal sense. A declaratory judgment is meant to define
(10th Cir. 1998). Because Judge Kuenhold concedes                    the legal rights and obligations of the parties in
Lawrence and Greenstreet's complaint should not have                 anticipation of some future conduct, not simply to
been dismissed under Rooker-Feldman, we will                         proclaim liability for a past act. See Utah Animal Rights
consider whether the court correctly concluded Judge                 Coalition v. Salt Lake City Corp., 371 F.3d 1248, 1266
Kuenhold was immune from suit. HN6[ ] In an action                   (10th Cir. 2004) (McConnell, J., concurring) ("[A]
for monetary damages, "[judicial] immunity is overcome               declaratory judgment action involving past conduct that
in only two circumstances. First, a judge is not immune              will not recur is not justiciable."); Francis E. Heydt Co. v.
from liability for nonjudicial actions, i.e., actions not            United States, 948 F.2d 672, 676-77 (10th Cir. 1991).
taken in the judge's judicial capacity. Second, a judge is
not immune from actions, though judicial in nature,                  Lawrence and Greenstreet's complaint is captioned as a
taken in the complete absence of jurisdiction." Mireles v.           "Complaint for Vacation of a Void Judgment." (R. Vol. I,
Waco, 502 U.S. 9, 11-12, 112 S. Ct. 286, 116 L. Ed. 2d               Doc. 1 at 1.) What they are seeking is a declaration of
9 (1991) (citations omitted); see also Beedle, 422 F.3d              past liability, not future rights between them and Judge
at 1072 ("'A judge will not be deprived of immunity                  Kuenhold. A declaratory judgment would serve no
 [**8] because the action he took was in error, was done             purpose here and thus, is not available. 7 See S. Utah
maliciously, or was in excess of his authority; rather, he           Wilderness Alliance v. Smith, 110 F.3d 724, 730 (10th
will be subject to liability only when he has acted in the           Cir. 1997) (concluding a declaratory judgment was not
clear absence of all jurisdiction.'") ( quoting Stump v.             available because it "would serve no purpose in this
Sparkman, 435 U.S. 349, 356-57, 98 S. Ct. 1099, 55 L.                case"). Moreover, Lawrence and Greenstreet are not
Ed. 2d 331 (1978)). Lawrence and Greenstreet do not                  eligible for declaratory relief because there is a more
contend Judge Kuenhold acted outside of his judicial                 suitable remedy - namely, a motion for relief from
capacity; nor do they contend [*766] he lacked subject               judgment under Rule 60(b) of the Colorado Rules of
matter jurisdiction over the quiet title action. 5 Instead,          Civil Procedure. [**11] 8 See State Farm Fire &
they argue they should be allowed to seek an
unspecified form of declaratory relief against Judge
                                                                     relief was unavailable." Thus, the doctrine [**10] of judicial
Kuenhold.
                                                                     immunity now extends to suits against judges where a plaintiff
                                                                     seeks not only monetary relief, but injunctive relief as well.
HN7[ ] The only type of relief available to a plaintiff
                                                                     See Roth v. King, 371 U.S. App. D.C. 254, 449 F.3d 1272,
who sues a judge is declaratory relief, see Schepp v.                1286 (D.C. Cir. 2006), cert. denied sub nom., Sitomer v.
Fremont County, 900 F.2d 1448, 1452 (10th Cir. 1990),                King, 127 S. Ct. 1357, 167 L. Ed. 2d 82 (2007) ("42 U.S.C. §
but not every plaintiff is entitled to this remedy. 6                1983, as amended in 1996 by the [FCIA], explicitly immunizes
                                                                     judicial officers against suits for injunctive relief."); Bolin v.
                                                                     Story, 225 F.3d 1234, 1242 (11th Cir. 2000) (discussing the
5 Such
                                                                     effect of the FCIA on Pulliam ).
         an argument would be unavailing as Colorado state
district courts are courts of general jurisdiction. See Colo.        7 Furthermore,   it could not be granted as HN9[ ] "[t]he
Const. art. VI, § 9 ("The district courts shall be trial courts of
                                                                     Eleventh Amendment does not permit judgments against state
record with general jurisdiction, and shall have original
                                                                     officers declaring that they violated federal law in the past."
jurisdiction in all civil, probate, and criminal cases . . . .").
                                                                     Johns v. Stewart, 57 F.3d 1544, 1553 (10th Cir.1995)
6 In Schepp, we cited Pulliam v. Allen, 466 U.S. 522, 541-42,        (quotation omitted).
104 S. Ct. 1970, 80 L. Ed. 2d 565 (1984), for the proposition        8 Providing   in pertinent part:
that a judge "is not shielded by absolute [judicial] immunity
from declaratory or injunctive relief." 900 F.2d at 1452. In               HN10[ ] On motion and upon such terms as are just,
1996, Congress effectively reversed Pulliam with the                      the court may relieve a party . . . from a final judgment . .
enactment of the Federal Courts Improvement Act of 1996                   . for the following reasons: (1) Mistake, inadvertence,
("FCIA"), Pub. L. No. 104-317, 110 Stat. 3847 (1996)                      surprise, or excusable neglect; (2) fraud (whether
(amending 42 U.S.C. § 1983). Section 309(c) of the FCIA bars              heretofore      denominated     intrinsic    or    extrinsic),
injunctive relief in any § 1983 action "against a judicial officer        misrepresentation, or other misconduct of an adverse
for an act or omission taken in such officer's judicial capacity .        party; (3) the judgment is void; (4) the judgment has been
. . unless a declaratory decree was violated or declaratory               satisfied, released, [**12] or discharged, or a prior

                                                                                                                                    252
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Casualty [*767] Co. v. Mhoon, 31 F.3d 979, 983 (10th
Cir. 1994) HN8[ ] (one of the factors for a court to
consider in deciding whether to hear a declaratory
action is "whether there is an alternative remedy which
is better or more effective") (quotation omitted)). We
decline Lawrence and Greenstreet's invitation to remand
the case to allow them to fully brief the question of
judicial immunity. 9 Their claim for declaratory relief (to
the extent it exists at all) was properly dismissed, as
was the rest of their complaint.

AFFIRMED .

ENTERED FOR THE COURT

Terrence L. O'Brien

Circuit Judge


  End of Document




     judgment upon which it is based has been reversed or
     otherwise vacated, or it is no longer equitable that the
     judgment should have prospective application; or (5) any
     other reason justifying relief from the operation of the
     judgment.

Colo. R. Civ. P. 60(b).
9 Lawrence   and Greenstreet did, of course, have the
opportunity to argue the merits of the court's conclusion on
judicial immunity in their appellate filings.

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                                    Potomac Ins. Co. v. Pella Corp.
                                 United States District Court for the District of Kansas
                                                April 20, 2001, Decided
                                                Case No. 00-4013-DES

Reporter
2001 U.S. Dist. LEXIS 5909 *; 2001 WL 421255
                                                              court found that plaintiff offered no dispute, claim or
POTOMAC INSURANCE COMPANY OF ILLINOIS,
                                                              adverse legal interest between itself and defendant
Plaintiff, vs. PELLA CORPORATION, RAY
                                                              window company, nor did plaintiff demonstrate how
ANDERSON, INC., d/b/a PELLA WINDOWS OF
                                                              defendant's rights directly flowed from the contract
KANSAS, INC., and THE CINCINNATI INSURANCE
                                                              executed by plaintiff and defendant window distributor.
COMPANIES, Defendants.
                                                              Plaintiff offered no evidence of how the court's ruling
                                                              would impact or resolve any dispute or controversy
Disposition: [*1] Pella Corporation's Motion to
                                                              between itself and defendant insurance company and
Dismiss (Doc. 51) and defendant Cincinnati Insurance
                                                              therefore, the court was unable to find how defendant
Companies' Motion for Judgment on the Pleadings, Or,
                                                              insurance company's legal interests, rights, or liabilities
in the Alternative, for Dismissal with Prejudice (Doc. 49)
                                                              intersected with plaintiff's.
granted.

                                                              Outcome
Core Terms                                                    Defendant window company's motion to dismiss and
                                                              defendant insurance companies' motion for judgment on
declaratory, declaratory judgment, coverage, parties,         the pleadings, or, in the alternative, for dismissal with
windows, interested party, joined, motion to dismiss,         prejudice was granted.
asserts, insurer

                                                              LexisNexis® Headnotes
Case Summary

Procedural Posture
Plaintiff sought declaratory relief pursuant to 28
U.S.C.S. § 2201 regarding its liability on an insurance
                                                                  Civil Procedure > ... > Defenses, Demurrers &
contract. Defendants window company moved to
                                                                  Objections > Motions to Dismiss > Failure to State
dismiss and defendant insurance company moved for
                                                                  Claim
judgment on the pleadings or, in the alternative, for
dismissal with prejudice. Plaintiff filed responses to both       Civil Procedure > ... > Responses > Defenses,
motions.                                                          Demurrers & Objections > Motions to Dismiss

Overview                                                          Civil Procedure > Judgments > Relief From
A general contractor purchased windows from                       Judgments > General Overview
defendant window distributor that were manufactured by
defendant window company for use in a home. The               HN1[   ] Motions to Dismiss, Failure to State Claim
homeowners complained that the windows leaked and
defendant distributor replaced the windows. Defendant         When deciding a motion to dismiss under Fed. R. Civ.
window distributor made a claim to plaintiff, his             P. 12(b)(6), a court must accept as true all well-pleaded
insurance company, for repairs he undertook at the            factual allegations of the complaint and must draw all
homeowner's residence. Plaintiff sought declaratory           inferences in favor of the pleader. Dismissal is proper
judgment on the question of whether it had a duty to          only when it appears beyond doubt that the plaintiff can
defend and/or indemnify defendant for his claim. The          prove no set of facts in support of his claim which would

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entitle him to relief. In order to avoid dismissal, a plaintiff   Act, 28 U.S.C.S. § 2201, is necessarily one of degree,
must do more than plead mere conclusory allegations or            and it is difficult, if possible, to fashion a precise test for
legal conclusions masquerading as factual conclusions.            determining in every case whether there is such a
                                                                  controversy.


    Civil Procedure > ... > Declaratory
    Judgments > Federal Declaratory                                   Civil Procedure > Judgments > Declaratory
    Judgments > General Overview                                      Judgments > General Overview

    Civil Procedure > Judgments > Declaratory                         Civil Procedure > Parties > Joinder of
    Judgments > General Overview                                      Parties > General Overview

HN2[ ]      Declaratory           Judgments,          Federal         Civil Procedure > Parties > Joinder of
Declaratory Judgments                                                 Parties > Permissive Joinder

See 28 U.S.C.S. § 2201.                                           HN4[    ] Judgments, Declaratory Judgments

                                                                  The reference to an interested party made in 28
                                                                  U.S.C.S. § 2201, relates to possible plaintiffs not
    Civil Procedure > ... > Justiciability > Case &
                                                                  defendants.
    Controversy Requirements > Adverse Legal
    Interests

    Constitutional Law > The Judiciary > Case or                      Civil Procedure > Parties > Joinder of
    Controversy > Advisory Opinions                                   Parties > Permissive Joinder

    Civil Procedure > ... > Justiciability > Case &               HN5[    ] Joinder of Parties, Permissive Joinder
    Controversy Requirements > Immediacy
                                                                  Under Fed. R. Civ. P. 20, all persons may be joined in
    Civil Procedure > Judgments > Declaratory                     one action as defendants if there is asserted against
    Judgments > General Overview                                  them any right to relief in respect of or arising out of the
                                                                  same transaction.
    Civil Procedure > ... > Declaratory
    Judgments > Federal Declaratory
    Judgments > General Overview
                                                                      Civil Procedure > Judgments > Declaratory
                                                                      Judgments > General Overview
HN3[ ]    Case & Controversy                 Requirements,
Adverse Legal Interests
                                                                      Governments > Federal Government > Claims By &
                                                                      Against
The required controversy in declaratory actions must be
definite and concrete. The controversy must touch the
                                                                      Insurance Law > ... > Declaratory
legal relations of parties having adverse legal interests,
                                                                      Judgments > Procedure > Relevant Parties
and the controversy must demand specific relief through
a conclusive decree. This general rule must be applied
                                                                      Civil Procedure > ... > Declaratory
on a case-by-case basis. The question in each case is
                                                                      Judgments > Federal Declaratory
whether the facts alleged, under all the circumstances,
                                                                      Judgments > General Overview
show there is a substantial controversy between parties
having adverse legal interests of sufficient immediacy                Insurance Law > Remedies > Declaratory
and reality to warrant the issuance of a declaratory                  Judgments > General Overview
judgment. The line between impermissible advisory
opinions and justiciable controversies is elusive. The            HN6[    ] Judgments, Declaratory Judgments
difference between an abstract question and a
controversy contemplated by the Declaratory Judgment              Only those parties directly involved with the case's

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controversy should be joined as defendants. In any            78). The court is now prepared to rule on both motions.
cause of action there will be untold scores of individuals
who will have peripheral interest in the action's outcome.
The court's power to grant declaratory relief directly        I. FACTUAL BACKGROUND
flows from 28 U.S.C.S. § 2201, and the court is bound
to restrict its action in accordance with the statute's       A full discussion of the facts of this case is not required
directives. At the core of 28 U.S.C.S. § 220, lies a          for the disposition of the current motions, so the court
requirement that any relief granted will directly impact      will only briefly recount the factual record.
and/or resolve an existing conflict between the parties. If
                                                              On January 28, 2000, plaintiff filed a Petition for
a party's interest is not directly intertwined with the
                                                              Declaratory Judgment (Doc. 1) in this matter. Plaintiff
controversy, then any relief will only be advisory at best.
                                                              seeks declaratory relief pursuant to 28 U.S.C. § 2201
                                                              regarding its liability on an insurance contract. The facts
Counsel: For POTOMAC INSURANCE COMPANY OF
                                                              of this case ostensibly arise from the parties'
ILLINOIS, plaintiff: Bernard T. Schmitt, Matthew F.
                                                              relationship with construction work performed on the
Mulhern, Lorna L. Hilt, Jennifer L. Groover, Harris,
                                                              home of Jonson and Rebekah Huang. The Huangs
McCausland & Schmitt, P.C., Kansas City, MO.
                                                              were originally named defendants in this case, yet by its
For PELLA CORPORATION, defendant: Kristopher A.               October 6, 2000, Order (Doc. 54), the court dismissed
Kuehn, Scott R. Ast, Blackwell Sanders Peper Martin           both Jonson and Rebekah.
LLP, Overland Park, KS.
                                                               [*3] The Huangs hired Dean Construction and
For RAY ANDERSON, INC., defendant: Stephen P.
                                                              Engineering, Inc. ("Dean") to act as general contractor
Weir, Hein & Weir, Chartered, Topeka, KS.
                                                              for the construction of their home in Topeka, Kansas.
For CINCINNATI INSURANCE COMPANY THE,                         Dean was also originally a named defendant, but on
defendant: J. Philip Davidson, Teresa L. Mah, Tristram        November 16, 2000, the court issued an Order (Doc.
E. Felix, James K. McMurray, Wallace, Saunders,               63) dismissing Dean from the case. Dean apparently
Austin, Brown & Enochs, Chartered, Wichita, KS.               purchased Pella windows for the Huangs' home from
                                                              defendant Ray Anderson Company, Inc. ("Ray
For RAY ANDERSON, INC., counter-claimant: Stephen
                                                              Anderson"). Ray Anderson is an authorized distributor of
P. Weir, Hein & Weir, Chartered, Topeka, KS.
                                                              Pella windows, which are of course manufactured by
For POTOMAC INSURANCE COMPANY OF ILLINOIS,                    defendant Pella.
counter-defendant: Bernard T. Schmitt, Matthew F.
Mulhern, Harris, McCausland & Schmitt, P.C., Kansas           Approximately six months after the windows were
City, MO.                                                     installed, the Huangs complained to Dean that their
                                                              windows were leaking. Ray Anderson was notified of the
Judges: DALE E. SAFFELS, United States District               complaints, and in February 1996, Ray Anderson began
Judge.                                                        attempting to correct the leaks. Apparently, the repair of
                                                              the windows was unsuccessful because in the summer
Opinion by: DALE E. SAFFELS                                   of 1996, Ray Anderson began replacing the existing
                                                              windows with new Pella windows. However, the
Opinion                                                       situation was not finalized because on September 27,
                                                              1997, the Huangs filed suit in state court against Pella
                                                              and Ray Anderson. The lawsuit was subsequently
                                                              settled and a release was executed by the parties.
MEMORANDUM AND ORDER
                                                              Defendant Cincinnati was Ray Anderson's insurer [*4]
This matter is before [*2] the court on defendant Pella       from October 1, 1995, through October 1, 1997. Plaintiff
Corporation's ("Pella") Motion to Dismiss (Doc. 51) and       subsequently became Ray Anderson's insurer on
defendant        Cincinnati    Insurance       Companies'     October 1, 1997, continuing through October 1, 1998.
("Cincinnati") Motion for Judgment on the Pleadings Or,       The policy between plaintiff and Ray Anderson was
in the Alternative, for Dismissal with Prejudice (Doc. 49).   renewed for a one year period from October 1, 1998,
Plaintiff has filed responses (Docs. 57 and 55) to both       through October 1, 1999. The present action involves
motions. Cincinnati has filed a reply (Doc. 60), and Pella    the question of plaintiff's duty to defend and/or indemnify
has filed a Supplemental Memorandum in Support (Doc.          Ray Anderson for a claim Ray Anderson made to

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plaintiff. The $ 80,000 claim allegedly concerns the             having adverse legal interests, and the controversy
window repairs Ray Anderson undertook at the Huang               must demand specific relief through a conclusive
residence.                                                       decree. This general rule must be applied on a case-by-
                                                                 case basis. Basically, the question in each case is
                                                                 whether the facts alleged, under all the circumstances,
II. PELLA'S MOTION TO DISMISS                                    show there is a substantial controversy between parties
                                                                 having adverse legal interests of sufficient immediacy
Pella brings its motion to dismiss pursuant to Rule              and reality to warrant the issuance of a declaratory
12(b)(6) of the Federal Rules of Civil Procedure.                judgment. See ANR Pipeline Co. v. Corporation
                                                                 Comm'n, 860 F.2d 1571, 1576 (10th Cir. 1988) (citing
                                                                 Maryland Cas. Co. v. Pacific Coal & Oil Co., 312 U.S.
A. Rule 12(b)(6) Standard                                        270, 273, 85 L. Ed. 826, 61 S. Ct. 510 (1941)). See
                                                                 generally Lewis v. Continental Bank Corp., 494 U.S.
HN1[ ] When deciding a motion to dismiss under Rule              472, 477, 108 L. Ed. 2d 400, 110 S. Ct. 1249 (1990).
12(b)(6), a court must accept as true all well-pleaded           Admittedly, the line between impermissible advisory
factual allegations of the complaint and must draw all           opinions and justiciable controversies is elusive. See
inferences in favor of the pleader. See City of Los              Maryland Cas., 312 U.S. at 273 ("The difference
Angeles v. Preferred Communications, Inc., 476 U.S.              between an abstract question and a 'controversy'
488, 493, 90 L. Ed. 2d 480, 106 S. Ct. 2034 (1986).              contemplated by the Declaratory [*7] Judgment Act is
Dismissal is proper only when "it appears beyond doubt           necessarily one of degree, and it would be difficult, if it
that the plaintiff can prove no set of facts in support of       would be possible, to fashion a precise test for
his claim which would entitle him to [*5] relief." Conley        determining in every case whether there is such a
v. Gibson, 355 U.S. 41, 45-46, 2 L. Ed. 2d 80, 78 S. Ct.         controversy.").
99 (1957). In order to avoid dismissal, plaintiff must do
more than plead mere conclusory allegations or legal
conclusions masquerading as factual conclusions. See             C. Discussion
generally Dunn v. White, 880 F.2d 1188, 1197 (10th Cir.
1989). Pella asserts that it is not a proper party to this       In the present case, there exists, without question, a
declaratory action under 28 U.S.C. § 2201 and should             genuine controversy as between plaintiff, the insurer,
be dismissed.                                                    and Ray Anderson, the insured. Declaratory judgments
                                                                 are routinely sought to decide questions of coverage
                                                                 between insurance providers and their customers.
B. Declaratory Judgment Standard                                 Plaintiff has, however, also joined Pella, a party with
                                                                 which plaintiff has no contractual relationship. Pella
Plaintiff requests declaratory relief pursuant to the            requests that it be dismissed as a party-defendant
Declaratory Judgment Act, 28 U.S.C. § 2201. HN2[ ]               because no controversy exists between itself and
The statute states:                                              plaintiff.

In a case of actual controversy within its jurisdiction, . . .   Plaintiff argues that Pella is an "interested party" to this
any court of the United States, upon the filing of an            declaratory action because Pella and Ray Anderson
appropriate pleading, may declare the rights and other           have agreed to share the costs of rectifying the situation
legal relations of any interested party seeking such             at the Huang's residence. Plaintiff, therefore, appears to
declaration, whether or not further relief is or could be        be making the argument that if Ray Anderson indeed
sought. Any such declaration shall have the force and            has no coverage for the outlays, then Pella's liability will
effect of a final judgment or decree and shall be                somehow be affected. Additionally, plaintiff asserts that
reviewable as such.                                              Pella is interested because Ray Anderson may have a
                                                                 duty to indemnify Pella per their distributorship [*8]
28 U.S.C. § 2201.
                                                                 agreement. The question becomes, therefore, once an
In Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240-41,         identified controversy exists in a case, what additional
81 L. Ed. 617, 57 S. Ct. 461 (1937), [*6] the Supreme            defendants may be properly joined in the action.
Court held HN3[ ] the required controversy in
                                                                 As a preliminary matter, the court would note § 2201's
declaratory actions must be definite and concrete. The
                                                                 use of the phrase "interested party" may not be relied
controversy must touch the legal relations of parties

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upon by plaintiff in this context. HN4[ ] The statute's             peripheral interest in the action's outcome. However, as
reference to an "interested party" relates to possible              the court's power to grant declaratory relief directly flows
plaintiffs not defendants. Therefore, the language of §             from § 2201, the court is bound to restrict its action in
2201 offers no support for the joinder of Pella. See                accordance with the statute's directives. At the core of §
Reardon v. Pennsylvania-New York Cent. Transp. Co.,                 2201 lies a requirement that any relief granted will
323 F. Supp. 598, 599 (N.D. Ohio 1971) (noting also                 directly impact and/or resolve an existing conflict
that the reference to "interested party" relates only to            between the parties. If a party's interest is not directly
possible plaintiffs).                                               intertwined with the controversy, then any relief will only
                                                                    be advisory at best.
The Tenth Circuit, however, has stated: "We recognize
that all interested parties should be joined in a                   Plaintiff has simply offered [*11] no dispute, claim, or
declaratory judgment action whenever possible and that              adverse legal interest between itself and Pella, nor has
a declaratory judgment should not be entered unless it              plaintiff demonstrated how Pella's rights directly flow
disposes of a controversy and serves a useful purpose."             from the contract executed by plaintiff and Ray
State Farm Mut. Auto. Ins. Co. v. Mid-Continent Cas.                Anderson. While Pella may be interested to learn
Co., 518 F.2d 292, 296 (10th Cir. 1975) (emphasis                   whether Ray Anderson has coverage, this determination
added). In State Farm, the Tenth Circuit was                        does not create a controversy as between itself and
considering whether all conditionally necessary and                 plaintiff. As such, the court will grant Pella's motion.
indispensable [*9] parties were joined in accordance
with Rule 19 of the Federal Rules of Civil Procedure.
See id. In the present case, the court is faced with a              III. CINCINNATI'S MOTION FOR JUDGMENT ON THE
substantially different procedural challenge. This                  PLEADINGS OR MOTION TO DISMISS
challenge is more akin to the issue of permissive joinder
as established in Rule 20 of the Federal Rules of Civil             Cincinnati brings its motion pursuant to either Rule 12(c)
Procedure. HN5[ ] See Fed. R. Civ. P. 20 ("All persons              or Rule 12(b)(6) of the Federal Rules of Civil Procedure.
. . . may be joined in one action as defendants if there is         Both theories of relief seek similar results.
asserted against them . . . any right to relief in respect of
or arising out of the same transaction . . . .").
                                                                    A. Appropriate Standard

The court is persuaded, upon reflection on the historical           Whether the court addresses Cincinnati's request under
purpose of declaratory judgments, 1 HN6[ ] that only                Rule 12(c) or Rule 12(b)(6) does not alter the general
those parties directly involved with the case's                     standards by which the court considers the motion. See,
controversy should be joined as defendants. See, e.g.,              e.g., Gallardo v. Board of County Comm'rs, 857 F.
Normandy Pointe Assocs. v. Federal Emergency                        Supp. 783, 785 (D. Kan. 1994). In light of the court's
Management Agency, 105 F. Supp. 2d 822, 830-31                      previous discussion, the court will construe this motion
(S.D. Ohio 2000) (dismissing a party-defendant in a                 as seeking dismissal under Rule 12(b)(6).
declaratory action because no "case or controversy"
existed between the defendant and plaintiff); Aetna Cas.
& Sur. Co. v. Rasa Mgmt. Co., 621 F. Supp. 892, 893                 B. Discussion
(D. Nev. 1985) (same); Reardon, 323 F. Supp. at 599
                                                                    The arguments presented by Cincinnati are generally
(same). Cf. Franklin Life Ins. Co. v. Johnson, 157 F.2d
                                                                    equivalent to those asserted by Pella, i. [*12] e.,
653, 658 (10th Cir. 1946) [*10] (holding contingent
                                                                    plaintiff has failed to allege any controversy as existing
beneficiary of insurance contract was proper party to
                                                                    between itself and Cincinnati. Plaintiff argues that
declaratory judgment action because beneficiary's rights
                                                                    Cincinnati is a proper party-defendant because both
flowed from the contract). In any cause of action there
                                                                    insurance providers disclaim coverage to Ray
will be untold scores of individuals who will have
                                                                    Anderson. In sum, plaintiff asserts that "a declaratory
                                                                    judgment action will clarify the legal issues and settle
                                                                    the controversy as the Court will decide whether or not
1 "The  purpose of the declaratory judgment action is to settle     Potomac's or Cincinnati's policy, if either, applies to Ray
actual controversies before they have ripened into violations of    Anderson's claim." (Pl.'s Mem. at 3).
law or legal duty or breach of contractual obligations." Franklin
Life Ins. Co. v. Johnson, 157 F.2d 653, 658 (10th Cir. 1946).

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Cincinnati, however, argues that there is no controversy
regarding which policy Ray Anderson may or may not
have coverage under. In fact, it is presented to the court
that neither the Huangs, Ray Anderson, or any entity
involved in this matter have filed a claim with Cincinnati.
Plaintiff asserts that "Cincinnati is an interested party in
the present matter as Cincinnati's policy of insurance is
at issue." (Pl.'s Mem. at 5). However, Cincinnati is
correct in pointing out that the counts in plaintiff's
complaint are solely concerned with plaintiff's policy not
the existence of alternative coverage under Cincinnati's
policy.

This is not a case wherein independent polices overlap
due to the multiplicity of [*13] coverage or insured
individuals. See, e.g., Security Ins. Co. v. Alliance Mut.
Ins. Co., 408 F.2d 878 (10th Cir. 1969); Maryland Cas.
Co. v. National Mut. Cas. Co., 170 F.2d 759 (10th Cir.
1948). This action is squarely focused on the question
of plaintiff's duty under its own policy with Ray
Anderson. Plaintiff has offered no evidence of how the
court's ruling would impact or resolve any dispute or
controversy as between itself and Cincinnati. With no
claim being asserted against Cincinnati, the court is
unable to find how Cincinnati's legal interests, rights, or
liabilities intersect with plaintiff's. As Cincinnati asserts, it
"simply does not care whether Potomac's policy
provides coverage in this matter." (Cincinnati's Reply
Mem. at 5). In accordance with the court's earlier
recitation of the applicable law, the court finds it
appropriate to grant Cincinnati's motion.

IT IS THEREFORE BY THIS COURT ORDERED that
Pella Corporation's Motion to Dismiss (Doc. 51) and
defendant Cincinnati Insurance Companies' Motion for
Judgment on the Pleadings, Or, in the Alternative, for
Dismissal with Prejudice (Doc. 49) are granted.

Dated this [*14] 20 day of April, 2001, at Topeka,
Kansas.

DALE E. SAFFELS

United States District Judge


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                                              Robinson v. Blank
                          United States District Court for the Southern District of New York
                                     May 20, 2013, Decided; May 20, 2013, Filed
                                                 11 Civ. 2480 (PAC) (DF)

Reporter
2013 U.S. Dist. LEXIS 71471 *; 2013 WL 2156040
                                                             Judge:
MAURICE G. ROBINSON, Plaintiff, - against -
REBECCA M. BLANK, Acting Secretary of the                    On April 1, 2011, plaintiff Maurice Robinson
Department of Commerce, Defendant.                           ("Robinson") filed this action against his former
                                                             employer, the United States Department of Commerce,1
Prior History: Robinson v. Blank, 2013 U.S. Dist.
                                                             for discrimination on the basis of race in violation of Title
LEXIS 72068 (S.D.N.Y., Feb. 22, 2013)
                                                             VII of the Civil Rights Act of 1964 ("Title VII"). He alleges
                                                             that he was wrongfully terminated by the Census
Core Terms                                                   Bureau (the "Bureau"), a division of the Department of
                                                             Commerce, pursuant to policies and practices that he
magistrate judge, terminated, hired, reinstatement,          alleges have a disparate impact on racial minorities.
recommended, moot, injunctive, policies, Census,
practices, enumerators, speculative, expunge,                A more complete recitation of the factual allegations and
declaration, remedied, courts, rehire, declaratory           Robinson's complaint is set forth in this Court's prior
judgment, discovery, employees, equitable, effects,          opinion of March 28, 2012, denying Defendant's motion
parties, ripe, circumstances, allegations, declaratory,      to dismiss for failure to exhaust administrative remedies.
quotations, wrongfully, ambiguous                            (Dkt. No. 33.) Briefly summarized, Robinson was hired
                                                             as an enumerator for the 2010 Census, a job which was
Counsel: [*1] For Maurice G. Robinson, Plaintiff: Adam       of a very limited duration. Therafter, Robinson was
T Klein, LEAD ATTORNEY, Melissa E. Pierre-Louis,             arrested for trespassing, and fired due to the arrest. The
Ossai Miazad, Outten & Golden, LLP (NYC), New York,          charges against him were subsequently dropped and
NY; Judith Melissa Whiting, The Legal Action Center,         Robinson's record expunged. Nevertheless, he was not
New York, NY; Paul Francis Keefe, Community Service          rehired because the expungement records were not
Society, New York, NY; Paul W. Mollica, Outten &             properly filed in Robinson's personnel folder at the
Golden LLP, Chicago, IL.                                     Bureau. The current dispute centers around the
For Rebecca M. Blank, Acting Secretary, United States        timeliness of Robinson's complaint and the
Department of Commerce, Defendant: Natalie Nancy             appropriateness of the relief sought, given the finite
Kuehler, U.S. Attorney's Office, SDNY (Chambers              duration of the job he was hired to perform.
Street), New York, NY.
                                                             On April 13, 2012, Robinson [*3] filed an Amended
                                                             Complaint seeking lost wages and equitable relief,
Judges: HONORABLE PAUL A. CROTTY, United
                                                             including "(i) a declaration that the policies and practices
States District Judge.
                                                             described in the First Amended Complaint are unlawful
Opinion by: PAUL A. CROTTY
                                                             1 Robinson  originally named Gary Locke, formerly the United
Opinion                                                      States Secretary of Commerce, [*2] as the defendant in this
                                                             matter. (Dkt. 2.) After his resignation and the appointment of
                                                             John Bryson as the United States Secretary of Commerce, the
                                                             Court substituted John Bryson as the defendant. (Dkt. 34.).
ORDER ADOPTING R&R                                           After he, in turn, resigned, Rebecca Blank, currently Acting
                                                             Secretary of Commerce, was substituted as the defendant.
HONORABLE PAUL A. CROTTY, United States District             (Dkt. 50).

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and violate Title VII; (ii) an injunction prohibiting [the    is too remote to confer standing.
Bureau] from engaging in the policies and practices
described in the First Amended Complaint; (iii) an order      Plaintiffs must demonstrate three elements to prove that
that [the Bureau] eradicate the effects of its past and       they have standing to bring suit:
present unlawful employment practices by instituting
                                                                  First, the plaintiff must have suffered an injury in
and carrying out policies, practices, and programs that
                                                                  fact — an invasion of a legally protected interest
provide equal employment opportunities for all
                                                                   [*5] which is (a) concrete and particularized and (b)
applicants and employees; and (iv) an order reinstating
                                                                  actual or imminent, not conjectural or hypothetical.
his employment." (Objections at 1-2 (internal quotations
                                                                  Second, there must be a causal connection
and citations omitted).)
                                                                  between the injury and the conduct complained of
                                                                  — the injury has to be fairly . . . traceable to the
Defendant moves to dismiss Robinson's claims for
                                                                  challenged action of the defendant, and not . . . the
injunctive and declaratory relief pursuant to Fed. R. Civ.
                                                                  result of the independent action of some third party
P. 12(b)(1). On February 26, 2013, Magistrate Judge
                                                                  not before the court. Third, it must be likely, as
Debra Freeman issued a Report and Recommendation
                                                                  opposed to merely speculative, that the injury will
("R&R") recommending that Defendant's motion be
                                                                  be redressed by a favorable decision.
granted in part and denied in part. Defendant's
objections were received on April 9, 2013. For the
                                                              Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61,
reasons that follow, Defendant's motion is partially
                                                              112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992) (quotations
granted and partially denied, as set forth below.
                                                              omitted). "'[A] plaintiff must demonstrate standing for
                                                              each claim and form of relief sought.'" NRDC v. FDA,
                                                              710 F.3d 71, 86 (2d Cir. 2013) (quoting Baur v.
DISCUSSION
                                                              Veneman, 352 F.3d 625, 641 n.15 (2d Cir. 2003)).
                                                              When seeking injunctive relief, plaintiffs must also show
                                                              that they have "'sustained or [are] immediately in danger
I. Legal Standard
                                                              of sustaining some direct injury as the result of the
In reviewing a [*4] report and recommendation, the            challenged official conduct.'" Shain v. Ellison, 356 F.3d
Court "may accept, reject, or modify, in whole or in part,    211, 215 (2d Cir. 2004) (quoting City of Los Angeles v.
the findings or recommendations made by the                   Lyons, 461 U.S. 95, 101-02, 103 S. Ct. 1660, 75 L. Ed.
magistrate judge." 28 U.S.C. § 636(b)(1)(C). "Where a         2d 675 (1983)). In doing so, plaintiffs generally "'cannot
party objects to an R&R, the Court must review the            rely on past injury to satisfy the injury requirement but
contested portions de novo, but the Court may adopt           must show [*6] a likelihood that [they] . . . will be injured
those portions of an R&R that are not objected to, so         in the future,'" id. (quoting DeShawn E. v. Safir, 156
long as there is no clear error on the face of the record."   F.3d 340, 344 (2d Cir. 1998)), though courts have
Etheridge v. Alliedbarton Sec. Servs., LLC, No. 12 Civ.       recognized an exception where the injunctive relief
5057, 2013 U.S. Dist. LEXIS 62414, 2013 WL 1832141,           sought is the reinstatement of a former employee. See
at *1 (S.D.N.Y. May 1, 2013).                                 Kassman v. KPMG LLP, 925 F. Supp. 2d 453, 2013
                                                              U.S. Dist. LEXIS 17491, 2013 WL 452913, at *10-11
                                                              (S.D.N.Y. 2013).
II. The R&R
                                                              First, the magistrate judge recommended that Robinson
                                                              has standing to seek an injunction requiring Defendant
                                                              to expunge any agency records of his termination and/or
a. Standing
                                                              provide a declaration that his termination was improper
Defendant contends that Robinson lacks standing to            because "it is not 'merely speculative' to infer that the
seek a declaration that the Bureau's background checks        extremely short duration of Plaintiff's employment . . .
are unlawful because the policies are no longer in place      would give rise to questions by a prospective employer
— indeed, that they were not even in place at the time        regarding the circumstances under which Plaintiff left his
of the initial complaint. Nor can their change possibly       position" or that "the disclosure of those circumstances
affect Robinson because hiring for the enumerator             would cause Plaintiff harm" which "could be remedied
position is now over and, although such relief might be       by a[n] . . . injunction." (R&R at 16 (quoting Baur, 352
possible with respect to hiring for the 2020 census, that     F.3d at 633). Second, the magistrate judge

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recommended that Robinson be allowed additional              avoidance of premature adjudication, from entangling
discovery into the Bureau's practices because the            themselves       in      abstract    disagreements      over
record was ambiguous as to whether he had standing to        administrative policies, and also to protect the agencies
challenge rehiring policies and whether the Bureau           from judicial interference until an administrative decision
 [*7] was hiring for the position from which he was          has been formalized and its effects felt in a concrete
terminated at the time he filed his suit. (Id. at 17-19.)    way by the challenging parties.'" Nat'l Park Hospitality
Third, the magistrate judge recommended that                 Ass'n v. Dep't of Interior, 538 U.S. 803, 807-08, 123 S.
Robinson lacked standing to enjoin the Bureau's              Ct. 2026, 155 L. Ed. 2d 1017 (2003) (quoting Abbott
termination policy because alternative theories under        Labs. v. Gardner, 387 U.S. 136, 148-49, 87 S. Ct. 1507,
which it might harm him in the future were "too              18 L. Ed. 2d 681 (1967)). In determining whether a
'speculative.'" (Id. (quoting City of Los Angeles v.         dispute is ripe, courts engage in a "two-pronged
Lyons, 461 U.S. 95, 109, 103 S. Ct. 1660, 75 L. Ed. 2d       analysis [*9] of (1) whether the issues presented to the
675 (1983)).                                                 district court are fit for review, and (2) what hardship the
                                                             parties will suffer in the absence of review." Connecticut
                                                             v. Duncan, 612 F.3d 107, 113 (2d Cir. 2010).
b. Mootness
                                                             The magistrate judge recommended rejecting
Defendant argues that the instant dispute is now moot.       Defendant's argument because Robinson "is alleging a
The 2010 census is over, its work in the books, so the       longstanding, and . . . continuing, policy of using
policies and practices which governed the Bureau in the      background checks (and specifically criminal histories)
hiring of enumerators are no longer in effect. "In           in a discriminatory way." (R&R at 22.) Accordingly, the
general, a case becomes moot 'when the issues                claims are ripe because they are "directed at preventing
presented are no longer live or the parties lack a legally   the continued application of the . . . discriminatory
cognizable interest in the outcome.'" Murphy v. Hunt,        policies." (Id. at 22-23.)
455 U.S. 478, 481, 102 S. Ct. 1181, 71 L. Ed. 2d 353
(1982) (quoting U.S. Parole Comm'n v. Geraghty, 445
U.S. 388, 396, 100 S. Ct. 1202, 63 L. Ed. 2d 479             III. Defendant's Objections
(1980)). "While standing focuses on the status of the
parties when an action is commenced, the mootness
doctrine requires that the plaintiffs' claims remain alive   a. Standing to Seek Reinstatement
throughout the course of the proceedings." Etuk v.
                                                             Defendant asserts error in the magistrate judge's
Slattery, 936 F.2d 1433, 1441 (2d Cir. 1991). "[T]he
                                                             recommendation that Robinson has standing to seek
party seeking to have the case dismissed bears the
                                                             reinstatement to his job because "the relevant inquiry . .
burden of demonstrating mootness [*8] and that burden
                                                             . is not . . . whether a plaintiff 'at the time the suit is
'is a heavy one.'" Id. (quoting County of Los Angeles v.
                                                             commenced' could have been reappointed to his old
Davis, 440 U.S. 625, 631, 99 S. Ct. 1379, 59 L. Ed. 2d
                                                             position, but rather whether reinstatement is a feasible
642 (1979)).
                                                             remedy." (Objections at 10.) Further, assuming
The magistrate judge recommended that the defendant          arguendo that the magistrate judge applied the proper
failed to carry this "heavy burden" because Robinson         standard, Robinson could not have been reinstated
"claims that the Bureau's objectionable policy is still in   when he filed his initial complaint on April 1, 2011. First,
place, and even Defendant does not contend that the           [*10] the magistrate judge is correct: "Standing is
policy has been definitively abandoned and replaced          determined at the time a complaint is filed," whereas the
with an alternative policy free of the alleged               ongoing feasibility of "injunctive relief . . . is a question of
deficiencies." (R&R at 21.)                                  mootness, not standing." Jones v. Goord, 435 F. Supp.
                                                             2d 221, 225 (S.D.N.Y. 2006). Defendant cites no
                                                             authority to the contrary. Whether Robinson's suit is
c. Ripeness                                                  moot is addressed infra.

Defendant asserts that Robinson's claims for injunctive      Second, with respect to whether Robinson had standing
and declaratory relief are not ripe because they relate to   to seek injunctive relief, the magistrate judge concluded
future hiring decisions. "Ripeness is a justiciability       that "discovery . . . is needed to clarify the record." (R&R
doctrine designed 'to prevent the courts, through            at 18-19.) The magistrate judge found that Defendant's


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declaration concerning whether Robinson could have                intended that Title VII "'make the victims of unlawful
been reinstated to the same position was ambiguous                discrimination whole, and . . . the attainment of this
and failed to explain why Robinson could not have been            objective . . . requires that persons aggrieved by the
placed in a similar job elsewhere.2 (R&R at 18-19.) The           consequences and effects of the unlawful employment
declaration was submitted by Viola Lewis Willis                   practice be, so far as possible, restored to a position
("Willis"), Assistant Division Chief for Decennial                where they would have been were it not for the unlawful
Management Analysis and Special Censuses, and                     discrimination,'" Firefighters Local Union No. 1784 v.
stated that all enumerators appointed on April 27, 2010,          Stotts, 467 U.S. 561, 582 n.15, 104 S. Ct. 2576, 81 L.
the date of Robinson's appointment, were terminated as            Ed. 2d 483 (1984) (quoting 118 Cong. Rec. 7168
of September 5, 2010. (Willis Decl. ¶ 15.) But Willis did         (1972)), such that "'federal courts are empowered to
not "indicate whether any enumerators . . . who were              fashion such relief as the particular circumstances
hired with earlier or later 'effective dates' [*11] of             [*13] of a case may require to effect restitution.'" Id.
employment had similarly been terminated by the date              (quoting Franks v. Bowman Transp. Co., Inc., 424 U.S.
this suit was filed." (R&R at 18.) Defendant now                  747, 764, 96 S. Ct. 1251, 47 L. Ed. 2d 444 (1976)).
attempts to patch over this ambiguity by submitting an            Mindful of this admonition, courts have ordered the
additional declaration stating that the last enumerator           reinstatement of employees in different positions for
hired for the 2010 census was hired on August 30,                 which they are qualified where their original position was
20103 (Second Willis Decl. at ¶¶ 2-3), but this appears           eliminated, see, e.g. Woodhouse v. Magnolia Hosp., 92
to contradict other evidence in the record which states           F.3d 248, 257-58 (5th Cir. 1996); Kuepferle v. Johnson
that the last employees hired through the Census Hiring           Controls, Inc., 713 F. Supp. 171, 173 (M.D.N.C. 1988),
and Employment Check Office ("CHECO"), which is                   or to positions in different geographic locations. See,
"responsible for background check processing for                  e.g., Farhat v. Sally Beauty Co., Inc., No. 91 Civ. 2177,
applicants applying for and hired to conduct the . . .            1994 U.S. Dist. LEXIS 21901, 1994 WL 645282, at *9
Census," were not terminated until June 18, 2011.                 (E.D. Mo. Aug. 23, 1994). Defendant has not
(Patterson Decl. ¶¶ 1, 7.) While these statements may             demonstrated that such a remedy was unfeasible when
be reconcilable, they are sufficiently inconsistent and           this litigation began.
ambiguous to permit Robinson discovery on whether his
employment could have been reinstated in April, 2011.
                                                                  b. Standing to Seek Declaratory Relief
Moreover, the magistrate judge was correct that
Defendant failed to explain "why . . . Plaintiff could not        With respect to Robinson's request for "declaratory
have been given a similar job for a different region."            judgment that the practices complained of . . . are
(R&R at 19.) Though Defendant established that under              unlawful" (Am. Compl. ¶ 38), the magistrate judge
the normal Census hiring process, "Robinson . . . could           recommended finding that Robinson "should be allowed
only have been hired to work in LCO 2220," which                  some discovery into what the Bureau's actual practice
ceased hiring enumerators on May 25, 2010 (Willis                 was," based on Robinson's allegation that "despite any
Decl. ¶¶ 8-14), reinstating an employee who was                   stated 'policy' regarding the availability of rehire to
wrongfully terminated is inherently an atypical act done          terminated employees who could demonstrate the
outside the bounds of the routine process. Congress               dismissal of criminal charges against [*14] them, the
                                                                  Bureau's actual practice in Plaintiff's case was to ignore
                                                                  post-arrest submissions and neglect to investigate
                                                                  whether charges had in fact been dropped." (R&R at
2 Where   a defendant moves to dismiss for lack of standing,      18.)
"the court may resolve the disputed jurisdictional issues by
referring to evidence outside of the pleadings, such as           "[W]here a conclusory allegation in the complaint is
affidavits.'" Unclaimed Property Recovery Serv., Inc. v. Credit   contradicted by a document . . . , the document controls
Suisse AG, No. 12 Civ. 3290, 2013 U.S. Dist. LEXIS 59499,         and the allegation is not accepted as true." Amidax
2013 WL 1777761, at *1 (S.D.N.Y. Apr. 25, 2013) (quoting          Trading Group v. S.W.I.F.T. SCRL, 671 F.3d 140, 146
Zapata Middle E. Const. Co. Ltd. v. Emirate of Abu Dhabi, 215     (2d Cir. 2011). The magistrate judge noted that while
F.3d 247, 253 (2d Cir. 2000)).                                    Defendant mentioned in its moving papers that, "but for
3 The
                                                                  an administrative error, Plaintiff would have been
       [*12] Court may "receive further evidence" in assessing
                                                                  rehired in May, 2010, upon presentation of
objections to an R&R. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.
                                                                  documentation showing that the criminal charge against
72(b)(3).

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him had been dismissed," the evidence submitted by              Defendant asserts that Robinson's "theory of future
Defendant "never actually states that . . . the Bureau          injury is too speculative to satisfy the well-established
ever stood ready to rehire him." (R&R at 17-18.) This           requirement that threatened injury must be 'certainly
omission, which was pivotal to the magistrate judge's           impending.'" Clapper, 133 S.Ct. at 1143 (quoting
finding that the record did not contradict the alleged          Whitmore v. Arkansas, 495 U.S. 149, 158, 110 S. Ct.
discrepancy between Defendant's stated policy and how           1717, 109 L. Ed. 2d 135 (1990), emphasis in original). In
that policy was applied in practice, has now been cured.        Clapper, the Supreme Court found that "the Second
(See Third Patterson Decl. at ¶ 3.) Based on the                Circuit's 'objectively reasonable likelihood' standard is
supplemented record, there was no injury that could be          inconsistent with [the] requirement that threatened injury
remedied by declaratory relief relating to the Bureau's         must be certainly impending to constitute injury in fact,"
hiring and re-hiring [*15] policies for the 2010 Census,        and that the theory [*17] of standing asserted was
and "allegations of possible future injury" relating to         overly speculative because it "relie[d] on a highly
either a hypothetical future arrest or the 2020 Census          attenuated chain of possibilities." Id. (internal quotations
"are not sufficient" because they are "too speculative          omitted). Yet, "as the majority appear[ed] to concede,
for Article III purposes." Clapper v. Amnesty Int'l, USA,       certainty is not . . . the touchstone of standing." Id. at
133 S.Ct. 1138, 1147, 185 L. Ed. 2d 264 (2013) (internal        1160 (Breyer, J., dissenting, emphasis in original).
quotations omitted, emphasis in original). Accordingly,         Rather, writing for the majority, Justice Alito
Robinson lacks standing to seek declaratory judgment            acknowledged that the Supreme Court's prior opinions
and discovery into the Bureau's general practice, as            "do not uniformly require plaintiffs to demonstrate that it
recommended by Judge Freedman, is no longer                     is literally certain that the harms they identify will come
warranted.                                                      about" and that standing may be "based on a
                                                                'substantial risk' that the harm will occur." Id. at 1150 n.5
                                                                (collecting cases).
c. Standing to Seek Other Equitable Relief
                                                                Moreover, Clapper is inapposite because Defendant has
In light of the "'broad equitable powers'" afforded by Title    not corrected the clerical error that cost Robinson his
VII "to provide victims . . . with 'complete relief,'" Gulino   job. See Clapper, 133 S.Ct. at 1153 (distinguishing
v. Bd. of Educ. Of City Sch. Dist. of N.Y., 96 Civ. 8414,       Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc.,
907 F. Supp. 2d 492, 2012 U.S. Dist. LEXIS 172687,              528 U.S. 167, 184, 120 S. Ct. 693, 145 L. Ed. 2d 610
2012 WL 6043803, at *3 (S.D.N.Y. Dec. 5, 2012)                  (2000), because the harm enjoined in Laidlaw was
(quoting Loeffler v. Frank, 486 U.S. 549, 558 n.6, 108 S.       "concededly ongoing, . . . quite unlike the present
Ct. 1965, 100 L. Ed. 2d 549 (1988)), the magistrate             case."); see also Baur, 352 F.3d at 640-41 ("Unlike in . .
judge noted that Robinson's request for "[a]n order that        . cases where standing was found wanting because the
Defendant eradicate the effects of its past and present         threatened injury was wholly contingent on independent
unlawful employment practices" (Am. Compl. ¶ 40)                and unpredictable events," standing is satisfied [*18] by
could be fairly read to include requests for an injunction      a "present exposure to a credible threat of harm.").
directing Defendant to expunge Robinson's employment            Rather than addressing speculative or hypothetical
records and/or publicly state that Plaintiff's termination      future injuries, an injunction requiring an employer to
was unlawful. (R&R at 15-16.) [*16] The magistrate              expunge personnel files or provide a letter of
judge recommended that Robinson has standing to                 recommendation for a wrongfully discharged employee
seek such relief because Robinson "assert[ed] a                 remedies the "immediate harm" caused by improper
likelihood of 'adverse effects' from the disclosure of his      termination. EEOC v. HBE Corp., 135 F.3d 543, 557
employment history to other, prospective employers."            (8th Cir. 1998). Indeed, in reversing a district court's
(Id. at 16.) Since Robinson "would likely be required to        denial of expungement, the Seventh Circuit explained
disclose his prior employment and at least the dates of         that "[b]y refusing to expunge . . . a successful plaintiff's
that employment" on future employment applications,             personnel file, a court may force the plaintiff to bear the
which "would give rise to questions by a prospective            brunt of his employer's unlawful conduct for the rest of
employer regarding the circumstances under which                his working career, which certainly contravenes the goal
Plaintiff left his position," it was appropriate for the        of making a plaintiff whole through equitable remedies."
magistrate judge to find that the harm from such a              Bruso v. United Airlines, Inc., 239 F.3d 848, 863-64 (7th
disclosure could be remedied by Robinson's requested            Cir. 2001). Accordingly, Robinson "has alleged enough .
relief. (Id. at 16.)                                            . . to recognize his standing to pursue such relief to
                                                                redress the negative consequences of his purportedly

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unlawful termination." (R&R at 17.)


d. Mootness

Finally, Defendant asserts that Robinson's claim for
reinstatement is now moot because "all 2010 decennial
operations employing enumerators have ceased."4
(Objections at 20.) [*19] As discussed supra, courts
ordering the reinstatement of wrongfully terminated
employees are not limited to ordering that they be
reinstated in the same position from which they were
discharged. Accordingly, Robinson's reinstatement
claim is not moot because the Bureau has not
addressed why it would be unable to provide him with a
different, but comparable, job.


CONCLUSION

The Court has reviewed the remaining sections of the
R&R for clear error, and, finding none, hereby adopts
them. For the foregoing reasons, Defendant's motion to
dismiss is PARTIALLY GRANTED, with respect to
Robinson's claim for declaratory judgment and to enjoin
the Bureau's termination policy, and is otherwise
DENIED. The reference to the magistrate judge is
terminated. Defendant is directed to answer to the
complaint and both parties are directed to jointly submit
a civil case management plan by Friday, June 28, 2013.
The Clerk of Court is directed to terminate [*20] the
motion at docket number 38.

Dated: New York, New York

May 20, 2013

SO ORDERED

/s/ Paul A. Crotty

PAUL A. CROTTY

United States District Judge


  End of Document




4 Having   found that Robinson lacks standing to seek
declaratory judgment, the Court does not address Defendant's
assertion that Robinson's claim for declaratory judgment is
moot. Defendant has not asserted that Robinson's claims for
other equitable relief are moot.

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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF WYOMING

  TAMI M. BRONNENBERG                             )
                                                  )
          Plaintiff,                              )
                                                  )
                  v.                              )      Civil Action No: 19-CV-21-S
                                                  )
  BEAU J. EGGER, et al.,                          )
                                                  )
                                                  )
          Defendants.                             )


                       DEFENDANT OFFICER EGGER’S RESPONSE
                        TO MOTION FOR SUMMARY JUDGMENT


          Defendant Officer Egger files this response brief in opposition to Bronnenberg’s
  motion for summary judgment. Bronnenberg moves for summary judgment. The Court
  should deny her motion for the reasons below.
          “The court shall grant summary judgment if the movant shows that there is no
  genuine dispute as to any material fact and the movant is entitled to judgment as a matter
  of law.” J. V. ex rel. C. V. v. Albuquerque Pub. Sch., 813 F.3d 1289, 1294-95 (10th Cir.
  2016) (quoting Fed. R. Civ. P. 56(a)). The Court must deny her motion because she cannot
  overcome qualified immunity on either prong. See Castillo v. Day, 790 F.3d 1013, 1019
  (10th Cir. 2015) (“To overcome this presumption, a plaintiff must prove ‘that (1) the
  defendant violated her constitutional or statutory rights, and (2) the right was clearly




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  established at the time of the alleged unlawful activity.’”). Bronnenberg cannot show a
  constitutional violation and does not identify any case law clearly protecting against good
  faith arrests pursuant to a facially valid arrest warrant. The Court should accordingly deny
  her motion.
     I. Bronnenberg still cannot show a constitutional violation

         It is difficult to glean the grounds for summary judgment from her motion. For
  example, she begins by reciting her request for declaratory judgment and apparently asks
  the Court to declare “that defendant’s acts, policies, and practices herein described and
  complained of violated plaintiff’s rights under the Fourth Amendment and Fourteenth
  Amendment.” (Doc. 38 at 1). To whatever extent she does seek declaratory judgment,
  Officer Egger refers the Court to his response to her motion for declaratory judgment. (Doc.
  39).
         Bronnenberg then clarifies the timing of an interaction described in her affidavit.
  (Doc. 38 at 2). This interaction, however, remains immaterial for the reasons given in
  Officer Egger’s reply in support of summary judgment (Doc. 35 at 3). She still does not
  provide any evidence, nor allege, that the interaction in question was routine police
  procedure or that Officer Egger had any knowledge of said interaction.
         Bronnenberg, however, appears to argue that Officer Egger violated the Fourth
  Amendment by arresting her without probable cause. (Doc. 38 at 2-5). She appears to assert
  that subjective intent is irrelevant to the analysis of the Fourth Amendment claim and goes
  a step further by appearing to suggest that a strict liability standard applies. (Id. at 2-4). In
  support of her position, she cites cases which considered the probable cause of warrantless
  searches and arrests. See e.g. Specht v. Jensen, 832 F.2d 1516, 1522-23 (10th Cir. 1987)
  (“In sum, a Fourth Amendment violation occurs when police engage in a warrantless
  search and no exception to the warrant requirement applies, or when police search pursuant
  to a warrant not based on probable cause.”) (emphasis added).
         This position, however, is flawed. While it is true that “[t]he probable cause inquiry
  is an objective one” and that the subjective intent of the arresting officer is irrelevant in



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  this analysis, “[p]robable cause to arrest exists where, under the totality of the
  circumstances, a reasonable person would believe that an offense has been committed by
  the person arrested.” Morris v. Noe, 672 F.3d 1185, 1192 (10th Cir. 2012); Devenpeck v.
  Alford, 543 U.S. 146, 154-55 (2004) (“Subjective intent of the arresting officer, however
  it is determined (and of course subjective intent is always determined by objective means),
  is simply no basis for invalidating an arrest.”).
         And here, Bronnenberg was arrested pursuant to a facially valid arrest warrant. This
  is fatal to Bronnenberg’s argument for two reasons. First, the warrant itself is enough to
  establish probable cause for the arrest. See e.g. Bencomo v. Bd. of Cnty. comm’rs of
  Bernalillo, 2016 U.S. Dist. LEXIS 189360, at *19 (D.N.M. Mar. 31, 2016) (“So too, here,
  even if Gonzales’ mistake of booking Plaintiff into MDC on the Calletano warrant was
  unreasonable, Gonzales’ action of booking Plaintiff into MDC nonetheless was reasonable
  under the Fourth Amendment because, regardless of Gonzales’ subjective basis for
  booking Plaintiff into MDC, the objective facts known to Gonzales at the time of the
  booking establish a reasonable basis for Plaintiff’s detention—namely, Plaintiff’s own
  facially-valid arrest warrant.”). Second, as discussed in the memorandum in support of
  summary judgment, the existence of the facially valid warrant constitutes an absolute bar
  to damages from an arrest pursuant to that warrant. See (Doc. 29 at 7-10). The analysis of
  this defense is independent from the analysis for probable cause and revolves around the
  good-faith execution of the arrest warrant in question. (Id.); Hill v. Bogans. 735 F.2d 391,
  393 (10th Cir. 1984). And for the reasons already discussed in the memorandum in support
  of summary judgment, this defense bars any claim against Officer Egger. (Doc. 29 at 7-
  10).
         Finally, Bronnenberg briefly appears to assert that the arrest was, in fact, an arrest
  and not non-custodial questioning. (Doc. 38 at 4). Officer Egger does not dispute this point,
  but contends it was a good-faith arrest pursuant to a facially valid arrest warrant. In sum,
  Bronnenberg cannot show any constitutional violation and the Court must dismiss her
  motion.



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     II.      Bronnenberg still does not identify any case law clearly establishing a right
              against good faith arrests pursuant to a facially valid arrest warrant.

           Bronnenberg’s motion for summary judgment also fails because it does not identify
  clearly established law by pointing “to either a Supreme Court or Tenth Circuit decision,
  or the weight of authority from other courts, existing at the time of the alleged violation.”
  Knopf v. Williams, 884 F.3d 939, 944 (10th Cir. 2018). To reiterate, “the clearly established
  law must be ‘particularized’ to the facts of the case.” Scott v. City of Albuquerque, 711 F.
  App’x 871, 879 n.7 (10th Cir. 2017) (quoting White v. Pauly, 137 S.Ct. 548, 552 (2017)
  (per curiam)).
           As an initial matter, Bronnenberg’s motion does not address this element. (Doc. 38
  at 1-5). This alone is fatal to her motion. Bronnenberg, however, does attach two cases to
  her motion. (Doc. 38-1 and 38-2). Both cases fail to clearly establish the rights in question
  to whatever extent she seeks to use them in support of her argument on this element.
           First, she cites Specht v. Jensen, a case where officers searched a computer without
  any warrant whatsoever. 832 F.2d 1516, 1523 (10th Cir. 1987). This case is distinguishable
  because it does not involve an arrest pursuant to a facially valid arrest warrant. Id. Rather,
  at most it condemns the conduct of officers who negligently rely on a repossession order
  to conduct a warrantless search of a computer. Id. This case did not involve an arrest, nor
  the execution of a facially valid warrant and is thus distinguishable from this case.
           Second, she cites Beck v. Ohio, a case where the Supreme Court found a warrantless
  arrest lacked probable cause because “[n]o decision of this Court has upheld the
  constitutional validity of a warrantless arrest with support so scant as this record presents.”
  379 U.S. 89, 93(1964). The arrest was solely based on the officer’s apparent prior
  knowledge of the arrestee through unidentified “reports” and “information;” the officer’s
  testimony did not explain the source of any information. Id. Beck is distinguishable alone
  on the fact that it involved a warrantless arrest; it simply cannot serve as notice that the
  good-faith execution of a facially valid warrant was somehow wrongful.
           For the reasons above, and those discussed in prior filings, Bronnenberg has not,
  and cannot, identify clearly established law protecting against the good-faith execution of


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  facially valid arrest warrants verified through routine police procedures. (Doc. 29 at 11-
  15); (Doc. 36 at 2-5). The Court should accordingly deny Bronnenberg’s motion.
     III.   Conclusion

         For the reasons above, and those already discussed in his motion for summary

  judgment, Defendant Officer Egger respectfully requests the Court deny Bronnenberg’s

  motion for summary judgment.

         DATED this 18th day of June, 2019.

                                            /s/ Adrian K. Kowalski
                                            Adrian K. Kowalski [Wyo. Bar No. 7-6125]
                                            Assistant Attorney General


                               CERTIFICATE OF SERVICE

         I do hereby certify that I have sent a copy of the foregoing on this 18th day of June
  2019, to the following individuals:

   Tami M. Bronnenberg                                           [✔] U.S. MAIL
   P.O. Box 802
   Cody, WY 82414




                                            Jessica Curless
                                            Jessica Curless, Paralegal
                                            Office of the Wyoming Attorney General




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     Neutral
As of: June 18, 2019 7:59 PM Z


                         Bencomo v. Bd. of Cty. Comm’rs of Bernalillo
                                 United States District Court for the District of New Mexico
                                                   March 31, 2016, Filed
                                                Civ. No. 14-1114 SCY/KBM

Reporter
2016 U.S. Dist. LEXIS 189367 *

SERGIO ALBERTO BENCOMO, Plaintiff, v. BOARD OF
COUNTY COMMISSIONERS OF THE COUNTY OF
                                                                MEMORANDUM OPINION AND ORDER
BERNALILLO, et al., Defendants.
                                                                THIS MATTER is before the Court on Defendants Board
Prior History: Bencomo v. Bd. of Cty. Comm'rs of                of County Commissioners of the County of Bernalillo
Bernalillo, 2016 U.S. Dist. LEXIS 189360 (D.N.M., Mar.          ("the County"), Bernalillo County Metropolitan Detention
31, 2016)                                                       Center ("MDC"), and Violette Gonzales's Motion for
                                                                Partial Summary Judgment No. II. ECF No. 40. In this
Core Terms                                                      motion, Defendants argue that they are entitled to
                                                                summary judgment on Plaintiff's claims for Negligence
law enforcement officer, duties, summary judgment,              (Count IV) and Deprivation of Rights, Privileges and
immunity, law law law, corrections, inmates, personal           Immunities (Count VI), both of which were brought
property, principal duty, employees, booking, custody,          pursuant [*2] to the New Mexico Tort Claims Act
entity, law enforcement, Defendants', non-movant,               ("NMTCA"), NMSA 1978, § 41-4-1 to -30 (1976, as
arrests, material fact, detention, documents, processes,        amended through 2015). Having reviewed the parties'
purposes, genuine, parties, records, deprivation, courts,       briefing, the relevant law, and otherwise being fully
rights, waived, individuals                                     advised, the Court concludes that Defendants' motion
                                                                for summary judgment on Counts IV and VI is well-taken
Counsel: [*1] For Sergio Alberto Bencomo, Plaintiff:            and shall be granted. Accordingly, Counts IV and VI are
Edward Chavez, Jr, LEAD ATTORNEY, Edward Chavez                 dismissed with prejudice.
Jr Attorney at Law, Albuquerque, NM; Kenneth R.
Wagner, Thomas J. McBride, LEAD ATTORNEYS,
Albuquerque, NM.                                                I. BACKGROUND1
For Board of County Commissioners of the County of
Bernalillo, a political subdivision of the State of New         Plaintiff Sergio Alberto Bencomo's claims in this lawsuit
Mexico, and its Subsidiary, the Bernalillo County               arise from his booking into the MDC on two warrants by
Metropolitan Dentention Center, Violette Gonzales,              Defendant Violette Gonzales, a Corrections Technician
individually and in her official capacity with the Bernalillo   employed by the facility. The parties do not dispute that
County Metropolitan Detention Center, Defendants:               the first warrant was for Plaintiff and charged him with
Lindsay Drennan, LEAD ATTORNEY, Luis E. Robles,                 receiving or transferring stolen motor vehicles, receiving
Marcus J Rael, Jr, Robles, Rael & Anaya, PC,                    stolen property, and one count of aggravated fleeing of
Albuquerque, NM.                                                a law enforcement officer. ECF No. 39-4. Nor do the
                                                                parties dispute that the second warrant was for
Judges: Steven C. Yarbrough, UNITED STATES                      someone other than Plaintiff. This second warrant
MAGISTRATE JUDGE.                                               charged an individual named 'Calletano Bencomo' with
                                                                criminal sexual penetration of a minor in the first degree,
Opinion by: Steven C. Yarbrough                                 criminal sexual contact, and kidnapping. ECF No. 39-3.


Opinion
                                                                1 Except  as   otherwise   noted,   the   following   facts   are
                                                                undisputed.

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Gonzales booked Plaintiff into the MDC on these two            Defendants' motion for summary judgment                      on
warrants on November 3, 2012, and Plaintiff remained           September 9, 2015.2 See Pl. Resp., ECF No. 52.
incarcerated [*3] at the MDC for seventeen (17) days
until his release on November 20, 2012. ECF No. 50-1
at 2-4.                                                        II. STANDARD OF REVIEW

Based on his booking on the Calletano Bencomo                  "The court shall grant summary judgment if the movant
warrant, Plaintiff commenced this civil rights action on       shows that there is no genuine dispute as to any
November 3, 2014 against the County, the MDC,                  material fact and the movant is entitled to judgment as a
Gonzales, the City of Albuquerque, Albuquerque Police          matter of law." Fed. R. Civ. P. 56(a). There is no
Department ("APD"), and unnamed John/Jane Doe                  genuine dispute as to any material fact unless the
employees of the MDC and APD. See Pl.'s Compl. (ECF            evidence is such that a reasonable jury could return a
No. 4-1). Plaintiff's complaint raises individual and          verdict for the non-moving party. Anderson v. Liberty
municipal liability claims pursuant to 42 U.S.C. § 1983        Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L.
as well as claims under the NMTCA. Defendants                  Ed. 2d 202 (1986). In reviewing a motion for summary
removed the action to this Court on December 9, 2014.          judgment, the Court views the evidence and all
ECF No. 1. On March 18, 2015, the Court dismissed              reasonable inferences therefrom in the light most
Defendants the City of Albuquerque and its subsidiary,         favorable to the non-moving party. S.E.C. v. Thompson,
APD, without prejudice from this action based on a joint       732 F.3d 1151, 1156-57 (10th Cir. 2013) (quotation
motion filed by the parties. ECF Nos. 24, 25.                  omitted). Initially, the party seeking summary judgment
                                                               has the burden of showing that there is no genuine
On July 2, 2015, Defendants Gonzales, the County, and          dispute as to any material fact. See Shapolia v. Los
the MDC moved for summary judgment on Counts IV                Alamos Nat'l Lab., 992 F.2d 1033, 1036 (10th Cir.
and VI of Plaintiff's complaint. See Def. Mot., ECF No.        1993). Once the moving party meets its burden, the
40. In Count IV, Plaintiff asserts a negligence claim          non-moving party must show that genuine issues
under the NMTCA against the County, claiming that the          remain for trial. Id.
actions of Gonzales and other unnamed County
correctional officers resulted in the "deprivation of his
rights, privileges or immunities secured [*4] by the           III. ANALYSIS
Constitution and laws of the United States and New
Mexico to remain free from false, unlawful, and/or             The NMTCA "preserves sovereign immunity against tort
unreasonable arrest and false, unlawful and/or                 claims for state governmental entities and public
unreasonable detention." ECF No. 4-1 at 12. Plaintiff          employees acting in the scope of their duties," except as
further alleges in Count IV that the County had                that immunity is waived by Sections 41-4-5 to -12 of the
supervisory responsibility over its employees, including       NMTCA. Fernandez v. Mora-San Miguel Elec. Coop.,
Gonzales, and that it breached this duty by failing to         Inc., 462 F.3d 1244, 1250 (10th Cir. 2006); NMSA 1978,
"properly screen, hire, train, monitor, supervise and/or       § 41-4-4(A) (2001). The only waiver asserted by Plaintiff
discipline all of its employees." Id. In Count VI, Plaintiff   is Section 41-4-12 of the NMTCA, which waives
asserts a claim for the "deprivation of rights, privileges,    sovereign immunity for tort [*6] claims "caused by law
and immunities" under the NMTCA against Gonzales               enforcement officers while acting within the scope of
and the County. ECF No. 4-1 at 14. With regard to              their duties." See NMSA 1978, § 41-4-12 (1977); see
Gonzales, Plaintiff alleges in Count VI that Gonzales's
conduct caused Plaintiff's damages and that Gonzales
was acting as a law enforcement officer when she               2 Plaintiff
                                                                         failed to comply with the Court's Local Rule regarding
violated provisions of the NMTCA. ECF No. 4-1 at 14-           the format of a response brief. See D.N.M.LR-Civ. 56.1(b)
15. With regard to the County, Plaintiff specifically          (stating that "[e]ach fact in dispute must be numbered, must
alleges that the County is liable under the doctrine of        refer with particularity to those portions of the record upon
respondeat superior for violations of the NMTCA by             which the non-movant relies, and must state the number of the
county employees, including Gonzales, who were acting          movant's fact that is disputed . . . . The Response may set
as law enforcement officers at the time they allegedly         forth additional facts other than those which respond to the
violated the NMTCA. ECF No. 4-1 at 14-15.                      Memorandum which the non-movant contends are material to
                                                               the resolution of the motion. Each additional fact must be
Plaintiff   filed   a   response   in   opposition [*5]   to   lettered and must refer with particularity to those portions of
                                                               the record upon which the non-movant relies.").

                                                                                                                           272
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Pl.'s Compl. ECF No. 4-1 at 14. "[I]n order to state a tort        police officer employed by a governmental entity,
claim under the waiver of immunity set out in Section              whose principal duties under law are to hold in
41-4-12, a plaintiff must demonstrate that the                     custody any person accused of a criminal offense,
defendants were law enforcement officers acting within             to maintain public order or to make arrests for
the scope of their duties, and that the plaintiff's injuries       crimes, or members of the national guard when
arose out of either a tort enumerated in this section or a         called to active duty by the governor.
deprivation of a right secured by law." Weinstein v. City
of Santa Fe ex rel. Santa Fe Police Dep't, 1996-NMSC-          NMSA 1978, § 41-4-3(D) (2015) (emphasis added).
021, ¶ 7, 916 P.2d 1313, 121 N.M. 646. Because "[a]n           New Mexico courts have construed this definition
entity or agency can only act through its employees,"          "strictly." See Rayos v. State ex rel. NM Dep't of Corr. et
Plaintiff's NMTCA claims against the County rest on the        al., 2014-NMCA-103, ¶ 8, 336 P.3d 428. "The immunity
County's potential liability for Gonzales's conduct. See       waiver for law enforcement officers requires that the
Abalos v. Bernalillo Cnty. Dist. Attorney's Office et al.,     defendants' principal duties, those duties to which they
1987-NMCA-026, ¶ 18, 734 P.2d 794, 105 N.M. 554.               devote a majority of their time, be of a law enforcement
                                                               nature." Id. (citing Weinstein, 1996-NMSC-021, ¶ 8).
Defendants argue they are entitled to summary                  Thus, the Court must "determine the duties upon which
judgment on Counts IV and VI of Plaintiff's complaint          the employee spends the [*8] majority of his or her time
because Gonzales is not a law enforcement officer as           (principal duties) and consider the character of those
that term is defined under the NMTCA, and alternatively,       principal duties against the admittedly amorphous
that even if she were a law enforcement officer,               standard of the duties and activities traditionally
Gonzales did not commit any of the enumerated torts for        performed by law enforcement officers." Id. "There is no
which immunity is waived for law enforcement officers          exhaustive list of activities that fit within the law
under the NMTCA.3 Defs.' Mot. at 3, 10-16; Defs.' Reply        enforcement mold." Id. However, as the Tenth Circuit
at 6-12 (ECF No. 60). In response, Plaintiff contends          observed in Fernandez, the New Mexico Supreme Court
that Gonzales is a law enforcement officer within the          has considered traditional law enforcement activities to
meaning of the NMTCA and [*7] further, that there are          "include preserving the public peace, preventing and
genuine issues of material fact as to whether she              quelling public disturbances, [and] enforcing state laws,
committed any of the torts for which immunity is waived        including but not limited to the power to make arrests for
for law enforcement officers under the NMTCA. Pl.'s            violation of state laws." See Fernandez, 462 F.3d at
Resp. at 7.                                                    1251 (citing Anchondo v. Corrs. Dep't, 1983-NMSC-051,
                                                               ¶ 8, 666 P.2d 1255,100 N.M. 108).
Thus, the threshold — and as it turns out, dispositive —
inquiry for the Court is whether Gonzales, as a                In this case, the Court will consider the MDC's job
Corrections Technician, is a law enforcement officer for       description for corrections technicians as well as the
purposes of the waiver set forth in Section 41-4-12 of         deposition testimony provided by the parties to
the NMTCA. A law enforcement officer is defined in the         determine whether Gonzales is a law enforcement
NMTCA as a:                                                    officer for purposes of the NMTCA. See Rayos, 2014-
                                                               NMCA-103, ¶ 8 (stating that courts may consider
     full-time salaried    public      employee     of    a    departmental job descriptions, affidavits, statutes or
     governmental entity, or a certified part-time salaried    regulations — among other items — in determining the
                                                               duties of public employees). The job position summary
                                                               states that a corrections technician "perform[s] duties
3 With regard to Count IV, Defendants also argue that the      involved with the intake and release of inmates [*9] into
County is immune from tort liability under the NMTCA for       the Metropolitan Detention Center system; maintain[s]
simple negligence claims. Defs.' Mot. at 6-7. The Court need   security of records and personal property associated
not reach this argument because, as stated earlier, the        with these processes[;] [p]erforms a variety of
County's liability in Counts IV and VI rests on Gonzales's     administrative duties such as answering telephones,
conduct and whether she is a law enforcement officer for       typing memoranda and other documents, data entry,
purposes of the waiver set forth in Section 41-4-12. See       cash handling, and filing as needed." ECF No. 40-2. The
Abalos, 1987-NMCA-026, ¶ 23 (stating that an entity may be     duties and responsibilities are specifically enumerated in
named in an NMTCA action if the plaintiff can show "(1) a
                                                               the job description as:
negligent employee who meets one of the waiver exceptions"
                                                                    1. Review, interpret and process legal documents,
and "(2) an entity that has immediate supervisory
                                                                    court orders, and arrest documents using
responsibilities over the employee.").

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     applicable records management systems.                         After careful review of the evidence in the record, the
     2. Collect, prepare and review data for statistical            Court concludes that Gonzales is not a law enforcement
     purposes and report to local, state and federal law            officer within the meaning of the NMTCA for a number
     enforcement agencies.                                          of reasons. First, it is clear that Gonzales's duties are
     3. With high degree of accuracy, enter, cancel, and            primarily administrative [*11] or clerical in nature in that
     modify reports using applicable electronic record              she is responsible for inputting information into the
     management systems.                                            MDC's record management systems, maintaining the
     4. Process and file all incoming documentation and             personal property of inmates, answering telephones,
     maintain records according to established rules and            providing word processing assistance and providing
     regulations.                                                   customer service to outside entities. These
     5. Receive, account for and release money,                     administrative duties and activities do not fit within the
     personal property and clothing submitted to MDC at             mold of those duties traditionally performed by law
     booking; check property for safety hazards and                 enforcement officers. See Dunn v. State ex rel. Taxation
     secure items.                                                  & Revenue Dep't, 1993-NMCA-059, ¶ 11, 859 P.2d 469,
     6. Maintain accurate records and logs of all                   116 N.M. 1 (holding that director of the New Mexico
     personal property; retrieve and gather personal                Motor Vehicle Department was not a law enforcement
     property for inmates being released.                           officer because "the vast majority of [his] time and effort
                                                                    are involved in administrative matters"); see also
     7. Investigate and research missing or lost                    Anchondo, 1983-NMSC-051, ¶¶ 5-7 (holding that the
     personal [*10] property.                                       secretary of corrections and warden of state penitentiary
     8. Maintain security of work areas by limiting                 were not law enforcement officers because their
     access to authorized personal only; maintain and               principal duties were administrative in nature and they
     control access to files.                                       did "not deal directly with the daily custodial care of
     9. Provide exceptional customer service to outside             prison inmates.").
     agencies, the public, coworkers, etc. by providing
     appropriate information according to policy and                Second, there is no evidence in the record establishing
     procedures.                                                    that Gonzales had the authority to "make arrests for
     10. Provide typing/word processing assistance for              crimes," Section 41-4-3(D), or that she had actually ever
     the department; answer telephone, transfer calls               done so, in her position as a corrections technician. Nor
     and take messages when necessary.                              is there evidence that Gonzales was required to hold
     11. Maintain work area in a clean and orderly                  any type of law enforcement certification or that she had
     manner.                                                        any authority [*12] to enforce state laws while
                                                                    performing her duties as a corrections technician. See
Id. This job description is consistent with Gonzales'               Limacher v. Spivey, 2008-NMCA-163, ¶ 24, 198 P.3d
description of her job duties in her deposition:                    370, 145 N.M. 344 (affirming district court's
    [As a corrections technician], we either work in                determination that employee of the office of state
    records which processes documentation for release               engineer was not a law enforcement officer under the
    or intake of inmates' files. Booking is when we                 NMTCA where "she had never actually arrested anyone,
    process their actual — when we talk to inmates and              her duties were mainly administrative, she had no law
    actually process them into our system. And                      enforcement certification, she did not carry a gun, and
    property is when we take . . . their personal                   her vehicle did not have police emergency lights.").
    property and release their personal property.                   Likewise, there is no indication that Gonzales was
Gonzales Dep. 15:24 - 16:6, May 22, 2015, ECF No. 40-               responsible for "maintain[ing] public order," Section 41-
1.4                                                                 4-3(D), in the course of performing her duties as a
                                                                    corrections technician. See Dunn v. McFeeley, 1999-
                                                                    NMCA-084, ¶ 24, 984 P.2d 760, 127 N.M. 513
4 The  Court notes that Plaintiff set forth several facts in his    (interpreting the phrase "maintain public order" in
response brief related to Gonzales's alleged actions in booking
                                                                    Section 41-4-3(D) as "essentially the same as handling
Plaintiff. See Pl.'s Resp. at 4-6. The Court does not consider
                                                                    breaches of the peace").
these facts to be material to its analysis because "[t]he
statutory requirement that the defendants be law enforcement
officers does not focus on the defendants' specific acts at the
time of their alleged negligence. Instead it simply requires that   devote a majority of their time, be of a law enforcement
the defendants' principal duties, those duties to which they        nature." Weinstein, 1996-NMSC-021, ¶ 12.

                                                                                                                             274
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                                          2016 U.S. Dist. LEXIS 189367, *12

Third, the Court is not persuaded by Plaintiff's argument     summary judgment on Counts IV and Count VI of
that corrections technicians are law enforcement officers     Plaintiff's complaint. It is therefore ordered that
within the meaning of the NMTCA because they                  Defendants' Motion for Summary Judgment No. II (ECF
"process people into a detention center, which holds          No. 40) is GRANTED and Counts IV and VI of Plaintiff's
inmates accused of offenses" and they "perform the first      complaint are dismissed with prejudice.
step in 'holding in custody any person accused of a
crime.'" Pl.'s Resp. at 11. Plaintiff's argument rests on     IT IS SO ORDERED.
the portion of Section 41-4-3(D) that states that law
                                                              /s/ Steven C. Yarbrough
enforcement officers include those individuals whose
"principal duties under [*13] law are to hold in custody      UNITED STATES MAGISTRATE JUDGE
any person accused of a criminal offense." However, the
Court disagrees that mere employment by a detention           Presiding by Consent
center facility that holds individuals accused of a
criminal offense is sufficient to classify an employee as
a law enforcement officer for purposes of the NMTCA.            End of Document
As the Tenth Circuit and New Mexico courts have
emphasized, "[i]t is the employee's primary duties which
are the crux of the inquiry." Fernandez, 462 F.3d at
1251; see also Dunn, 1999-NMCA-084, ¶ 25 (noting that
New Mexico courts "have repeatedly found that a
connection to law enforcement activity, even being a
member of the law-enforcement team, is insufficient by
itself to make one a law enforcement officer; the
person's duties must directly impact public order.").
Although Gonzales is employed by a facility that holds
individuals accused of offenses, there is no evidence
establishing that any aspect of her duties — primary or
otherwise — includes responsibility for the custodial
care and supervision of inmates. Furthermore, although
Gonzales conducts bookings and processes paperwork
for the intake of inmates, the Court finds that these
actions are not directly connected with those actions
that are traditionally considered law enforcement
activity. [*14] Cf. Abalos, 1987-NMCA-026, ¶ 34, 105
N.M. 554, 734 P.2d 794 (holding that staff of district
attorney's office were not law enforcement officers on
the basis of "their alleged failure to timely process the
paperwork [that] resulted in Moody's release from
custody. An action or inaction indirectly affecting the
release of a prisoner does not rise to a 'principal duty to
hold in custody' under law.") (alterations omitted)).


IV. CONCLUSION

Based on the foregoing, the Court finds that there are
no issues of material fact from which it could be found
that Gonzales falls within the law enforcement waiver
under the NMTCA. Thus, because Gonzales is not a law
enforcement officer as defined in Section 41-4-3(D), the
Court concludes that the waiver of immunity for law
enforcement officers in Section 41-4-12 does not apply
to her or to the County. Defendants are entitled to

                                                                                                                 275
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                                       Scott v. City of Albuquerque
                                   United States Court of Appeals for the Tenth Circuit
                                                  October 5, 2017, Filed
                                                        No. 15-2154

Reporter
711 Fed. Appx. 871 *; 2017 U.S. App. LEXIS 19423 **; 2017 WL 4479357
                                                                clearly established law at that time that would have
QUENTIN SCOTT, Plaintiff - Appellant, v. CITY OF
                                                                given the officer notice that the arrest was unlawful; [2]-
ALBUQUERQUE; RAY SCHULTZ, former Chief of
                                                                The student's excessive force claim failed because he
Police; D. HENSLEY, Albuquerque Police Officer,
                                                                suffered only de minimus injury from the handcuffing;
Defendant - Appellees.
                                                                [3]-The student's ADA claim failed because there was
                                                                no evidence of a request for an accommodation due to
Notice: PLEASE REFER TO FEDERAL RULES OF
                                                                his disability or that the officer should have known that
APPELLATE PROCEDURE RULE 32.1 GOVERNING
                                                                the student needed an accommodation.
THE CITATION TO UNPUBLISHED OPINIONS.

                                                                Outcome
Prior History: [**1] (D.C. No. 1:14-CV-0665-SWS-
                                                                Decision affirmed.
WPL). (D. N.M.).

                                                                LexisNexis® Headnotes
Scott v. City of Albuquerque, 2015 U.S. Dist. LEXIS
189654 (D.N.M., Aug. 17, 2015)

Core Terms
                                                                    Civil Procedure > Appeals > Summary Judgment
arrest, disability, handcuffs, willful, probable cause,
                                                                    Review > Standards of Review
accommodation, classroom, constitutional violation,
educational process, violations, injuries, hallway,
                                                                HN1[   ] Standards of Review
teacher, wrists, qualified immunity, handcuffed, willfully,
walking, argues, janitor's, excessive force, district court,
                                                                Appellate courts review de novo a district court's grant
circumstances, pain, the Fourth Amendment, municipal-
                                                                of summary judgment.
liability, qualified-immunity, excessive-force, interfer[ing,
officer's

Case Summary                                                        Civil Procedure > ... > Summary
                                                                    Judgment > Entitlement as Matter of
                                                                    Law > Appropriateness
Overview
                                                                HN2[   ] Appropriateness
HOLDINGS: [1]-Where a special education middle
school student, who had permission to leave the                 Summary judgment is appropriate when there is no
classroom if he was anxious or distracted, was arrested         genuine dispute of material fact and the movant is
for skipping class under N.M. Stat. Ann. § 30-20-13(D),         entitled to judgment as a matter of law. Fed. R. Civ. P.
which made it illegal to willfully interfere with the           56(a).
educational process, the officer was entitled to qualified
immunity in a § 1983 Fourth Amendment unlawful arrest
claim because even though the officer lacked probable               Civil Procedure > Judgments > Summary
cause to arrest under § 30-20-13(D), there was no                   Judgment > Evidentiary Considerations

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HN3[    ] Evidentiary Considerations                            HN6[    ] Protected Rights

On summary judgment, courts view the facts in the light         42 U.S.C.S. § 1983 imposes liability for violations of
most favorable to the nonmovant and draw all                    rights protected by the Constitution.
reasonable inferences in its favor.


                                                                    Civil Rights Law > ... > Immunity From
    Civil Rights Law > ... > Immunity From                          Liability > Local Officials > Individual Capacity
    Liability > Local Officials > Individual Capacity
                                                                HN7[    ] Individual Capacity
    Civil Procedure > Appeals > Summary Judgment
    Review > Standards of Review                                For a qualified immunity analysis, when a state
                                                                Supreme Court has not spoken on the question at issue,
HN4[    ] Individual Capacity                                   courts assume (without deciding) that a reasonable
                                                                police officer would seek guidance regarding the scope
Qualified immunity protects governmental officials from         of proper conduct at least in part from any on-point
liability for civil damages for conduct that does not           decisions of the state's intermediate court of appeals.
violate clearly-established statutory or constitutional
rights. Appellate courts review qualified-immunity
summary-judgment decisions differently from other
                                                                    Education Law > ... > Student
summary-judgment decisions. When a defendant
                                                                    Discipline > Misconduct > Disruptive Behavior
asserts a qualified-immunity defense, the plaintiff must
show (1) that the defendant violated a federal
                                                                    Criminal Law & Procedure > Criminal
constitutional or statutory right, and (2) that the right was
                                                                    Offenses > Crimes Against Persons > Disruptive
clearly established at the time of the challenged
                                                                    Conduct
conduct. If a plaintiff fails to establish either prong, the
defendant is entitled to qualified immunity.                    HN8[    ] Disruptive Behavior

                                                                N.M. Stat. Ann. § 30-20-13(D) prohibits anybody from
    Constitutional Law > ... > Fundamental                      willfully interfering with the educational process. N.M.
    Rights > Search & Seizure > Probable Cause                  Stat. Ann. § 30-20-13(D). The word "willfully" suggests
                                                                that a violation occurs only when a person acts with the
    Criminal Law & Procedure > Commencement of                  conscious objective of interfering with the educational
    Criminal Proceedings > Arrests > Warrantless                process. In other words, it is not enough that a person
    Arrests                                                     simply commits an act that disrupts the functions of a
                                                                school; to violate § 30-20-13(D), that person must act
    Criminal Law & Procedure > Commencement of                  with the conscious purpose of interfering with the
    Criminal Proceedings > Arrests > Probable Cause             educational process. N.M. Stat. Ann. § 30-20-13(D).

HN5[    ] Probable Cause
                                                                    Criminal Law & Procedure > ... > Acts & Mental
A warrantless arrest violates the Fourth Amendment
                                                                    States > Mens Rea > Willfulness
unless the arresting officer had probable cause to make
the arrest. An officer has probable cause whenever he
                                                                HN9[    ] Willfulness
knows of reasonably trustworthy facts that would lead a
prudent person to believe that the arrestee is
                                                                A willful violation of a provision of a statute or regulation
committing—or has committed—a crime.
                                                                is any conscious or intentional failure to comply
                                                                therewith, as distinguished from accidental or
                                                                involuntary noncompliance.
    Civil Rights Law > ... > Section 1983
    Actions > Elements > Protected Rights


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    Education Law > ... > Student                             A law-enforcement officer's right to make an arrest
    Discipline > Misconduct > Disruptive Behavior             necessarily carries with it the right to use some degree
                                                              of physical coercion. Courts evaluate excessive-force
    Criminal Law & Procedure > Criminal                       claims under an objective-reasonableness standard,
    Offenses > Crimes Against Persons > Disruptive            using the perspective of a reasonable officer on the
    Conduct                                                   scene. The reasonableness' of a particular use of force
                                                              must be judged from the perspective of a reasonable
HN10[    ] Disruptive Behavior                                officer on the scene, rather than with the 20/20 vision of
                                                              hindsight. The inquiry in an excessive force case is an
In N.M. Stat. Ann. § 30-20-13(D), the New Mexico              objective one: the question is whether the officers'
legislature sought to bar conduct that was designed to        actions are objectively reasonable in light of the facts
interfere with the educational process, rather than           and circumstances confronting them, without regard to
conduct that merely happened to have that effect. The         underlying intent or motivation. The reasonableness of a
statute is not genuinely ambiguous.                           police officer's actions is evaluated from the perspective
                                                              of a reasonable officer on the scene, recognizing the
                                                              police officer may have been forced to make split-
    Civil Rights Law > ... > Immunity From                    second decisions in a stressful, dynamic, and
    Liability > Local Officials > Individual Capacity         dangerous environment.

HN11[    ] Individual Capacity
                                                                  Civil Rights Law > ... > Scope > Law Enforcement
For qualified immunity, a plaintiff ordinarily may show           Officials > Excessive Force
that a particular right was clearly established by pointing
to an on-point decision from the U.S. Supreme Court or            Criminal Law & Procedure > Commencement of
the applicable circuit court. But, courts often look to           Criminal Proceedings > Arrests > Reasonable Force
state-court decisions when they are asked to decide a
question that depends on the contours of a state's                Constitutional Law > ... > Fundamental
substantive criminal law.                                         Rights > Search & Seizure > Scope of Protection

                                                              HN14[    ] Excessive Force
    Civil Rights Law > ... > Immunity From
    Liability > Local Officials > Individual Capacity         In excessive force cases, courts consider the totality of
                                                              the circumstances to determine if an officer's actions
HN12[    ] Individual Capacity                                were objectively reasonable. Reasonableness is
                                                              evaluated under a totality of the circumstances
The clearly established law for qualified immunity must       approach. This involves (but is not limited to) examining
be particularized to the facts of the case. The dispositive   the severity of the crime at issue, whether the suspect
question is whether the violative nature of particular        poses an immediate threat to the safety of the officers or
conduct is clearly established.                               others, and whether he is actively resisting arrest or
                                                              attempting to evade arrest by flight.


    Civil Rights Law > ... > Scope > Law Enforcement
    Officials > Excessive Force                                   Civil Rights Law > ... > Scope > Law Enforcement
                                                                  Officials > Excessive Force
    Constitutional Law > ... > Fundamental
    Rights > Search & Seizure > Scope of Protection               Constitutional Law > ... > Fundamental
                                                                  Rights > Search & Seizure > Scope of Protection
    Criminal Law & Procedure > Commencement of
    Criminal Proceedings > Arrests > Reasonable Force             Criminal Law & Procedure > Commencement of
                                                                  Criminal Proceedings > Arrests > Reasonable Force
HN13[    ] Excessive Force
                                                              HN15[    ] Excessive Force


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Precedent requires a showing in a handcuffing case of
an actual, non-de minimis physical, emotional, or
dignitary injury to succeed on an excessive force claim.           Civil Rights Law > ... > Scope > Law Enforcement
A claim of excessive force requires some actual injury             Officials > Excessive Force
that is not de minimis, be it physical or emotional. This is
because handcuffing claims, in essence, concern the                Constitutional Law > ... > Fundamental
manner or course in which a petitioner is handcuffed,              Rights > Search & Seizure > Scope of Protection
and because handcuffing itself is not necessarily an
excessive use of force in connection with an arrest.               Criminal Law & Procedure > Commencement of
                                                                   Criminal Proceedings > Arrests > Reasonable Force

                                                               HN18[    ] Excessive Force
    Civil Rights Law > ... > Scope > Law Enforcement
    Officials > Excessive Force                                In some cases, an excessive-force claim may stand on
                                                               an emotional injury like humiliation. But, in the context of
    Constitutional Law > ... > Fundamental                     an arrest, the alleged humiliation must be more harmful
    Rights > Search & Seizure > Scope of Protection            than that which accompanies the typical custodial
                                                               arrest.
    Criminal Law & Procedure > Commencement of
    Criminal Proceedings > Arrests > Reasonable Force

HN16[    ] Excessive Force                                         Constitutional Law > ... > Fundamental
                                                                   Rights > Search & Seizure > Scope of Protection
Unduly tight handcuffs can, in some cases, amount to
excessive force. In some circumstances, unduly tight           HN19[    ] Scope of Protection
handcuffing can constitute excessive force where a
plaintiff alleges some actual injury from the handcuffing      A public arrest does not violate the Fourth Amendment
and alleges that an officer ignored a plaintiff's timely       simply because it is embarrassing.
complaints (or was otherwise made aware) that the
handcuffs were too tight. But a plaintiff still must make a
showing that the handcuffs caused some actual injury               Civil Rights Law > ... > Scope > Law Enforcement
that is not de minimis before we can find a constitutional         Officials > Excessive Force
violation.
                                                                   Constitutional Law > ... > Fundamental
                                                                   Rights > Search & Seizure > Scope of Protection
    Civil Rights Law > ... > Scope > Law Enforcement
    Officials > Excessive Force                                    Criminal Law & Procedure > Commencement of
                                                                   Criminal Proceedings > Arrests > Reasonable Force
    Criminal Law & Procedure > Commencement of
    Criminal Proceedings > Arrests > Reasonable Force          HN20[    ] Excessive Force

    Constitutional Law > ... > Fundamental                     There is no case law applying a different standard when
    Rights > Search & Seizure > Scope of Protection            the victim of the alleged excessive force is a minor.

HN17[    ] Excessive Force
                                                                   Governments > Local Governments > Claims By &
Courts have rejected minor, temporary injuries—like                Against
pain, numbness, or swelling—as de minimis in handcuff-
related excessive-force cases. A plaintiff had failed to           Civil Rights Law > Protection of Rights > Immunity
show actual injury when she alleges superficial                    From Liability > Local Officials
abrasions and lingering nerve pain in her wrists. Courts
have found no more than a de minimis injury stemming           HN21[    ] Claims By & Against
from tight handcuffs.


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Without an underlying constitutional violation, a                There is no authority suggesting that a school may not
municipal-liability claim is fatally infirm. A municipality      regulate a student's conduct if that conduct is a
may not be held liable where there was no underlying             manifestation of a disability.
constitutional violation by any of its officers.


                                                                     Civil Rights Law > ... > Protection of Disabled
    Governments > Local Governments > Claims By &                    Persons > Americans With Disabilities Act > Scope
    Against
                                                                 HN25[ ] Courts have not adopted a failure-to-train
    Civil Rights Law > ... > Immunity From                       claim of discrimination under the Americans with
    Liability > Local Officials > Customs & Policies             Disabilities Act, 42 U.S.C.S. § 12132, in the context of
                                                                 an arrest.
    Civil Rights Law > ... > Immunity From
    Liability > Local Officials > Direct Causal Links
                                                                     Civil Rights Law > ... > Protection of Disabled
HN22[    ] Claims By & Against
                                                                     Persons > Americans With Disabilities
To establish municipal liability, a plaintiff must show (1)          Act > Accommodations
the existence of a municipal custom or policy and (2) a
                                                                 HN26[   ] Accommodations
direct causal link between the custom or policy and the
violation alleged. To establish the causation element,
                                                                 An Americans with Disabilities Act, 42 U.S.C.S. §
the challenged policy or practice must be closely related
                                                                 12132, plaintiff must show an obvious need for an
to the violation of the plaintiff's federally protected right.
                                                                 accommodation. It would conflate a disability with a
In this regard, a municipality is not liable solely because
                                                                 need for an accommodation to expect an
its employees caused an injury, but rather, because the
                                                                 accommodation whenever an official is aware of a
municipality, through its own deliberate conduct, was
                                                                 diagnosis.
the moving force behind the injury.


                                                                     Governments > Local Governments > Claims By &
    Business & Corporate Compliance > ... > Protection
                                                                     Against
    of Disabled Persons > Americans With Disabilities
    Act > Enforcement Actions
                                                                     Civil Rights Law > ... > Immunity From
                                                                     Liability > Local Officials > Customs & Policies
HN23[    ] Enforcement Actions
                                                                 HN27[   ] Claims By & Against
Title II of the Americans with Disabilities Act (ADA)
states that no qualified individual with a disability shall,
                                                                 A failure to train must have caused some violation of law
by reason of such disability, be excluded from
                                                                 for an action against a municipality to lie.
participation in or be denied the benefits of the services,
programs, or activities of a public entity, or be subject to     Counsel: For QUENTIN SCOTT, Plaintiff - Appellant:
discrimination by any such entity. 42 U.S.C.S. § 12132.          Theresa V. Hacsi, Laura Louise Schauer Ives, Joseph
To make out an ADA claim, a plaintiff has to show that           P. Kennedy, Kennedy Kennedy & Ives, Albuquerque,
he (1) has a disability; (2) was discriminated against by        NM.
a public entity; and (3) the discrimination was by reason
of his disability.                                               For CITY OF ALBUQUERQUE, RAY SCHULTZ, former
                                                                 Chief of Police, D. HENSLEY, Albuquerque Police
                                                                 Officer, Defendant - Appellees: Kristin J. Dalton,
                                                                 Albuquerque City Attorney's Office, Albuquerque, NM.
    Education Law > Students > Student
    Discipline > Misconduct                                      Judges: Before HARTZ, HOLMES, and MATHESON,
                                                                 Circuit Judges.
HN24[    ] Misconduct


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Opinion by: JEROME A. HOLMES                                        Education Program ("IEP") that detailed how his
                                                                    disabilities might affect him in class. The IEP listed a
Opinion                                                             few accommodations for Scott in the classroom.
                                                                    Specifically, teachers were told to let him choose where
                                                                    he sat, to minimize auditory and visual distractions, and
                                                                    to let him move around the classroom every so often.
 [*872] ORDER AND JUDGMENT*                                         Scott also had permission to leave the classroom if he
                                                                    was anxious or distracted. See Aplt.'s App. at 217-22
A New Mexico statute makes it illegal to "willfully                 (Individualized Education Program, dated Aug. 11,
interfere with the educational process" at a public                 2008) (advising teachers to give Scott "[f]requent
school. N.M. Stat. Ann. § 30-20-13(D). In 2009, an                  breaks" and to "encourage [Scott] to . . . get a drink" in
Albuquerque Police Officer assigned to a middle school              the hallway if he felt overwhelmed). Scott said that when
as a School Resource Officer ("SRO") relied on that                 he had those feelings, he was usually allowed "to just
statute to arrest a thirteen-year-old for skipping class.           kind of roam the halls" and to "g[e]t [his] mind off
The main question before us is whether qualified                    whatever was troubling [him]." Id. at 84 (Dep. of Quentin
immunity shields that officer from a civil suit arising from        Scott, dated June 8, 2015).
the arrest. We find that it does. We also conclude that
the plaintiff's other two claims—for municipal liability and        Scott usually went to the janitor's office during these
violations of the Americans with Disabilities Act ("ADA"),          breaks. Id. He later testified that the office "was just kind
42 U.S.C. § 12132—have no merit.                                    of [**3] [his] safe haven" and felt that the janitors
                                                                    seemed "very understanding with [him]." Id. at 84, 86.
                                                                    Most of the time, he helped them sweep or mop the
I                                                                   floors. If they were on a break when he arrived, Scott
                                                                    would sit down, read a magazine, and eat sunflower
The relevant events happened in January 2009.1 At the               seeds with them. That is what he did on the morning of
time, Quentin Scott2 was a thirteen-year-old seventh-               January 16, 2009.
grader at [*873] Grant Middle School in [**2]
                                                                    After getting frustrated in typing class, Scott told his
Albuquerque, New Mexico. Scott had been diagnosed
                                                                    teacher that he was taking a break. He left the
with bipolar disorder and oppositional defiant disorder.
                                                                    classroom and sat down at a desk that his teacher had
Both affected his behavior and concentration when he
                                                                    put in the hallway. He tried returning to class a few
was in class.
                                                                    minutes later, but the lesson was too far ahead by that
Scott had a "504 plan"—a document acknowledging that                point, and he "was already at the point of just being
a student has special needs—and an Individualized                   done." Id. at 201. He signaled to the teacher that he was
                                                                    going for a walk, then headed down the hall to the
                                                                    janitor's office. See Aplt.'s App. at 201, 209 (Test. of
* This                                                              Charlotte Scott) (commenting that Scott was permitted
       order and judgment is not binding precedent except
under the doctrines of law of the case, res judicata, and           to give "a nonverbal signal" to a teacher whenever he
collateral estoppel. It may be cited, however, for its persuasive   needed a break).
value consistent with FED. R. APP. P. 32.1 and 10TH CIR. R.
32.1.                                                               Scott was walking in the school hallway when Lupe
                                                                    Griego, the front desk secretary, noticed that he was out
1 This is a qualified-immunity case decided at the summary-         of class. Ms. Griego said something to Scott.3 Scott did
judgment phase, so we accept the plaintiff's version of the
facts, so long as those facts have some support in the record.
See, e.g., Thomson v. Salt Lake City, 584 F.3d 1304, 1312           3 Itis unclear what Ms. Griego said, or whether Scott heard
(10th Cir. 2009); Riggins v. Goodman, 572 F.3d 1101, 1107
                                                                    her. Officer Hensley testified that Ms. Griego stopped Scott
(10th Cir. 2009).
                                                                    and asked him why he was in the hallway, and the Incident
2 Though   a minor at the time of his arrest, Quentin is            Report notes that Scott told Ms. Griego that he was helping
apparently "now an adult." Aplt.'s App. at 306 (Dist. Ct. Order,    the janitors. Yet Scott testified that if Ms. Griego "yelled at
dated Aug. 17, 2015). In his appellate briefing, his counsel        [him]," he "just didn't hear her," and that he "never talked to
refers to the plaintiff simply by his last name, "Scott"; thus,     anybody on that walk" to the janitor's office. Aplt.'s App. at
hereinafter, so do we. To avoid any possible confusion, we          206. We accept Scott's version of the facts as true, as we
refer to Scott's mother, Charlotte Scott, by her full name.         must. See Thomson, 584 F.3d at 1312; Riggins, 572 F.3d at

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not hear her, so he continued walking to the janitor's         That meeting lasted for about an hour. Scott was
office. Officer Damon Hensley, the SRO for Grant               handcuffed the entire time. Scott repeatedly complained
Middle School, heard Ms. Griego call out [**4] Scott's         to the administrators during the meeting about the pain
name. Officer Hensley later testified that, two days           that he was experiencing [**6] because of the
before the arrest, Scott had come into school "really          handcuffs. Eventually, they noticed that Scott was in so
late." Id. at 70. That instance of tardiness, along with the   much pain that he could not lift his arms to wipe away
fact that Scott had run away from school once before,          his tears, so Ms. Wiggins managed to loosen the
led Officer Hensley to think that Scott might be skipping      handcuffs. Still, even after the cuffs were loosened,
class again. Officer Hensley asked Nancy Wiggins,              Scott felt pain in his arms and wrists. According to his
Scott's teacher, whether Scott had permission to be in         testimony, his wrists "were bruised and swollen" for "at
the hallway; Ms. Wiggins told Officer Hensley that she         least a week afterwards."4 Id. at 204.
thought that Scott was skipping class.
                                                               The meeting ended. Officer Hensley then took Scott—
Officer Hensley looked down the hallway towards the            still in handcuffs—to the Juvenile Detention Center in
janitor's office. He saw Scott standing "like he was           Albuquerque ("JDC"). Id. at 69, 225 (Officer Hensley
halfway in the door and halfway out the door." Aplt.'s         testifying that, pursuant to department policy, he
App. at 72. He walked to the office and asked Scott            "[p]robably" always handcuffs children when taking them
 [*874] if he had permission to be there; Scott told           to the Juvenile Detention Center). There, Scott was
Officer Hensley that he did. But Ms. Wiggins, who was          booked and charged with violating New Mexico Statute
standing next to Officer Hensley, disagreed, telling           section 30-20-13(D), which provides that "[n]o person
Officer Hensley that Scott was "not supposed to be" out        shall willfully interfere with the educational process of
of class. Id.                                                  any public or private school by" doing anything that
                                                               "would . . . interfere with or obstruct the lawful mission,
Officer Hensley "grabbed [Scott's] arm," "stood [him]
                                                               processes, procedures or functions of a public or private
up," and put him in handcuffs. Id. at 203. He took Scott
                                                               school." N.M. Stat. Ann. § 30-20-13(D).
out of the office, walking behind Scott and holding the
links that connected the two cuffs. As they walked             Scott filed a lawsuit against Officer Hensley, Chief of
through the hallway, Scott stopped abruptly a few times        Police Ray Schultz, and the City of Albuquerque ("City").
because he was "pissed" by Officer Hensley's [**5]             In his complaint, Scott brought claims under 42 U.S.C. §
physical contact with his person and the physical force        1983: specifically, invoking the Fourth Amendment,
he was applying; more specifically, Scott "didn't want to      Scott alleged that his arrest was unlawful [**7] and that
be touched." Id. at 202. When Scott stopped, Officer           Officer Hensley used unconstitutionally excessive force
Hensley would "wrench[]" the links to force Scott              in effecting the arrest. The complaint also alleged that
forward. Id.                                                   the arrest violated the ADA, [*875] 42 U.S.C. § 12132,
They were in the hallway when the class bell rang.             and included a municipal-liability claim against the City.5
Crowds of students rushed out of nearby classrooms.
                                                               Scott moved for partial summary judgment on his Fourth
Scott, still handcuffed, was suddenly surrounded by his
                                                               Amendment claims. The defendants then moved for
peers and classmates. Officer Hensley continued to
                                                               summary judgment on all of Scott's claims. The district
walk behind Scott and shove him forward by the
handcuffs. Scott felt that this was deliberate. It seemed
as though Officer Hensley "wanted other kids to see
[him] being dragged around" and to "set it in [Scott's]        4 Charlotte   Scott, Scott's mother, testified that she
head that [he] was a piece of shit." Id. at 198.               remembered seeing red marks and bruising on his wrists. She
                                                               said that "you could absolutely see the handcuff [indentation]
They reached Officer Hensley's office a few minutes            and the bruising like around it." Id. at 210. But she
later. He ordered Scott to sit. According to Scott's           acknowledged that Scott suffered no permanent injuries and
testimony, Officer Hensley began "interrogating" and           did not see a doctor about the injuries. Id. at 210, 269.
mocking Scott, who had started crying out of fear. After       5 Scott  also brought claims against Officer Hensley for
about twenty minutes, Ms. Wiggins and two other school         violations of procedural and substantive due process, state tort
administrators came into Officer Hensley's office to meet      law, and the New Mexico state constitution. However, he only
with Scott.                                                    appeals from the district court's rulings on his Fourth
                                                               Amendment claims, his ADA claim, and his municipal-liability
1107.                                                          claim.

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court denied Scott's motion and granted the defendants'       established at the time. Scott is half right. The arrest
motion.                                                       was unconstitutional, but Scott's right was not clearly
                                                              established in January 2009. The district court correctly
                                                              determined that Officer Hensley is entitled to qualified
II                                                            immunity on this claim.

In its order, the district court found that Officer Hensley
was entitled to qualified immunity on Scott's Fourth          1
Amendment unlawful-arrest and excessive-force claims.
Scott argues that the court erred in reaching that            HN5[ ] A warrantless arrest violates the Fourth
conclusion.                                                   Amendment unless the arresting officer had probable
                                                              cause to make the arrest. E.g., Keylon v. City of
HN1[ ] We review de novo the district court's grant of        Albuquerque, 535 F.3d 1210, 1216 (10th Cir. 2008). An
summary judgment. See Water Pik, Inc. v. Med-Sys.,            officer has probable cause whenever he knows of
Inc., 726 F.3d 1136, 1143 (10th Cir. 2013). HN2[ ]            reasonably trustworthy [**9] facts that would lead a
Summary judgment is appropriate when there is no              prudent person to believe that the arrestee is
genuine dispute of material fact and the movant is            committing—or has committed—a crime. Id.
entitled to judgment as a matter of law. Fed. R. Civ. P.
56(a).HN3[ ] We view the facts in the light most               [*876] More specifically, the question here is whether
favorable to the nonmovant and draw all reasonable            Officer Hensley had an objectively reasonable belief that
inferences in its favor. See, e.g., Talavera ex rel.          Scott had violated section 30-20-13(D). The district
Gonzalez v. Wiley, 725 F.3d 1262, 1267 (10th Cir.             court found that he did. It pointed out that "Officer
2013).                                                        Hensley knew Mr. Scott's absence from health class
                                                              had involved the time and attention of three school
HN4[ ] Qualified immunity protects governmental               officials" and that it had "disrupt[ed] Ms. Wiggins'
officials from liability for civil damages for conduct that   preparation for her next class and the class itself."
does not violate clearly-established statutory or             Aplt.'s App. at 314. Based on that information, the court
constitutional rights. See Pearson v. Callahan, 555 U.S.      reasoned, "a reasonable officer could have believed that
223, 231, 129 S. Ct. 808, 172 L. Ed. 2d 565 (2015) (per       [there was] probable cause" to arrest Scott for violating
curiam). We review qualified-immunity summary-                section 30-20-13(D). Id.
judgment [**8]      decisions differently from other
summary-judgment decisions. See Cortez v. McCauley,           We disagree. Our qualified-immunity inquiry focuses on
478 F.3d 1108, 1114 (10th Cir. 2007) (en banc). When a        whether Scott's federal constitutional rights were
defendant asserts a qualified-immunity defense, the           violated. See., e.g., Baker v. McCollan, 443 U.S. 137,
plaintiff must show (1) that the defendant violated a         146, 99 S. Ct. 2689, 61 L. Ed. 2d 433 (1979) (HN6[ ]
federal constitutional or statutory right, and (2) that the   "Section 1983 imposes liability for violations of rights
right was clearly established at the time of the              protected by the Constitution . . . ."). But Scott's
challenged conduct. See Quinn v. Young, 780 F.3d 998,         unlawful-arrest claim asks us to determine if Officer
1004 (10th Cir. 2015). If a plaintiff fails to establish      Hensley had probable cause under a state statute. So,
either prong, the defendant is entitled to qualified          because this is a case in which the federal constitutional
immunity. See Cox v. Glanz, 800 F.3d 1231, 1245 (10th         question "depends on the contours of a state's
Cir. 2015).                                                   substantive criminal law," we rely on New Mexico state
                                                              courts' interpretations of that law. Kaufman v. Higgs,
                                                              697 F.3d 1297, 1300-01 (10th Cir. 2012). The [**10]
A                                                             New Mexico Supreme Court is the ultimate authority on
                                                              that question. Id. at 1301. HN7[ ] "When a state
Scott argues that Officer Hensley is not shielded by          Supreme Court has not spoken on the question at issue,
qualified immunity on the unlawful-arrest claim.              we assume (without deciding) that a reasonable officer
Specifically, he contends that (1) the arrest was             would seek guidance regarding the scope of proper
unconstitutional, since Officer Hensley lacked probable       conduct at least in part from any on-point decisions of
cause; and (2) Officer Hensley should have been on            the state's intermediate court of appeals." A.M. v.
notice that the arrest was unlawful because the Fourth        Holmes, 830 F.3d 1123, 1140-41 (10th Cir. 2016), cert.
Amendment right that he violated was clearly                  denied sub nom. A.M. ex rel. F.M. v. Acosta, 137 S. Ct.


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2151, 198 L. Ed. 2d 221 (2017).                                purpose [**12] on the part of the actor." Willful, BLACK'S
                                                               LAW DICTIONARY (10th ed. 2009) [hereinafter BLACK'S];
HN8[ ] Section 30-20-13(D) prohibits anybody from              see also Rollin M. Perkins & Ronald N. Boyce,
"willfully interfer[ing] with the educational process." N.M.   CRIMINAL LAW, 875-76 (3d ed. 1982) ("[T]he
Stat. Ann. § 30-20-13(D) (emphasis added). The word            requirement added by [the word 'willful'] is not satisfied
"willfully" suggests that a violation occurs only when a       unless there is a bad purpose or evil intent."). Or, put
person acts with the conscious objective of "interfer[ing]     another way, "'willfulness' involves the voluntary,
with the educational process." Id. In other words, it is not   intentional violation or disregard of a known legal duty."
enough that a person simply "commit[s] an[] act" that          Willfulness, BLACK'S, supra (emphasis added).
"disrupt[s] . . . [the] functions of" a school; to violate
section 30-20-13(D), that person must act with the             We read the term "willfully" in section 30-20-13(D) in this
conscious purpose of "interfer[ing] with the educational       manner. More specifically, we conclude that HN10[ ]
process." § 30-20-13(D).                                       New Mexico legislature sought to bar conduct that was
                                                               designed to "interfere with the educational process,"
New Mexico's courts have adopted this understanding            rather than conduct that merely happened to have that
of "willfulness." In Rio Grande Gas Co. v. Gilbert, 1971-      effect. In our view, the statute is not "genuinely
NMSC 113, 83 N.M. 274, 491 P.2d 162 (N.M. 1971), the           ambiguous," and we are able to reach this conclusion
New Mexico Supreme Court faced the question of                 without "hard interpretive work." Heien v. North Carolina,
whether a party's discovery violations had been "willful."        U.S. , 135 S. Ct. 530, 541, 190 L. Ed. 2d 475 (2014)
Id. at 164. In holding that the violations were, in fact,      (Kagan, J., concurring).6
willful, the court noted that HN9[ ] "a willful violation of
a provision of a statute or regulation is any conscious or
intentional failure to comply therewith, as [**11]
                                                               6 In  Heien, in a traffic-stop scenario where reasonable
distinguished      from     accidental    or    involuntary
                                                               suspicion is ordinarily required, the Supreme Court held that
noncompliance." Id. at 166 (quoting Brookdale Mill v.
                                                               "because [the officer's] mistake of law was reasonable, there
Rowley, 218 F.2d 728, 729 (6th Cir. 1954)).
                                                               was reasonable suspicion justifying the stop." 135 S. Ct. at
                                                               540. The Court explained that its mistake-of-law holding does
The New Mexico Court of Appeals came to a similar
                                                               not relate to the appropriate remedy for a constitutional
conclusion in Holguin v. Sally Beauty Supply Inc., 2011-
                                                               violation. See id. at 539. "[B]y contrast, the mistake of law
NMCA 100, 150 N.M. 636, 264 P.3d 732, 736-37 (N.M.
                                                               relates to the antecedent question of whether it was
Ct. App. 2011). There, the court was asked to construe         reasonable for an officer to suspect that the defendant's
a state statute that provided merchants with a                 conduct was illegal. If so, there was no violation of the Fourth
conditional privilege to detain a customer when the            Amendment in the first place." Id. Though Officer Hensley
merchant had probable cause to believe that the                does not cite Heien or contend that he committed a mistake of
customer "willfully conceal[ed]" merchandise. Id. at 736-      law in arresting (i.e., seizing) Scott, assuming arguendo that
37. The court found that "[t]he term 'willfully' . . .         Heien's principles apply with full force to Fourth Amendment
indicates an intent which requires more than merely            seizures resulting in arrests, and not just traffic stops, we
putting merchandise out of sight." Id. at 736. Instead,        believe two observations may clarify the course of our
the court held that probable cause for the conditional         analysis.
privilege exists only when the facts show "that the
                                                               First, the Heien majority stressed that "[t]he Fourth
purpose of the concealment is adverse to the store
                                                               Amendment tolerates only reasonable mistakes," id. at 539,
owner's right to be paid for the merchandise." Id. at 737
                                                               and Justice Kagan helpfully elaborated in concurrence that the
(emphasis [*877] added). In other words, probable              laws that might be amenable to such mistakes of law are
cause for "willful" concealment required a reasonable          "genuinely ambiguous" and "pose[] a quite difficult question of
belief that the customer hid something for the purpose         interpretation" that involves "hard interpretive work," id. at 541
of stealing it. Id.                                            (Kagan, J., concurring); see also United States v. Diaz, 854
                                                               F.3d 197, 204 n.12 (2d Cir. 2017) (noting that "it is only when
This understanding of the term "willful" is consonant with     the legal question is unsettled that an officer's erroneous
the common understanding of the term. Specifically,            assessment of the law can be objectively reasonable"). A
"willful" means "intentional" or "deliberate." THE NEW         panel of our court has similarly viewed Heien as laying down
OXFORD AMERICAN DICTIONARY 1922 (2d ed. 2005). And,            restrictive "ground rules" governing its applicability. United
in legal usage, a "willful" act is a "voluntary and            States v. Cunningham, 630 F. App'x 873, 876 (10th Cir. 2015)
intentional" one, "involv[ing] conscious wrong or evil         (unpublished). Given our assessment of the unambiguous
                                                               nature of section 30-20-13(D), even if Officer Hensley had

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 [*878] Based on the facts of this case, nothing would                 accommodations in the first place. See id. at 208 (Test.
have given Officer Hensley the reasonable belief that                  of Charlotte Scott) (commenting that the IEP
Scott was "willfully" trying to interfere with the                     accommodations were in place because "th[e teachers
educational process at Grant Middle School. True,                      and administrators] didn't want [Scott] to explode in the
Scott's absence eventually led to somebody [**13]                      classroom").
pulling Ms. Wiggins from her classroom and Ms. Griego
from her desk. Aplt.'s App. at 72 (Officer Hensley                     None of this would suggest that Scott "willfully
testifying that he "got Ms. Wiggins" and "took her out of              interfer[ed] with the educational process" by going to,
class"). But no reasonable officer would have believed                 and sitting in, the janitor's office. Cf. [**14] G.M. ex rel.
that Scott went to the janitor's office with the intent of             B.M. v. Casalduc, 982 F. Supp.2d 1235, 1243 (D.N.M.
distracting school employees from other tasks. Indeed,                 2013) ("B.M.'s conduct does not clearly fall outside the
Scott gave every indication that he was not trying to                  conduct prohibited by the plain language of the statute
cause a disruption or break a rule. He made no                         [i.e., section 30-20-13(D)]. B.M. ignored numerous
disturbance as he left his classroom, and told Officer                 requests to stop texting during class in violation of HMS
Hensley and Ms. Wiggins that he believed that he had                   policy. Unable to continue instruction, her teacher
permission to be outside the classroom at the time. If                 stopped class and eventually summoned Dean O'Gawa.
anything, Scott left the classroom to avoid disrupting his             After being removed from class, B.M. continued refusing
class: he left because he knew that when "[he] would                   to hand over her cell phone as required by school
get too antsy or frustrated, . . . it would just be bad if [he]        procedure."). We conclude, therefore, that Officer
kept on" trying to work through the typing lesson. Id. at              Hensley had no probable cause to arrest Scott under
200. That, after all, was the purpose of his IEP                       section 30-20-13(D). And since a warrantless arrest
                                                                       without probable cause violates the Fourth Amendment,
                                                                       Keylon, 535 F.3d at 1216, Scott has shown that Officer
claimed a mistake of law, he could not avail himself of Heien's
                                                                       Hensley violated Scott's right to be free from unlawful
holding. Cf. Heien, 135 S. Ct. at 540 (discussing the
                                                                       arrest.
ambiguities of the North Carolina statute at issue that
permitted a reasonable mistake of law); Cunningham, 630 F.
App'x at 878 & n.6 (conducting a similar analysis of the
ambiguities of a Colorado statute). That is, we would still            2.
conclude that his arrest of Scott violated the Fourth
Amendment.                                                             The next question is whether that right was clearly
                                                                       established in January 2009. HN11[ ] A plaintiff
And, second, our conclusion that Officer Hensley could not             ordinarily may show that a particular right was clearly
claim a reasonable mistake of law does not mean that he                established by pointing to an on-point decision from the
cannot demonstrate that he satisfies the qualified-immunity            U.S. Supreme Court or the Tenth Circuit. See, e.g.,
standard on the clearly-established-law element, and indeed            Quinn, 780 F.3d at 1005. But, as previously noted, we
we conclude infra that he has. In this regard, Heien stressed          often look to state-court decisions when we are asked to
that "qualified immunity . . . depends on an inquiry distinct from     decide a question that "depends on the contours of a
whether an officer has committed a constitutional violation"           state's substantive criminal law." Kaufman, 697 F.3d at
and that "the [constitutional-violation] inquiry is not as forgiving
                                                                       1300-01; see also A.M., 830 F.3d at 1140-41 (noting
as the one employed in the distinct context of deciding
                                                                       that state intermediate appellate courts can provide
whether an officer is entitled to qualified immunity for a
                                                                       guidance in a clearly-established-law [**15] inquiry that
constitutional or statutory violation." Heien, 135 S. Ct. at 537,
539 (emphasis added); see also Corrigan v. District of                 involves construing state criminal law).
Columbia, 841 F.3d 1022, 1046 (D.C. Cir. 2016) (Brown, J.,
                                                                        [*879] In A.M., where an officer arrested a student
dissenting) ("What 'every reasonable' official would have
understood to be 'clearly established' in case law is not the          under section 30-20-13(D) for "repeatedly fake-burping,
same question as what is 'objectively reasonable' for purposes         laughing, and (later) leaning into the classroom," 830
of determining a Fourth Amendment violation."). Therefore,             F.3d at 1148, we held in analyzing the clearly-
under the less stringent qualified-immunity inquiry, we may            established-law question that there were "no Supreme
conclude (as we do) that Officer Hensley is entitled to qualified      Court or published Tenth Circuit decisions" that squarely
immunity because his "conclusions rest[ed] on an objectively           addressed 30-20-13(D)'s probable-cause requirements
reasonable, even if mistaken, belief that probable cause               in 2011, id. at 1140. The same necessarily must be true
exist[ed]." Stonecipher v. Valles, 759 F.3d 1134, 1141 (10th           for Officer Hensley's violation, which occurred almost
Cir. 2014); see A.M., 830 F.3d at 1140 (collecting cases               two years before the challenged conduct in A.M.
regarding the concept of "arguable probable cause").

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Without any on-point federal cases, Scott relies instead              In short, Scott has not identified any clearly-established
on State v. Silva, 1974- NMCA 072, 86 N.M. 543, 525                   law that would have given Officer Hensley "fair notice
P.2d 903, 903 (N.M. Ct. App. 1974), a 1974 case from                  that his conduct would be unlawful in the circumstances
the New Mexico Court of Appeals. "Silva involved a                    he confronted." Id. at 1141. Accordingly, Scott cannot
distant statutory predecessor of N.M. Stat. Ann. § 30-                satisfy the second prong of the qualified-immunity
20-13." A.M., 830 F.3d at 1143. Under that provision,                 standard; his Fourth Amendment unlawful-arrest claim
students who staged a sit-in inside a university                      necessarily fails.
president's office were charged with interfering with the
"mission, processes, procedures or functions" of a
university. Id. at 905 (quoting N.M. Stat. Ann. § 40A-20-             B
10(C) (1974)). Scott contends that Silva constitutes
clearly-established law that defined the contours of                  Scott also challenges the district court's rejection of his
probable cause for his arrest. However, in A.M., we                   excessive-force claim. Scott argues that "the force
rejected an attempt to rely on Silva for clearly-                     Officer Hensley used—in parading [Scott] through
established law in very analogous circumstances. See                   [*880] the school's halls in handcuffs and transporting
830 F.3d at 1145. We view that conclusion as                          him to the JDC—[was] excessive." Aplt.'s Opening Br. at
controlling here. [**16] 7                                            25. He notes that the arrest took place in front of his
                                                                      peers and other students, and that the tight handcuffs
                                                                      left his wrists bruised and swollen for a week after the
                                                                      arrest. The district court ruled that Scott had not
7 We   recognize that pre-2009 Supreme Court authority in New         demonstrated a constitutional violation. We agree, and
Mexico had established a general understanding of the term            conclude that Officer Hensley is entitled to qualified
"willful," Gilbert, 491 P.2d at 164, 166, and (as demonstrated        immunity on this claim.
supra) the illegality of Officer Hensley's arrest of Scott turns at
least in substantial part on that understanding. In contrast, this    "Under well-settled Supreme Court precedent, HN13[ ]
was arguably not true in the analogous case of A.M. See e.g.,         a law-enforcement officer's 'right to make an arrest . . .
830 F.3d at 1148 (arresting student for "repeatedly fake-
                                                                      necessarily carries with it the right to use some degree
burping, laughing, and (later) leaning into the classroom").
                                                                      of physical coercion . . . to effect it." [**17] A.M., 830
However, as A.M. indicates, no controlling federal or New
Mexico caselaw had clearly established the requirements for
                                                                      F.3d at 1151 (quoting Graham v. Connor, 490 U.S. 386,
probable cause under section 30-20-13(D) in January 2009—             396, 109 S. Ct. 1865, 104 L. Ed. 2d 443 (1989)). We
including regarding the "willfulness" requirement. More               evaluate excessive-force claims under an objective-
specifically, no New Mexico appellate court had applied the           reasonableness standard, using the perspective of a
general understanding of "willfulness" to a prosecution under         reasonable officer on the scene. See, e.g., Graham, 490
section 30-20-13(D). In our view, in the circumstances of this        U.S. at 396 ("The 'reasonableness' of a particular use of
case, that forecloses the possibility of finding clearly-             force must be judged from the perspective of a
established law. "As th[e] [Supreme] Court explained decades          reasonable officer on the scene, rather than with the
ago, HN12[ ] the clearly established law must be                      20/20 vision of hindsight."); Weigel v. Broad, 544 F.3d
'particularized' to the facts of the case." White v. Pauly, U.S.      1143, 1151 (10th Cir. 2008) ("The 'inquiry in an
  , 137 S.Ct. 548, 552, 196 L. Ed. 2d 463 (2017) (per curiam)
                                                                      excessive force case is an objective one: the question is
(quoting Anderson v. Creighton, 483 U.S. 635, 640, 107 S. Ct.
                                                                      whether the officers' actions are objectively reasonable
3034, 97 L. Ed. 2d 523 (1987)); see Mullenix v. Luna,         U.S.
                                                                      in light of the facts and circumstances confronting them,
  , 136 S. Ct. 305, 308, 193 L. Ed. 2d 255 (2015) ("The
dispositive question is 'whether the violative nature of              without regard to underlying intent or motivation.'"
particular conduct is clearly established.'" (quoting Ashcroft v.     (quoting Graham, 490 U.S. at 397)); see also Lundstrom
al-Kidd, 563 U.S. 731, 742, 131 S. Ct. 2074, 179 L. Ed. 2d            v. Romero, 616 F.3d 1108, 1120 (10th Cir. 2010) ("The
1149 (2011))). Here, Scott has not demonstrated that it was           reasonableness of a police officer's actions is evaluated
clearly-established law in January 2009 that the general              from the perspective of a reasonable officer on the
understanding of "willfulness" was controlling in the section         scene, recognizing the police officer may have been
30-20-13(D) context—by "identif[ing] a case where an officer          forced to make split-second decisions in a stressful,
acting under similar circumstances as Officer [Hensley] was           dynamic, and dangerous environment.").
held to have violated the Fourth Amendment," White, 137 S.
Ct. at 552, or otherwise. In particular, we conclude that the
settled general understanding among New Mexico courts
regarding the meaning of "willful" would not have put the             20-13(D) "beyond debate" in January 2009. al-Kidd, 563 U.S.
unlawfulness of Officer Hensley's conduct under section 30-           at 741; accord Mullenix, 136 S. Ct. at 308.

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HN14[ ] We consider the totality of the circumstances         constitutional violation. Id. at 1129. Scott fails to make
to determine if an officer's actions were objectively         this showing.
reasonable. See, e.g., Thomson, 584 F.3d at 1313
(noting that "[r]easonableness is evaluated under a           Scott testified that his wrists "were bruised and swollen"
totality of the circumstances approach"); accord Estate       for "about a week" after the arrest, and that "anything
of Larsen ex rel. Sturdivan v. Murr, 511 F.3d 1255, 1260      [he] did [that involved] moving [his] wrists hurt." Aplt.'s
(10th Cir. 2008). This involves (but is not limited to)       App. at 131, 204. He also alleged that the cuffs left
examining "the severity of the crime at issue, whether        "redness, soreness and indentations" on his wrists. Id.
the suspect poses an immediate [**18] threat to the           at 115 (Pl.s' Interrog. No. 17). Yet, he concedes that he
safety of the officers or others, and whether he is           never got any medical treatment for his injuries and that
actively resisting arrest or attempting to evade arrest by    the injuries were gone after about a week.
flight." Graham, 490 U.S. at 396.
                                                              This is not enough to show a constitutional violation.
Critically, however, HN15[ ] "our precedent requires a        HN17[ ] We have rejected minor, temporary injuries—
showing in a handcuffing case of an actual, non-de            like pain, numbness, or swelling—as [**20] de minimis
minimis physical, emotional, or dignitary injury to           in handcuff-related excessive-force cases. For example,
succeed on a claim." Fisher v. City of Las Cruces, 584        in Koch v. City of Del City, 660 F.3d 1228, 1247-48
F.3d 888, 899 (10th Cir. 2009); accord A.M., 830 F.3d at      (10th Cir. 2011), we concluded that a plaintiff had failed
1151-52; see also Cortez v. McCauley, 478 F.3d 1108,          to show "'actual injury'" when she alleged superficial
1129 (10th Cir. 2007) (en banc) ("We believe that a           abrasions and lingering nerve pain in her wrists. Id.
claim of excessive force requires some actual injury that     Similarly, in Segura v. Jones, 259 F. App'x 95, 103-04
is not de minimis, be it physical or emotional."). "This is   (10th Cir. 2007) (unpublished), a panel of our court
because '[h]andcuffing claims, in essence, concern the        found no more than a de minimis injury stemming from
manner or course in which a petitioner is handcuffed,'        tight handcuffs. Id.; cf. Vondrak v. City of Las Cruces,
and '[b]ecause handcuffing itself is not necessarily an       535 F.3d 1198, 1209-10 (10th Cir. 2008) (concluding
excessive use of force in connection with an arrest.'"        that a plaintiff established a constitutional violation when
A.M., 830 F.3d at 1152 (alterations in original) (quoting     tightened handcuffs caused permanent nerve damage
Fisher, 584 F.3d at 897); cf. United States v. Rodella,       in plaintiff's wrist).
804 F.3d 1317, 1327 (10th Cir. 2015), cert. denied, 137
S. Ct. 37, 196 L. Ed. 2d 26 (2016) (concluding that           Scott's injuries are no different. Even though he was in
Cortez's non-de-minimis-injury requirement "is limited to     pain for hours while wearing the handcuffs, that pain did
handcuffing cases"). Like the district court, we conclude     not last long. And the handcuffs left no permanent
that Scott's excessive-force claim fails to satisfy this      injury: the swelling went down after about a week, and
non-de minimis-injury standard. Quite apart from              the bruises faded around the same time. See Aplt.'s
whether one or more of the Graham factors noted above         App. at 204 (Scott testifying that he had no "problems
(e.g., severity of the crime) favors him, this failure is     with [his] wrists" on the day he was deposed). Simply
determinative.                                                put, Scott's injuries were not severe enough to render
                                                              Officer Hensley's force excessive.8
 [*881] Scott alleges that the cuffs were "uncomfortably
                                                              The same is true for Scott's emotional injuries. Scott
tight" when Officer Hensley put them on. Aplt.'s App. at
                                                              said that he was humiliated when Officer Hensley
203. Ms. Wiggins [**19] loosened the cuffs after about
                                                              walked him through the school hallways in handcuffs
twenty minutes, but Scott testified that he was in pain for
the week after the arrest. HN16[ ] Unduly tight
handcuffs can, in some cases, amount to excessive             8 Though   the inadequacy of Scott's injuries do not make the
force. See Cortez, 478 F.3d at 1128-29 ("In some              following point material to our analysis, we note that Scott's
circumstances, unduly tight handcuffing can constitute        injuries may in part stem from his own conduct rather than any
excessive force where a plaintiff alleges some actual         physical aggression of Officer Hensley. By Scott's own
injury from the handcuffing and alleges that an officer       admission, he would abruptly stop while being led through the
ignored a plaintiff's timely complaints (or was otherwise     hallway in handcuffs by Officer Hensley because he was
made aware) that the handcuffs were too tight."               "pissed" and did not anyone to "touch" him. Aplt.'s App. at 202.
                                                              Even accepting Scott's own version of the facts then, we may
(emphasis added)). But a plaintiff still must make a
                                                              reasonably infer that, insofar as Scott's injuries were caused
showing that the handcuffs caused "some actual injury
                                                              by the friction between the handcuffs and his wrists, his abrupt
that is not de minimis" before we can find a
                                                              stops contributed to or exacerbated that friction.

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during a break between classes. Scott felt that Officer
Hensley had "made it his mission to embarrass [**21]                  III
[him] and set it in [Scott's] head that [he] was a piece of
shit." Aplt.'s App. at 198. However, Officer Hensley's                Scott also argues that the City employed a "de facto
intent cannot factor into our analysis. See Graham, 490               policy" of (1) failing to train SROs "before placement in a
U.S. at 396 (noting that the excessive-force analysis                 school which serves special education students," and
should be "without regard to . . . underlying intent                  (2) giving SROs "unbridled discretion to arrest
 [*882] or motivation"); accord Weigel v. Broad, 544                  students [**22] with special needs." Aplt.'s Opening Br.
F.3d at 1151. To be sure, we have recognized that,                    at 37, 39. These policies, Scott argues, effectively
HN18[ ] in some cases, an excessive-force claim may                   "require[d] the arrest" of Scott for skipping class on
stand on an emotional injury like humiliation. See, e.g.,             January 16, 2009.10 Id. at 37.
Fisher, 584 F.3d at 903. But, in the context of an arrest,
the alleged humiliation must be more harmful than that                 [*883] HN22[ ] To establish municipal liability, a
which accompanies the typical custodial arrest. See                   plaintiff must show (1) the "existence of a municipal
Atwater v. City of Lago Vista, 532 U.S. 318, 354, 121 S.              custom or policy" and (2) a "direct causal link between
Ct. 1536, 149 L. Ed. 2d 549 (2001); Petersen v.                       the custom or policy and the violation alleged." Jenkins
Farnsworth, 371 F.3d 1219, 1223 (10th Cir. 2004).                     v. Wood, 81 F.3d 988, 993 (10th Cir. 1996). "To
                                                                      establish the causation element, the challenged policy
Scott's arrest does not fit that description. Though Scott            or practice must be 'closely related to the violation of the
was surely humiliated when his peers saw him walking                  plaintiff's federally protected right.'" Schneider v. City of
through the hallways in handcuffs, HN19[ ] a public                   Grand Junction Police Dep't, 717 F.3d 760, 770 (10th
arrest does not violate the Fourth Amendment simply                   Cir. 2013) (quoting Martin A. Schwartz, SECTION 1983
because it is embarrassing. See Atwater, 532 U.S. at                  LITIGATION CLAIMS & DEFENSES, § 7.12[B] (2013));
354-55; Cortez, 478 F.3d at 1128. In short, Officer                   accord Cacioppo v. Town of Vail, Colo., 528 F. App'x
Hensley's use of force fell short of being "excessive," as            929, 932 (10th Cir. 2013) (unpublished). In this regard, a
the law defines that term. Scott has therefore failed to              "municipality is not liable solely because its employees
show a constitutional violation.9                                     caused an injury," but rather, because the municipality,
                                                                      "[t]hrough its [own] deliberate conduct, . . . [was] the
                                                                      'moving force' behind the injury." Mocek v. City of
9 We  are not blind to the obvious facts: At the time of the
arrest, Scott was thirteen years old. The psychological effects       (Gorsuch, J., dissenting); Hawker, 774 F.3d at 1243-46
of an arrest on somebody that young are bound to be more              (Lucero, J., concurring).
severe than they would be for an adult. See Hedgepeth v.
Wash. Metro Area Transit, 284 F. Supp. 2d 145, 160 (D.D.C.            10 Insofar   as Scott's municipal-liability arguments are
2003), aff'd sub nom. Hedgepeth ex rel. Hedgepeth v. Wash.            predicated on Officer Hensley's claimed use of excessive
Metro. Area Transit Auth., 386 F.3d 1148, 363 U.S. App. D.C.          force, they fail at the outset. HN21[ ] Without an underlying
260 (D.C. Cir. 2004) (noting that, though a child's arrest was        constitutional violation, a municipal-liability claim is fatally
constitutional under the applicable legal standard, "the Court        infirm. See Hinton v. City of Elwood, Kan., 997 F.2d 774, 782
can hardly overlook the humiliating and demeaning impact of           (10th Cir. 1993) ("A municipality may not be held liable where
the arrest" on that child); cf. A.M., 830 F.3d at 1150 n.15 ("We      there was no underlying constitutional violation by any of its
are neither oblivious nor unsympathetic to 'the potential future      officers."); see also Wilson v. Meeks, 98 F.3d 1247, 1255
consequences to [a] child,' such as F.M., of an arrest or other       (10th Cir. 1996) ("The district court correctly concluded no
law-enforcement sanction for seemingly non-egregious                  municipal liability could be found in this case because there
classroom misconduct; such a law-enforcement response                 was no constitutional violation committed by any of the
could potentially have a 'far-reaching impact' on a child's ability   individual defendants."). Furthermore, Scott's briefing
to lead a productive life." (quoting Hawker v. Sandy City Corp.,      seemingly challenged the district court's judgment regarding
774 F.3d 1243, 1244 (10th Cir. 2014) (Lucero, J.,                     his supervisory-liability claim against Albuquerque's chief of
concurring))). However, we have held that HN20[ ] there is            police, Ray Schultz. See Aplt.'s Opening Br. at 40 ("Scott's
"'no case law . . . applying a different standard when the victim     supervisory liability claim against Chief Schultz is also viable
of the alleged excessive force is a minor.'" A.M., 830 F.3d at        assuming that the Court finds a violation of Scott's rights.").
1155 (quoting Hawker v. Sandy City Corp., 591 F. App'x 669,           However, during oral argument, Scott's counsel expressly and
674 n.8 (10th Cir. 2014) (unpublished) (emphasis omitted)).           unequivocally indicated that actually Scott does not pursue a
And we are bound to apply the law of excessive force as it is—        supervisory-liability claim against Chief Schultz on appeal—
not as we might wish it to be—even when, as here, the results         viz., he does not challenge the district court's judgment as to
might seem troubling. See, e.g., A.M., 830 F.3d at 1169               this claim. Therefore, that matter is not before us.

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Albuquerque, 813 F.3d 912, 933 (10th Cir. 2015).                     simply avers that there was "a pattern of Albuquerque
                                                                     police officers enforcing [section 30-20-13(D)] in an over
Scott fails to meet this standard. Specifically, he has not          broad manner." Aplt.'s Reply Br. at 7. But that argument
demonstrated that the alleged policies that he has                   also fails to establish municipal liability. First, the
identified—failing to train SROs placed in special-                  argument [*884] was never raised in his opening brief,
education school settings and giving them free rein in               so we consider it waived. United States v. Wayne, 591
arresting special-needs children—are directly relevant to            F.3d 1326, 1332 n.4 (10th Cir. 2010) ("Because [the
the constitutional violation—i.e., arresting a student               appellant] raised this argument for the first time in her
without probable cause that [**23] the student willfully             reply brief, she has waived it on appeal.").
interfered with the educational process at a school—
much less that the policies were the "moving force"                  And second, even if we did consider the argument, it still
behind the violation. Mocek, 813 F.3d at 933. For                    fails to show municipal liability. The policy articulated in
example, Scott does not specify what training the                    Scott's reply brief concerns officers' practice of arresting
officers should have possessed and how the lack of that              students for "disruptions that were not the result of
training was a moving force behind his unlawful arrest.              'physical intrusions.'" Aplt.'s Reply Br. at 6-7. Scott's
Furthermore, his assertion that the City, as a matter of             argument on this point seems derived from his reading
de facto policy, granted its officers "unbridled discretion"         of Silva, 525 P.2d at 907, in which the New Mexico
to arrest special-needs students is wholly conclusory.               Court of Appeals found that the statute at issue required
And, even if Scott were able to demonstrate that the                 a "more physical invasion" than a simple disturbance of
City's SROs repeatedly arrested special-needs students               the peace. But we rejected this analogy in A.M., 830
under section 30-20-13(D) for willful interference with              F.3d at 1144-48 (declining to use Silva to guide our
the educational process, one could not reasonably infer              construction of section 30-20-13(D)). Simply put, an
from this proof—without more—that such conduct was                   officer may arrest a student under section 30-20-13(D),
the product of an unconstitutional de facto policy.                  even when the student's conduct does not involve a
Special-needs students are not immune from arrest                    physical intrusion. Thus, even if the City had a policy
under this statute, and section 30-20-13(D) may well                 that authorized officers [**25] to make such non-
reach in certain instances willful conduct committed by              physical-intrusion arrests when supported by probable
such students that amounts to (in Scott's words) no                  cause, that policy would not run afoul of the
more than "childhood misbehavior."11 Aplt.'s Opening                 Constitution. Accordingly, it ineluctably follows that such
Br. at 41. Accordingly, these two policies cannot sustain            a policy could not have directly caused (i.e., been the
Scott's municipal-liability claim.                                   moving force behind) the constitutional violation here.

Scott tries again in his reply brief. There, he shifts the           In sum, for the foregoing reasons, Scott's municipal-
focus away [**24] from special-needs students and                    liability claim is without merit.


                                                                     IV
11 As evidentiary support for his municipal-liability claim, Scott
directs us to the testimony of a Juvenile Probation Officer and      Finally, Scott argues that the district court erred in
to a summary of City police reports prepared by Scott's              granting summary judgment to the defendants on his
counsel. Even assuming that all of this is properly admissible       ADA claim. We disagree.
evidence, it is woefully insufficient to establish that the two
policies Scott identifies in his opening brief were the moving       HN23[ ] Title II of the ADA states that "no qualified
force in his unlawful arrest. First, though this evidence            individual with a disability shall, by reason of such
purports to show that young children were repeatedly arrested
                                                                     disability, be excluded from participation in or be denied
by the City's police for violations of section 30-20-13(D), it is
                                                                     the benefits of the services, programs, or activities of a
silent regarding whether these children had special needs.
                                                                     public entity, or be subject to discrimination by any such
Second, many (if not most) of the arrests that Scott's counsel
identifies in his summaries involved, at least arguably, willful     entity." 42 U.S.C. § 12132. To make out his ADA claim,
misconduct, which would place them on the question of intent         Scott has to show that he (1) has a disability; (2) was
within the ambit of section 30-20-13(D). See Aplt.'s App. at         discriminated against by a public entity; and (3) the
235-40 (describing arrests for, among other things, "knocking        discrimination was "by reason of [his] disability." Gohier
over a chair and throwing a pen," "throwing a stick when told        v. Enright, 186 F.3d 1216, 1219 (10th Cir. 1999).
not to," "blowing up a condom in class," and "[s]tepping toward
a teacher in an aggressive manner").                                 Scott argues that "[i]f [he] had not been disabled, he

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would have had no need to leave class." Aplt.'s Opening         But, even assuming arguendo this was the law here,
Br. at 33. When "Officer Hensley handcuffed, arrested,          Scott's claim would still fail.
transported and charged Scott," he continues, Officer
Hensley [**26] did so "because [Scott] was disabled."           Crucially, Scott never points to any evidence of (1) a
Id. (emphasis added).                                           request for an accommodation; or (2) a reason that
                                                                Officer Hensley should have known that he needed an
Not so. In some cases, a plaintiff's "disability might          accommodation. Instead, he points only to the fact that
cause the police to incorrectly suspect that an individual      Officer Hensley knew about Scott's diagnosis of bipolar
committed a crime." J.H. ex rel. J.P. v. Bernalillo Cty.,       disorder. (The [**28] record bears this out. In his
806 F.3d 1255, 1260 (10th Cir. 2015). But Scott is not          deposition, Officer Hensley was asked if Scott had been
arguing that Officer Hensley mistook his disability itself      "diagnosed with bipolar disorder[.]" Aplt.'s App. at 67.
for illegal conduct. Instead, he argues that Officer            He replied that Scott's "parents had told [Officer
Hensley arrested Scott because of the manifestations of         Hensley] that" during a meeting with Officer Hensley. Id.
his disability. See Aplt.'s Opening Br. at 21 ("Officer         That meeting was "probably the week prior to [Scott's]
Hensley violated the ADA by arresting [Scott] for a             arrest." Id.)
manifestation of his disability.")
                                                                But knowledge of that diagnosis, without more, would
And we have repeatedly rejected such arguments. For             not necessarily make Officer Hensley aware that Scott
instance, J.H. ex rel. J.P. v. Bernalillo Cty., 806 F.3d at     needed an accommodation. See J.V., 813 F.3d at 1299
1260, we held that an SRO did not arrest a student              (HN26[ ] "[A]n ADA plaintiff must show an obvious
"because of [his] disability" when the student kicked a         need for an accommodation."); J.H., 806 F.3d at 1261
teacher; we expressly held that an arrest based on the          (concluding that it would "conflate[] a disability with a
manifestation of a student's disability was not equivalent      need for an accommodation" to expect an
to an arrest because of that disability. And, in J.V. v.        accommodation whenever an official is aware of a
Albuquerque Public Schools, 813 F.3d 1289, 1296 (10th           diagnosis).
Cir. 2016), we held that a SRO did not arrest a student
"by reason of disability" when the student was disruptive       And though Scott argues that the City's failure to train
for two hours. Id. In doing so, [*885] we noted that            amounted to a failure to accommodate his disability, he
HN24[ ] there was "no authority suggesting [that] a             never explains why. His claim fails without that
school may not regulate a student's conduct if that             explanation. See, e.g., J.V., 813 F.3d at 1300 n.8
conduct is a manifestation of a disability." Id. This case      ("While plaintiff attempts to pose training in dealing with
is no different from J.H. or J.V. Officer Hensley [**27]        those     with    mental     health   problems      a   an
did not arrest Scott because Scott was disabled; he             'accommodation,' it is well-settled that HN27[ ] the
arrested Scott because he thought that Scott was                failure to train must have caused some violation of law
"interfer[ing] with the educational process." § 30-20-          for an action against a municipality to lie." (quoting
13(D).                                                          Waller ex. rel. Estate of Hunt v. Danville, Va., 556 F.3d
                                                                171, 177 n.3 (4th Cir. 2009))).
Scott also argues that the City, through Officer Hensley,
failed to provide reasonable accommodations to Scott
during the arrest. Specifically, he alleges that "the City      V
established no meaningful policies to accommodate
disabled children" and "require[d] that all children . . . be   We AFFIRM the district court's judgment.
transported by an officer [while] handcuffed," regardless
of "the child's age or health status." Id. at 36. Scott         Entered for the Court
contends that this policy violated his rights under the
                                                                JEROME A. HOLMES
ADA.
                                                                Circuit Judge [**29]
HN25[ ] We have never adopted a failure-to-train claim
of discrimination under the ADA in the context of an
arrest. See, e.g., J.V., 813 F.3d at 1297 ("This circuit            End of Document
has not recognized a failure-to-train claim of
discrimination under the ADA, but we have not
foreclosed the possibility."); Gohier, 186 F.3d at 1221.


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          M.Bronnenbei^, Pro-se                                DiSTRlCTOF WYOMiHG
     P.O. Box 802                                              20!SJU?)2t» AH 11= 02
     Cody, Wyoming 82414                                                        CLERK
     (307)899-2150                                                    CA.SPER

                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING



     TAMIM.BRONNENBERG                                    )     CASE NO.
                                                          )     19-CV-021-S
                                           PlaintifF,     )
                                                          )    BRIEF IN
                        V.                                )    SUPPORT OF
                                                          )    MOTION FOR
     BEAUJ.EGGER,etal.,                                   )    DECLARATORY
                                                          )    JUDGMENT.
                                        Defendants.       )


           The plaintiff, Tami M.Bronnenberg,respectfully replies to the

     Defendant Officer Egger's Response To Motion For Declaratory Judgment

     pursuant to the Federal Rules ofCivil Procedure,Rule 12(a)(1)(C),"A

     party must serve a reply to an answer within 21 days after being served

     ***.", and Rule 57,"*** the existence of another adequate remedy does not

     preclude a declaratory judgment that is otherwise appropriate. ***."

           "The Declaratory Judgments Act gives courts no power to determine

     future rights or controversies in anticipation of events that have not occurred

     * * *" See, Cranston et al v. Thomson, 530 P.2d 726 at 729 (Wyo. 1975),

     enclosed. Basically, the problem in each case is whether the facts alleged



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     under all the circumstances show that there is a substantial controversy

     between parties having adverse legal interests of sufficient immediacy and

     reality to warrant the declaratory judgment. Golden v. Zwickler, 394 U.S.

     103,89 S.Ct 956,959-960, 22 L. Ed. 2d 113(1969); Id.

           In Cranston et al v. Thomson, Supra,530 P.2d at 730(Wyo. 1975),

     die Wyoming Federal Court was dealing with related matters,the issuance

     ofa declaratory judgment concerning the constitutionality of abortion

     statutes. Stating,"the holdings in the mentioned decisions ofthe United

     States Supreme Court are consistent with the opinions ofthis court and in

     particular with that ofBrimmer v. Thomson, Wyo., 521 P.2d 574, where we

     indicated that to present a justiciable controversy there must be the violation

     of a genuine, existing, and fundamental right, and that the court would not

     issue advisory opinions dealing with future speculative matters." p. 730;

     Steffel V. Thompson,415 U.S.452,94 S. Ct. 1209,39 L.Ed. 2d 505(1974),

     enclosed. When federal claims are premised on 42 U.S.C.§ 1983 and 28

     U.S.C. § 1343(3)-as they are here-we have not required exhaustion of

     state judicial or administrative remedies,recognizing the paramount role

     Congress has assigned to the federal courts to protect constitutional rights.

     See, e. g. McNeese v. Board ofEducation,373 U.S. 668,83 S. Ct. 1433,10




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     L.Ed. 2d 622(1963); Monroe v. Pape,365 U.S. 167, 81 S. Ct 473,5 L.Ed.

     2d 492(1961); StefFel v. Thompson,Supra,415 U.S.452 at 472,473.

            A request for a declaratory judgment that a statute or ordinance,[In

     this case RIMS computer system ofthe Park County Sheriffs Office,that

     OfScer Egger's, acts, policies and practices, applied and used in the

     violation ofthe 4**^ and 14^ amendments to the Constitution ofAmerica,

     (false arrest and false imprisonment ofthe Plaintiff], is unconstitutional

     does not have to meet the stricter requirements justifying die issuance ofan

     injunction. Id. In cases covered by Steffel, the federal court may issue

     prelimmary or permanent injunctions to protect its judgments,without

     satisfying the Younger tests. Doran v. Salem Inn,422 U.S. 922,930-931,95

     S. Ct. 2561,45 L. Ed. 2d 648(1975); Wooley v. Maynard,430 U.S. 705,

     712,97 S.a. 1428,51 L.Ed. 2d 752(1977).

           Several notewordiy constitutional decisions were rendered in

     declaratory actions. E.g., Currin v. Wallace, 306 U.S. 1,59 S. Ct. 379,83 L.

     Ed.441 (1939); Perkins v. Elg,307 U.S. 325,69 S. Q.884,83 L.Ed. 1320

     (1939); Ashwander v. TVA,297 U.S 288,56 S. Ct. 466,80 L.Ed.688

     (1936);Evers v. Dwyer,358 U.S.202(1958).

            The Court exhibited a greater receptivity to declaratory judgments in

     constitutional litigation, especially cases involving civil liberties issues. E.g.,




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     Baggett V. Bullitt, 377 U.S. 360,84 S. Q.1316,12 L.Ed. 2d 377(1964);

     Keyishian b. Board ofRegents,385 U.S. 589,87 S. Ct 675, 17 L.Ed. 2d

     629(1967); Turner v. City of Memphis,369 U.S. 350,82 S. Ct. 805,7 L.

     Ed. 2d 762(1962); Powell v. McCormack,395 U.S. 486,89 S. Ct 1944,23

     L.Ed. 2d 491 (1969).

           Congress "imposed the duty upon all levels ofthe federal judiciary to

     give due respect to a suitor's choice of a federal forum for the hearing and

     decision of his federal constitutional claims. Zwickler v. Koota,389 U.S.

     241,248,88 S. Ct 392, 19 L. Ed.2d 444(1967); Legal Information

     Institute, Declaratory Judgments. Notes 566,567,570,574.

           WHEREFORE,Plaintiff, Tami M.Bronnenberg, THEREFORE prays

     that RIMS computer system ofthe Park County Sheriffs Office,that Officer

     Egger's, acts, policies and practices, applied and used in the violation ofthe

     4^ and 14**^ amendments to the Constitution ofAmerica,(false arrest and

     false imprisonment ofthe PlaintifQ, is unconstitutional granting her Motion

     for Summary Judgment.

           DATED:June^!),2019.




                                               ^ami M.Bronnenbe ^Pro-se



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                             CERTIFICATE OF SERVICE.

             I hereby certify that a copy ofthe forgoing Briefin Support ofMotion

     for Declaratory Judgment was mailed to the U.S. Magistrate Judge,Kelly H.

     Rankin, United States District Court,2120 Capitol Ave., Suite 2204,

     Cheyenne, Wyoming 8200land to the Defendant, Office ofthe Attorney

     General, 2320 Capitol Avenue,Cheyenne, Wyoming 82002 on June^(i? »
     2019.




                                                   Tami M.Bronnennera Pro-se




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     530 P.2d726(1975)
     Albert H.CRANSTON et al., Appellants(Plaintiffs below),
     Wyoming Political Action Committee for Education and Wyoming State AFL-CIO
     (Intervenors Below),
     V.

     Thyra THOMSON,Secretary ofState, et al.. Appellees(Defendants below).
     WYOMING POLITICAL ACTION COMMITTEE FOR EDUCATION,Appellant
     (Intervenor below),
     Wyoming State AFL-CIO Intervenor below),and
     Albert H. Cranston et al.,(PlaintifFs below),
     v.

     Thyra THOMSON,Secretary ofState et al.. Appellees(Defendants below).
     WYOMING STATE AFL-CIO,Appellant(Intervenor below),
     Wyoming Political Action Committee for Education(Intervenor below),and
     Albert H. Cranston et aJ.,(Plaintiffs below),
     V.

     Thyra THOMSON,Secretary ofState, et al.. Appellees(Defendants below).
     Nos. 4445-4447.
     Supreme Court of Wyoming.
     January 17, 1975.
     Rehearing Denied March 31,1975.
     727 =^=727 WalterC. Urbigkit, Jr., ofUrbigkit,Moriarity, Halle &Mackey,Cheyenne,
     for appellants Cranston and Wyo. State AFL-CIO.
     Charles E. Graves and Patrick E. Hacker, Cheyenne,for appellant Wyo.Political Action
     Omimittee for Ed.
     Laurence Gold, Washington,D.C.,for appellant Wyo.State AFL-CIO.
     David B. Kennedy, Atty. Gen., Jerome F. Statkus, Asst. Atty. Gen., and William M.
     Sutton, Sp. Asst. Atty. Gen., Cheyenne,for appellees,Thyra Thomson and the Office of
     the Attorney General, State of Wyoming.
     John Lynch, Deputy County and Prosecuting Attorney, Cheyenne,for appellees, Thomas
     J. Carroll and John B. Huisman.
     Before PARKER^,C.J., McEWAN,GUTHRIE and McCLINTOCK,JJ., and
     ARMSTRONG,District Judge.
     Mr. Chief Justice PARKER delivered the opinion ofthe court
     This is an ^jpeal by plaintiffs and the two intervenor organizations from an order
     dismissing the complaints for failure to state ajusticiable cause.^ In their complaint
     pl^tiffs sought to declare void and unconstitutional § 22.1-401, W.S. 1957,1973
     Cum.Supp.,requiring a candidate's written approval to expenditures on his behalf, and
     certain subsections of§ 22.1-389, W.S. 1957,1974 Interim Supp.,^ concerning the
     limitation ofcampaign expenditures and restricting certain practices. There was also a
     prayer seeking to prohibit enforcement ofthe mentioned stiUutes, but this aspect is not
     pursued in the appeal.
     The complaint asserted plaintiffs' status as resident electors, that said Cranston and
     Doughty had been candidates for state representative in the 1972 election and Cranston
     was an announced candidate for the same office in 1974,that Otto "may become a
     candidate for office in 1974," and alleged the membership ofall plaintiffe in one or more



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     organizations v^ch seek through joint action to support the nomination and election of
     candidates for public office, which activities exposed the plaintiffs to potential civil and
     criminal penalties. It stated that the challenged statutes affiected and harmed them,
     charging unconstitutionality on numerous grounds as ^dolative of"Article I, Section 1,
     Article I, Section 2; Article I, Section 3; Article I, Section 6; Article I, Section 7; Article I,
     Section 9; Article I, Section 10; Article I, Section 11; Article I, Section 20; Article I,
     Section 21; Article I, Section 27; Article I, Section 34; Article I, Section 36; Article HI,
     Section 27, ofthe Constitution ofthe State of Wyoming and the First, Fifth, Sixth, and
     Fourteenth Amendments to the Constitution ofthe United States. Article I, Section 4 and
     Article VI ofthe Constitution ofthe United States * *
     72(S 728 The intervenor AFL-CIO stated its organizational structure, certain provisions
     in its constitution, and said that it had "in the past and anticipatorily in the future, will
     endorse candidates, make contributions from funds voluntarily contributed and otherwise
     support the electoral interests ofcandidates including specifically those seeking national
     office,deemed best to recognize and support the interests oflabor." Its prayer was similar
     to that ofplaintiffs.
     The intervenor Wyoming PACE recited its voluntary nonprofit, unincorporated status, the
     individuals combined to support political candidates frivorable to education,the receipt of
     donations from its members, and the selection tiuough its board ofdirectors ofcandidates
     favorable to education, who would receive the campjugn donations.PACE charged
     unconstitutionality ofthe mentioned statutes on grounds substantially similar to those
     asserted by plaintiffe and by the intervenor AFL-CIO,appending a like prayer.
     In an amended complmnt tl^ intervenor AFL-CIO recited additionally its contribution of
     moneys in various capacities to candidates in the 1972 general election as well as the fact
     that it had on hand substantial funds collected from per capita tax and moneys received
     fix>m nonresidents ofthe State and desired to contribute some ofthe money to the
     Congressional candidate and presently planned and desired to continue its past practice of
     making contributions to candidates for election.
     In an amended complaint,PACE further alleged that it presently held a checking account
     of$4,152.90 contributed by its members for the purposes ofsoliciting and receiving
     donations to the campaigns of announced political candidates supporting education or to
     the political parties they represent, and that its Board of Directors had selected certain
     candidates whom they wished to support and had donated the sum of$500 to the
     National Education Association Political Action Committee, an organization which
     makes campaign donations to candidates for the United States Congress and Senate from
     various states, including Wyoming.
     From a dismissal of plaintiffs' and intervenors'complaints,on the groimds that neither the
     pleadings nor the testimony in evidence adduced in support thereof gave rise to a
     justiciable controversy upon which the court might act, this appeal has resulted.
     The ^pellants here urge the existence ofajusticiable controversy,the imconstitutionality
     ofthe challenged laws on the grounds ass^ed in tiie pleadings, and ask for a decision as
     to the merits ofthe action. The threshold question, ofcourse,is that ofjusticiability, the
     basis for the trial court's order ofdismissal. On that aspect, all parties here take comfort
     in the case of Brimmer v. Thomson. Wyo.. 521 P.2d 574: and it may therefore be salutary
     to summarize our analysis of what was said therein.




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     Aside from general discussion explanatory of but unnecessary to the result, we held in
     Brimmer that each ofthe three senators who were defendants had,if qualified therefor, a
     genuine, existing, and fundamental right to seek the public office ofgovernor. Such right
     had been improperly restricted and abrogated by a previous opinion ofthe Attorney
     General. Thus, ajusticiable controversy existed. In reaching the decision, various
     incidental and foundation matters received some attention, including(a)die necessary
     elements ofajusticiable controversy under the Uniform Declaratory Judgments Act,(b)a
     notation ofthe unquestioned axiom that the Declaratory Judgments Act cannot be relied
     Tqx>n to secure an advisory opinion, and(c)the caution essential to application ofthe
     public interest concept; but reference to any ofthese remarks taken out ofcontext is
     unwarranted.
     Perhaps there should be some delineation ofthe rule that a declaratory judgment cannot
     be relied upon to secure an advisory opinion.
     "* * * Courts vrill not render advisory opinions on abstract questions oflaw about which
     there is only a disagreement 729 729 rather than an actual controversy between the
     parties, * * *" Wagner v. Mahaffev. 195 Kan. 586. 408 P.2d 602. 605.
     "The Declaratory Judgments Act gives courts no power to determine future rights or
     controversies in anticipation ofevents that have not occurred * *  Glasgow v. Fox. 214
     Tenn. 656.383 S.W.2d 9. 13.
     We adopt these holdings. The reasons for this rule are obvious since binding legal
     determinations made in the abstract and decisions rendered without concrete factual
     background would be imprecise, subject to speculation, and would create rather than
     diminish future controversies. We have thus made it clear that the court is precluded by
     logic as well as precedent from issuing advisory opinions. We have also indicated in
     Brimmer the requisites ofajusticiable controversy under the Uniform Declaratory
     Judgments Act:(a)that it requires parties who have existing and genuine, as
     distinguished from theoretical rights and interests,(b)the controversy must be one upon
     which a court may effectively operate rather than an argument calling for a purely
     political, administrative, philosophic, or academic conclusion, and(c)it must be one of
     which ajudicial determination may have the force and effect ofa finaljudgment upon the
     rights,status,or legal relationships ofa real party in interest
     We think that, wanting any ofthese requisites, a great public interest alone is insufficient
     to warrant the action ofthe court under any situation which we might at present foresee.
     As has been pointed out in numerous authorities, the difference between an abstract
     question and a controversy contemplated by the Uniform Declaratory Judgments Act is
     necessarily one ofdegree; and it is difficult, if not impossible, to fashion in advance a
     precise test for determining the question. Basically,the problem in each case is whether
     the facts alleged imder all the circumstances show that &ere is a substantial controversy
     between parties having adverse legal interests of sufficient immediacy and reality to
     warrant the declaratory judgment. Golden v. Zwickler. 394 U.S. 103. 89 S.Ct. 956.959-
     960. 22 L.Ed.2d 113.
     In the matter before us,there are asserted either by the pleadings or the evidence no
     existing right or interest with the possible exception(1)ofan opinion ofApril 29,1974,
     by the Attorney General to the Secretary ofState wherein the questions^ were answered
     in the affirmative, and(2)the pleaded and undenied payment by PACE of$500 to the
     National Education Association Political Action Committee. As to the Attorney General's



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     opinion,the questions asked were not sufficiently concrete to dispose ofany dispute here
     between the parties. As to the mentioned PACE $500 payment,there was no information
     presented showing it to have been received by the organization to which it was sent or
     what was done with it thereafter.
     Next to Brimmer,appellants seem to place most reliance on Doe v. Bolton. 410 U.S. 179.
     93 S.Ct. 739. 35 L.Ed.2d 201. and quote from 410 U.S. at 188. 93 S.Ct.at745:
     "Inasmuch as Doe and her class are recognized, the question whether the other appellants
     — physicians, nurses, clergymen,social workers,and corporations — present a
     justiciable controversy and have standing is perhaps a matter ofno great consequence.
     We conclude, however,that the physician-appellants, who are Georgia-licensed doctors
     consulted by pregnant women,also present ajusticiable 73t) 73'' controversy and do
     have standing despite the fact that the record does not disclose that any one ofthem has
     been prosecuted, or threatened with prosecution,for violation ofthe State's abortion
     statutes- The physician is the one against whom these criminal statutes directly operate in
     the event he procures an abortion that does not meet the statutory exceptions and
     conditions. Tlie physician-appellants,therefore, assert a sufficiently direct threat of
     personal detriment. They should not be required to await and imdergo a criminal
     prosecution as the sole means ofseeking relief. * ♦ *"
     The quoted language is only a small portion ofa rather involved opinion issued
     simultaneously with another case, Roe v. Wade.410 U.S. 113. 93 S.Ct. 705. 35 L.Ed.2d
     147. dealing with related matters, inter alia, the issuance ofa declaratory judgment
     concerning the constitutionality of abortion statutes. Justice Blackmun,the author ofboth
     opinions, stated in Roe that the two cases "of course, are to be read together," 410 U.S. at
     165.93 S.Ct. at 733. An analysis ofthese two cases discloses that in the instance where
     the woman plaintiff(or the married couple)is merely apprehensive of what may occur in
     the future plaintiffs position is held to be ofa speculative character and an allegation
     concerning it does not present ajusticiable controversy,^^le in a circumstance where
     there is an actual pregnancy the opposite is true. The situation ofJane Roe's physician, as
     to justiciability is unimportant to the present controversy since there the Supreme Court
     declined prosecution for abortion activities then pending before the Texas cotiit and
     rejected his alternative contention that he was a "potential future defenttot" since there
     was no showing that he would suffer great and immediate irreparable injury by virtue of
     being prosecuted in the state courts where he could make his constitutional contentions.
     In Doe V. Bolton, supra. May Doe was held to have presented ajusticiable controversy
     since at the time ofthe complaint she was actually pregnant, the alleged interference with
     her rights was clear,immediate,and present, rather than speculative and futuristic. The
     same rationale was applied to the doctors.
     It follows,therefr)re, that the holdings in the mentioned decisions ofthe United States
     Supreme Court are consistent with the opinions ofthis court and in particular with that of
     Brimmer v. Thomson, supra, where we indicated that to present ajusticiable controversy
     there must be the violation ofa genuine, existing, and fundamental right, and that the
     court would not issue advisory opinions dealing with future speculative matters.
     Neither the complaints in the present case nor &e evidence adduced before the trial court
     dealt with more than speculations and possibilities. Actually the requests presented by the
     three complaints were for advisory opinions on multifaceted matters, answers to which
     could scarcely fail to proliferate rather than resolve controversy.



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     We do not reach the various constitutional questions which are posed.
     Affirmed.
     ARMSTRONG,District Judge(concurring).
     I concur in the majority opinion,especially with respect to the lack ofajusticiable
     controversy on the part ofthe intervenors. I agree that the threshold to the successful
     maintenance ofa declaratoryjudgment action is the clear demonstration ofsuch a
     controversy.
     The dissent in this case, and die majority opinion in Brimmer, approximate advisory
     opinions,from which everyone seems to shy away.
     Semantics aside,in a case ofthis kind vriiere a sizeable public inter^ is involved and
     vriiere the legislature has presently pending a bill to amend the Frisby amendment,it
     behooves me to state can^dly that ifa controversy had been shown 1 would have
     concurred with die dissent in declaring the offensive section ofthe amendment
     unconstitutional.

     731   731 McCLlNTOCK,Justice (dissenting).
     I do not disagree vrith the m^ority in their view that an action for declaratory judgment
     must present ajusticiable controversy and that the courts should not render advisory
     opinions.^ My disagreement is with the application ofthose principles to the facts ofthis
     case and the expressed fear that a decision thereon would be "rendered without concrete
     factual background,* * * subject to speculation,and would create rather than diminish
     future controversies".
     As shown by their complaint,the individual plaintiffs at the time offiling the action were
     actual or potential canctidates for political office \rithin the state or were members of
     organizations interested in supporting political candidates. Pleadii^ and evidence
     establish that Wyoming AFL-CIO is a volimtary union ofunions within the state, which
     by its constitution has the declared purpose to participate in the political life ofthe local,
     state, and national communities,including fostering legislation vriiich will safeguard and
     promote the principle ofcollective bargaining. The constitution ofthe Wyoming Political
     Action Committee for Education(PACE)declares one ofits objectives to be "to solicit
     and receive donations which shall in turn be contributed to campaigns of announced
     political candidates chosen for their support ofeducation or to the political parties they
     represent".
     All pleadings further allege that application ofthe so-called Frisby amendment^ to the
     activities ofthese individuals and organizations will constitute an improper and
     unconstitutional interference with the reasonable and practical exercise oftheir political
     rights. But under the view ofthe majority none ofthe plaintiffs may secure a
     determination ofthe invalidity ofthe statute because there is no justiciable controversy
     presented. A closing paragraph ofthe majority opinion sums up the objections to the
     action;
     "Actually the requests presented by the three complaints were for advisory opinions on
     multifaceted matters, answers to which could scarcely fail to proliferate rather than
     resolve controversy."
     Considering the firet ofthree requisites ofjusticiability said to be recognized in Brimmer
     V. Thomson. Wvo.. 521 P.2d 574. that there be parties who have existing and genuine,as
     distinguished from theoretical, rights and interests, I would first refer to the testimony of




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     L. Keith Henning,chiefexecutive officer ofthe state AFL-CIO,and Ed Brennan, state
     chairman ofPACE.
     Mr. Henning testified as to the operations ofthe organization since its inception in 1956.
     Each affiliated local union contributes to the state organization dues of40 cents per
     month for each ofits members,of which sum five cents is earmarked as a political fimd,
     expended through a standing Committee on Politica} Education 732 732 (COPE).In
     addition to these funds,tickets are sold for $2.00 each to volimtary contribirtors to
     COPE'S activities. These funds are forwarded to the national AFL-CIO but one-half
     comes back for use by the state organization. At a state convention ofdelegates from the
     various locd unions a determination is made to endorse certain candidates for federal,
     state, or local office, a two-thirds majority ofthe delegates being necessary for such
     endorsement. Information concerning such endorsements is disseminated among die
     membership and the general public. Contributions offinancial help are made to some of
     these candidates, depending upon the importance to COPE ofa particular race and the
     need ofa candidate for support. Henning testified concerning the difficulties of making
     such endorsements and contributions in the face ofthe Frisby amendment:
     "The biggest problems that we have would be, number one,in getting the two-thirds vote
     ofthe entire membership before we can spend monies in individual cases. This becomes
     a function ofthe executive end ofthe organization and it changes day to day and wejust
     could not function if we had to receive a two-thirds membership vote on this. Also,the
     very great problem is that we don't know where die money came from,what district it
     came from,and being able to decide that there were so many members in a certain county
     that we could expend frmds on. There are also counties in the state that have officials up
     for election that we feel we have great interest in, yet we have very few membas residing
     in that county."
     Specific examples ofthis last problem were testified to by Henning.
     During the 1972 campaign some $7,500,not representing funds contributed by its
     member locals but as to which COPE acted as agent, were distributed to federal
     candidates. $5,800,representing contributions through the five cent levy and sale of
     tickets was expended in support ofendorsed candidates. $6,000 ofsuch fimds were on
     hand for expenditure in the 1974 campaign(the testimony was given on June 21,1974),
     but in the witness'own words the "passage ofthe Frisby Amendment has put us at a
     standstill" because until some determination is made ofthe act the AFL-CIO could not
     proceed. Contributions would be made in the 1974 election campaign ifthe matter was
     settled.
     Mr.Breiinan,after stating the constitutional purpose ofPACE,testified that his group
     consisted ofsome 1,000 members scattered through the 23 counties ofthe state; tiiat dl
     contributions to the committee were voluntary; that money was received from members
     ofthe teaching profession and the general public through drives, raffles, and other
     fiinctions; that it had participated in the 1970 and 1972 elections, legislative,
     congressional and county,and had given financial support to a number ofthose
     candidates. Endorsement ofcandidates was in some instances expressed through
     supportive letters mailed to voters in the coimty where the candidate was running. At the
     time ofthe hearing there was a fund ofsome $4,100 available for financial si5>port of
     candidates and the board ofdirectors had gone through the entire list ofincumbent
     legislator and others who might be seeking office and had reached a decision to support


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     some ofthe candidates. However,nothing could be done to effect this decision because
     the board was fearhil ofthe criminal penalties that might result under the amendment.
     The possibility oftaking a "negative" vote, that is, one wdiere the board would advise the
     membership ofits decisions on various candidates and would consider them approved
     unless more than one-third ofthe membership should by letter disclose their rejection of
     such candidate, had been considered, but no decision reached. The board has been unable
     to come up with any feasible plan for taking votes ofits 1,000 members that is
     economically feasible. In Brennan's words:"We would spend more money collecting
     votes than we do have to give to candidates", and the effect ofthis is that"we could not
     be effective as an organization".
     733'733 I see nothing speculative or theoretical in this testimony. I view it as factual,a
     recitation ofthe manner in which these two organizations have operated up to the
     enactment ofthe amendment.I view as factual their testimony that they have funds on
     hand which they would like to spend in the support ofcandidates they consider favorable
     to their objectives but that they cannot do this because ofthe amendment.
     The second requisite to the establishment of a justiciable controversy is said to be that the
     controversy must be one tq)on >^ch the court may effectively operate as distinguished
     &om an argument calling for an administrative, philosophic, or academic conclusion. I
     would consider this point more pertinent and of more importance were this an action only
     to obtain declarations as to the interpretation ofthe amendment,that is, if we were asked
     to tell the plaintiffs vAmt they could or could not do and be in compliance with the statute.
     For example,PACE includes a prayer that the court answer certain questions as to
     whether designated conduct would constitute a violation ofthe statute. But this is an
     alternative prayer and all ofthe complaints specifically ask that subsection(e)be
     declared unconstitutional and void. To decide such a question, against the background of
     what I believe must be considered a factual situation, is not in my opinion an entry into
     any academic or philosophic discussion.
     I hold the same views with respect to the third requisite cited by the majority,that the
     judicial determination must have the force and effect ofa final judgment upon the rights,
     status, or legal relationships ofa real party in interest. Again, upon my view that the
     plaintiffs have alleged and shown a definite and real interference vrith their method of
     operation,I do not see how it could possibly be said that ajudgment declaring the statute
     unconstitutional would fail to be a finaljudgment upon the rights, status, or legal
     relationship ofthese plmntiffs,justifiably concerned with protecting their way of
     participating in political activity and therefore being real parties in interest. We had no
     difficulty in determining and declaring a criminal statute unconstitutional in Doe v. Burk.
     513 P.2d 643. Although by a split decision, in State v. Stem. 526 P.2d 344. we declared
     our so-called breaking and entering statute unconstitutional. I would assume that these
     statutes may no longer be considered as effective in Wyoming.I would consider that a
     judgment that the Frisby amendment was unconstitutional would similarly have the
     practical effect ofeliminating it from future concem to anyone. The Supreme Court of
     the United States in a host of cases, has held that the validity ofa state statute may be
     properly challenged on constitutional grounds under the federal declaratory judgment
     law.^ Under those decisions a declaration of unconstitutionality imder the federal
     constitution is a final and effective judgment. I must disagree with the majority when




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     they conclude that a declaration of unconstitutionality in this case would create or
     proliferate future controversies.
     I am fiirther ofthe opinion that to distinguish Brimmer on the basis that in that case there
     was an official opinion ofthe attorney general's office which was adverse to the right of
     the defendants therein to seek the nomination for govemor ofthe state, while in this case
     there is no such opinion is a distinction without significance.^ Section 1-1052, W.S.
     1957 provides in plain language that:
     "Any person * ♦ * whose rights, status or other legal relations are affected 734 *734 by
     a statute * * ♦ may have determined any question ofconstruction or validity arising under
     the * * * statute."
     It does not provide that anyone vriiose rights under a statute as interpreted by the attorney
     general or other public official may have such declaration. While there might be reason
     for declining to exercise discretion to make declarations under such posited
     circumstances as to be ridiculous, there is nothing fanciful about the situation in which
     the plaintiffs find themselves,and the Frisby amendment,not the Attorney General's
     construction thereof, is what endangers the plaintiffs exercise of political rights in the
     only manner in which they consider such exercise effective.
     The foregoing relates only to the justiciability ofthe action insofer as it seeks declarations
     as to the unconstitutionality ofthe Frisby amendment. However, all plaintiffs specifically
     raised the question that insofar as any legislation relating to the support ofcandidates for
     federal office is concerned, state laws are either inapplicable or invalid because federal
     legislation has preempted the field. This contention had been specifically rejected by an
     attorney general's opinion,No. 12,dated April 29,1974.IfBrimmer is \^id only because
     the there asserted right ofthe midterm senators to run for the office of govemor was
     clouded by the deputy attorney general's "qualified no" opinion,then it would seem in
     this case that the asserted right of AFL-CIO and PACE to endorse and support federal
     candidates oftheir choice is similarly clouded and tbere is ajusticiable controversy in
     that respect. Counsel for AFL-CIO argue this question in their brief and the Attorney
     General responds thereto but does not again comment after pl^tiffs'filed supplemental
     briefsetting forth the final federal act and history thereof
     I shall not argue the merits ofthe Attorney General's contention that only a candidate for
     federal office would have standing to raise the question except to state that the action
     seeks to determine and protect the right of citizens, whether as individuals or associations,
     to express themselves in elections, a right vhich I consider a first amendment right ofthe
     first magnitude. I do not believe only a candidate has the standing to claim a
     constitutional right is clouded by improper state legislation. I think that ajusticiable
     controversy on a serious question was raised by the pleadings,the briefs, and
     supplemental brief. I tbmk that the majority improperly ignore that question.
     I should add that I am convinced that subsection(e)ofthe Frisby amendment is
     unconstitutional and tiiat the decision ofthis Court should be to that effect,
     notwithstanding that the district court did not reach a conclusion on that point. It is my
     opinion that the case ofthe plaintiffs was completely developed in the district court,the
     Attorney General presented all the evidence that he considered pertinait on the issues,
     and I find no questions offact that should be left to the prim:determination ofthe original
     trier oftile fact. In the last analysis it is only this Court vriiich can effectively decide the
     questions of validity under our state constitution, and we have an equal obligation.



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     subject to the final review ofthe Supreme Court ofthe United States, to enforce the
     constitution ofthe United States. While the original necessity for haste has been
     eliminated by the normal delays in getting a case to trial and then to this Court,I see
     nothing to be gained by further consideration in the trial court. I believe that a decision of
     this Court should and would end the controversy.
     735 735 Counsel for AFL-CIO and PACE argue effectively and with citations of
     numerous authorities that subsection(e)is invalid under a number ofstate and federal
     constitutional provisions. Noting in passing that there is a very real vagueness of
     expression in certain portions ofthe subsection,^ I do not think that this Court needs to
     reach or discuss all ofthe constitutional arguments raised, and I would hold the
     subsection unconstitutional because ofits clear and unequivocal prohibiting of certain
     conduct by organi2ations other than political parties, except under conditions which the
     evidence shows could not be met in any practicable way so that in my opinion the statute
     amounts to a denial ofthe right ofassociation and to operate as an association in the
     exercise ofrights guaranteed under the first and fourteenth amendments to the United
     States Constitution and §§ 2,3,6,and 7 of Art, 1 ofthe Wyoming Constitution. While I
     find no cases directly in point, either ofthis Court or the Supreme Court ofthe United
     States,I do think that decisions ofthat court establish the principles that should govern
     our determination.
     InHealv v. James. 408 U.S. 169, 181. 92 S.Ct. 2338. 2346. 33 L.Ed.2d 266 (1972). it is
     said that "Among the rights protected by the First Amendment is the right ofindividuals
     to associate to further their personal beliefs." In the same vein are Bates v. Little Rock.
     361 U.S. 516. 523,80 S.Ct. 412,4 L.Ed.2d 480(I960'). Sweezv v. New Hampshire. 354
     U.S. 234. 250. 77 S.Ct. 1203. 1 L.Ed.2d 1311 (\9573. and National Association for the
     Advancement of Colored People v. Alabama. 357 U.S. 449. 460. 78 S.Ct. 1163. 1170. 2
     L.Ed.2d 1488 (19581. In this last case it is said that:
     "Effective advocacy of both public and private points ofview,particularly controversial
     ones,is undeniably enhanced by group association, as this Court has more than once
     recognized by remarking upon the close nexus between the fieedoms ofspeech and
     assembly. * * ♦ Ofcourse, it is immaterial whether the beliefs sought to be advanced by
     association pertain to political, economic,religious or cultural matters, and state action
     which may have the effect of curtailing the freedom to associate is subject to the closest
     scrutiny."
     As was said in Sweezv. 354 U.S. at 250. 77 S.Ct. at 1212."Our form of government is
     built on the premise that every citizen shall have the right to engage in political
     expression and association." The individual plaintiffs in this action are persons who se^
     to associate and obtain the support ofassociations in political activity; AFL-CIO and
     PACE are organizations which seek to express and have their views known in political
     campaigns, and one oftheir methods of doing so is by the endorsement and support of
     can^dates. Their activities are materially cmtailed if not eliminated by the two-thirds
     vote requirement,and they are definitely discriminated against in their maimer of
     contributions in that individuals,from within or outside the state, may make contributions
     in any election district they choose, while these associations may only contribute to the
     extent ofthe contributions by their members in the particular election district. They may
     not even seek the contributions ofnonmembers for use in those areas. I confess myself
     unable to see how either subsections(e)(i) or(e)(ii)can be said to further any important



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     interest ofthe state of Wyoming.I fail to see how a contribution by one person of$1,000
     can be good and an equal contribution representing the combined donations of 1,000
     persons can be evil. There is then a very real denial of716 '73                                 equal rights to those
     people who would combine their efforts to be politically effective.
     Because ofmy conviction that the Frisby amendment is imconstitutional and my further
     question concerning Its applicability to elections offederal candidates,1 think it most
     unfortunate that a majority ofthis Court has seen fit to rejectjurisdiction ofthe action,
     apparently brought in all good faith, and raising questions that are to me ofsubstantial
     importance. I have cause to wonder how a solution ofthose problems will be reached.
     The Attorney General states that he does not want interested and conscientious citizens to
     flout the law, thereby risking civil penalties of considerable size, and even fine and
     imprisonment, but I find little help for these people in his suggestion that "[ijmaginative
     legal procedure could be employed to establish a valid factual situation which would
     define the issues yet fall short ofincurring any penalty". The brief does not suggest such
     procedures^ and my imagination is not equal to the task he seeks to impose. The
     m^ority decision leaves diis matter in the most regrettable situation that plaintiffs'
     important political rights are clouded by the action or inaction ofthe Attorney General.
     The only alternative to risk of criminal liability seems to me to be an action in the federal
     courts under federal legislation relating to civil rights or declaratoryjudgments relief. I
     would have preferred action by this Court.
     Mr, Justice McEWAN,concurring in the dissent of Mr. Justice McCLINTOCK,
     The majority seek to distinguish Brimmer from this case on the basis that in Brimmer
     there was an attorney general's opinion that the incumbent senators could not be
     candidates for governor, while in this case there was no opinion. The majority fail to
     recognize that in Brimmer the opinion was issued by the deputy attorney general and die
     attorney general himselfinstitu^ the action and asked that the incumbent senators be
     declared eligible to become candidates. The bringing ofsuch an action by the attorney
     general must necessarily be construed as a tacit withdrawal ofthe opinion and tantamount
     to no opinion being issued. In any event,I cannot believe that a letter from a "friendly"
     attorney general or a cooperative county attorney could make the difference between a
     matter being or not being ajusticiable controversy.
     ORDER
     GUTHRIE,Chief Justice.
     Petition for rehearing having been filed by ^pellants,and the court having fiiUy
     considered the same, but inasmuch as in the meantime Enrolled Act No. 131 relating to
     election procedures has been enacted by the Forty-Third Legislature and this amendment
     changes materially the provisions of§§ 22.1-389 and 22.1-401, W.S. 1957, 1973
     CuHLSupp.,involved in the action; and it further appearing that further consideration of
     the Act as involved in the action herein would have no effect upon existing rights, and
     that because ofthe amendment the action may be considered moot.
     It is therefore ordered that the petition for rehearing be and the same is hereby denied.


        At the time these causes were considered and the opinion drafted, Justice Glenn Parker was a member ofthe court and the chief
     jiKtlce. He has, however,since retired.




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     f I] The order also dismissed the Secretary of State and the Laramie County Clerk as defendants.

     121 Section 22.1-389(c),(d),(e),(f)— and(g)as implied to(d),(e), and (f)— W.S. 1957,1974 Interim Supp.

     I3J [I]: is the Campaign Erqienditure Limitation ofthe Wyoming Election Code Applicable to Federal Candidates?

     "QUESTION [2]: Are the Provisions ofthe Wyoming Election Code which Place Limitations on Contributions and Expenditures by
     Associations and Groups Applicable to Federal Candidates?

     "QUESTION [3]; Will Report filed by Federal Candidates in Accordance with Federal Statutes Satisfy State Campaign Reporting
     R^uiiements?"

     Ill Brimmerv. Thomson. Wvo.. 521 P.2d 574: Anderson v. Wyoming Development Comnanv.60 Wvo. 417. 154 P.2d 318: Hollv
     ?utP«r rorooration v. Fritzler. 42 Wvo. 446.296 P. 206.


     12]Subsection (e)of§ 22.1-389, W,S. 1957,1974 Int.Supp., provides in pertinent part that no monetary contribution or expenditure
     may be made by certain described organizations including trade associations and labor unions, unless:

     "(i)The contribution or expenditure is approved by at least sixty-six and two-thirds percent(66 2/3%)ofthe members ofthe
     organization who reside within the area firom wbich the candidate may be elected. Any blanket endorsement which could be construed
     tt> circumvent the intent ofthis subsection is prohibited. The individual vote and endorsement by the membership is required for eadt
     candidate who is to receive a contribution; and


     "(ii)The monies contributed or expended are from funds or contributions ofonly those members ofthe organization who reside within
     ^district from which the candidate may be elected.

     "Any device contrived to circumvent the intent and purpose ofthis subsection is prohibited."

     Vioiation ofthese prohibitions is punishable by imposition ofcivil p»ialties up to $I0,000, plus coste and reasonable attorney fee,§
     22.i-389(g), W.S. 1957,1974 IntSupp.,as well as a fine up to SI,000 and imprisonment in the coun^jail for not more than six
     months,§ 22.1-405, W.S. 1957,1973 Cum. Supp.


     131 SeeSteffel v. Thomnson. 415 U.S. 452. 94 S.Ct. 1209. 39 LEd.2d 505 M9741: Doe v. Bolton.410 U.S. 179. 93 S.Ct. 739. 35
     L Ed.2d 201 M973L



     141 It would hardly be denied, I think, that the controversy in this case is much more realistic than that in Brimmer where all the
     contesting parties were in agreement as to answer to the question posed by the suit. A number of motions were submitted and disposed
     of by the district court aftw filing ofextensive briefs and oral argument, with the plaintiffs vigorously attacking the statute and the
     attorney general defending it with equal fervor. In Brimmer, only the deputy attorney general was heard to defend the "qualified no",
     ^ven in the opinion of March 13,1974,to the query of whether a state senator could become a candidate for state office in the middle
     of his term. Actually, a withdrawal ofthe opinion by the attorney general himself would have eliminated the controversy entirely.

        I am at a loss to understand just what is meant by the expression that "[a]ny blanket endorsement which could be construed to
     circumvent the intention ofdiis subsection"((e)(i)) and that "[a]ny device contrived to circumvent the intent and purpose ofthis
     sidisection"((e)(ii)) are prohibited. However,I do not consider that they are so important to the section that the legislaUire would not
     have enatfed it with the deletion ofthese two sentences.


     161 Although upon the oral argument ofthe case I particularly asked the Attomey General for examples ofsuch possible procedures,I
     confess dtat I remain unenlightened.




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     415 U.S.452(1974)
     STEFFEL
     V.

     THOMPSON ET AL.
     No. 72-5581.
     Supreme Court ofUnited States.
     Argued November 13, 1973.
     Decided March 19,1974.
     CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH dRCUTT.

     453 *453 Howard Moore, Jr., ai^ed the cause for petitioner. Witii him on the brief were Elizabeth R.
     Rindskopfand William R. Gignilliat III
     Lawrence M. Cohen argued the cause for respondents. Widi him on the brieffor respondents Hudgens et al,
     was Dock H. Davis.

     454 ^454 MR,JUSTICE BRENNAN delivered the opinion ofthe Court.
     When a state criminal proceeding under a disputed state criminal stahite is pending agaii^ a federal
     plaintiff at die time his federal complaint is filed, Yoimzer\. Harris. 401 U. S. 37("19711. and Samuels v.
     Mackell. 401 U. S.66(1971). held,respectively, diat, unless bad-^ith enforcement or other special
     circumstances are demonstrated, principles ofequity, comity, and federalism preclude issuance ofa federal
     injunction restraining enforcement ofthe criminal sfehite and,in all but unusual circumstances,a
     declaratoryjudgment upon the constitutionality offee statute. This case presents the important question
     reserved in Samuels v. Mackell. id., at 73-74. whether declaratory relief is precluded when a state
     prosecution has been threatened, but is not pending, and a showing ofbad-feife enforcement or other
     special circumsfences has not been made.
     Petitioner,and others, filed a complaint in the District Court for fee Northern Oistiict of Geoigia,invoking
     fee Civil Rights Act of 1871,42 U.S. C.§ 1983,and its jurisdictional implementation,28 U. S. C.§ 1343.
     The complaint requested a declaratoiyjudgment pursuant to 28 U.S.C.§§2201-2202,that Ga. Code Ann.
     §26-1503(1972)^ was being applied in violation ofpetitioner's 455 M 5 First and Fourteenth
     Amendment rights, and an injunction restraining respondents—fee solicitor offee Civil and Criminal Court
     ofDeKalb County,the chiefofthe DeKalb County Police, the owner offee North DeKalb Shopping Center,
     and fee manager ofthat shopping center —fiom enforcing fee statute so as to interfere wife petitioners
     constitutionally protected activities.
     The parties stipulated to the relevant facts: On October 8,1970, while petitioner and ofeer individuals were
     distributing handbills protesting American involvement in Vietnmn on an exterior sidewalk offee North
     DeKalb Shopping Center,shopping center employees asked feem to stop handbilling and leave.^ They
     declined to do so, and police officers were summoned. The officers told feem that they would be arrested if
     they did not stop handbilling. The group then left to avoid arrest Two days later petitioner and a
     companion returned to fee shopping center and again began handbilling. The maimger ofthe center called
     fee police, and petitioner and his companion were once again told tiiat feilure to stop feeir handbilling
     would result in their arrests. Petitions left to avoid anest His companion stayed, however,continued
     456 *456 handbilling, and was arrested and subsequently arraigned on a charge ofcriminal trespass in
     violation of§ 26-1503.^ Petitioner alleged in bis complaint that, although he desired to return to the
     shopping center to distribute handbills, he had not done so because ofhis concern that he,too, would be
     arrested for violation of§ 26-1503; the parties stipulated that, if petitioner returned and refused iqwn
     request to stop handbilling,a warrant would be sworn out and he might be arrested and charged with a
     violation ofthe Georgia statute.'^
     After hearing,fee District Court d^ed all reliefand dismissed fee action, finding that "no meaningful
     contention can be made that the state has[acted] or will in fee future act in bad feife," and feerefore "fee
     nidiments ofan active controversy between the parties. -.[are] lacking." 334 F. Supp. 1386,1389-1390
     (1971).Petitioner appealed^ only from the denial ofdeclaratory relief!^ The Court ofAppeals for the
     Fifth Circuit, onejudge concurring in the result, affirmed the District Court's 457 *457 judgment




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     refusiag declaratory relief.^ Becker v. Thompson. 459 F. 2d 919(1972). Hie court recognized that the
     holdings of Younser v. Harris. 401 U. S. 370970.and Samuels v. Mackell. 401 U. S. 66 097IX were
     expressly limited to situations where state prosecutions were pending when the federal action commenced,
     but was ofthe view that Younger v. Harris "made it clear beyond peradventure diat irreparable injury must
     be measured by bad faith harassment and such test must be applied to a request for injunctive relief against
     threatened state court criminal {HY>secution" as well as against a pending prosecution; and, furthermore,
     since foe opinion in Samuels v. Mackell reasoned that declaratory relief would normally disrupt the state
     criminaljustice system in foe manner of injunctive relief, it followed that "foe same test ofbad 458 *458
     feifo harassment is prerequisite...for declaratoiy reliefin a threatened prosecution." 459 F. 2d. at 922. A
     petition for rehearing en Wc was denied,threejudges dissenting.463 F.2d 1338(1972).^
     We granted certiorari, 410 U. S.953(1973), and now reverse.
     r
     Atfoe threshold we must consider whether petitioner presents an "actual controversy," a requirement
     inqiosed by Art ni offoe Constitution and foe e}q>ress terms offoe Federal Declaratory Judgment Act,28
     U.S. €.§2201.^
     459 *459 Unlike three offoe appellees in Younser\. Harris. 401 U. S..at41. petitioner has alleged
     threats ofprosecution that cannot be characterized as "imaginary or speculative," id., at 42. He has been
     twice warned to stop handbilling that he claims is constitutionally protected and has been told by foe police
     that if he again handbills at foe shopping center and disobeys a warning to stop he will likely be prosecuted.
     The prosecution ofpetitioner's handbilling companion is ample demonstration that petitioner's concern with
     arrest has not been "chimerical," Poe v. Ullman. 367 U. S. 497. 508(1961). In these circumstances, it is ooi
     necessary that petitioner first expose himselfto actual arrest or prosecution to be entitled to challenge a
     statute that he claims deters the exercise ofhis constitutional rights. See, e. g., Epperson v. Arkansas. 393 U.
     S. 97(19681. Moreover, petitioner's challenge is to foose specific provisions ofstate law which have
     provided foe basis for threats ofcriminal prosecution against him. Cf. Bovle v. Landrv. 401 U. S. 77.81
     (1971): Walson v. Buck. 313 U. S. 387. 399-400 (1941).
     Nonetheless,there remmns a question as to foe continuing existence ofa live and acute controversy that
     must be resolved on the remand we order today.^ In Golden v. Zwickler. 394 U. S. 103(1969\ foe
     ^pellee sought a declaratory judgment that a state criminal statute prohibiting foe distribution of
     anonymous election-canqiaign literature was unconstitutional. The appeOee's complaint had expressed a
     desire to distribute handbills during the forthcoming re-election campaign ofa Congressman,but it was
     later learned that foe Congressman 460     4{)0 had retired fiom foe House of Representatives to become a
     New Yoik Supreme Court Justice. In that circumstance, we found no extant controversy, since foe record
     revealed tiiat ^jpellee's sole target ofdistribution bad been foe Con^essman and there was no immediate
     prospect offoe Conpessman's ^ain becoming a candidate for public office. Here, petitioner's complaint
     indicates that his handbilling activities were directed "against the War in Vietnam and foe United States'
     foreign policy in Southeast Asia." Since we cannot ignore foe recent developments reducing the Nation's
     involvement in that part offoe world, it will be for the District Court on remand to determine ifsubsequent
     events have so alter^ petitioner's desire to engage in handbilling at foe shopping center foat it can no
     longm" be said foat tiiis case presents "a substantial controversy, between parties having adverse legal
     interests, ofsufficient immediacy and reality to warrant the issuance ofa declaratory judgment." Maryland
     Casualty Co. v. Pacific Coal & Oil Co.. 312 U. S. 270. 273 (1941): see Zwickler v. Koota. 389 U. S. 241.
     244 n. 3(1967).
     n
     We now turn to foe question of whether the District Court and the Court of Appeals correctly found
     petitioner's request for declaratory reliefinappropriate.
     Sensitive to principles ofequity, comity, and federalism, we recognized in Younser v. Harris, supra, that
     federal courts should ordinarily refiain ^m enjoining ongoing state criminal prosecutions. We were
     cognizant that a pending state proceeding, in all but unusual cases, would provide the federal plaintiff wifo
     foe nece^ary vehicle for vindicating his constitutional rights, and,in tiiat circumstance,foe restraining of
     an ongoing prosecution would entail an unseemly failure to give effect to the principle that state courts




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     have the solemn responsibility, -161 *461 equally with the federal courts "to g^iard, enforce, and protect
     every right granted or secured by the Constitution ofthe United States        "Robb v. Connolly. Ill U. S.
     624.637 0884). In Samuels v. Mackell. supra, the Court also found that the same principles ordinarily
     would be flouted by issuance ofa federal declaratoryjudgment when a st^ proceeding was pending,since
     the intrusive effect ofdeclaratory relief"will result in precisely fire same interference with and disruption of
     state proceedings that the long-standing policy limiting injunctions was designed to avoid." 401 U. S..at
     72.04] dierefore held in Samuels that,"in cases where the state criminal prosecution was begun prior to
     the federal suit, the same equitable principles relevant to the propriety ofan injunction must be taken into
     consideration by federal di^ct courts in determining whether to issue a declaratoryjudgment...M,at
     73.
     Neither Younger nor Samuels, however, decitfed the question whether federal intervention might be
     permissible in the absence ofa pendii^ state prosecution. In Younger, the Coiut said:
     "We eiqnoss no view about the circumstances under which federal courts may act when diere is no
     prosecution pending in state courts at the time the federal proceeding is begun." 401 U. S.. at 41.
     See also id., at 55(STEWART and Harlan, JJ., concurring); id, at 57(BRENNAN,WHITE,and
     MARSHALL,JJ., concurring). Similarly, in Samuels v. Mackell. the Court stated:
     "We,ofcourse, express no views on the propriety 462        462 of declaratory relief when no state
     proceeding is pending at the time the federal suit is begun." 401 U. S.. at 73-74.
     See also id, at 55(STEWART and Harlan, JJ., concurring); id, at 75-76(BRENNAN, WHITE,and
     MARSHALL,JJ., concurring).
     These reservations anticipated the Court's recognition that the relevant principles ofequity, comity, and
     federalism "have little force in the absence ofa pending state proceeding." Lake Carriers'Assn. v.
     MacMullan. 406 U. S. 498. 509(1972). When no state criminal proceeding is pending at the time the
     federal complaint is filed, federal intervention does not result in duplicative legal proceedings or disruption
     offee state criminaljustice system; nor can federal intervention, in that circumstance, be interpreted as
     reflecting negatively upon the state court's ability to enforce constitutional principles. In addition, while a
     pending state prosecution provides the federal plaintiff wife a concrete opportunity to vindicate his
     constitutionai rights,a refUsal on the part offee federal courts to intervene whra no state proceeding is
     pending may place fee hapless plaintiff between fee Scylla ofintentitmally flouting state law and fee
     Charybdis offorgoing what he believes to be constitutionally protected activity in order to avoid becoming
     enmeshed in a criminal proceeding. Cf. Dombrowski v. Pfister. 380 U. S. 479.490(1965).
     When no state proceeding is pending and feus considerations ofequity, comity,and federalism have little
     vit£dity, fee propriety ofgranting federal declaratory relief may properly be considered mdependently ofa
     request for injunctive relief. Here,fee Court of Appeals held ^t,because injunctive relief would not be
     ^proiniate since petitioner failed to demonstrate irreparable injury—a traditional prerequisite to
     463 *463 injunctive relief, e. g. Dombrowski v. Pfister. supra—it followed that declaratory relief was
     also inappropriate. Even iffee Court of Appeals correctly viewed injunctive relief as inappropriate—a
     question we need not reach tod^ since petitioner has abandoned his request for that remedy,see n.6
     supra—fee court erred in treating fee requests for injunctive and declaratoiy relief as a single issue,
     "[^hen no state prosecution is pending and fee only question is whether declaratory reliefis
     appropriate[,]...fee congressional scheme that makes fee federal courts fee primary guardians of
     constitutional rights, and fee express congressional authorization of declaratory relief afforded because it is
     a less harsh and abrasive remedy than the injunction, become the factors ofprimary significance." Perez v.
     Ledesma. 401 U.S. 82. 104(l971Useparate opinion of BRENNAN. J.).
     The subject matterjurisdiction offee lower federal courts was greatly expanded in fee wake offee Civil
     War. A pervasive sense of nationalism ledtoenactmentoffeeCivilRights Actof 1871,17 Stat 13,
     enq}owermg fee 464 *464 lower federal courts to determine the constitutionality ofactions, taken by
     persons under color ofstate taw, allegedly depriving other individuals ofrighte ^laranmed by the
     Constitution and federal law, see 42 U.S. C.§ 1983,28 U. S. C.§ 1343(3).^ Four years l^r,infee
     Judiciary Act ofMarch 3,1875,18Stat470,Congress conferred upon the lower federal courts,for butfee
     second time in feeir nearly century-old history, general federal-question jurisdiction subject only to a




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     jurisdictional-amount requirement,see 28 U.S. C.§ 1331.^ With diis latter enactment,the lower feder^
     courts "ceased to be restricted tribunals of&ir dealing between citizens of different states mid became the
     primary and powerful reliances for vindicating every right given by the Constitution, die laws, and treaties
     ofthe United States." F. Frankfurter & J. Landis,The Business ofthe Supreme Court 65(1928)(emphasis
     added).^ These two statutes, together with the Court's decision in Ex parte Young. 209 U. S. 123 n 908>—
     holding diat state officials who threaten to enforce an unconstitutional state statute may be enjoined by a
     federalcourtofequityandthatafederalcourtmay, in appropriate circumstances, enjoin 465             465 future
     state criminal prosecutions under die unconstitutional Act—have "established die modem framewoik for
     federal protection ofconstitutional rights from state interference." Perez v. Ledesma. siwra. at 107
     (separate opinion ofBRENNAN,J.).
     A "storm ofcontroversy" raged in foe wake ofEx parte Young, focusing principally on foe power ofa
     single federaljudge to grant ex parte interlocutory injunctions against the enforcement ofstete statutes, H.
     Hart& H. Wechsler, The Fedei^ Courts and the Federal System 967(2d ed. 1973); see generally Goldstein
     v. Cox. 396 U. S. 471 fl970): Hutcheson, A Case for Three Judges,47 Harv. L. Rev. 795,804-805(1934).
     This uproar was only paiti^y quelled by Congress' passage of legislation, 36 Stat. 557,r^uiring the
     convening ofa three-judge district court^ before a preliminary injunction against enforcement ofa state
     stahite could issue, and providing for direct appeal to this Court from a decision granting or denying such
     relief.^ See 28 466 ^466 U.S. C.§§ 2281,1253. From a State's viewpoint the granting of injunctive
     relief—even by foese courts ofspecial dignity—"rafoer clumsily" crippled state enforcement ofits statutes
     pending forfoer review,see H. R. Rep. No.288,70fo Cong., 1st Sess.,2(1928); H.R.Rep. No.94,71st
     Cong.,2d Sess.,2(1929); H.R. Rep. No.627,72d Cong., 1st Sess.,2(1932). Furthermore, plaintiffs were
     dissatisfied wifo this mefood oftesting foe constitutionality ofstate statutes, since it placed upon them foe
     burden ofdemonstrating foe traditional prerequisites te equitable relief—most importantly, irreparable
     faijury. See, e. g., Fenner v. Bovkin, 271 U. S. 240. 243 0926).
     To di^l these difGculties, Congress in 1934 enacted the Declaratory Judgment Act,28 U. S. C.§§ 2201-
     2202.That Congress plainly intended declaratory reliefto act as an altmnative to the strong medicine ofthe
     injunction and to be utilized to test foe constitutionality ofstate criminal statutes in cases where injunctive
     relief would be unavailable is amply evidenced by foe legislative history offoe Act, traced in fiill detail in
     Perez v. Ledesma. snora. at 11 1-1 15 (separate opinion ofBRENNAN,J.). The highlights ofthat history,
     particularly pertinent to our inquiry today,emphasize that:
     "[I]n 1934, without expanding or reducing the subject matterjurisdiction ofthe federal courts, or in any
     way diminishing foe continuing vitality ofEx parte Young with respect to federal injunctions, Con^^ss
     empowered foe federal courts to grant a new remedy,foe declaratoryjudgment...
     467 *467 "The express purpose ofthe Federal Declaratory Judgment Act was to provide a milder
     altem^veto foe injunction remedy          Ofparticular significance on foe question before us,foe Senate
     report[S. Rep. No. 1005,73d Cong.,2d Sess.(1934)] makes it even clearer tiiat foe declaratory judgment
     was designed to be available to test state criminal statutes in circumstances where an injunction would not
     be ^roiniate

     "Much offoe hostility to federal injunctions referred to in the Senate report was hostility to their use against
     state ofGcials seeking to enforce state regulatory statutes carrying criminal sanctions;fois was the strong
     feeling that produced the Three-Judge Court Act in 1910,foe Johnson Act of 1934,28 U,S. C.§ 1342, and
     foe Tax Injunction Act of 1937,28 U.S. C.§ 1341. The Federal Declaratory Judgment Act was intended to
     provide an alternative to injunctions against state officials, except where foere was a federal policy against
     federal adjudication ofthe class of litigation altogether       Moreover,the Senate report's clear implication
     that declaratory relief would have been appropriate in Pierce v. Society ofSisters. 268 U. S. 510(1925).
     and Village ofEuclid w. Ambler Realty Co.. 272 U. S. 365 11926). both cases involving federal adjudication
     ofthe constitutionality ofa state statute carrying criminal penalties, and foe report's quotation from Terrace
     v. Thompson, which also involved anticipatory federal adjudication offoe constitutionality ofa state
     criminal statute, make it plain that Congress anticipated foat the declaratoiyjudgment procedure would be




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     used l^the federal courts to test die constitutionality 468 *468 ofstate criminal statutes," 401 U. S.. at
     111-112.115.^
     It was this history tlat formed the backdrop to our decision in Zwickler v. Koota. 389 U. S. 241 f 19671
     where a state criminal statute was attacked on grounds ofunconstitutional oveibreadtii and no state
     prosecution was pending against tiie federal plaintiff. There» we feund error in a three-judge district court's
     considering, as a single question,the propriety of granting injunctive and declaratoiy relief. Althou^ we
     noted that injunctive relief might well be unavailable under principles ofequity jurisprudence canvassed in
     Douslas V. City ofJeannette. 319 U. S. 157(1943). we held that "a federal district court has the duty to
     decide the ^[)pTopriateness and the merits ofthe declaratory request irrespective ofits conclusion as to the
     propriety ofthe issuance ofthe injunction." 389 U. S.. at 254. Only one year ago, we 469 ^469
     reajSinned the Zwickler v. Koota holding in Roe v. Wade, 410 U. S. 113 (1973). and Doe v. Ballon. 410 U.
     S. 179(1973). In tiiose two cases, we declined to decide whether tiie District Courts had properly denied to
     the federal plaintifis, against whom no prosecutions were pending,injunctive reliefrestraining enforcement
     of&s Texas and Georgia criminal abortion statutes; instead, we aftirmed the issuance of declaratory
     judgments of unconstitutionality, anticipating that these would be given effect by state authorities. We smd:
     "The Court has recognized that different considerations enter into a federal couifs decision as to
     declaratory relief on the one hand, and injunctive relief, on the otiier. Zwickler v. Koota. 389 U. S. 241.
     252-255(19671: Dombrowski v. Pfister. 380 U. S. 479 ('19651." Roe\. Wade, siwra. at 166(emphasis
     added).
     See Doe V. Bolton. supra, at 201.
     The "differrat crnisiderations" entoring into a decision whether to grant declaratmy relief have tiieir origins
     in tiie preceding historical summary. First, as Congress recognized in 1934,a declaratory judgment will
     have a less intrusive effect on the administration of state criminal laws. As was observed in Perei v.
     Ledesma, 401 U. S.. at 124-126 (separate opinion of BRENNAN. J.I:
     "Ofcourse,a fevorable declaratory judgment may nevertheless be valuable to tiie plaintiffthou^ it cannot
     make even an unconstitutional statute disappear. A state statute may be declared unconstitutional in toto—
     that is, incapable ofhaving constitutional applications; or it may be declared unconstitutionaily vague or
     overbroad-Uhat is, incapable ofbeing constitutionally ^pUed to tiie full extent ofits purport In either case,
     afederaldeclarationofunconstitutionality reflects the 470 '470 opinion ofthe federal court that the
     statute cannot be fully enforced. If a declaration oftotal unconstitutionality is affirmed by this Court, it
     fellows tiiat this Court stands ready to reverse any conviction under the statute. Ifa declaraticm ofpartial
     unconstitutionality is affirmed by this Court,the implication is that this Court will overturn particular
     applications ofthe statute, but tiiat ifthe statute is narrowly construed by the state courts it will not be
     incapable ofconstitutional applications. Accordingly, the declaration does not necessarily bar prosecutions
     under tiie statute, as a broad Injunction would. Thus, where the highest court ofa State has had an
     oppmtunity to give a statute regulating expression a narrowing or clarifying construction but has failed to
     do so, and later a federal court declares tiie statute unconstitutionally >mgue or overbroad, it may welt be
     open to a state prosecutor, after the federal court decision,to bring a prosecution under ti» statute ifhe
     reasonably believes tiiat tiie defendant's conduct is not constitutionally protected and that die state courts
     may give the statute a consteuction so as to yield a constitutionally valid conviction. Even where a
     declaration ofunconstitutionality is not reviewed by this Court, the declaration may still be able to cut
     down the deterrent effect ofan unconstitutional state statute. The persuasive force ofthe couifs opinion and
     judgment may lead stale prosecutors, courts, and legislators to reconsider their r^pei^ve responsibilities
     toward the stetute. Enforcemmit policies orjudicial construction may be changed, or tiie legislature nuty
     repeal tiie statute and start anew. Finally,the federal courtjudgment may Imve some resjudicata e^ct,
     tltough tiiis point is not free from difficulty and the governing rules remain to be developed with
     471 *47[ a view to the proper woridngs ofa federal system. What is clear, however, is that even though
     a declaratory judgment has'the force and effect ofa finaljudgment,'28 U.S. C.§ 2201, it is a much milder
     form ofreliefthan an injunction. Though it may be persuasive, it is not ultimatety coercive; noncompliance
     with it may be inappropriate, but is not contempt."^(Footnote omitted.)




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     Second,engrafting upon the Declaratoty Judgment Act a requirement that all ofthe traditional equitable
     prerequisites to the issuance ofan injunction be satisfied before the issuance ofa declaratory judgment is
     considered would defy Congress'intent to make declaratory relief availablp^in cases where an injunction
     would be inappropriate.
     "W^die law to be diat a plaintiffcould not obtain a declarateryjudgment that a local ordinance was
     unconstitutional when no state prosecution is pending unless he could allege and prove circumstances
     justifying a federal injunction ofan existing state prosecution,the Federal Declaratory Judgment Act would
     have been pro tanto repealed." Widp v. Corcoran. 454 F. 2d 826. 832 fCAl 1972)(Coffin. J.I.
     See Perez v. Ledesma. 401 U. S.. at 116 (separate opinion of BRENNAN. J.l. Thus,the Court ofAppeals
     was in error when it ruled diat a &ilure to demonstrate irr^arable injury—a traditional prerequisite to
     injunctive relief 472 =M72 having no equivalent in the law ofdeclaratorv judgments,see Aetna Life Ins.
     Co. V. Hawortk 300 U. S. 227. 241 (1937'): Nashville. C. & St. L R. Co. v. Wallace. 288 U. S. 249. 264
     (1933)—precluded die granting ofdeclaratory relief.
     The only occasions where diis Court has disregarded these "different considerations" and found that a
     preclusion ofinjunctive reliefinevitably led to a denial ofdeclaratory relief have been cases in which
     prmciples offederalism militated altogedier against federal intervention in a class of adjudications. See
     Great Lakes Co. v. Huffman. 319 U. S. 293(1943)(federal policy against interfering with die enforcement
     ofstate tax laws);^ Samuels v. Mackell. 401 U. S. 66(1971). In the instant case, principles offederalism
     not only do not preclude federal intervention,feey compel it. Requiring the federal couits totally to st^
     aside when no state criminal prosecution is pending against the federal plaintiff would turn federalism on
     its head. When federal claims are premised on 42 U. S. C.§ 1983 and 28 U.S. C.§ 1343(3)—as tiiey are
     here—we have not required exhaustion of state judicial or adminisuative remedies,473         473
     recognizing die paramount role Congress has assigned to the federal courts to protect constitutional rights.
     See, e. g., McNeese v. Board ofEducation. 373 U. S. 668(1963): Monroe v. Pane. 365 U. S. 167(1961).
     But exhaustion ofstate remedies is precisely what would be required if both federal injunctive and
     declaratory relief w^unavailable in a case where no state prosecution had been commenced.
     m
     Respondents, however,relying principally upon our decision in Cameron v. Johnson. 390 U. S. 611 (1968).
     argue that, although it may be appropriate to issue a declaratory judgment when no state criminal
     proceeding is pending and the attack is tqion thefacial validity ofa state criminal statute, such a step would
     be improper where, as here, the attack is merely upon the constitutionality ofthe statute as ^plied,since
     die State's interest in unencumbered enforcement ofits laws outweighs die minimal federal interest in
     protecting the constitutional rights ofonly a single individual. We reject die argument.
     Ill Cameron v. Johnson, die appellants sought a declaratoiy judgment diat a Mississippi anti-picketing law
     was an overly broad and vague regulation ofprotected expression and an injunction restraining pending
     prosecutions against them for violations ofthe statute. We agreed with die District Court that the statute
     was not overly broad or vague and that nothing in the record supported appellants' assertion diat diey were
     being prosecuted in bad fehh. In that circumstance, we held that "[t]he mere po^ibility oferroneous
     application ofthe statute does not amount'to the irreparable injury necessary to justify a disnqition of
     (^erly state proceedings.'...The issue ofguilt or innocence is for the state court at the criminal trial; the
     State was not required to prove appellants guilty in the federal proceeding to 474 '474 escape die finding
     diat the State had no eiqiectation ofsecuring valid convictions." Id., at 621. Our holding in Cameron was
     dius diat die state courts in which prosecutions were already pending would have to be given the first
     opportunify to correct any misapplication ofthe state crimin^d laws;Cameron is plainly not audioriQf for
     fee proposition ttiat in fee absence ofa pending state proceeding,a federal plaintiff may not seek a
     declaratoryjudgment feat the state statute is beuig applied in violation ofhis constitutional rights.
     Indeed,the State's concern with potential interference in the administration ofits criminal laws is oflesser
     dimension when an attack is ma^ upon the constitutionalify ofa state statute as ^plied. A declaratory
     judgment ofa lower federal court that a state statute is invalid in toto—and therefore incapable ofany valid
     ^plication—or is overbroad or vague—and therefore no person can properly be convicted under fee statute
     until it is given a narrowing or clarifying construction, see, e. g., United States v. Thirtv-seven Photoeraphs,
     402 U. S. 363. 369(1971): Goodins v. WiLson. 405 U. S. 518. 520(1972)—will likely have a more




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     sigoificaiit potential for disruption ofstate enforcement policies dian a declaration specifying a limited
     number ofimpermissible applications ofthe statute. While the federal interest may be greater when a state
     statute is attacked on its       since there exists the potential for eliminating any broad-ranging deterrent
     effect on would-be actors, see Dombrowski v. Pfister. 380 U. S. 479(1965). we do not find diis
     consideration controlling. The solitary individual who suffers a deprivation of his constitutional rights is no
     less deserving ofredress than one who suffers together with others.^
     475 *475 We therefore hold that, regardless of whether injunctive relief may be appropriate, federal
     declaratory reliefis not precluded when no state prosecution is pending and a federal plaintiffdemonstrates
     a genuine threat ofenforcement ofa disputed state criminal statute, whether an attack is made on die
     constitutionalify ofdie statute on its face or as applied.^ The judgment ofthe Court of Appeals k reversed,
     and the case Is remanded for fiirdier proceedings consistent wi^ this opinion.
     It is so ordered.
     MR.JUSTICE STEWART,with \^om THE CHIEF JUSTICEjoins, concurring.
     While joining the opinion ofthe Court, I add a word by way ofemplmsis.
     476 *476 Our decision today must not be understood as authorizing the Invocation offederal declaratoiy
     judgmentjurisdiction by a person who thinks a state criminal law is unconstitutional, even if he genuinely
     feels "chilled" in bis freedom ofaction by the law's existence, and even if he honestly entertains the
     subjective beliefthat he may now or in &e future be prosecuted under it.
     As the Court stated in Younger v. Harris. 401 U. S. 37.52:
     "The power and dufy ofthe judiciary to declare laws unconstitutional is in die final analysis derived from
     its responsibility for resolving concrete disputes brought before the courts for decision...
     See also Bovle v. Landrv, 401 U. S. 77. 80-81.
     The petitioner in this case has succeeded in objectively showing that the threat ofimminent arrest,
     corroborated by the actual arrest ofhis companion, has created an actual concrete controversy between
     himselfand the agents ofdie State. He has, dierefore, demonsdated "a genuine threat ofenforcement ofa
     disputed state criminal statute        Cases where such a "genuine threat" can be demonstrated will, I
     tfai^ be exceedingly rare.
     MR.JUSTICE WHITE,concurring.
     I offer die following few words in li^t of MR.JUSTICE REHNQUISTS concurrence in which he
     discusses the impact on a pending federal action ofa later filed criminal prosecution against die federal
     plaintiff whedier a federal court may enjoin a state criminal prosecution under a statute the federal court
     has earlier declared unconstitutional 477 ■ 477 at the suit ofthe defendant now being prosecuted, and die
     (pie^on whedia'diat declaratoryjudgment is resjudicata in such a later filed state criminal action,
     ft should be noted,first,that his views on diese issues are neidier expressly nor impliedly embraced by die
     Court's opinion filed today. Sectmd, my own tentative views on these qu^ons are somewhat contrary to
     my Brodier's.
     At diis writing at least, I would anticipate ti^ a final declaratory judgment entered by a federal court
     holding particular conduct ofthe federal plaintiffto be immune on federal constitutional grounds from
     prosecution under state law should be accorded resjudicata effect in any later prosecution ofthat very
     conduct. There would also, I diink, be additional circumstances in which the federaljudgment should be
     considered as more than a mere precedent bearing on die issue before the state court.
     Neitiier can I at tiiis stage agiree that fee federd court, having rradered a declaratory judgment in favor of
     die plaintiff could not enjoin a later state prosecution for conduct that the federal comt has declared
     immune.The Declaratory Judgment Act itself provides diat a "declaration shall have die force and effect of
     a finaljudgment or decree," 28 U.S. C.§ 2201; eminent authority anticipated that declaratory judgments
     would be resjudicata, E. Borchard,Declaratoiy Judgments 10-11 {2ded. 1941); and there is every reason
     for not reducing declaratory judgments to mere advisory opinions. Toucev v. New York Life Insurance Co..
     314U.S. 118fl94n. once expressed the view that 28 U. S. C.§ 2283 forbade injunctions against
     retitigation in state courts offederally decided issues, but die section was dien amended to overrule that
     case,the consequence being that "[i]t is clear that the Toucey rule 478 *478 is gone,and that to protect
     or effectuate itsjudgment a federal court may enjoin relitigation in the state court" C. Wright Fed^ul



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     Courts 180(2d ed. 1970).I see no more reason here to hold diat the federal plaintiff must always rely
     solely on his plea ofres judicata in the state courts. The statute provides for "[Qurther necessary or proper
     relief... against any adverse party whose ri^ts have been determined by suchjudgment" 28 U. S. C.§
     2202,and it would not seem improper to enjoin local prosecutors who refuse to observe adverse federal
     ju^ents.
     Finally, I would diink that a federal suit challenging a state criminal statute on federal constitutional
     grounds could be sufficiently far al<mg so that ordinary consideration ofeconomy would warrant refusal to
     dismiss the feder^ case solely because a state prosecution has subsequently been filed and the federal
     question nmy be litigated there.
     MR.JUSTICE REHNQUIST,with whom THE CHIEF JUSTICEJoins,concurring.
     1 concur in the opinion ofthe Court. Althou^ my reading ofdie legislative history ofthe Declaratory
     Judgment Act of 1934 suggests that its primary purpose was to enable persons to obtain a definition oftheir
     rights before an actual injury had occurred, rather than to palliate any controversy arising fi"om Ex pane
     Youn^. 209 U. S. 123 (1908"). Congress apparently was aware at the time it passed the Act that persons
     direatened with state criminal prosecutions might choose to forgo die offending conduct and instead seek a
     federal declmution oftheir rights. Use ofdie declaratoryjudgment procedure in the circumstances
     presented by this case seems consistent with that congressional expectation.
     Ifthis case were the Court's first opportunity to deal widi this area oflaw, 1 would be content to let the
     479 ^<479 matter rest tiiere. But, as our cases abundantly illustrate, this area oflaw is in constant

     litigation, and it is an taesi through which our decisions have traced a path that may accurately be described
     as sinuous. Attempting to »xx>mmodate die {Hinciples ofthe new declaratoryjud^ent procedure with
     odter more established principles —in particular a proper regard for the relationship between the
     indqiendent state and federaljudiciary systems—this Court has acted both to advance and to limit the Act
     Compare Aetna Life Ins. Co. v. Haworth, 3QQ U. S. 227(1937), and Zwickler v. Koota. 389 U. S. 241
     fl967). with Great Lakes Co. v. Huffman. 319 U. S. 293(1943), and Samuels v. Mackell. 401 U. S.66
     (1971). Because the opinion today may possibly be read by resourceful counsel as commencing a new and
     less restrictive curve in this padi ofadjudication,I feel it is important to emphasize what the opinion does
     and does not say.
     To begin with, it seems appropriate to restate the obvious:the Court's decision today deals only widi
     declaratoiy reliefand with threatened prosecutions. The case provides no author!^ for the granting ofany
     injunctive reliefnor does it provide authority for the granting ofany reliefat all when prosecutions are
     pending. The Court quite property leaves for another day whether fee granting ofa declaratoiy judgment by
     a federal court will have any subsequent res judicata ef^ or will perhaps support fee issuance ofa later
     federal injunctimL But since possible resolutions offeose issues would substantially undercut fee principles
     offederalism reaffirmed in Younser v. Harris. 401 U. S. 37(1971). and preserved by the decision today,1
     feel it ^propriate to add a few remarks.
     First,fee legislative history offee Declaratory Judgment Act and fee Court's opinion in tifis case both
     480 ^480 recognize feat fee declaratoryjudgment procedure is an alternative to pursuit offee ai^uably
     illegal activity.^ There is nothing in fee Act's history to suggest that Congress intended to provide persons
     wifeing to violate state laws with a federal shield behind which they could carry on their contemplated
     conduct Thus 1 do not believe feat a federal plaintiffin a declaratoiy judgment action can avoid, by fee
     mere filing ofa complaint the principles so firmly expressed in Samuels, supra. The plaintiff who
     continues to violate a state statute after fee filing ofhis federal complaint does so both at fee risk ofstate
     prosecution and at the risk ofdismissal ofhis federal lawsuit For any arrest prior to resolution offee
     federal action would constitute a pending prosecution and bar declaratory relief under fee principles of
     Samuels.
     Second,I do not believe tiiat today's decision can properly be raised to support fee issuance ofa federal
     injunction based upon a favorable declaratory judgment.'^ 4 81 M8! The Court's description of
     declaratory reliefas"'a milder alternative to fee injunction remedy,'" ante, at 467,having a "less intrusive
     e^ct on fee administration ofstate criminal laws" fean an injunction, ante, at 469, indicates to me critic^
     distinctions which make declaratory relief^propriate where injunctive relief would not be. It would all but
     totally obscure these important dis^ctions ifa successfid ^plication for declaratory reliefcame to be



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     regarded, not as the conclusion ofa lawsuit, but as a giant step toward obtaining an injunction a^iost a
     subsequent criminal prosecution. The availability ofinjunctive relief must be considered with an eye
     tov^^ the impoitant policies offederalism whi^ this Court has often recognized,
     ifftie rationale ofcases such as Younger and Samuels turned in any way upon the relative case with which
     a federal district court could reach a conclusion about ftie constitutionality ofa challenged state statute, a
     preexistingjudgment declaring the statute unconstitutioiml as ai^lied to a particular plaintiff would,of
     course, be a fector fevoring the issuance ofan injunction as "finder relief under ftie Declaratory Judgment
     Act. But,except for statutes that are"'flagrantly and patently violative ofexpress constitutional
     prohibitioDS in every clause, sentence and paragraph             Younger v. Harris, supra, at 53. the rationale of
     ftiose cases has no such basis. Their direction ftiat federal courts not interfere wifti state prosecutions does
     not vary depending on the closeness ofthe constitutional issue or on the de^e ofconfidence which the
     federal court possesses in the correctness ofits conclusions on the constitutional 482     4<S2 point Those
     decisions instead depend upon considerations relevant to ftie hannonious operation ofseparate federal and
     state court systems, with a special regard for the State's interest in enforcing its own criminal laws,
     considerations which are as relevant in guiding the action ofa federal court which has previously issued a
     deckratoiyjudgment as ftiey are in guiding ftie action ofone which has not. White the result may be that
     injunctive reliefis not available as "furtiier relief under the Declaratory Judgment Act in this particular
     class ofcases whereas it would be in similar cases not involving considerations offederalism,this would be
     no more a pro tanto rqieal offtiat provision ofthe Declaratoiy Judgment Act ftian was Younger a pro tanto
     repeal ofthe All Writs Act,28 U. S. C.§ 1651.
     A declaratoryjud^ent is simply a statement ofri^its, not a binding order supplemented by ^ntmuing
     sanctions. State authorities may choose to be guided by tiiejudgment ofa lower federal court, but they are
     not conqselled to follow the decision threat ofcontempt or other penalties. Ifthe federal plaintiff pursues
     the conduct for which he was previously ftireatened with arrest and is in fact arrested, he may not return the
     controversy to federal court,although he may,ofcourse, raise the federal declaratory judgment in the slate
     court for whatever value it may prove to have.^ In any event, the defendant at that point is able to present
     his case 483 M83 for fill! consideration by a state court charged, as are the federal courts,to preserve tiK
     defendant's constitutional rights. Federal interference with this process would involve precisely the same
     concerns discussed in Younger and recited in ftie Court's opinion in this case.^
     "ntird, attempts to circumvent Younger by claiming that enforcement ofa statute decided unconstitutional
     )sy a federal court is per se evidence ofbad foith should not find support in the Court's decision in this <»se.
     As tfie Court notes,quoting my Brother BRENNAN'S separate opinion in Perez v. Ledesma. 401 U. S. 82.
     125:
     The p^uasive force offtie [federal] court's opinion andjudgment may lead state prosecutors, courts, and
     l^islatoTS to reconsider their respective responsibilities toward ftie statute. Enftircement policies orjudicial
     construction may be changed, or the legislature way repeal the statute and start anew."(Emphasis added.)
     This language clearly recognizes that continued beliefin the constitutionally ofthe statute by state
     prosecutorial officials would not commonly be indicative ofbad ftiifti and that such allegations, in the
     absence ofhighly unusual circumstances, wouldnotjustify a federal 484 M84 couifs departure fi'omftie
     general principles ofrestraint discussed in Younger.
     Ifthe declaratory judgment remains, as I think the Declaratory Jud^ent Act intended, a simple declaration
     ofrights without more,it will not be used merely as a dramatic tactical maneuver on the part ofany state
     defendant seeking extended delays. Nor will it force state officials to try cases time after time,first in the
     federal courts and then in the stete courts. I do not believe Congress desired such unnecessary results, and I
     do not think tlmt today's decision should be read to sanction them. Rather ftie Act, and ftie decision, stand
     for ftie sensible proposition that both a potential state defendant,threatened with prosecution but iu>t
     charged,and ftie State itself, confronted by a possible violation ofits criminal laws, may benefit fitim a
     pit^dure which provides for a declar^on ofrighte witiiout activation ofthe criminal process. Ifftie
     foderal court finds that the ftireatened prosecution would depend upon a statute itjudges unconstitutional
     the State m^ decide to forgo fHOsecution ofsimilar conduct in the future, believing thejudgment
     persuasive. Should the state prosecutors not find the decision persuasive enough tojustify forbearance,the
     successful federal plaintiff will at least be able to bolster his allegations ofunconstitutionality in the state




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     trial with a decision ofthe federal district court in the immediate locality. The state courts may find die
     reasoning convincing even though the prosecutors did not. Finally, ofcourse,the state legislahire may
     decide, on die basis ofthe federal decision,that the statute would be better amended or repealed. AH diese
     possible avenues ofrelief would be reached voluntarily by the States and would be completely consistent
     with the concepts offederalism discussed above. Other more intrusive forms ofreliefshould not be
     routinely available.
     485 *485 These considerations should prove highly significant in reaching fuhire decisions based iqmn
     die decision rendered today. For die present it is raough to say, as die Coint does, that petitions, if he
     successfully establishes the existence ofa continuing controversy on remand, may maintain an action for a
     declaratory judgment in the District Court.

     Ul This ^atute provides:
     "(a) A person commits criminal trespass when he intentionally dama^ any proper^ ofanother without his coasait and the damage
     (hereto is $100 or less, or knowin^y and maliciously interferes with the possession or use ofthe property ofanofeer person without
     Usconsent.
     '0)A person commits criminal trespass when he knowingly and without audiority:
     "(1)Enters upon the land or premises ofanother person, or into any part ofany vehicle, railroad car, aircraft, or watercraft ofanofeer
     person, fbr an unlawftil purpose; or
     "(2)Enters upon the land or premises ofanother person, or into any part ofany vehicle, railroad car,aircraft,or watercraft ofanoth^
     person, after receiving, prior to sudi entry, notice from the owner or netful occupant that such entry is forbiddoi; or
     "(3)Remains upon the land or premises ofanother person, or within the vehicle, rmlroad car, aircraft, or wateroaft ofanoftier person,
     afi^ receiving notice from the owner or rightful occupant to depart.
     "(c)A person convicted ofcriminal trespass shall be punished as for a misdemeanor."
     [2]At a hearing in the District Court, petitioner testified that on another occasion, prior to June 1970, he had also been threatened with
     arrest for handbilling at the shopping center. At that time the police had shown him die statute they intended to enforce presumably §
     26-1503. R. 140-141.
     [3]We were advised st oral argument that the trial of petitioner's companion, Sandra Lee Becker, has been st^d pending decisim of
     this case. See Tr. ofOral Arg. 31.
     14] At the District Court hearing,counsel for the police officers indicated that arrests in fhct would be made ifwarrants sworn out by
     shopping center personnel were facially proper. R. 134.
     [S]The complaint was initially styled as a class action. Named as plaintiff were petitioner, a minor suing through his fadier; Sandra
     Lee Becker, petitioner's handbilling cmnpanion against whom a prosecution was pending under the Georgia statute, see n.3,stgmi,
     also a minor suing through her fether, and dte Atlaita Mobilization Committee,lire complaint had also sought to eiyoin plaintiff
     Becko's pending prosecution. Only petitionBr aiqiealed from the District Court's decision denying all relief
     [61 P^onei's notice ofappeal challenged die denial of both injunctive and declaratory relief. However,in his appellate brief he
     abandoned his appeal from denial ofinjunctive relief. Becker\. Thompson.           F. 2d9l9.921 (CAS 19721.
     [71 Since the complaint had originally sought to enjoin enforcement ofthe state statute on grounds of unconstitutionality, a three-judge
     district court should have been convened. See 28 U. S. C.§ 2281; Goosbvv. Osser. 409 U. S. 512(1973): Idlewild Bon Vovaee Liauar
     Cow. V. Epstein. 370 U. S. 713. 715 (1962). A three-judge court is required even ifthe constitutional attadc—as here—is upon the
     statute as applied,see Deoarlmenl ofEmnhvmcnt v. United Slala.i. 385 IJ. S. 355 (1966): Query v, United Slates. 316 U. S. 486
     £1942); Ex pane Bransford. 310 U. S. 354.361 (1940V.see generally Cunie,The Three-Judge District Court in Constitutional
     Litigation,32 U.Chi. L. Rev. 1,37-50(1964); and is normally required even ifthcdedsiwr is to dismiss under Younger-Samuels
     principles,since an exercise ofdiscretion will usually be necessary,see Jones \. Wade. 479 F. 2d 1176. 1180(CAS 1973): Ahelev.
     Markle. 452 F. 2d 1121. H25(CA2 197n:see generally Note,The Three-Judge District Court; Sctqw and Procedure Under Section
     2281,77 Harv. L. Rev.299,309(1963). But since pethiono's request fi>r injunctive relief was abandoned on appeal,see n. 6,supra,
     and only a request for declaratory reliefremained,the Court ofAppeals did not err in exercisingjurisdiction over the {qrpeal. Cf. Roew
      Wade. 410 U. -S. 113. 123(1973): Mitchell \. Donovan. 398 li- S. 427(1970^1 Acnnet/vv. Mendoza-Maninez. 372 U. S. 144. 152-155
     (19631: Slrallnn v. Si. Louis S. W. R. Co.. 282 U. S. 10. 16 (1930).
     [81 Other federal courts have entertaiDed plications for injunctive and declaratory relief in the drsence ofa pending state prosecution.
     Sec,e. g., Thorns v. Heffernan. 473 F. 2d 478(CA2 1973). afPg 334 F. Supp. 1203(Conn. 1971)(three-judge court); Wulo v.
     Corcoran. 454 F. 2d 826(CAl 1972): Crossen v. Breckenridee. 446 F. 2d 833(CA6 1971): Lewis v. Kusler. 446 P. 2d 1343(C.^
      I971>: Anderson v. I'anehn. 327 F. Sunn. 101 (Conn. 1971)(three-judge court). Even the Court ofi^peals for the Fifth Ciraiit has
     limited the scope ofthe instant decision by entertaining an action for declaratory and injunctive reliefin the absence ofa state
      prosecutioTi      die fedoal suit attacked the facial validiQr ofa state statute rather than the v^idity ofthe statute as plied.See
     Jones V. Wade, supra(Wisdom,J.).
     [91 Section 2201 provides:
      "In a     ofactual controversy vrithin itsjurisdiction, except with respect to Federal taxes, any court ofdie United States, pn the
      filing ofan propriate pleading, may declare the ri^ts and other ieg^ rdations ofany intere^d party seeking such declar^on,
      wfr^o"or not further relief is or could be sought Any sudr declaration ^lall have the force and eftect ofa finaljudgmmt or decree
      and shall be reviewable as such."
     Section 2202 further provides:
     "Further necessary or proper reliefbased on a declaratoryjudgment or decree may be granted, after reasonable notice and hearing,
     against any miverse psity whose rights have been determined by such judgment"
     [101 The rule in facial cases is that an actual controversy must be extant at alt stages ofreview, not merely at tire time the complaint
     is filed. See e. g., Roe v. Wade. 410 U. S.. at 125:SEC v. Medical Comm. for Human Riehls. 404 U. S. 403(!972): United Stales v.
     Munsin^iear. Inc.. 340 U. S. 36(1950).




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      n 11 The Court noted dtat under 28 U. S. C.§ 2202 a declaratoryjudgment might serve as the basis for issuance ofa later injunction to
      give effect to the declaralcnyjudgment,see n.9,supm, and that a declaratoryjudgment mi^t have a resjudicota effect on the poiding
     state proceeding.401 U. S.. at 72.
     [121 We note diat, in those cases where injunctive reliefhas been sought to restrain an imminent, but not yet pending,prosecutionfor
     past conduct. sufBcioit injury has not been found to warrant injunctive relief see Bealv. Missouri Pacific R. Co.. 312 U. S. 45 M94U:
     Soielman Motor Sales Co. v. Dodee. 295 U. S. 89(1935): Fenner\. Bovkin. 271 U. S. 240 (19261. There is some question, however,
     whether a showing ofirrqtarable injury might be made in a case >^iere, although no prosecution is pending or impending,an
     individual demonstrates that he win be required \oforgo constitutionally protected activity In order to avoid arrest Compare
     Dombrowski v. PBster. 380 U. S. 479(1965)1 Hverade Provision Co. v. Sherman. 266 U. S. 497(19251: and Terrace v. Thompson.
     263 U. S. 197.214.216 n923'i. with Doiielas v. Cit\'ofJeannetie. 319 U. S. 157(1943):see generally Note, Implicaticns ofthe
     Younger Coses for the Availability ofFed^ Equitable Relief When No State Prosccuticm Is Pending,72 Col. L Rev.874(1972).
     1131 "Sensitiveaess to 'states' rigt^',fear ofriv^ with state courts and respect for state sentiment, were swept aside by the great
     impulse ofnation^ feeling bom ofthe Ctvil War. Nationalisn was trhimphant; in natronal uiministration wassou^ ite vindicadoiL
     77re new exertions offederal power vrere no trmger trusted to die enforcement stale agencies." F. Frank&iter& J. Landis,The
     Business ofthe Supreme Court64(1928).
     [141 In the last days ofthe John Adams administration, general federal-questionjurisdiction had been granted to the federal courts
     § 11 oftheMidni^t Judges Act,2Stat 92(1801). The Act was repeal^ only one year later by § 1 ofthe ActofMar.8,1802,2Stat
      132.
     [151 The histories ofthe Civil Ri^its Act of 1871 and the Judiciary Act of 1875 are detailed in Zwickler v. Kooia. 389 U. S. 241.24>-
     247 (19671.
     [161 The three-iudge-court procedure, with expedite review, was modeled after the Expediting Act,32 StaL 823,now 15 U.S.C.$S
     28-29;49 U.S. C.§§ 4445,requiring that for certain antitrust cases certified by the Attorney General to be of particular public
     importance a three-judge court be convened with direct ^peal to the Supreme Court,as well as a 1906 Act,34 StaL 584,592,
      applying the same procedure to suits brou^t to restrain, aimul, or set aside orders ofthe Interstate Commerce Commission. See
     Hutcheson, A Case for Three Judges,47 Harv. L. Rev. 795,810(1934).
     [171 The tbree-judge-couit provision was amended in 1913 to apply also to interiocutoiy injunctions restraining enforcement ofstete
     administrative or commission orders. C. 160,37 Stat. 1013. It was furth^ amended in 1925 to extend the three-judge requirement and
     the direct-^peal provisions to the final hearing on a pennanent injuiu^on,thereby ending the anomalous situation in which a single
     judge,at the final hearing,could overrule the decision ofthreejudges granting an intCTlocutory injunction.43 StaL 936,938. When the
     stmute was codified in 1948,itwas made^plicabtetoall actions seeking either a preliminary or permanent injunction, Goldstein w
     Cox. 396 U. S. 471.478 n. 3(19701. See generally R Hart & H. Wechsler, The Federal Courts and the Federal System 967-968(2d ed.
     1973);C. Wright,Federal Courts § 50. pp. 188-189(2d ed. 1970).
     fl81 As Profossor Boicbard, a princip^ proponent and auftior ofthe Federal Declaratory Jud^ent Act,said in a written statement
     introduced at the hearings on the Act
     "It often hqipens that courts arc unwilling to grant injunctions to restrain foe enforcement ofpenal statutes or ordinances,and relegate
     foe piaintiff to his tqition, either to violate foe statete and take his chances in testing ccmstitutionali^ on a criminal prosecution, or else
     to{forgo],in foe fern ofprosecution,the exercise ofhis clmmed rights. Into this dilemma no civiltz^ legal system operating undera
     constihition should force any person. The court,in effect, by refusing an injunction informs foe prospective victim foatfoe only way to
     detemune whether the su^iect is a mushroom or a toadstool,is to eat ft.Assuming thatfoe plaintiffhas a vital interest in the
     enforconent offoe cfa^enged statute or ordinance,there is no reason why a declaratoiyjudgment should not be issued,instead of
     compelling a violation ofthe statute as acondition precedent to chaitoiging hs constitutionality." Hearings on H.R.5623 before a
     Subcommittee ofthe SenateCommittee on the Judiciary. 70foCong., IstSess., 75-76(1928). See E. Borchard, Dectaratery Judgments
     x-xi(2d ed. 1941).
     [191 The pending prosecution ofpetitiona's handbilltng companion does not affect petitioner's action for declaratory relief. In Roe v.
      Wade. 4IQ U. S. 113(19731. while the pending prosecution ofDr. Haliford under foe Texas Abortion law was found to render his
     action for declaratory and injunctive reliefimpermissible, this did not prevent our panting plaintiff Roe,against whom no a^on was
     pending, a declaratoryjudgment foat the statute was unconstitutional. Id., at 125-127,166-167: see Lewis v. Kusler. 446 F. 2d 1343.
      1349(CA3 19711.
     [201 In Great Lake.<t Co. v. Huffman, employers sou^t a declaration that a state unemployment compcnsatimi sdieme inqwsing a tax
     upon foem was unconstitutiona] as applied. Although not relying on the precise terms of28 U. S. C.§ 41 (1)(1940 ed.), now 28 U. S.
     C.§ 1341,\riudi ousts the district courts ofjurisdiction to "enjoin, suspend or restrain foe assessment,levy or collection ofaiy tax
     undo* State law where a plain,speedy and efficloit rratedy m^ be had in foe courts ofsuch St^"foe Court,recognizing foe unique
     effects ofanticipatory adjudication on tax administration, held that declaratery reliefshould be withheld when foe taxpayer was
     provided an cqiqiortunity to maintain a refund suit after payment offoe disputed tax. "In contrasL there is no statutory count^art of28
     U.S. C.§ 1341 ^plicfole to intervention in state criminal prosecutions." Perezs. Ledesma.AQX U. S. 82. 128(19711 (separate
     oninion of BRENNAN.J.I.
     1211 Attention,a question "entirely separate fiom the question ofgranting declaratory or injunctive relief." Lake Carriers'Assn. v.
     MacMuUan.406 U. S. 498. 509 n. 13 (19721. might be more appropriate when a challenge is made to foe stale statute as ^plied,
     rather      upon its face,since the reach ofan uncertain state statute might,in foat circumstance, be more susceptible ofa limiting or
     clarifying constraction foat would avoid foe federal constitutional question. Cf. Zwickler       Koota. 389 U. S.. at 249-252.254: Baeeat
      V. Bullitt. 377 U. S. 360. 375-378(19641.
     1221 Some two years after petitions attempted to handbill at die shopping center, respondent Hudgens,foe owner offoe center,
     commenced an action in the Superim Court ofFulton County seeking a declaration ofhis ri^its concerning the outer's rules agabist
      bancteilluig and related activities. We were advised at oral argument that the state action bad been dismissed by foe tri^ court buttle
     an ^peal is pending before the Geoigia Supreme Court Since we do not require petitioner first to seek vindication ofhis federal
     rights in a state declaratoryjudgment action,see Lake Carriers'A.ssn. v. MacMuHan. snora. at 510: Wisconsin v. Constantineau. 400
     U. S. 433(19711. consideraticm ofabstention by foe District Court would be inappropriate unless the action commenced by re^tondent
     Hudgens could be shown to presoit a substantial and immediate possibility ofrfoviating petitiona's federal claim by a decision on
     stete law grounds. Cf. Askew v. Harerave. 401 U. S. 476. 478(19711: Reet2\. Bozanich. 397 U. S. 82(1970).




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     Tami M.Bronnenber^, Pro-se
     P.O. Box 802
     Cody, Wyoming 82414                                                 fiHI|:00
     (307)899-2150                                                   HARms n
                                                                   CASPER ^ ^
                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING



     TAMI M.BRONNENBERG                                   )     CASE NO.
                                                          )     19-CV-D21-S
                                           Plaintiff,     )    Reply To
                                                          )    Defendant
                        V.                                )    Officer Egger's
                                                          )    Response To
     BEAU J. EGGER,et al.,                                )    Motion For
                                                          )    Summary
                                        Defendants.       )    Judgment.


           The plaintiff, Tami M. Bronnenberg,respectfully replies to the

     Defendant Officer Egger's Response To Plaintiffs Motion For Summary

     Judgment pursuant to the Federal Rules of Civil Procedure, Rule 12(a)(1)

     (C),"A party must serve a reply to an answer within 21 days after being

     served ***." Officer Egger went further than the legality of custodial

     questioning on less than probable cause for a full-fledged arrest. See,

     Dunaway v. New York,422 U.S. 200,95 S. Ct. 2240(1979); In Director

     General of Railroads v. Kastenbaum,263 U.S. 25,(1923)(good faith is not

     enough to constitute probable cause)on false arrest "good faith on the part




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     ofthe arresting officers was not enough". Henry v. United States, 361 U.S.

     98, 102(1959).

           The language ofthe Fourth Amendment, that 'that... no Warrants

     shall issue, but upon probable cause ...' ofcourse applies to arrest as well

     as search warrants." Giordenello v. United States, 357 U.S.480 at 485-486

     (1958); Beck v. Ohio(1964)Supra, 379 U.S. at 96, note 6. In Ker v.

     California, 374 U.S. 23,10 L. Ed. 2d 726,83 S. Ct. 1623(1963), the court

     held that the same probable cause standards were applicable to federal and

     state warrants under the Fourth and Fourteenth Amendments. The decisions

     ofthis Court concerning Fourth Amendment probable-cause requirements

     before a warrant for either arrest or search can issue require that the judicial

     officer issuing such warrant be supplied with sufficient information to

     support an independentjudgment that probable cause exists for the warrant.

     See, Whitelev v. Warden of Wyoming Penitentiary. 401 U.S. 560 at 564,

     note 6,28 L. Ed. 2d 306,91 S. Ct. 1031 (Wyo. 1971), enclosed (cited by the

     following Supreme Court decisions: Illinois Petitioner v. Lance Gates et ux.,

     462 U.S. 213, 103 S. Ct. 2317, 76 L. Ed. 2d 527(1983); Illinois Petitioner v.

     John Andreas,528 U.S. 119, 120 S. Ct. 673, 145 L.Ed. 2d 570,(2000);

     United States Petitioner v. Bradley Thomas Jacobsen and Donna Marie

     Jacobsen, 466 U.S. 109,96 S. Ct. 1619,48 L. Ed. 2d 71 (1984); United



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     States Petitioner v. Alberto Leon et al., 468 U.S. 897,104 S. Ct. 3405,82 L.

     Ed. 2d 677(1984); United States Petitioner v. Thomas J. Hensley, 378 U.S.

     108,84 S. Ct. 1509, 12 L. Ed. 2d 723(1983); Arizona Petitioner v. Isaac

     Evans, 514 U.S. 1, U5S. Ct. 1185, 131 L. Ed. 2d 34(1995); Merle R.

     Schneckloth, Superintendent California Conservation Center, Petitioner v.

     Robert Clyde Bustamonte,412 U.S. 218,93 S. Ct. 2041,36 L. Ed. 2d 854

     (1973); Lonnie North Appellant v. C. B. Russell et al., 427 U.S. 328,96 S.

     Ct 2707,49 L. Ed.534(1974); W.T. Stone, Warden Petitioner v. Lloyd

     Charles Powell, Charles L. Wolff Jr., Warden Petitioner . David L. Rice,428

     U.S. 465,96 S. Ct. 3037,47 L.Ed. 2d 1067(1976); James Zurcher, etc., et

     at. Petitioners v. The Stanford Daily et at, Louis P. Bergna, District

     Attorney and Craig Brown,Petitioners v. The Stanford Daily et at,436 U.S.

     547,98 S. Ct. 1970,56 L. Ed. 2d 525(1978); United States Petitioner v.

     Keith Crews,445 U.S. 463, 100 S. Ct. 1244,63 L. Ed. 2d 537(1980);

     Edward H. Coolidge Jr., Petitioner v. New Hampshire,403 U.S. 443,91 S. t.

     2022,29 L. Ed.2 564(1971); United States Petitioner v. Roosevelt Hudson

     Harris,403 U.S. 573,91 S. Ct. 2075,29 L. Ed. 2d 723(1971); Gerald

     Shadwick, Appellant v. City of Tampa,407 U.S. 345, 92 S. Ct. 2119,32 L.

     Ed. 2d 783(1972); Lonnie Melvin Murray v. United States,419 U.S. 942,

     95 S. Ct. 210,42 L. Ed. 2d 166(1974); Jim Rose, Warden,Petitioner v.



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     Noah Harrison Lundy,455 U.S. 509, 102 S. Ct. 1198, 71 L.Ed.2d 379

     (1982); Margaret Papachristou et al., Petitioners v. City ofJacksonville, 405

     U.S. 156,92 S. Ct. 839,31 L. Ed. 2d 110(1972); See also, Plaintiffs

     Response to Defendant's Summary Judgement, page 5. See Exhibit-A-

     attached to Plaitiffs Amended Complaint. Post-hoc showing that probable

     cause existed (through routine police procedures that are unconstitutional)

     does notjustify warrentless search. Johnson v. United States,333 U.S. 10,

     68 S.Ct. 367,92 L. Ed.436(1948). See Plaintiffs Motion for Summary

     Judgment, page 4,5.

           WHEREFORE,Plaintiff, Tami M.Bronnenberg, THEREFORE prays

     that RIMS computer system ofthe Paric County Sheriffs Office, that Officer

     Egger's, acts, policies and practices, applied and used in the violation ofthe

     4'^' and 14"^ amendments to the Constitution of America,(false arrest and

     false imprisonment ofthe Plaintiff), Is unconstitutional granting her Motion

     for Summary Judgment.

           DATED: Jun^f,2019.




                                                      - "-VXa
                                                Tami M.Bronnenberg,I^i^e




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                           CERTIFICATE OF SERVICE.


           I hereby certify that a copy ofthe forgoing reply to Defendant Officer

     Egger's Response to Plaintiffs Motion for Summary Judgment was mailed

     to U.S. Magistrate Judge, Kelly H. Rankin, United States District Court,

     2120 Capitol Ave., Suite 2204, Cheyenne, Wyoming 82001 and to the

     Defendant, Office ofthe Attorney General,2320 Capitol Avenue, Cheyenne,

     Wyoming 82002 on June <k^ ,2019.


                                                    ami M.Bronnenberg^o-se




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     Harold WHITELEY v. WARDEN,
     WYOMING STATE PENITENTIARY.
     •       Decision
     •       Cites
     401 U.S. 560(91 S.Ct. 1031, 28 LEd.2d 306)
     Harold WHITELEY v. WARDEN,WYOMING STATE PENITENTIARY.
     No. 136.

     Argued: Jan. 13,1971.
     Decided; March 29, 1971.

         . opinion, HARLAN [HTML]
         • dissent, BLACK[HTML]

     Syllabus
     A sheriff, acting on a tip, made a complaint before a magistrate charging that petitioner and
     another individual on the date and at the place named 'did then and there unlawfully break
     and enter into (the described) locked * * * building,' and a warrant was issued. A police radio
     bulletin named and described the two persons, the type of car they were probably driving,
     and the amount and type of money taken. Relying on the bulletin, an officer in another
     county made a warrantless arrest of the suspects. The car was then searched and various
     incriminating items removed, which were later used at petitioner's trial, which resulted in his
     conviction. Petitioner filed a habeas corpus petition reiterating the challenge he had made at
     his arraignment and trial to the constitutionality of the use of evidence seized during a search
     incident to the assertedly illegal arrest. The District Court denied the petition, and the Court
     of Appeals affirmed. Held:
     1. Petitioner's arrest violated his rights under the Fourth and Fourteenth Amendments and
     the evidence secured incident thereto should have been excluded from his trial. Pp. 554—
     569.

     (a)The complaint, which did not mention that the sheriff acted on an informer's tip, arxj
     which consisted of no more than the sheriffs conclusion that the individuals named
     committed the offense, could not support the independent judgment of a disinterested
     magistrate. P. 565.
     (b)The standards applicable to the factual basis for an arresting officer's probable-cause
     assessment are no less strict than those applicable to the magistrate's assessment- Here the
     arresting officer had no Information to corroborate the report that the suspects had
     committed the crime and the fact that the warrantless arrest was based on a police radio
     bulletin cannot supply the element of probable cause that the officer who issued the bulletin
     lacked. Pp. 565—567.
     2. Since, notwithstanding petitioner's constitutional challenge at each stage, respondent
     made no attempt to show that the magistrate had more information than was presented in
     the complaint, he may not attempt to do so now on remand; and the writ must Issue unless
     the State appropriately arranges to retry the petitioner. P. 569.



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     416 F.2d 36, reversed and remanded.

     William J. Knudsen, Jr., Laramie, Wyo., for the pedtioner.
     Jack Speight, Cheyenne, Wyo., for respondent
     TOP




     Mr. Justice HARLAN delivered the opinion of the Court.
     Petitioner Whiteley, in 1965, was convicted in the District Court for the Second Judicial
     District of the State of Wyoming on charges of breaking and entering and being an habitual
     criminal,' Both at his arraignment and at trial Whiteley challenged the constitutionality of the
     use of evidence seized during a search incident to an arrest which he claimed was illegal.
     The trial court overruled petitioner's motion to suppress, and on appeal the Supreme Court of
     Wyoming affirmed. Whiteley v. State, 418 P.2d 164 (1966). This proceeding commenced
     with a petition for habeas corpus in the United States District Court for the District of
     Wyoming, which was denied on November 25,1968.-Whiteley v. Wyoming, 293 F.Supp. 381.
     On appeal, the United States Court of Appeals for the Tenth Circuit affirmed. Whiteley v.
     Meacham,416 F.2d 36 (1969). We granted certiorari, limiting the writ to the issue of the
     constitutionality of the arrest and ensuing search and seizure. 397 U.S. 1062, 90 S.Ct. 1505.
     25 L.Ed.2d 683(1970).=We reverse the judgment of the Tenth Circuit for the reasons stated
     herein.

     * The circumstances surrounding petitioner's arrest and the incidental search and seizure, as
     stated by the Wyoming Supreme Court, 418 P.2d 164, 165—166, are as follows:'
     'On November 23, 1964, certain business establishments in Saratoga were broken into,
     including the Rustic Bar and Shively's Hardware, the offenses tieing investigated by the
     Carbon County Sheriff, (Sheriff Ogburn) who, acting on a tip, the next day signed a complaint
     charging defendant and another with breaking and entering the building identified as the
     Rustic Bar. This complaint was made before a justice of the peace at approximately 11:30
     a.m. on the 24th, and a warrant issued. After the investigation, the sheriff put out a state item
     on the radio to pick up two suspects of the breaking and entering, defendant and another.
     The message went to the network at Casper and was transmitted over the State, received by
     the Albany County SherifTs Office and communicated to the Laramie Police Department, the
     message giving names and descriptions of the two pereons and advising the type of car
     probably being driven and the amount of money taken, including certain old coins with the
     dates. Late at night on November 24, a Laramie patrolman, in reliance on the information in
     the radio item, arrested the defendant and his companion. At the time, the patrolman had no
     warrant for defendant's arrest nor search warrant. The officer together with a deputy sheriff,
     who had come up in the meantime, searched the car and removed a numt>er of items
     introduced in evidence, including tools and old coins, identified at the trial as taken from
     Shively's Hardware. * * *'
     Sheriff Ogburn's complaint, which provided the basis for the arrest warrant issued by the
     justice of the peace, is as follows:
     'I, C. W. Ogburn, do solemnly swear that on or about the 23 day of November, A.D. 1964, in
     the County of Carbon and State of Wyoming, the said Harold Whiteley and Jack Daley,
     defendants did then and there unlawfully break and enter a locked and sealed building
     (describing the location and ownership of the building).' App. 28.




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     A state item 881, the bulletin which Sheriff Ogburn put out on the radio and which led to
     petitioner's arrest and search by the Laramie patroiman, is as foiiows:
     ■P & H for B & E Saratoga, early A.M. 11—24—64. Subj. #1. Jack Daley, WMA, 38, D.O.B.
     2—29—(26), 5 10 , 175, med, build, med. comp., bionde and biue. Tat. ieft shoulder: "Love
     Me or Leave Me.' #2. Harold Whitley, WMA, 43, D.O.B. 6—22—21, 5 11 , 180, med. build,
     fair comp. brown eyes. Tat. on right arm 'Bird.' Ross, driving 1953 or 1954 Buick, light green
     bottom, dark top. Wyo. lie. 2-bal. unknown. Taken: $281.71 in small change, numerous old
     coins ranging from .50 pieces to silver dollars, dated from 1853 to 1908. Warrant issues, will
     extradite. Special attention Denver. * * *' App. 31.'


     The decisions of this Court concerning Fourth Amendment probable-cause requirements
      before a warrant for either arrest or search can issue require that the judicial officer issuing
     such a warrant be supplied with sufficient information to support an independent judgment
     that probable cause exists for the warrant.'Spinelli v. United States, 393 U.S. 410, 89 S.Ct.
      584, 21 L Ed.2d 637 (1969); United States v. Ventresca, 380 U.S. 102, 85 S.Ct. 741, 13
      L.Ed.2d 684 (1965); Aguiiarv. Texas, 378 U.S. 108, 84 S.Ct. 1509, 12 L.Ed.2d 723 (1964);
      Rugendorfv. United States, 376 U.S. 528, 84 S.Ct. 825, 11 L.Ed.2d 887 (1964); Jones v.
      United States, 362 U.S. 257. 80 S.Ct. 725, 4 L.Ed.2d 697 (1960); Giordenello v. United
      States, 357 U.S. 480, 78 S.Ct. 1245. 2 L.Ed.2d 1503 (1958). In the instant case—so far as
     the record stipulated to by the parties reveals'—the sole support for the arrest warrant
      issued at'Sheriff Ogburn's request was the complaint reproduced above.'That complaint
     consists of nothing more than the complainant's conclusion that the individuals named
     therein perpetrated the offense described in the complaint. The actual basis for Sheriff
     Ogburn's conclusion was an informer's tip, but that fact, as well as every other operative fact,
     is omitted from the complaint. Under the case just cited, that document alone could not
      support the independent judgment of a disinterested magistrate.
     The State,' however, contends that regardless of the sufficiency of the complaint to support
     the arrest warrant, the Laramie police officer who actually made the arrest possessed
      sufficient factual information to support a finding of probable cause for arrest without a
     warrant, in support of this proposition, the State argues that a reviewing court should employ
     less stringent standards for reviewing a police officer's assessment of probable cause as a
     prelude to a warrantless arrest than the court would employ in reviewing a magistrate's
     assessment as a prelude to issuing an arrest or search warrant.'"That proposition has been
     consistently rejected by this Court. United States v. Ventresca, 380 U.S., at 105—109, 85
     S.Ct., at 746; Aguiiarv. Texas. 378 U.S., at 110—111, 84 S.Ct., at 1511—1512; Jones v.
      United States, 362 U.S., at 270—271, 80 S.Ct., at 735—736. And the reason for its rejection
      is both fundamental and obvious: less stringent standards for reviewing the officer's
     discretion in effecting a warrantless arrest and search would discourage resort to the
     procedures for obtaining a warrant. Thus the standards applicable to the factual basis
     supporting the officer's probable-cause assessment at the time of the challenged arrest and
     search are at least as stringent as the standards applied with respect to the magistrate's
     assessment. See McCray v. Illinois, 386 U.S. 300, 304—305, 87 S.Ct. 1056, 1058 1059, 18
      L.Ed.2d 62(1967).

     Applying those standards to the instant case, the information possessed by the Laramie
     police officer at the time of arrest and search consisted of: (1) the data contained in state
     bulletin 881, reproduced supra; (2) the knowledge, obtained by personal observation, that
     two men were driving a car matching the car described in the radio bulletin; (3) the
     knowledge, possessed by one of the arresting officers, that one of the people in the car was
     Jack Daley, App, 71; (4) the knowledge, acquired by personal observation, that the other
      individual in the car fitted the description of Whiteiey contained in state bulletin 881; and (5)




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     the knowledge, acquired by the officer after stopping Whiteley, that he had given a false
     name."

     This Court has held that where the initial impetus for an arrest is an informer's tip,
     information gathered by the arresting officers can be used to sustain a finding of probable
     cause for an arrest that could not adequately be supported by the tip alone. Draper v. United
     States, 358 U.S. 307. 79 S.Ct. 329. 3 L.Ed.2d 327 (1959). See Spinelli v. United States, 393
     U.S. 410, 89 S.Ct. 584, 21 L.Ed.2d 637(1969). But the additional information acquired by the
     arresting officers must in some sense be corroborative of the informer's tip that the arrestees
     committed the felony or, as in Draper itself, were in the process of committing the felony. See
     the opinions of the Court and that of Mr. Justice White concurring in Spinelli v. United States,
     supra, and p. 423,89 S.Ct. p. 592. In the present case, the very most the additional
     information tended to establish is that either Sheriff Ogburn, or his informant, or both of them,
     knew Daley and Whiteley and the kind of car they drove; the record is devoid of any
     information at any stage of the proceeding from the time of the burglary to the event of the
     arrest and search that would support either the reliability of the informant or the informant's
     conclusion that these men were connected with the crime. Spinelli v. United States, supra;
      McCray v. Illinois, supra; Aguilar v. Texas, supra.
     The State, however, offers one further argument in support of the legality of the arrest and
     search; the Laramie police relied on the radio bulletin in making the arrest, and not on Sheriff
     Ogburn's unnamed informant. Clearly, it is said, they had probable cause for believing that
     the passengers in the car were the men described in the bulletin, and, in acting on the
     bulletin, they reasonably assumed that whoever authorized the bulletin had probable cause
     to direct Whiteley's and Daley's arrest. To prevent arresting officers from acting on the
     assumption that fellow officers who call upon them to make an arrest have probable cause
     for believing the arrestees are prepetrators of a crime would, it is argued, unduly hamper law
     enforcement.

     We do not, of course, question that the Laramie police were entitled to act on the strength of
     the radio bulletin. Certainly police officers called upon to aid other officers in executing arrest
     warrants are entitled to assume that the officers requesting aid offered the magistrate the
     information requisite to support an independent judicial assessment of probable cause.
     Where, however, the contrary turns out to be true, an othen/vise illegal arrest cannot be
     insulated from challenge by the decision of the instigating officer to rely on fellow officers to
     make the arrest.

     In sum, the complaint on which the warrant issued here clearly could not support a finding of
     probable cause by the issuing magistrate. The arresting officer was not himself possessed of
     any factual data tending to corroborate the informer's tip that Daley and Whiteley committed
     the crime."Therefore, petitioner's arrest violated his constitutional rights under the Fourth
     and Fourteenth Amendments; the evidence secured as an incident thereto should have been
     excluded from his trial. Mappv. Ohio, 367 U.S. 643, 81 S Ct. 1684, 6 L.Ed.2d 1081 (1961).
     Ill

     There remains the question as to the proper disposition of this case. The State urges us to
     remand so that it will have an opportunity to develop a record which might show that the
     issuing magistrate had factual information additional to that presented in Sheriff Ogburn's
     complaint. Brief for Respondent 8—9. Yet the State concedes, as on the record it must, that
     at every stage in the proceedings below petitioner argued the insufficiency of the warrant as
     well as the lack of probable cause at the time of the arrest. Brief for Respondent 4. Knowing
     the basis for petitioner's constitutional claim, the State chose to try those proceedings on the
     record it had developed in the state courts. See n. 4, supra. Its sole explanation for this state
     of affairs is that'the state has felt, based on precedent and logic, that no court would accept




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     tfie legal reasoning of petitioner." Brief for Respondent 9. In the circumstances of this case,
     that justification, as we have shown, is untenable.
     Pursuant to our authority under 28 U.S.C. 2106 to make such disposition of the case 'as may
     be just under the circumstances,' we reverse the judgment of the Tenth Circuit and remand
     with directions that the writ is to issue unless the State makes appropriate arrangements to
     retry petitioner."Cf. Giordenello v, United States, 357 U.S., at 487—488,78 S.Ct., at 1250—
     1251.

     It is so ordered.

     Reversed and remanded with directions.

     TOP




     Mr. Justice BLACK, with whom THE CHIEF JUSTICE joins, dissenting.
     With all respect to my Brethren who agree to the judgment and opinion of the Court, I am
     constrained to say that 1 believe the decision here Is a gross and wholly Indefensible
     miscarriage of justice. For this reason it may well be classified as one of those calculated to
     make many good people believe our Court actually enjoys frustrating justice by
     unnecessarily turning professional criminals loose to prey upon society with impunity. Here is
     what this record shows;

     On the night of November 23. 1964, several establishments, including a bar and hardware
     store were broken into at the village of Saratoga, Wyoming. Some old coins and other Items
     were taken from the hardware store. Some people saw petitioner and his companion that
     night in or near Saratoga. The next morning the sheriff, who lived at Rawlins, the county seat
     another village in sparsely settled Carbon County,'investigated the burglaries. In addition to
     viewing the scene of the crimes, the sheriff received a rather detailed description of the car.
     Including a portion of the license plate number, said to have been used by the burglars. The
     sheriff also received a tip that persuaded him that petitioner and his companion, Jack Daley,
     were probably guilty of one of the burglaries. Upon the strength of this tip. coupled with his
     observation of the scene of the crimes and the description of the vehicle, the sheriff
     personally appeared before the justice of the peace In Rawlins to secure a warrant for the
     arrest of petitioner and his companion. After securing the warrant he authorized and sent a
     statewide radio police alert describing the men and their car and calling upon officers to
     arrest them. The night of November 24, policemen at Laramie, Wyoming, learned that
     petitioner's companion, Daley, was in the city. They located and stopped the car described in
     the alert, finding it occupied by two men matching the descriptions contained in the message.
     One of the officers personally recognized Jack Daley. In response to a request for
     identification. Harold Whiteley gave police a false name. At that point the two men were
     arrested and the car was searched. Old coins, tools, and other items later identified at trial as
     having been taken from the burglarized hardware store were found in the trunk and Interior of
     the car.

     At the trial the seized items were Introduced Into evidence over petitioner's objection. In
     addition, petitioner was identified as having been near the scene of the crime on the night of
     November 23.-Jack Daley, petitioner's companion, told the jury in vivid detail how he and
     Whiteley jimmied open the back door and burglarized the hardware store.'Petitioner took
     thestand and presented an alibi defense which was discredited by several witnesses
     including Jack Daley. Petitioner was convicted and sentenced to 10 years for burglary and
     concurrently to life imprisonment under Wyoming law because of his several prior




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     convictions. It was charged and proved that he had been convicted of three felonies and the
     record shows that he was 43 years of age and had already served six times in the
     penitentiary. The Supreme Court of Wyoming affirmed the conviction September 15,1966,
     Whiteley v. State. 418 P.2d 164, holding that the Laramie officers had a right and duty to
     arrest the men in their vehicle because they had reasonable ground to believe the men had
     committed a burglary and that they had the fruits of their crime in the car, citing among other
     cases Carroll v. United States, 267 U.S. 132, 45 S.Ct. 280. 69 L.Ed. 543(1925). See also
     Chambers v. Maroney, 399 U.S. 42. 90 S.Ct. 1975. 26 LEd.2d 419 (1970).
     I think it is a distortion of the Fourth Amendment's meaning to hold that this petitioner's arrest
     and the seizure of the goods he had stolen were an 'unreasonable arrest' and an
     'unreasonable seizure.' In deciding this question it should always be remembered that the
     Fourth Amendment itself does not expressly command that evidence obtained by its
     infraction should always be excluded from proof.
     There was certainly probable cause to arrest this man. The store was burglarized. The
     county was a sparsely settled one in which people knew one another. Petitioner, whose
     previous life would appear to have earned for him the title of professional in the stealing
     vocation, was seen around the store with his car the very night of the burglary. Undoubtedly
     this longtime county sheriff(who appears still to be sheriff) was bound to know petitioner.
     The tip he received was so persuasive to him that in the performance of his official duty he
     was willing to assume all the risk incident to having petitioner arrested. It surely cannot be
     said that when a sheriff, with his prestige and standing, and bond against civil suit,
     communicates an emergency message to arrest men in cars as burglars, a policeman must
     stand supinely by while two people denounced as burglars go along their way. Of course
     these policemen had enough information from the sheriff to have probable cause to arrest
     petitioner.

     My disagreement with the majority concerning the wisdom and constitutional necessity of a
     'tittle trial' before a magistrate or justice of the peace prior to the issuance of a search or
     arrest warrant is a matter of record. See Aguilar v. Texas, 378 U S 108, 116, 84 S.Ct. 1509.
     1514, 12 L.Ed.2d 723(1964)(Clark, J., dissenting); Spinelli v. United States, 393 U.S. 410,
     429, 89 S.Ct. 584, 595, 21 L.Ed.2d 637(1969)(Black, J., dissenting). But even accepting
     those decisions, arguendo, they do not control the disposition of this case which involves the
     apprehension of criminals in an automobile moving away from the scene of the crime less
     than 24 hours after its commission. The sheriffs t>e!ief that Whiteley and Daley were guilty,
     even If it was only a 'suspicion' as the majority seems to label it, gave police officers proper
     grounds to stop petitioner's car and inquire about its passengers. Terry v. Ohio, 392 U.S. 1.
     88 s et. 1868. 20 L.Ed.2d 889(1968). And once the officers stopped the car and positively
     identified Jack Daley, they had every reason to believe that Whiteley was lying and
     attempting to escape detection when he reported a false name. At least at that point, if not
     before, the Laramie police had probable cause to arrest petitioner and Daley. With probable
     cause to arrest the men, they also had authority to search the car. Such a search could be
     justified under either of two theories. Even under Chimel v. California, 395 U.S. 752, 89 S.Ct.
     2034, 23 L.Ed.2d 685 (1969), the search of an automobile incident to the arrest of the
     occupants is permissible. And in this very case, the officers found a fully loaded handgun in
     the glove compartment. The search was also permissible under the 'movable vehicle'
     exception to the usual requirement for a search warrant. Chambers v. Maroney. 399 U.S. 42.
     90 s et. 1975. 26 LEd.2d 419(1970); Carroll v. United States. 267 U.S. 132. 45 S.Ct. 280.
     69 L.Ed. 543 (1925). I consider it a travesty of justice to turn this man out of jail or give him a
     new trial six years after he was convicted.'
     Fay v. Noia, 372 U.S. 391, 83 S.Ct. 822, 9 LEd.2d 837(1963), does not. in my judgment,
     justify what the Court is doing. The trial court passed on this issue of validity of petitioner's
     arrest some years ago. Later he asked for relief through state post-conviction procedures on



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     the same ground and his claim was rejected. He has now sought relief through federal
     habeas corpus. After the United States District Court and the Court of Appeals rejected his
     unlawful-search claim bringing to 10 the number of state and federal judges who have
     consistently and unanimously rejected petitioner's claim, this Court reverses his judgment of
     conviction, although petitioner does not, of course, now allege his innocence. As I said in
     Kaufman v. United States, 394 U.S. 217. 231, 89 S.Ct. 1058, 1076, 22 L.Ed.2d 227 (Black, J.
     dissenting), the Fay v. Noia remedy should be limited as it was by its own facts, and
     convictions should remain final unless a petitioner seeking habeas corpus alleges that he
     can currently show he was innocent. There is not even a suspicion here that this hardened
     criminal is innocent and I would let him stay in confinement to sen/e his sentence.
     Mr. Justice BLACKMUN agrees with much that is said by Mr, Justice BLACK and also
     dissents from the opinion and judgment of the Court.

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     He was given concurrent sentences on the breaking and entering charges of one to 10 years and, in
     consequence of the recidivist charge, imprisonment for life.


     Prior to commencing federal habeas corpus proceedings, Whiteley had filed a petition for post-
     conviction relief pursuant to the Wyoming statutes. No appeal was taken from the denial of that petition.


     In his petition for habeas corpus, Whiteley raised several other issues which had previously been
     advanced in his state petition for post-conviction relief, but not in his direct appeal to the Supreme
     Court of Wyoming. On these other Issues, both lower federal courts held that failure to appeal the
     denial of his state post-conviction petition constituted nonexhaustion of slate remedies. Petitioner
     sought to raise the exhaustion issue in his present petition for certiorari, but. as noted In text, we
     granted the writ limited to the search and seizure issue decided by the lower federal courts.


     At the outset of the federal habeas corpus proceeding now before us, both parties entered into the
     following stipulation, App. 10:
     'IT IS HEREBY STIPULATED by and between the parties through their respective counsel that,
     pursuant to the agreement of the parties in open court on February 16,1968. both sides will rely
     exclusively on the record before the trial court in the original case of the State of Wyoming v. Harold
     Whiteley *'* and any and all parts of the record on appeal to the State of Wyoming * * * in the hearing
     on the merits of this case before the (U.S. District Court).'


     A second version of state item 881 is Identical in all relevant respects except that It omits reference to
     the arrest warrant. See App. 37.


     In Ker v. California, 374 u.S 23, 83 S Ct i623, 10 L Ed 2d 726 (1963), the Court held that the same
     probable-cause standards were applicable to federal and state warrants under the Fourth and
     Fourteenth Amendments. In Mapp v. Ohio, 367 u s 643. si s ct 1684. 6 L Ed 2c) ioei (i96i), the Court
     held the exclusionary rule was applicable to state prosecutions.


     See n. 4, supra.




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     The dissent seems to imply that 'this record shows' that Sheriff Ogbum received the description of the
     car contained in the radio bulletin from someone who also informed him that he also saw the car at the
     scene of the crime. Post, at 570. The record wholly falls to support any such implication. Sheriff
     Ogburn, who testified on four separate occasions at the trial, see R. 105—112,187—191, 310—314,
     335—337. said nothing of the sort. Only one other witness. Leonard Russell Marion, testified to having
     given Ogburn any Information about the car prior to Whiteley's arrest; Marion never testified to seeing
     the car near the scene of the crime. R. 317—322, 329—330. Indeed, it Is quite apparent from reading
     Marion's testimony that his observations of Whiteley on the day of the robbery took place at his own
     house. R. 320—321.

     More importantly, even the dissent apparently concedes that as far as the record in this case reveals,
     the only information Sheriff Ogbum communicated to the magistrate issuing the warrant was contained
     in his written complaint reproduced above. Under the cases of this Court, an otherwise Insufficient
     affidavit cannot be rehabilitated by testimony conceming information possessed by the affiant when he
     sought the warrant but not disclosed to the issuing magistrate. See Agullar v. Texas, 378 us los 109
     n. 1, 84 S.Ct. 1509, 1511, 12 L.Ed.2d 723. A contrary rule would, of course, render the warrant
     requirements of the Fourth Amendment meaningless.


     Since this is a federal habeas corpus proceeding, the State is technically not a party,
     10


     TTie legal principles relied upon by the state throughout this entire litigated process have been based
     on the premise that a law enforcement officer may make a warrantless arrest If he has requisite
     probable cause, which can be something less than the requisite probable cause that must be
     presented to a judicial officer prior to the issuance of an arrest or search warrant.' Brief for Respondent
     6.

     11


     After anesting Whiteley and Daley, the officers searched the car and discovered in the car's interior
     the old coins taken in one of the burglaries and described in the radio bulletin. In addition, they found
     burglar's tools In the trunk of the car. Of course, the discoveries of an Illegal search cannot be used to
     validate the probable-cause judgment upon which the legality of the search depends.
     12


     The arrest warrant Issued at about noon on November 24, 1964. See App. 53. State bulletin 881 was
     broadcast at 3:03 p.m. that same day. App. 31. It Is apparent that Sheriff Ogbum did not himself
     acquire additional corroborative data possibly supporting a probable-cause arrest after securing the
     warrant.

     13


     The State makes a halfhearted attempt to argue that the introduction of the illegally seized evidence
     was harmless error. The evidence, of course, was damning, to say the least. See n. 10, supra. The
     only other evidence implicating Whiteley was his accomplice's testimony. It is clear that the error
     cannot be said to be harmless under applicable standards. Chapman v. California, 385 us 18,87 set.
     824, 17 L Ed.2d 705 (1967;; Harrington v. California, 395 U S 250, 39 S Ct. 1726. 23 L Ed.2d 284 (1959).
     Contrary to the implications in the dissenting opinion, see post, at 571, no witness at trial other than
     the accomplice placed Whiteley 'near the scene of the crime' on the night of the robbery.
      1


     The population of Carton County according to the 1970 census is about 13,000 persons.
     2


     Leonard Russell Marion testified at trial that he had seen Whiteley at his home In Saratoga, a town of
     about 1,000 population, on the day of the robbery. Mr. Marlon further testified that he observed
     Whiteley's car and a portion of the license plate number and gave that information to the sheriff. See R.
     317—321, 329—330. The majority fails to recognize that Saratoga is a very small country town and



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     that strangers are most unlikely to move about unnoticed. Something obviously aroused Mr. Marion's
     suspicion or else he would not have reported the observation of petitioner and his car to the sheriff.


     Daley's testimony was not uncorroborated. He testified In detail about the trip from Laramie to
     Saratoga where the crime was committed with stops in Medicine Bow and Elk Mountain. Ernest
     Homden testified at trial that Daley and Whiteley were In the Dip Bar in Medicine Bow on the night of
     November 23, 1964, shortly before the burglary. Another witness, LeRoy Hansen, testified that
     Whiteley was in Elk Mountain on the day of the burglary, see R. 315—316.


     The search in this case took place on November 24,1964. Although I disagreed with Spinelli v. United
     States. 393 us ■110, 89 s ct 584, 21 L Ed 2d 637 (1959), I have always believed that constitutional
     decisions should be fully retroactive in their application. See Linkletter v. Walker. 38i u S. 6i8, 640. S5
     S Ct 1731. 1743. 14 L.Ed 2d 501 (1955) (Black, J., dissenting). I am thus glad to see that the majority has
     apparently decided to apply constitutional decisions retroactively even when they do not affect the
     'integrity of the fact-finding process," see Id., at 639, 85 S.Ct., at 1743, and will greatly burden the
     administration of justice, see Desist v. United States, 394 u s 244, 250, 89 s,ci. 1030, 1034, 22 L.Ed.2d
     248 (1969).




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                            UNITED STATES DISTRICT COURT                    OISTP n     ."•
                                DISTRICT OF WYOMING                         2019 ftUG "5 ftH 8= 51

  TAMI MAE BRONNENBERG,

               Plaintiff,

        V.                                                     Case No. 19-CV-21-SWS


  BEAU J. EGGER, Arresting Officer,

               Defendant.



   ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT



        This case comes before the Court on the following motions:

        (1)    Defendant Egger's Motion to Dismiss Plaintiffs Complaint (Doc. 28),

               which was converted into a motion for summary judgment under Fed. R.

               Civ. P. 12(d) (Doc. 30). Plaintiff filed an opposition (Doc. 33), and

               Defendant replied(Doc. 35).

        (2)    Plaintiffs Motion for Declaratory Judgment (Doc. 36), Defendant's

               opposition (Doc. 39), and Plaintiffs reply (Doc. 41).

        (3)    Plaintiffs Motion for Summary Judgment (Doc. 38), Defendant's

               opposition (Doc. 40), and Plaintiffs reply (Doc. 44).

  Having considered the parties' arguments, the record herein, and being otherwise fully

  advised, the Court finds Defendant Egger is entitled to qualified immunity in this action.

  Consequently, Defendant's motion for summary judgment must be granted and Plaintiffs

  opposing motions denied.



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                                            BACKGROUND


          Plaintiff Tami Bronnenberg proceeds pro se without the aid of a lawyer in this

  matter. Therefore, her "pleadings are to be construed liberally and held to a less stringent

  standard than formal pleadings drafted by lawyers," but the Court cannot "assume the

  role of advocate." Hall v. Bellmon,9^S¥26. 1106, 1110(10th Cir. 1991).

          After screening Ms. Bronnenberg's amended civil rights complaint (Doc. 9), the

  Court found she had stated a plausible claim under 42 U.S.C. § 1983 for false arrest/false

  imprisonment in violation of the Fourth Amendment against Defendant Egger.* (Doc.

  10.) More specifically, she contends Defendant Egger, a law enforcement officer

  working for the City of Cody, Wyoming, at the relevant time, arrested her on January 31,

  2017, on an invalid arrest warrant despite her attempts to explain to him why it was

  invalid and showing him a court order canceling the warrant. (Doc. 9 at pp. 3-4.) The

  evidence submitted by the parties establishes that the warrant had indeed been vacated by

  the state district court judge, and Ms. Bronnenberg was released from detention less than

  an hour after being booked into the local jail. {See Doc. 9 at pp. 11-13; Doc. 29-2 at pp.

  2-3.) The Court determines the dispositive question is whether Officer Egger is protected

  by qualified immunity in relation to arresting Ms. Bronnenberg.

                 SUMMARY JUDGMENT AND QUALIFIED IMMUNITY

         "The court shall grant summary judgment ifthe movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a matter



 ' The remainder of Ms. Bronnenberg's claims were dismissed in screening under 28 U.S.C. §
  1915(e)(2)(B)(ii)for failure to state a claim upon which relief could be granted. (Doc. 10.)

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  oflaw." Fed. R. Civ. P. 56(a). A dispute is genuine "if there is sufficient evidence on

  each side so that a rational trier of fact could resolve the issue either way," and it is

  material "if under the substantive law it is essential to the proper disposition ofthe

  claim." Becker v. Bateman, 709 F.3d 1019, 1022(10th Cir. 2013)(internal quotation

  marks omitted). "The district court must draw all reasonable inferences in favor ofthe

  nonmoving party." Pioneer Centres Holding Co. Employee Stock Ownership Plan & Tr.

  V. Alerus Fin., N.A., 858 F,3d 1324, 1334(10th Cir. 2017).

         Qualified immunity protects government officials "fi*om liability for civil damages

  insofar as their conduct does not violate clearly established statutory or constitutional

  rights of which a reasonable person would have known." Harlow v. Fitzgerald, 457 U.S.

  800,818(1982).

         When a defendant asserts qualified immunity at summary judgment, the
         burden shifts to the plaintiff, who must clear two hurdles in order to defeat
         the defendant's motion. The plaintiff must demonstrate on the facts alleged
         both that the defendant violated his constitutional or statutory rights, and
         that the right was clearly established at the time of the alleged unlawful
         activity.

  Cox V. Glanz, 800 F.3d 1231, 1245 (10th Cir. 2015) (emphasis in original) (quoting

  Riggins V. Goodman, 572 F.3d 1101, 1107(10th Cir. 2009)). Though the Court must still

  view the evidence in the light most favorable to the non-moving party, the "record must

  clearly demonstrate the plaintiff has satisfied his heavy two-part burden; otherwise, the

  defendants are entitled to qualified immunity." Felders ex rel. Smedley v. Malcom, 755

  F.3d 870, 878 (10th Cir. 2014)(quoting Medina v. Cram, 252 F.3d 1124, 1128 (10th Cir.

  2001)).


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                                        DISCUSSION


          Examining the first step of the qualified-immunity analysis, Ms. Bronnenberg has

  not established Officer Egger violated her constitutional rights. The affidavit from

  Defendant Egger establishes that a facially-valid warrant for Ms. Bronnenberg's arrest

  existed at the time he arrested her, that he called into dispatch to confirm the validity of

  the arrest warrant, and that dispatch affirmed through the "RIMS Computer Aided

  Dispatch System" the arrest warrant was still active. (Doc. 29-2 at pp. 1-3; see also Doc.

  29-1 at p. 2; Doc. 29-3 at pp. 1-2; Doc. 29-4.) Ms. Bronnenberg does not dispute these

  material facts, but essentially contends Officer Egger's actions were unconstitutional

  anyway. She asserts Officer Egger "was relying on" an arrest warrant as his basis for

  arresting Ms. Bronnenburg. (Doc. 9 at p. 3.) Attached as "Exhibit A" to her amended

  complaint is an "Order Vacating Warrant and Resetting Previously Scheduled Hearing,"

  entered by the state district judge ofthe Fifth Judicial District of Wyoming. (Doc. 9 at p.

  11.) It was entered on January 17, 2017, and it ordered "that the Warrant issued January

  9, 2017 in this matter is vacated." {Id.) Ms. Bronnenburg alleges she showed this order

  to Officer Egger at the time he arrested her on January 31, 2017, to convince him not to

  execute the arrest warrant, but he ignored her and arrested her anyway. (Doc. 9 at pp. 3-

  4,5.)

          Generally, an officer executing an arrest warrant that is valid on its face enjoys

  absolute immunity (also known as "quasi-judicial immunity"). "Just as judges acting in

  their judicial capacity are absolutely immune from liability under section 1983, official[s]

  charged with the duty of executing a facially valid court order enjoy[] absolute immunity

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  from liability for damages in a suit challenging conduct prescribed by that order." Moss

  V. Kopp, 559 F.3d 1155, 1163 (10th Cir. 2009)(alterations in original)(quoting Turney v.

  O'Toole, 898 F.2d 1470, 1472 (10th Cir. 1990)). And "[f]acially valid does not mean

  lawful. An erroneous order can be valid." Turney^ 898 F.2d at 1473 (internal quotation

  marks omitted)(citing Baker v. McCollan, 443 U.S. 137, 143-44 (1979)). To be entitled

  to absolute immunity, "the judge issuing the disputed order must be immune from

  liability in his or her own right, the officials executing the order must act within the scope

  of their own jurisdiction, and the officials must only act as prescribed by the order in

  question." Moss^ 559 F.3d at 1163.

          The undisputed evidence presented by the parties in their competing summary

  judgment motions establishes the state district court judge issued the arrest warrant due to

  Ms. Bronnenberg's earlier failure to appear on a show cause order(Doc. 29-4), and there

  is no suggestion the state judge lacked this authority. Next, the undisputed evidence

  shows Officer Egger, a police officer for the City of Cody, Wyoming, acted within the

  scope of his jurisdiction as he executed what appeared to be a valid arrest warrant within

  the city limits of Cody, Wyoming. (Doc. 29-2 at p. 1.) Finally, the undisputed evidence

  demonstrates Officer Egger acted in conformity with the arrest warrant and not beyond it

  by arresting Ms. Bronnenberg and immediately transporting her to the local detention

  center. (Doc. 29-1 at p. 2.) Consequently, all requirements for absolute (or quasi-

 judicial) immunity are met here, and Officer Egger is immune from liability under §

  1983.




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         The Tenth Circuit has considered similar situations on multiple occasions. For

  example, in Hill v. Bogans, 735 F.2d 391 (10th Cir. 1984), the plaintiff asserted the

  officer violated the plaintiffs civil rights "by failing to check the validity of the warrant

  when requested to do so." 735 F.2d at 393. The Tenth Circuit disagreed, saying,"Unless

  a warrant is facially invalid an officer has no constitutional duty to independently

  determine its validity." Id. (citing Baker, 443 U.S. at 145-46). The court held the police

  officers "acted reasonably in relying on routine police procedures [i.e., calling the police

  station] for establishing the existence of an outstanding warrant." Id.', see also Smith v.

  City ofLakewood, 83 F.3d 433 (10th Cir. 1996)(unpublished table decision)(stating that

  a facially-valid arrest warrant "unquestionably justified Smyth's arrest by Kuebler");

  Taylor v. Robinson, 2016 WL 9488864, at *4(D.N.M. Dec. 5, 2016)("Because dispatch

  informed Burd that there was an active warrant for Plaintiffs arrest, the Court finds that

  it was reasonable for Burd to rely on this information.").

         Here, Officer Egger acted reasonably when arresting Ms. Bronnenberg. He relied

  on routine police procedures to determine the arrest warrant's continuing validity by

  calling into dispatch, which checked the RIMS computer system and informed Officer

  Egger the arrest warrant was still active. Based on that information, Officer Egger

  executed the facially-valid arrest warrant. Even in the face of Ms. Bronnenberg's

  protests, Officer Egger's actions were constitutionally reasonable because an officer "is

  not required by the Fourth Amendment to obtain a copy of the warrant, research

  supporting documentation, or go behind the facial validity of a warrant before making the

  arrest." Smyth, 83 F.3d 433; see also Lauer v. Dahlberg, III F. Supp. 612,614(N.D. 111.

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  1989) (determining that an officer was not required to fiirther investigate the arrest

  warrant's validity even where, like alleged here, the officer was presented with "an

  uncertified copy ofthe [warrant] recall order").

        It is unfortunate that the state court judge's order vacating the arrest warrant was

  not timely registered into the RIMS computer system.              The disruption to Ms.

  Bronnenberg's life, though relatively brief, was significant and should not be ignored.

  However, it's not appropriate to make Officer Egger answer for that mistake when there's

  no evidence to suggest it was his doing. "Simple fairness requires that state officers 'not

  be called upon to answer for the legality of decisions which they are powerless to

  control.'" Turneyv. O'Toole, 898 F.2d 1470, 1473 (10th Cir. 1990)(quoting Valdezv.

  City & County of Denver, 878 F.2d 1285, 1289 (10th Cir. 1989)). The undisputed

  evidence presented by the parties' summary judgment motions shows Officer Egger did

  not violate Ms. Bronnenberg's constitutional rights when he arrested her pursuant to the

  facially-valid warrant because he acted as a reasonable officer in doing so and is

  protected by absolute (quasi-judicial) immunity.

         Turning now to the second prong of the qualified immunity analysis, Ms.

  Bronnenberg has also failed to show the alleged right was clearly established at the time

  of the alleged unlawful activity. It is difficult to isolate exactly what right she contends

  was violated by Officer Eggers. {See Doc. 33.) For example, she discussed the need for

  an arrest warrant or search warrant to be supported by probable cause (Doc. 33 at pp. 4-

  5), which is an accurate reflection of the Fourth Amendment. However, there's no

  evidence to suggest the state court judge's arrest warrant was not supported by probable

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  cause. (Doc. 29-4 (stating the arrest warrant was issued due to Ms. Bronnenberg's failure

  to appear for a prior show cause hearing).) And even if the arrest warrant did lack

  supporting probable cause when it was issued, that would not demand money damages

  against Officer Eggers for executing the facially-valid warrant. Turney^ 898 F.2d at 1473

  (officers should "not be called upon to answer for the legality of decisions which they are

  powerless to control").

         At best, Ms. Bronnenberg relies upon general Fourth Amendment principles in

  alleging Officer Eggers violated her constitutional rights, but the U.S. Supreme Court

  demands that "the clearly established right must be defined with specificity." City of

  Escondido, Cal v. Emmons, 139 S. Ct. 500, 503 (2019) (per curiam). The Supreme

  Court "has repeatedly told courts ... not to define clearly established law at a high level of

  generality." Id. (quoting Kisela v. Hughes, 138 S. Ct. 1148, 1152 (2018)(per curiam)).

  Ms. Bronnenberg has not set forth a clearly-established right that Officer Eggers

  allegedly violated. "[TJhere is no clearly established law to the effect that an arrest based

  on execution of a court's bench warrant may constitute false arrest." Zamora v. City of

  Helen, 383 F. Supp. 2d 1315, 1338 (D.N.M. 2005). The Court cannot conclude that

  "every reasonable official would have understood" that Officer Egger's conduct here was

  unreasonable and in violation of the Fourth Amendment. Aschcroft v. al-Kidd, 563 U.S.

  731, 741 (2011){q)\oX\Yig Anderson v. Creighton, 483 U.S. 635,640(1987)).

                               CONCLUSION AND ORDER


         Based on the undisputed evidence presented by the parties, Ms. Bronnenberg has

  not overcome either prong of the qualified immunity defense. Consequently, Officer

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  Eggers is entitled to qualified immunity, which protects him against liability for civil

  damages.

         Ms. Bronnenberg's request for a declaratory judgment {see Doc. 9 at p. 9) must be

  denied because it seeks a declaration aimed at past conduct, but the "Eleventh

  Amendment does not permit judgments against state officers declaring that they violated

  federal law in the past." Johns v. Stewart, 57 F.3d 1544, 1553 (10th Cir. 1995). Finally,

  Ms. Bronnenberg's request for an injunction against any future constitutional

  deprivations {see Doc. 9 at p. 9) must also be denied because "the complaint alleged no

  threatened violations other those specifically charged," yet "the necessary determination

  [for an injunction to issue] is that there exists some cognizable danger of recurrent

  violation." United States v. W. T. Grant Co., 345 U.S. 629,633(1953).

         IT IS THEREFORE ORDERED that Defendant Egger's Motion to Dismiss

  Plaintiffs Complaint (Doc. 28) is GRANTED. Officer Egger is entitled to qualified

  immunity.

         IT IS FURTHER ORDERED that Plaintiffs Motion for Declaratory Judgment

 (Doc. 36) and Plaintiffs Motion for Summary Judgment (Doc. 38) are DENIED. Final

  judgment in Defendants' favor and against Plaintiff shall be entered in this matter and the

  case will be closed.


         DATED: July             2019.


                                                 "^JScott \V. Skavdahl
                                                   United States District Judge



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AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                          District
                                                                    __________     of Wyoming
                                                                                District of __________
                                                                                                 )
                                                                                                 )
                                          v.                                                     )         Case No.:
                                                                                                 )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                                                     against                                                 ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $                0.00

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:
                          Name of Attorney:
For:                                                                                                                                                 Date:
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
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                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
          NAME , CITY AND STATE OF RESIDENCE                                    Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                                $0.00



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                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.



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